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 STATE OF SOUTH DAKOTA )                                          IN CIRCUIT COURT
                                        )SS
 COUNTY OF BROOKINGS )                                        THIRD JUDICIAL CIRCUIT

                                                                        Civ, No. 05CIV19-000006

TERESA ANN THOMPSON, Individually,
and as Special Administer of the Estate of
WINFIELD THOMPSON, SR, Deceased, and
the ESTATE ofWINFIELD THOMPSON,
MELISSA PROCHNOW AND JAMIE                                           COMPLAINT
HELGESON, as Special
Administrator(s)/Personai Representative(s) of
the Estate of Nicholas Helgeson,

               Plaintiffs,


       V.




WILLIAM HARR1E and THE N1LLES LAW
FIRM, aka NILLES, SELBO & HARRIE,
LTD., and NODAK INSURANCE
COMPANY, (fna NODAK MUTUAL
INSURANCE COMPANY), and NODAK
MUTUAL GROUP, INC., a Mutial Holding
Company and N.I. HOLDINGS, INC. (Ail
Intermediate Stockliolding Company),

               Defendants.




       COMES NOW, the Plaintiffs, Teresa Thompson, individually, and as Special

Administrator of the Estate ofWinfield Thompson, deceased, and the Estate ofWinfield


Thompson, Sr., Melissa Prchnow and Jamie Helgeson, by and through their coimsel, Robin L.


Zephier and Seamus Culliane, make and file the Plaintiffs' causes of action against the above-

named Defendants, the Nilles Law Firm aka Nilles, Selbo and Han-ie, Ltd., and the Defendant


Nodak hism-ance Company, (fiia Nodak Mutual Insm-ance Company and a mutual holding

company, Nodak Mutual Group, Inc., which are wholly owned subsidiaries of an interemediate




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 stockholding company known as N.I. Holding, Inc.), based upon the following facts and

 allegations, and Plaintiffs specifically also incorporate the Circuit Court's Order dated March 29,

 2016 and the accompanying Findings of Fact and Conclusions of Law dated March 29, 2016 in

 Civ. No. 12-105. (Attached as Exhibit "A"). Therefore, this Complaint is based upon the

 following statements. Plaintiffs state and allege as follows:

         1. That the Plaintiff Teresa Thompson, is a resident of Sisseton, Roberts


 County, South Dakota.


        2. Winfield Thompson, deceased, the natural father of Plaintiff Teresa Thompson,

 was a resident ofSisseton, Roberts County, State of South Dakota.


        3. Plaintiff Melissa Prochn.ow and Jamie Helgeson, are the personal


 representative/special administrators of the Estate of Nicholas Helgeson, deceased, are resident

 of Hankinson, North Dakota.

        4. Plaintiff the Estate of Nicholas was setup in the State of North Dakota. Decedent

 Nicholas Helgeson was the natural son ofMelissa Prochnow and Jamie Helgeson.


        5. Upon Plaintiffs' best knowledge and reasonable belief. Plaintiffs' know that


 Defendant William Han'ie is and was at all times relevant to this action, an attorney with the

 Nilles Law Finn in Fargo, North Dakota, and that Harrie is and was licensed to practice law in

 the states of North Dakota and Mimiesota. According to Plaintiffs' best knowledge and belief,


 the Nilles Law Firm regularly does insurance defense and personal injury defense work for civil


 defendants and for insurance companies such as Nodak. Nilles' registered agent is Nilles, Selbo

 & Han-ie ofFargo, North Dakota.


        6. At the time of the subject November 6, 2009 motor vehicle accident, the




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 tortfeasor in the third part)'- negligence action, Civ. No. 12-105, Fifth Circuit Court, Roberts


 County, South Dakota, Nicholas Helgeson (deceased), was an insured under an automobile

 insurance policy through the Defendant Nodak Itisi.u-ance Company, (fiia Nodak Mutual

 Insurance Company), and had said policy in effect at the time of said subject accident in 2009.

 The Defendant Nodak Insiwance Company, (hereinafter, "Nodak ), to the Plaintiffs best

 information, knowledge, and belief was at all times relevant to this action, a duly registered


 insurance company, registered with the Divisions of Insurance for the State of North Dakota (but

 apparently not m South Dakota), and transacts insurance business and sells insurance policies in

 all counties in the state of South Dakota, and within die entire State of North Dakota. Nodak


 Insurance Company is now a wholly owned subsidiary ofN.I. Holdings, Inc., and a part of


 Nodak Mutual Group, Inc. (a mutual holding company). All Nodak companies including N.I.

 Holdings, are located in Fargo, North Dakota.


        7. The acts complained of against said Defendants occurred in the state of South

 Dakota, and involved the physical presence and the telephonic communications in and with

 parties located within the State of South Dakota.

        8. On or about August 31, 2012, Plaintiff Teresa Thompson sued Nicholas Helgeson


 (now deceased) for the wrongful death of her father Winfield Thompson, Sr., (also deceased) in

 Roberts County, South Dakota, Fifth Judicial Circuit Court, Civil No. 12-105.

        9. On. or about October 12, 2012, according to Plaintiffs' best knowledge and belief,

 Defendant Attorney William P. Harrie and his law firm, the Nilles Law Firm, were hired by

 Defendant Nodak Insurance Company, the auto liability insurance carrier (named insured was


 Melissa Prochnow, Helgeson's natural mother and Jamie Helgeson, the father of Nicholas

 Helgeson), to provide a civil defense for Helgeson in the third party direct action against




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 Helgeson in the wrongful death vehicle accident civil action, Civil No. 12-105. Attorney Harrie

 filed and served a formal written Notice of Appearance on the case dated October 12, 2012.

         10. On or about June 18. 2014, the Plaintiff received the formal written Answer and


 Demand for Jm-y Trial, signed by William Harrie as "Attorney for Defendant".

         11. Defendant Han-ie appeared for hearings (all by telephone) in Roberts Coimty,


 South Dakota on behalf of Nicholas Helgeson, at various proceedings on My 30,2014,and


 December 3, 2015, and at a video conference deposition ofHelgeson on June 30, 2015.

         12. According to Plaintiffs' best knowledge and belief, the Defendants Han-ie and the


 Nilles Law Film, as the legal comiseVlegal agent, did, and had previously, acted as hired legal

 counsel and as legal agents for and on behalf of Defendant Nodak Insurance Company on many

 occasions, including the action in Civ. No. 12-105.


         13. That all the critical acts complained herein giving rise to the Complaint occurred

 within the state of South Dakota, including the discovery of the alleged negligent and/or

 intentional conduct of all of the Defendants, the full extent of the related damages, the motor

 vehicle accident in question and all of the litigation conduct relevant here, did occur within the

 state of South Dakota. The amount of claimed damages meets the requirements for the

 jurisdiction of the Circuit Court, and the venue is proper in the county circuit court for the State


 of South Dakota. Personal and subject matter jurisdiction exists over all parties in this action for

 all the reasons cited herein, and according to the state's long arm jurisdiction.

         14. That at all times pertinent herein, the Defendants, William Harrie and/or Nilles


 Law Finn, were acting by and through their agents and/or employees and legal representatives

 and persomiel, including Nodak representatives, which acted for and on behalf of tortfeasor

 Helgeson and/or Nodak Insurance Company in all relevant acts complained

                         PRACTICE OF LAW LEGAL NEGLIGENCE




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         Plaintiffs hereby incorporate paragraphs one through _ (1-_) of this Complaint as

 if specifically set forth herein.

         15. That on or about November 6, 2009, the tortfeasor in the separate, but related


 underlying third party claim, Nicholas Helgeson, the third party tortfeasor, a Nodak hiswance

 Company insured, operated a motor vehicle owned by Patrick Nelson, near New Effington,


 Roberts County, South Dakota, in a negligent, careless and reckless manner. That negligence


 was the sole proximate cause of a motor vehicle accident resulting in bodily injuries and death to

 the Decedent Winfield Thompson, Plaintiff Teresa Thompson's natural father.


         16. That third party tortfeasor Nicholas Helgeson, owed Decedent Winfield

 Thompson, a duty to exercise reasonable care in the operation of the motor vehicle that the

 tortfeasor was operating at the time of the subject accident. Tortfeasor Helgeson breached that


 duty in that he failed to operate the vehicle in a safe and reasonable manner and thereby


 proximately and directly caused said motor vehicle accident killing two (2) passengers, including

 Decedent Winfield Thompson. The physical injuries and subsequent death of Decedent

 Winfield Thompson, occurred when the vehicle Helgeson was driving, crashed into the vehicle


 Winfield Thompson was riding in as a passenger, due to Helgeson's negligence, at the

 intersection of of 466 Avenue and Highway 127, in Roberts County, South Dakota.


         17. That as a direct and proximate result of the negligence oftortfeasor Helgeson,


 Decedent Winfield Thompson suffered serious injuries to his body, and died approximately four

 (4) hours later while being medically treated for the accident related injuries.

         18. As a direct and proximate result of tortfeasor Helgeson's breach of his legal duty,

 Decedent Winfield Thompson suffered past medical expenses in an amount in excess of

 ($20,000) and other compensatory and special and general damages induciing but not limited to


 wrongful death, bodily injury, physical and emotional injuries, pain and suffering, loss of




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 enjoymem of life, disfigurement, fLineral expense and other consequential damages. Plaintiff

 Teresa Thompson, individually and with the heirs ofWinfield Thompson, and the Estate of

 Winfield Thompson, also suffered damages as a result of their father's death.


        19. The Decedent Winfield Thompson was not in any way, contributorily negligent in

 anymarmer or form, in causing this accident, or any of the Plaintiffs' damages.


        20. Plaintiff Teresa Thompson is one of the natural surviving daughters of the

 decedent, Winfield Thompson.

        21. Plaintiff Teresa Thompson is the adramistrator of the estate ofWinfield


 Thompson, Sr..


        22. Plaintiffs are entitled to receive damages for and on behalf of the Estate, as well

 as in their own right, and that of Decedent Winfield Thompson's heirs.


        23. The acts of Nicholas Helgeson directly and proximately caused Winfield

 Thompson's death on November 6. 2009.


        24. Decedent suffered fatal mtemal injuries which caused his death.


        25. Decedent survived for 4 hours after the injmy, mitil his ultimate death on


 November 6, 2009.

        25. That I am the attorney for Plaintiffs Teresa Thompson, as Special Administrator


 for the Estate ofWinfield Thompson, and the Estate, in the above entitled action;

        26. That on the 26th day of September 2012, the Defendant Nicholas Helgeson was

 served the Summons and Complaint in Civ. No. 12-1.05 by and through an Admission of Service


 signed by his then, private civil defense comisel, Kurtis Greenley. (See Exhibit A, attached).


 Helgeson had been paying attorney Greenley out of his own private funds.

        27. That on September 26, 2012 Plaintiffs coimsel gave Defendant Helgeson and his




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 defense attorney, an indefinite amount of time to formally Answer the Summons and Complaint

 in light of the fact that a civil declaratory action on die insm-ance coverage issue was still being

 litigated in a separate civil action entitled Nodak Mutual Insurance Company vs. Nicholas

 Helgeson, Dale Laroche, as Personal Representative of the Estate of Richard Chell; and Teresa

 Thompson, as Special Administrator of the Estate of Winfield Thompson, Civil File No.: 11-55,

 which was filed in Fifth Circuit Court, Roberts County, South Dakota,with Circuit Court Judge

 Jon Flemmer presiding. (See Exhibit B, attached).

        28. That on October 12, 2012, Defendant attorney William P. Han-ie was apparently

 hired by Defendant Helgson's auto liability insurance carrier, Nodak Mutual Insurance


 Company, to provide a civil defense for Helgeson in the third party direct action against

 Helgeson in this case. Civil No. 12-105. Attorney Harrie filed and served a formal Notice of


 Appearance on that case dated October 12, 2012, thereby appearing to serve as lead defense

 counsel on the direct action. There was no other mention or reference to any other Defense


 attorney in said notice, except for William Harrie.

        29. That the Circuit Court in the declaratory action, Nodak Mutual Insurance

 Company vs. Nicholas Helgeson, Dale Laroche, as Personal Representative of the Estate of


 Richard Chell; and Teresa Thompson, as Special Administrator of the Estate of Winfield

 Thompson, Civil File No.: 1 1-55, issued its memorandum decision dated March 12, 2014, which


 declared that Nodak must provide coverage and a defense for Helgeson individually,

 immediately and thereafter. (See Exhibit D, attached).

        30. That on April 14, 2014, Plaintiffs' counsel sent a letter to Defendant's coimsel


 Mr. Han-ie, (which was the only attorney who had formally entered any sort of formal

 appearance on behalf of Defendant Helgeson in Civ. No. 12-105), requesting if Defendant had


 filed its formal Answer in the above-referenced action, and expressly providing time limit




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 settlement demands of both estates. The settlement demand offer for the Thompson Estate was

 for the policy limits of $100,000 and the time limit demand required an acceptance of said policy

 limits demand no later than April 28, 2014 by 5:00 p.m. MST.

        31. There was no formal or informal response at all from Harrie, Nilles, Nodak or


 Nicholas Helgeson, to the $100,000 policy limits demand on or before April 28, 2014, so said


 policy limits demand was withdrawn.

        32. That on May 12, 2014 Plaintiffs' counsel sent a letter requesting that Defendant's

 attorney William Han-ie formally file a formal Answer to the Complaint on behalf of Defendant


 Helgeson. (See Exhibit E, attached). That letter specifically said:

                       I am writing to you to ask you to please file your formal Answer on the
                       above-referenced matter within 30 days of the date of this letter. I am
                       forced to write this letter to you in light of the fact that I have not received
                       any type of response from you to my earlier commmiication dating back to
                       early April, 2014.



        33. That on Jime 18, 2014, the Plaintiff received the Answer and Demand for Jury

 Trial, signed by William Han-ie. [not signed by Mark Hanson, who is another listed attorney in

 Mr. Han-ie s law firm in Fai-go, North Dakota].


        34. That more than thirty-three (33) days had passed as of the date of the First

 Motion for Default Judgment. It was now 585 days past since the formal Answer was due on or

 about Jime 17,2014.

        35. That two (2) formal hearings have taken place, one (1) on July 31, 2014, ou


 Plaintiffs Motion for Default Judgment, and a subsequent formal hearing on December 3, 2015,

 on Plaintiffs Motion to Compel the Discovery Deposition of Defendant, both of which Defense

 attorney William Harrie attended and appeared. No other attorney including Mr. Hanson, made


 any appearance at those hearings, nor signed any of the formal pleadings. It was learned that




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 Mr. Han-ie was not licensed to practice law in the State of South Dakota, and did not seek to file

 a formal Pro Hac Vice notice or Affidavit on his own behalf. Mr. Han-ie was signed all previous

 pleadings in his own name, and at no time in Mi-. Hanson's name. In January 2016, another


 separate attorney form Mr. Harrie s firm in North Dakota, Mark Western, physically appeared at

 the Roberts County Courthouse to take the depositions of all of the Decedent's heirs on January


 20, 2016. Mr. Western also was not licensed to practice in South Dakota, but he did not sign


 formal pleadings or appear at a trial or formal hearing, such as Mr. Harrie had done. Mr. Harrie

 did nothing to disclose or reveal his alleged unauthorized practice of law in this case under these

 circumstances, to Plaintiffs counsel, the Defendant or to the Circuit Court.


        36. That having previously filed suit against Nicholas Helgeson on _ in the

 direct third party negligence action in Roberts Coiuity Fifth Circuit Court, Civ. No. 12-105,


 Plaintiffs Thompson and the Thompson Estate on _ set a time limit $100,000 policy limits

 time limit settlement demand to Defendant Han-ie by letter indicating that Nicholas Helgeson

 had until _ in which to accept the $100,000 liability policy limits settlement demand to

 completely resolve the case/daims in. Civ. No. 12-105. The Defendant Nicholas Helgeson. had


 not yet even been contacted by Han'ie or Nilles prior to expiration date of the _ time limit

 policy limits settlement demand.

        37. Although Han-ie and Nilles owed a fiduciary duty to inform their client Nicholas


 Helgeson of any settlement offers/demands, and especially a demand within Nicholas

 Helgeson's liability policy limits of $100,000, neither Harrie, Nilles nor Nodak, contacted,


 advised or discussed said time limit/policy limit settlement demand at all, prior to the expiration


 of that demand which expired on _.


        38. That the Declaratory Action entitled Nodak _ v. _, Civ. No.




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          Defendant Nodak was seeking to have the Circuit Court declare that Nodak had no duty

  to defend Helgeson or any duty to cover him or the Thompson/CheU claims, nor to indemnify

  Nicholas I-Ielgeson, its own insured.


          39. Nicholas Helgeson had to hire his own private legal coimsel, Kurt Greenley, at his

  own expense, to defend him and his interests in the Declaratory Action in Circuit Court, Civ. No.


       . The costs of that defense would end up exceeding the $50,000.


          40. The Circuit Court, Honorable Jon S. Flemmer, did previously rule on an initial

  Plaintiffs' (First) Motion for Default Judgment filed by Plaintiff Teresa Thompson in Civ. No.

  12-105, dated Jime 17, 2014, where the Circuit Court (the Trial Court) denied said motion

  because an Answer signed by Helgeson's attom-ey. Defendant Han-ie, had been filed


  approximately 33 days beyond the time to Answer.

          41. The formal Answer had been initially due on May 14,2014,based upon


  correspondence between counsel prior to the Plaintiffs First Motion for Default Judgement

  being filed.

          42. The Circuit Court at a hearing held on July 30, 2014, did deny said Plaintiffs'


  (First) Motion for Default Judgment and did allow the leeway for Helgeson's Answer to stand,


  which was filed on or about Jime 18, 2014.

         43. The previous formal Answer filed by defense counsel. Defendant Han-ie, dated


  June 18, 2014, listed Attorney Mark Hanson, (a member of Defendant Han-ie's Fargo, North

  Dakota law firm, Defendant Nilles Law Finn), and Defendant Han-ie, but the Answer was only


  actually signed by Defendant Han-ie, and not by Mr. Hanson.


         44. That Defendant Han-ie did physically appear as defense counsel at a discovery

  deposition of his client, Mr. Helgeson, taken by video conference from Fargo, North Dakota, on


  June 30, 2015.



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         45. That Plaintiff Teresa Thompson did file a Plaintiffs First Motion to Compel

  dated December 30, 2015, to attempt to re-depose Mr. Helgeson as a result of Defendant


  Hame's abusive conduct and advisements to his client during said June 30, 2015 deposition.

  Harrie appeared at the hearing on said motion. The Circuit Court granted the motion to redepose


  Helgeson.


         46. That Plaintiffs' counsel did discover on or about January 21, 2016,or soon


  thereafter, that Defense attorney Defendant Harrie, was not licensed to practice law in the state

  of South Dakota, and that Defendant Harrie had never sought admission to practice in South

  Dakota on the case by Pro Hac Vice, at all, from October 12, 2012 through January, 2016.

         47. Defendant Harrie represented Nicholas Helgeson for nearly four (4) years and did

  nothing to disclose or reveal his alleged unauthorized practice of law in the State of South

  Dakota in this case, to anyone, including the Trial Court, nor did he file for Pro Hac Vice to be


  admitted to practice in South Dakota at any time prior to the events in early Febmary 2016.

         48. That based upon the information learned by Plaintiffs' counsel, a Renewed

  Motion for Default Judgment against Helgeson, and a Motion to Quash all prior pleadings signed

  by Defendant Han-ie, were filed and served upon Helgeson and Defendant Han'ie on or about


  January 26, 2015,

         49. Harrie then sought Pro Hac Vice admission to practice in. the South Dakota Court

 by Affidavit and Motion filed by Attorney Greg Peterson of Aberdeen, South Dakota, dated


  January 28,2016.

         50. That Plaintiff Teresa Thompson did file an objection to Han-ie's Pro Hac Vice


 Admission request, dated January 28, 2016.

         51. That the Circuit Court, on February 26, 201 6, did mle upon Defendant Harrie's




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  January 28, 2016 Motion for Pro Hac Vice, and determined that the Motion for Pro Hac Vice


  filed by Mr. Peterson on behalf of Defendant Han'ie, was denied.

          52. The Circuit Court found that Defendant Han-ie did not comply with the


  requirements ofSDCL §16-18-2 before he commenced practicing law in South Dakota, which

  requirements are mandatory, and not subject to substantial compliance.


          53. The Circuit Court specifically fomid that Defendant Harrie mTlawfully practiced


  law in South Dakota from June 2014 to January 26, 2016, appearing for at least one deposition

  and two formal hearings before the Trial Court (one on July 31, 2014, and the second on

  December 3, 2015).

          54. During the time from June 2014 to January 26, 2016, Defendant Harrie never


  attempted to remedy his non-compliance with SDCL §16-18-2. Rather, Defendant Harrie

  continued to practice in South Dakota without notifying the Court, or the Plaintiffs.


          55, The Circuit Court specifically found that, Defendant Han-ie's conduct counsels


  against him satisfying subsection six (6) ofSDCL 16-18-2. It provides:

                 A statement that the applicant is familiar with the rules of the State Bar of South
                 Dakota governing the conduct of members of the State Bar of South Dakota, and
                 will at all times abide by and comply with the same so long as such trial or
                 hearing is pending, and he or she has not withdrawn. as comisel therein[.] SDCL
                 16-18-2(6).



         56. The Circuit Court found that between June 2014 and January 26, 201 6, Defendant

  Harrie of the Nilles Law Firm ofFargo, North Dakota, did commit the unauthorized practice of

  law in the State of South Dakota in violation ofSDCL §16-18-1 and 16-18-2.


         57. That between June 2014 and January 26, 2016, Defendant Harrie never once

  reasonably, willingly or formally disclosed this unauthorized practice of law to Plaintiffs'


  counsel Mr. Zephier, or to the Trial Court.




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          58. Defendant Han-ie's conduct in the case indicated that he could not satisfy the

  requirements ofSDCL 16-18-2 (6), which provides that the "applicant is familiar with the rules

  of the State Bar of South Dakota governing the conduct of members of the State Bar of South


  Dakota, and will at all times abide by and comply with the same so long as such trial or hearing

  is pending, and he or she has not withdrawn as coimsel therein[.] .


          59. The Circuit Court found that doing what he did in the case. Defendant Harrie


  engaged in conduct involving dishonesty, fraud, deceit or misrepresentation when he began

  practicing law without a license in front of the Circuit Court and by failing to notify the Court

  for one year and seven months.


          60. Defendant Harrie's conduct in this case did constitute a violation of Rule 8.4 (c)

  of the South Dakota Rules of Professional Conduct. Rule 8.4 (c) states that it is professional

  misconduct for a la\vyer to: "(c) Engage in conduct involving dishonesty, fraud, deceit or

  misrepresentation".


          61. The Circuit Court, upon examination of Defendant Harrie s conduct and his


  affidavit for pro hac vice admission, was not satisfied that Han-ie could "observe the ethical


  standards required of attorneys in this state[.]

          62. The Circuit Court's conclusion in the. matter in denying Defendant Han-ie's


  admission to practice law in this state imder the pro hac vice statutory requirements, was further

  solidified by the lack of civility and professionalism exhibited by Defendant Harrie at the


  Deposition of Nicholas Helgeson conducted on June 30,2015.

          63. The Circuit Court determined that the Plaintiffs Teresa Thompson and the Estate


 ofWinfield Thompson, were and are prejudiced by Defendant Harrie's conduct and his


 unauthorized practice of law in this State, and in the case.




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          64. The Circuit Court determined that the Court's time had been wasted in that


  Defendant Harrie made several appearances before the Trial Court and, although the Court did

  not directly ask Defendant Han-ie if he was licensed to practice law in South Dakota, Defendant

  Harrie did not indicale to the Coui-t that he was not licensed to do so, and appeared on his own at


  that time, without licensed counsel.


          65. While it appeared that a member of the law firm that Defendant Flame is a part

  of, Mr. Hansen, was licensed to practice law in South Dakota, the name of Mr. Hansen was on


  the formal Answer, but the signaUu'e on the June 18, 2014 formal Answer of Helgeson, was Mr.


  Harrie's signature, and Mr. Han-ie was not authorized to practice law in South Dakota at that


  time. Mr. Han-ie also appeared before the Court on his own on each occasion without notifying


  the Court or party opponents of his imlicensed status.

          66. The appropriate way for an attorney who is not licensed in South Dakota to

  become able to proceed in appearing in South Dakota as set forth in the pro hac vice statites,

  SDCL 16-18-2, is to follow that procedure, but that procedure was not even attempted to be


  followed until Mr. Peterson became involved in the case, and the request for pro hac vice

  admission was made on January 28,2016.


         67. The Circuit Court was familiar with the prior proceedings and matters that the

  Trial Court had been involved in regarding the declaratory action and the criminal proceeding


  involving Helgeson.

         68. The Circuit Court recognized that the pro hac. vice statute would require ail

  attorney like Defendant Han'ie in that situation, to appear with a South Dakota resident attorney

  present in the Trial Court for all court hearings, as well as actually having the admission pro hac


  vice completed before any legal pleadings were signed or filed.




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          69. While Mr. Hansen could certamly have signed pleadings and made appearances

  as a licensed member of the South Dakota bar, he did not take those actions in the case at all. It

  was only Defendant Harrie who appeased.


         70. The Circuit Court concluded that the formal Answer prepared and filed by


  Defendant Han-ie in June 2014, was quashed, as Defendant Harrie was not authorized to practice

  law in South Dakota at the time that he took action on behalf of the Helgeson by signing and


  filing formal pleadings in the Court, and appearing and arguing before the Trial Court without a

  license in South Dakota or without admission pro hac vice.

          71. While Default Judgment may be a harsh remedy, the Circuit Court must examine

  whether or not there was excusable neglect and whether there was a meritorious defense.


          72. While there had been a defense set forth in the formal Answer of Jiuie 18, 2014,

  the neglect and conduct in the case by Mr. Harrie, is in the failure to become admitted prior to

  proceeding with the formal proceedings in this South Dakota court. This is not excusable.

         73. To allow the formal Jime 18, 2014 Answer to stand, in the Circuit Court's


  determination and discretion, would simply reward the conduct and allow the action to proceed,

  when, in fact, no Legitimate Answer was ever filed.


         74. The pleadings signed and/or filed by Defendant Han-ie acting as defense counsel

  for Helgeson, because ofHan-ie's zmauthorized practice of law in South Dakota, were ruled to be


  null and void, including the formal Answer dated June 18, 2014.

         75. The Circuit Court concluded that the appropriate action was to quash the Answer

  and all other pleadings signed by Defendant Harrie and to therefore, grant the Plaintiffs'

  Renewed Motion for Default Judgment in asmuch as Defendant Han-ie's actions were a nullify,


  and no Answer or responsive pleading has been filed at all in this case.




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          76. On March 29, 2016, the Honorable Jon S. Flemmer signed an Order Granting

  Plaintiffs' Renewed Motion for Default Judgment, and signed the Findings of Fact and

  Conclusions of Law (Exhibit A).

          77. Plaintiffs sustained damages as a direct and proximate cause of Defendant Nodak

  Insurance Company's and Defendant Harrie's, breach, of their duty to properly represent


  Helgeson and as a result ofHame's unauthorized practice of law, which ended up costing


  Plaintiffs time and expense in the form of attorneys fees, costs of litigation, and damages

  associated with anxiety, mental suffering, negligeat/intentional infliction of emotional distress,

  fmsti-atiou, humiliation, worry, emban'assment, pain and suffering, loss of peace of mind, loss of


  trust in the court system, lost income, travel expenses, and other consequential losses.


          78. Defense counsel Mark Amdt of Sioux Falls took over Helgeson's civil defense on

  the case on March 4, 2016. Amdt moved to set aside the default judgment. The Court denied


  said motion on March 29, 2016.

          79. A Damages trial was set to be held on November 1, 2017, in order to determine

  the full extent, nature and amoimt of Plaintiffs' damages.

          80. Attorney Amdt, on Helgeson's behalf, filed a May 18, 2016 Motion for Jury Trial


  to be held on the damages, rather then to have a court trial. Thompson opposed said motion.

          81. The Circuit Court held a hearing on April 10, 2017, and granted Helgeson's

  Motion to have a Jury Trial on the Plaintiffs' damages.

          82. The January 20, 2016 depositions of the Thompson heirs were deemed invalid by

  Plaintiffs as a result ofHarrie's unauthorized practice of law which had, up imtil that point,

  remained unknown, concealed, suppressed, misrepresented, and/or piuposefidly hidden from


  Plaintiffs and the Court.




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         83. Han-ie's conduct in practicing law in South Dakota without a license caused


  midue delay and significant added monetaiy expense because of its illegality.

         84. Defendant Nodak and Defendant Nilles Law Firm apparently and/or obviously

  knew or should have known of the fact that in this case. Civ. No. 12-105, Harrie was practicing


  law in a South Dakota case without a proper South Dakota law license or without proper pro hac

  vice admission.


         85. Defendants Nodak, Nilles, and Han-ie, all did, or should have reasonably known,

  that such information such as Harrie's lack of legal authorization to practice in South Dakota in

  this case, was an. obvious fact that absolutely needed to be revealed and disclosed to the Court

  and their opponents in the litigation. Plaintiffs. Defendants therefore knew or should have

  known that such concealment, suppression, misrepresentation and nondisclosiu'e of such a


  material fact would and will cause damage to the party opponents, the Plaintiffs. But Defendants


  went ahead negligently, recklessly, and/or purposefully, anyway, despite that knowledge. or those

  likely consequences, and in light of what the Defendants each knew not to be the truth.

         86. That Defendants Harrie, Nilles and Nodak acted intentionally, wantonly,


  oppressively, pmposefully, willingly, and with reckless disregard for Plaintiffs' rights, remedies,

  interests, or condition, when the Defendants chose to intentionally deceive and/or defraud the

  Court and the Plaintiffs in Civ. No. 12-105, as a result ofHame's conduct.


  Craig 0. Ash is a licensed attorney practicing law in South Dakota.

         87. William Harrie is a licensed attorney practicing law in North Dakota.

         88. At all times relevant to this Complaint, William Han-ie practiced law with the law


  firm known as NILLES LAW FIRM.

         89. At all times relevant to this Complaint, the law firm known as NILLES LAW FIRM




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  was a Professional Partnership, with an office in Fargo, North Dakota.

         90. From at least October _, 2012 through Febmary 1, 2016, Nicholas Helgeson

  was a client of William Han-ie and NILLES LAW FIRM.

         91. On or before October ,2012, William Hai-rie and NILLES LAW FIRM undertook


  the legal representation Nicholas Helgeson on a personal injmy claim Teresa Thompson and the

  Thompson Estate had arising from a motor vehicle incident on November _, 2009.


         92. At the time of the motor vehicle incident on November , 2009, Nicholas


  Helgeson was driving a Jeep vehicle owned by Patrick Nelson, a Fargo resident.

         93. Decedent Winfield Thompson and Richard Chell, were insured and died as a

  direct result of the motor vehicle incident when the Chell vehicle with Winfield Thompson as a


  passenger was struck by the Jeep vehicle being driving by Nicholas Helgeson with the

  permission of Patrick Nelson.


         94. The circumstances under which Winfield Thompson was injured and died from,


  gave rise to a legal claim for personal injuries and wrongful death by Teresa Thompson and the

  Thompson Estate against Nicholas Helgeson.

         95. On or about _, Robin L. Zephier and Abourezk & Zephier Law Firm


  issued a COMPLAINT that asserted Teresa Thompson and Thompson Estate's personal injury

  claim against Nicholas Helgeson, the driver of an automobile involved in the incident on


  November , 2009.


         96. The document attached to this Complaint as Exhibit A is an accurate copy of the

  substance of the COMPLAINT that Robin L. Zephier and Abom-ezk & Zephier Law Finn issued on


  or about on behalf of Teresa Thompson and the Thompson Estate.

         97. At all times relevant to this Complaint, William Han-ie and Nilles Law Firm




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  provided legal representation to Nicholas Helgeson with respect to the motor vehicle incident on

  November , 2009.


         98. At all times relevant to this Complaint, William Han-ie was acting on behalf of

  the partnership known as NILLES LAW FIRM and within the scope of his authority to do so.


         99. Defendants owed Nicholas Helgesoii (deceased) the duty to possess the


  knowledge and skill ordinarily possessed by attorneys in good standing engaged in handling

  personal injm'y claims in South Dakota, the duty to use the care and skill ordinarily exercised

  imder similar circumstances by attorneys in good standing handling personal mjwy claims in

  South Dakota, and the duty to be diligent in as. effort to accomplish the purposes for which they


  were employed.


          100. Defendants violated their duties to Nicholas Helgeson (deceased); their failures


  include, but are not necessaiilv limited to:


         a. failing to possess the knowledge and skill ordinarily possessed by attorneys in good
              standing engaged m handling personal injury claims in South Dakota;

         b. failing to use the care and skill ordinarily exercised under similar circumstances by
              attorneys in good standing handling personal injury claims in South Dakota;

         c. failing to obtain any proper legal authority and/or authorization to legally practice
              law in the State of South Dakota in a timely and appropriate manner;

         d. tailing to advise their client that handling his claim may require knowledge, skill,
              and expertise beyond that possessed by the Defendants;

         e. failing to initiate a pro hac vice motion in which to legally and properly represent
              Nicholas Helgeson in the South Dakota action;

         f. subordinating Nicholas Helgson's interest to the conflicting interest of another of
              their clients;

         g. failing to refer their client to an attorney possessing any special knowledge, skill,
              and expertise required to handle her personal injury claim;

         h. failing to be diligent in an effort to accomplish the purposes for which they were
              employed;

         i. failing to prosecute their client's claim;

         j. failing to keep their client reasonably apprised of the status of her claim; and



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          k. failing to make reasonable efforts to settle their client's claim.

          1. failing to communicate the _ $100,000 Nodak auto liability policy limits
               settlement demand to their client Nicholas Helgeson before said time limit policy
               limit demand expired on _..

          m. Failing to advise their client Nicholas Helgeson to accept the _ policy limits
              settlement demand prior to or by the time limits demand expiration date of_.

          101. As a direct and proximate result of Defendants' failure to fulfill their duties to



  Nicholas Helgeson, Helgeson sustained


          a. general damages that include mental anguish and loss of enjoyment of life; and

          b. special damages that include, but are not necessarily limited to

                           , defense legal fees and costs in Civ. No. _;


                           ii. interest on the above amount; and

                           iii. increased legal fees and costs.

                           iv. Pain & suffering.

                           v. Loss of enjoyment of life.

                           vi. Anxiety, frustration, loss of income.

          102. Defendants violation of their duties to Nicholas Helgeson was in wanton and

  reckless disregard of Nicholas Helgeson s rights, such that Nicholas Helgeson's Estate is entitled


  to exemplary damages.


                                   COUNT^WO: FRAUD AND DECEIT

          Plaintiffs hereby incorporate paragraphs one through _ (1-_) of the Complaint as if

  fully set forth herein

          103. Fraud in South Dakota pursuant to SDCL § 20-10-1 is defined as:

                  One who willfully deceives another, with an intent to induce him to alter his
                  position to his mjm7 or risk, is liable for any damage which he thereby suffers.


          104. Deceit iu South Dakota pursuant to SDCL § 20-10-2 is defined as:

                  (1) the suggestion, as a fact, of that which is not b-ue, by one who does not believe
                  it to be true;
                  (2) the assertion, as a fact, oftliat which is not true, by one who has no reasonable




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                 ground for believing it to be true;
                 (3) the suppression of a fact by one who is bomid to disclose it, or who gives
                 information of other facts which are likely to mislead for want ofcommurdcation.
                 of that fact, or
                 (4) a promise made without any intention of performing.



          105. The Circuit Court has ah-eady determined as a matter of fact and law that

  Defendant Harrie has committed "fraud," "deceit", "dishonesty" and "misrepresentation" in his


  actions in practicing law in the State of South Dakota without a South Dakota law license or by

  proper admission under pro hac vice.


          106. Han'ie's law firm. Defendant Nilles Law Firm in Fargo, North Dakota, it is


  alleged, knew or should have known ofHan-ie's conduct, individually and/or collectively, and


  that Han'ie had done similar things in the past with other clients and other cases.

          107. Harne's conduct is legally imputed to that of the Nilles Law Finn as he is a


  partner in that. firm and tile Nitles Law Finn did or should have authorized and/or condoned all

  ofHame's conduct in Civ. No. 12-105 and in other similar South Dakota personal injury and

  insurance claim defense claims and cases over the past years.


          108. Defendant Han-ie and Defendant NiUes Law Finn, to Plaintiffs' best knowledge


  and belief, have been hired by Defendant Nodak Mutual Itisurance Company for many previous

  and subsequent personal injury and/or insurance defense cases out of South Dakota, other then


  the case involving Helgeson in Civ. No. 12-105. Nodak Mutual employed Harrie and Nilles,

  whereby Nodak paid Harrie and Nilles to represent Nodak itself and/or Nodak Insureds (such as

  Prochnow and Helgeson) in cases involving South Dakota events, courts and persons. Han-ie


  and Nilles therefore served as Nodak's agents in an agency setting, and/or as employer and

  employee, and/or as master and servant under respondiat superior principles and considerations,


  at all times relevant to these proceedings. Nicholas Helgeson and Plaintiffs Melissa Prochnow




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  and the Estate of Nicholas Helgeson, were clients of William Harrie and Nilles Law Firm and

  were first party named insureds of Defendant Nodak at all times relevant to these claims.

          109. That therefore as a result of the agent and agency relationship and/or the

  employer/employee relationship ofNodak to Harrie and Nilles, Han-ie s and Nills' conduct and

  knowledge, is also legally imputed to Nodak by either actual and/or constructive knowledge,

  awareness, permission, authorization (ostensible, actual, apparent and/or direct) and acquiesce.


          110. The fraudulent conduct ofHarrie committed in South Dakota by and through his


  appearance though telecommimications, at hearings and/or depositions and by signing pleadings,

  forms the basis of the fraudulent inducement which occurred, and created a proximate cause


  and/or direct cause resulting in damage to all Plaintiffs, (Nicholas Helgeson, Melissa Prochnow,

  Jamie Helgeson and the Helgeson Estate, Teresa Thompson and Estate of Wiiifield Thompson)

  the Court(s), and the public at large. The direct damage to then client, Nicholas Helgesoa,


  resulted in the legal negligence, et. al, claims against Winfield Thompson and Nilles Law Firm


  and Nodak, being legally assigned to Teresa Thompson and Estate ofWinfield Thompson,

  Melissa Prochnow, Jamie Helgeson and the Estate of Nicholas Helgeson retain some oftheir

  own separate injiiry/damage that is also assigned.

          111. Harrie's conduct in practicing law without a license in South Dakota in Civ. No.

  12-105, and by intentionally not disclosing his unlicensed status to the Court, caused damage to


  Plaintiffs in the form ofimdue delay, pain and suffering, anxiety, mental anguish, intentional


  infliction of emotional distress, negligent infliction of emotional distress, worry, frustration,

  embarrassment, loss of peace of mind, humiliation, lost income, loss of trust in the Courts, pain


  and suffering, travel expenses, attorneys fees in excess of $200,000, litigant expenses in excess


  of $50,000, and other consequential losses.




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          112. Han-ie and Nilles, and Nodak, all intentionaUy and/or negligently and/or

  recklessly concealed and/or suppressed Harrie s and Nilles' unauthorized practice of law to the

  Court and to the Plamtiffs (Nicholas Helgeson, Melissa Procl-mow, Jamie Helgeson and the

  Helgeson Estate, Teresa Thompson and Estate ofWiufield Thompson), since October 2012,

  when Harrie first signed an appearance in Fifth Circuit Court in Civ. No. 12-105, and through

  2016.


          113. Harrie, Nilles and Nodak, intentionally misrepresented Harrie's status as a

  properly authorized or licensed attorney in South Dakota, since Han'ie s first appearance in Civ.

  No. 12-105 in October 2012, and through 2016.


          114. Han-ie, Nilles and Nodak, intentionally deceived the Plaintiffs (Nicholas Helgeson,

  Melissa Prochuow, Jamie Helgeson and the Helgeson Estate, Teresa Thompson and Estate of

  Winfield Thompson) (and the Courts) by Harrie's imauthorized practice of law in South Dakota


  since his first appearance in Civ. No. 12-105, in October 2012 and through 2016.

          115. The individual and combined intentional and/or negligent conduct of the

  Defendant's Han-ie, Nilles and/or Nodak, on a joint and several basis, in defrauding, concealing,


  suppressmg, misrepresenting, and deceiving the Plaintiffs (Nicholas Helgeson, Melissa

  Prochnow, Jamie Helgeson and the Helgeson Estate, Teresa Thompson and Estate ofWinfield

  Thompson.) (and the Courts and the public) by Harrie's unauthorized practice of law in South


  Dakota in Civ. No. 12-105, from October 2012 through 2016, directly and/or indirectly induced


  the Plaintiffs (Nicholas Helgeson, Melissa Prochnow, Jamie Helgesou and the Helgeson Estate,

  Teresa Thompson and Estate ofWinfield Thompson) (and the Courts) to continue spending time,


  money, expense, emotional energy, and physical and emotional effort on pursuing justice in Civ.

  No. 12-105, not knowing ofHame's concealed and undisclosed miauthorized practice of law, all




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  to Plaintiffs' detriment and damage. This conduct was both negligent, reckless and/or

  intentional.


          116. By committing fraud, deceit, dishonesty and misrepresentation in these matters,

  the Defendants, proximately and directly caused damage to the Plaintiffs (Nicholas Helgeson,

  Melissa Prochnow, Jamie Helgeson and the Helgeson Estate, Teresa Thompson and Estate of


  Winfield Thompson) in the form ot attorneys fees, costs of litigation, intentional/negligent


  infliction of emotional distress, anxiety, pain and suffering, worry, frustration, humiliation,

  embarrassment, loss of peace of mind, loss ofb-ust in the court system, lost income, travel


  expenses and other consequential losses.


                             COUNT THREE:
   CIVIL CONSPIRACY AGAINST DEFENDANTS HARRIE, NILLES LAW FIRM, AND
                      NODAK INSURANCE COMPANY

          Plaintiffs hereby incorporate paragraphs one through _ (1-_) of the Complaint as

  if fully set forth herein.

          1 17. Since the time of initiation of the litigation in Civ. No. 12-105, and now as of the

  date of the present action, Nodak Mutual Iiisiu-ance Company has chsmged its name to Nodak


  Insurance Company which is a subsidiary of a holding company known as Nodak Mutual Group,

  Inc., m Fargo, North Dakota. Nodak Insurance Company is a wholly owned subsidiary ofN.I.


  Holdings, Inc., in Fargo North Dakota. Nodak Mutual Group, Inc., is a mutual holding company


  recently formed and owns 55% of the N.I. Holdings, Inc., All of the Nodak Companies,

  including N.I. Holdings, are located in and have registered agents in Fargo, North Dakota.

          118. Conspiracy to violate the law, occurs when one or more parties (persons, artificial


  persons, entities, companies, corporations, etc.), agree to violate the law. In this action,


  Plaintiffs' best knowledge and reasonable belief suggests that all Defendants knew ofHan-ie's




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  conduct in die case of Civ. No. 12-105, and potentially in many other previous and/or subsequent


  claims and cases, and all defendants conspired to continue to violate the law of the unauthorized

  practice of law in South Dakota courts.


          119. That between October 12, 2012 and January 21, 2016 Defendants Nodak,


  Harrie and Nilles, knew or should have reasonably known that Harrie was practicing law in

  South Dakota without a license, with the full permission, consent, acquiescence and/or


  knowledge of all Defendants..

          120. According to Plaintiffs' best knowledge and belief. Defendants Harrie, Nilles


  and Nodak have both suppressed and failed to reasonably disclose their use of unlicensed


  attorneys, to its policyholders and to the public, as well as to the Courts and to party opponents,

  when suppression of these facts is likely to, and actually does, mislead the policyholders, courts

  and litigants, as it did all Plaintiffs, here.

          121. According to Plaintiffs' best knowledge and belief. Defendants Hm-rie, Nilles Law


  Finn and Nodak, have and may have been committing the unauthorized practice of law, in the

  State of South Dakota on many other similar insurance related and personal injury actions and

  claims in South Dakota, such as the one involving Helgeson in Civ. No. 12-105, in the past,


  present, and since January 2016.


          122. The arrogant and snub nature in which Defendant Han-ie conducted himself in the

  tort action in Civ. No. 12-105, before he was caught in his un.authorized practice of law conduct

  in 2016, reasonably suggest that he and his firm, as the main legal defense firm for Nodak

  Insurance Company's insurance claims and cases in North and South Dakota, may be utilizing or


  have utilized, unlicensed attorneys in other claims in South Dakota, with the apparent and /or

  actual Imowledge, consent, permission, and/or acquiescence ofNodak hisurance Company and




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  of course, Han-ie and Nilles.


          123. Harrie s and Nodak s conduct in Civ. No. 12-105 suggests that it was no

  significant concern that Han-ie was practicing law in South Dakota without a license to do so.

  That conduct suggest culpability and an intent to continue to do so. If that is true, then such is a

  conspiracy to violate state law and the rules of the South Dakota Courts, and the rights and

  remedies of party opponents such as all Plaintiffs here.


          124. The effect of this alleged civil conspiracy is to violate state, tribal and federal law,

  to breach duties of reasonableness, ethics, good faith and fair dealing, and to unfairly defraud,

  and to deceive innocent party Litigants, opponents, claimants, the Courts and the public, and


  consumers in general, including all Plaintiffs here.

          125. Nodak, as an msurance corporation along with its parent and subsidiary

  companies, N.I. Holdings, hic., and Nodak Mutual Group, hic., are required to abide by the laws


  of any state where they transact the business of insurance (sales, marketing, claims handling,


  etc.), therefore, Nodak and its companies are required to abide by the specific South Dakota

  insurance regulation statutes such as SDCL §58-6-1, 58-6-2, 58-33-49, 58-33-66 (2), 58-33-67,


  and 58-33-68.


          126. The alleged civil conspiracy committed by the Defendants as mentioned herein,

  proximately and directly caused damage to aU of the Plaintiffs as previously enunciated in


  Counts I, II and III.

                          COUNT FOUR^ BARRATRY/ABUSE OF PROCESS

          Plaintiffs hereby incorporates paragraphs one through _(1-_) of this


  Complaint as if fully set forth herein.

          127. Nicholas Helgeson was insured by Defendant Nodak Mutual hisurance Company




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  (now, known as Nodak Insurance Company) ("Nodak ) with an insurance policy number

           _('T.olicy").


          128. Nodak does business in North and South Dakota, including the sale of the Policy to

  Nicholas Helgeson and his mother Melissa Prochnow.

          129. According to Plaintiffs' best knowledge and reasonable belief, Defendant Harrie,

  Nilles and Nodak knew that T-Iame and others at the Nilles Law Finn, were getting hired by


  Nodak on insurance defense and personal injury defense claims and cases in South Dakota (and

  possibly in other states), when Han'ie and/'or any other attorneys from the Nilles Law Firm were

  not licensed to practice law in South Dakota.

          130. According to Plaintiffs' best knowledge and reasonable belief, that if Defendants


  all knew that such imauthorized practice of law was occurring in South Dakota on said claims

  and cases, and the Defendants pmposefully and intentionally proceeded in the face of that known

  fact, then such negligent, intentional and/or reckless conduct would and was conducted in a


  malicious way and with bad faith toward the Courts, the public, and to the innocent opposing

  parties, such as all Plaintiffs here.

          131. Plaintiffs suffered separate harm and damage as a result of the Defendants'


  negligent, reckless and/or intentional conduct, which proximately and directly caused said

  damage to all Plaintiff in the form of pain and suffermg, intentionaVnegligence infhction of

  emotional distress, anxiety, mental suffering, worry, embarrassment, undue delay, humiliation,


  loss of peace of mind, loss of trust in the coiu-t system, attorneys fees, litigation costs, travel


  expenses, loss of income, and other consequential losses.


                       COUNT FIVE: NODAK'S BREACH OF CONTRACT

                Plaintiffs hereby incoq">orates paragraphs one through _(1-_) of this




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  Complaint as if fully set forth herein.


          132. Nicholas Helgeson and Melissa Prochnow, at all time. material therein, were insured

  under the Policy.


          133. Nicholas Helgeson and Melissa Prochnow were insured by Nodak on or about

  November _, 2009. On this date Nicholas Helgeson caused a motor vehicle accident in


  Roberts County, South Dakota, which ended up causing sever bodily injury and ultimate death of

  Winfield Thompson and Richard Chell.


          134. The Policy provides coverage for liability motor vehicle benefits in the even

  Nicholas Helgeson would injure/damage soiaeone else in a covered accident.


          135. That among other things, Nodak was required to property review, investigate, and in

  good faith evaluate the third party liability claim made against Nicholas Helgeson.

          136. By Nodak's conduct, it breached the contract of msurance reflected in the Policy.


          137. hi order to pursue Theresa Thompson s and Thompson Estate's personal


  injury/sui-vival/wrongful death claims, Teresa Thompson and Thompson Estate filed a lawsuit

  against Nicholas Helgeson captioned in the State of South Dakota, Fifth Judicial Circuit, Roberts

  Comity, Civil File No. 12-105 which resulted in ajiuy verdict in the amount of $_.

          138. As a result ofNodak's refusal to honor its contract, Nicholas Helgeson and Nicholas

  Helgeson Estate was damaged. Nicholas Helgeson, Melissa Prochnow, Jamie Helgeson, and the

  Nicholas Helgeson Estate, also suffered emotional and physical distress complicated and

  exacerbated by the additional stress of having to go to trial and the rigors of litigation due to the

  conduct ofNodak in refusing to mdemnify and pay the claimants/Plaintiffs for their damages


  pretrial, and to accept the April 14, 2014 policy limits time limit settlement demand of the


  Thompson Estate.




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        COUNTY SIX: NODAK'S BREACH OF DUTY OF GOOD FAITH AND FAIR

                                                DEALINGS

          Plaintiffs hereby incorporates paragraphs one through _(1-_) of this

  Complaint as if fully set forth herein.


          139. Plaintiffs reallege and incorporate by reference the foregoing paragraphs.

          140. Every contract in South Dakota includes the duty of good faith and fair dealing.


          141. Nodak did not honor its duty of good faith and fair dealings with respect to Nicholas

  Helgeson, Melissa Prochnow, Jamie Helgeson and the Helgeson Estate.


          1.42. Nodak preferred itself and its own financial interest, in contravention and resistance


  of its good faith and fair dealings, over that of its insured.

          143. Nodak failed to perform its required duties and obligations which it owed to their

  insured, Nicholas Helgeson, Melissa Proclmow, Jamie Helgeson and the Helgeson Estate.


          144. Nodak breached the duty of good faith and fair dealing it owed to Nicholas

  Helgeson, Melissa Prochnow, Jamie Helgeson and the Helgeson Estate.


          145. As a result ofNodak's breach of its duty of good faith and fair dealing, Nicholas


  Helgeson, Melissa Prochnow, Jamie Helgeson and the Helgeson Estate, were damaged.


                              COUNT SEVEN: NODAK'S BAD FAITH

          Plaintiffs hereby incorporates paragraphs one through _(1-_) of this

  Complaint as if fully set forth herein.

          146. Nodak drafted the policy.

          147.Nodak knew that Nicholas Helgeson had a conh-actual riglit to be defended and


  indemnified in the claim against Nodak under the terms and conditions of the policy.

          148. Nodak knew that Nicholas Helgeson has a contractual right to be defended and




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  indemnified in. the claim against Nodak under the terms mid conditions of the Policy.

          149. Nodak failed in fulfilling its duties and obligations which it owed to its insured

  ujnder the terms and conditions of the Policy.


          150. Nodak acted in bad faith toward Nicholas Helgeson, Melissa Proclmow, Jamie

  Helgeson and the Helgeson Estate, in refusing to follow proper claims handling procedm-es and

  in performing the duties owed to Nicholas Helgeson, Melissa Prochnow, and Jamie Helgesoii as


  a result of the Thompson claim.

          151. Nodak acted in bad faith toward Nicholas Helgeson, Melissa Prochnow, and Jamie

  Helgeson in refusing to mdemnify them for the full value of the policy limits coverage aad/or

  jmy verdict as a result of forcing him to defend against a claim in order to protect his rights.

          152. As a result ofNodak's bad faith conduct toward Nicholas Helgesoa, Melissa

  Prochnow, Jamie Helgeson and the Helgeson Estate, all Plaintiffs were damaged.

                 COUNT EIGHT: NODAK'S BREACH QFLFIDUCIARY DUTY

          Plaintiffs hereby incorporates paragraphs one through _ (1-_) of this

  Complaint as if fully set forth herein.

          153. That Defendant Nodak hisurance Company has acted in bad faith in its failure to


  reasonably and promptly provide payment of the $100,000 liability policy limit time limit

  settlement demand made by Teresa Thompson and the Thompson Estate which expired on April

  28, 2014 of first party Uniusurd Motorist (UM) and/or M:edical Payments Coverage (MPC)

  insurance benefits to Todd Mack for his bodily injuries, by um-easoaably withholding said

  benefits, when it is obvious and undeniable that Teresa Thompson and the Winfiled Thompson

  Estate had suffered bodily injury and. death as a result of the accident, at least to some


  undisputed degree and amoimt.




                                                   30


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          154. That Defendant Nodak hisiu-ance Company has acted in bad faith, and not in good


  faith, in its failure to reasonably investigate said accident, its severity, and the serious and severe

  natiu-e ofWinfield Thompson and Thompson Estate's injm-ies and damages, as a result of the


  accident of its own insured caused by Nicholas Helgeson negligence, and in denying and/or

  delaying a reasonable payment of liability bodily injury policy benefits to Teresa Thompson,

  Thompson Estate, once adequate reasonable proof of the same has been provided to Defendant


  Nodak's claims personnel.


          155. The Defendant, at the point of marketing, sale and initiation of the automobile

  insurance policy product to hmocent and unsuspectmg citizens such as to Nicholas Helgeson.

  Melissa Prochnow, and Jamie Helgeson, and those other named insureds similarly situated, by


  and through its agents, does not reasonably, tully, or sufficiently disclose to its named insureds,

  that first party claim(s) for benefits will be subject to this form of claim handling and scrutiny,

  prior to first party claim benefits being handled, diminished, withheld, denied or paid. In fact,

  unsuspecting named insm-eds are most times totally unaware of these types of first party claims


  handling tactics, until it is too late, and they find themselves feeling the physical, emotional and


  financial stress of having their own insiu-or deny, withhold or diminish first party benefits


  defense costs, indemnity, in this unreasonable fashion, and at a time when the

  policyholder/insured needs to the carrier's obligation to come through the most. This is the

  position Plaintiff Decedent Nicholas Helgeson and Melissa Prochnow found themselves in as a


  result of Defendant's conduct.


          156. That by reason of the foregoing, the Defendant is liable to the Plaintiff by and for


  Nicholas Helgeson, Melissa Prochnow, Jamie Helgeson and the Helgeson Estate, for an amount


  to be determined by a jury and, in addition thereto, for the intentional, malicious and




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  unreasonable refusal to pay reasonable damages to its insured; and for punitive and exemplary

  damages in the smn to be set by a jury herein, after giving due consideration to the net worth and

  earnings of the Defendant.


          157. That Defendant Nodak Insurance Company and/or its successors and predecessors


  in interest has acted in bad faith by unfairly and unreasonably using a computer software claims

  handling system(s) called Colossus and/or COA, etc., in MPC and UMA-JIM claims. Colossus


  and/or Claims Outcome Analyst (COA), are amongst several competing software claims

  handling systems used purportedly for valuing verdict values of first and third part;' bodily

  injury claims. These systems are represented to the public, when they are disclosed at all, as a

  "tool" for helping the adjustor to reach the injm-y value due to the insured or claimant. To


  Plaintiffs best knowledge and belief, Defendant uses Colossus, COA and/or some similar claims

  handling program or process to delay and undervalue claims, to save money for the Defendant's


  claims department, at the claimants expense.


          158. By allowing their claims employees and/ov hired house legal counsel to participate

  in its employee incentive compensation program(s), Nodak, according to Plaintiffs* best

  knowledge and reasonable belief, is promoting a claim handling system which does not pay

  much or promptly on claims, including legitimately owed third party liability claims, and which

  is intended to achieve combined ratio goals that would create a conflict ofitnerest for claims


  handlers if they receive incentive pay or bonuses for achieving lower claims payments. This


  incentive pay structure leads to using claim severity goals to affect the company's profitability

  which has an effect on individual claims payment amounts to Nodak's insm-eds, including


  Plaintiffs here.

          159. Plaintiffs reallege and incorporate by reference the foregoing paragraphs.




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          160. Nodak owed a fiduciary duty to its insured Nicholas Helgesou, Melissa Prochnow.

          161. Nodak preferred its own interest over that of its insured, by refusing to property

  follow the proper claims and procedures in handling the claim of their insured.

          162, Nodak breached its fiduciary duty to Nicholas Helgeson and Melissa Prochnow.

          163. As a result ofNodaks breach of its fiduciary duty, Nicholas Helgeson, Melissa

  Prochnow, Jamie Helgeson and the Helgeson Estate were damaged.


            COUNT NINE: NODAK'S RESPONSIBILITY FOR ATTORNEY FEES

          Plaintiffs hereby incorporates paragraphs one through _(1-_) of this

  Complaint as if fully set forth herein.

          164. Nodak refused to pay the fall amomit of the loss as required imder the Policy.

          165. Nodak refusal to properly handle the Teresa Thompson and Thompson Estate claim

  without reasonable cause.


          166. Nodak's refusal to indemn.ify, investigate, and handle proper policies and

  procedures of claims handling/settlement was without reasonable cause.


          167. Nodak should be required to pay a sum to Nicholas Helgeson, Melissa Proclmow,

  Jamie Helgeson and the Helgeson Estate as reasonable attorney fees on attorney fees for the

  costs of defending Nicholas Helgeson and recover the defense costs and verdict indemnity

  amoimts owed to Nicholas Helgeson Estate, Melissa Prochnow, Jamie Helgeson, Teresa


  Thompson and Thompson Estate imder the policy.

          COUNT TEN: NODAK^S^ESPONSIBLE FOR EXEMPLARY DAMAGES

               Plaintiff reallege and incorporate by reference. the foregoing paragraphs.

         168. Nodak committed the torts of bad faith and breach of fiduciary duty

  against Plaintiffs Estate ofNichals Helgeson, Melissa Prochnow and Jamie I-Ielgeson.




                                                  33


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            169. Nodak's torts were willful, malicious and/or wanton.


            170. Nodak must be punished for their conduct, and an example must be made of the

  conduct of American Family.


            171. Exemplary damages should be awarded against Nodak to deter this type of

  conduct in the future.


                                              COUNT VII

                                         PUNITIVE DAiMAGES

            Plaintiff hereby incorporates paragraphs 1-_ of this Complaint as if fully set forth

  herein.


            172. hi doing all the tings herein alleged. Defendant Nodak acted intentionally,


  recklessly, vexatiously, oppressively and/or maliciously and is guilty of a wanton and reckless

  disregard of the contractual, common law and statutory rights of the Nichals Helgeson, Melissa

  Prochnow and Jamie Helgeson and Nicholas Helgeson Estate.


            173. Plaintiffs are entitled to punitive damages as the only way of deterring Nodak

  Insurance Company from continuing to employ these wrongful, willful, intentional,

  unreasonable, and vexations tactics against its own policyholders and first party insiu'eds.


            174. According to Plaintiffs' best knowledge and belief, m doing all the things herein

  alleged. Defendants Harrie, Nilles and/or Nodak Insm-ance Company acted intentionally,


  recklessly, wantonly, vexatiously, oppressively and/or maliciously and were guilty of a wanton

  and reckless disregard of the contractual, common law and statutory rights of all of the Plaintiffs.

            175. Plaintiffs are entitled to punitive damages as the only way of deterring

  Defendants Harrie, Nilles and/or Nodak Insurance Company fi-om continuing to employ these

  wrongful, oppressive, deceitful, fraudulent, unreasonable and vexations tactics against innocent




                                                    34


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  party/litigants, inchidmg, but not limited to. Plaintiffs, and the Courts of South Dakota and the

  public at large.

               WHEREFORE, Plaintiffs request for judgment individually, and jointly and

  severally, against each of the Defendants as follows:


          1. For the actual expenses incurred in the full and complete compensation for all tort

  and statutory damages sustained by Plaintiffs in the subject incident and as a result of the


  Defendants fraud, legal negligence, deceit, civil conspiracy, bad faith, breach of contract,

  negligence, reckless conduct, and any and all subsequent and nondisclosure conduct, and for the

  actual expenses incurred incidental to the said damages, past, present and future, and to the


  procuring of said expenses, reimbursements, losses and damages to the date of trial, together

  with interest thereon;

          2. For such monetary compensation as shall fully compensate for all of the losses,


  including, but not limited to, pain and suffering, mental anguish, worry, anxiety, frustration,


  humiliation, embarrassment, loss of income, travel expenses, undue delay, negligent and


  intentional infliction of emotional distress, loss of trust, loss of peace of mind, attorneys fees,

  litigation costs and consequential loss sustained by Plaintiffs to the date of trial with interest

  thereon and which is likely to continue into the future, in a sum to be determined by the jury in


  this case;

          3. For an additional sum as and for punitive or exemplary damages in an amount to


  be set by the jmy herein, based upon the best financial information available as to each

  Defendant according to SDCL §21-3-2.

          4. For Plaintiffs' attorney fees, costs, and expenses of these proceedings, and


  because of Defendants' vexations, unreasonable, intentional and abusive conduct;




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         5. For prejudgment interest on any award to which Plaintiffs are held entitled by the


  jury; and

         6. For such other and further relief as the Court deems just and equitable.


         DATED this _day of October, 2018.

                                              ABOUREZK, ZEPHIER, & LAFLEUR




                                         By: /s/ Robin L. Zephier
                                              Robin L. Zephier
                                              Attorney for Plaintiffs
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                                              Rapid City, South Dakota 57709
                                              (605) 342-0097

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                                              Turbak Law Office, P.C.
                                              26 W. Broadway, Suite 100
                                              Watertown, SD 57201-3670
                                              (877)380-8517




                         TRIAL BY JURY IS HEREBY REQUESTED




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     STATE OP SOUTH DAKOTA                                              IN CIRCUIT COURT
                                            )§
     COUNTY OF ROBERTS                      )                    FIFTH JUDICIAL CIRCUIT

     TERESA ANN THOMPSON, Individually,                             Civil No,; 12-105
     And As Special Administrator for the           )
     Estate ofWINFIELD THOMPSON                     )
     deceased, and DALE LAR.OCHE,                   )                                         MAR 2 9 20}S
     Individually, And As Special Administrator     )
     for the Estate of RICHARD CHELL,
     deceased,
                                                    )
                                                    )
                                                                                              aa»rE
                                                                                           eoyTste»i

                                                    )
                                    Plaintiffs, )
                                                    )         ORDER GRANTING PLAINTIFFS
     V.                                                       MOTION TO QUASH DEFENDANT'S
                                                              MOTION FOR PRO HAC VICE OP
     NICHOLAS HELGESON,                                       WILLIAM HARRIE
                                                    )
                                    Defendant, )



            The above-entitled action having come before this Court on Defendant's Motion for Pro

     Hao Vice and Plaintiffs' Motion to Quash Pro Hac Vice, and the Court having read and

     considered the submittals of the parties and the arguments of counsel; and good cause appearing

     thereon, it is hereby

            ORDERED that the Defendant's attorney William Hau'ie did not comply

     with SDCL §16-18-2 and therefore the Defendant's Motion for Pro Hac Vice is DENffiD; and it

     is hereby iurther

             ORDERED that the attached Findings of Fact and Conclusions of Law will be hereby

     incoqwrated in full herein,; in support of said Order,

            Dated this                            2016,

                                                              BY THE COURT;


                                                                                           ^WVAJL'U
                                                              Honoml;       1 S, Flemmer



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                                         Circuit Court Judge

    ATTBSX,-

    By; V--2k^ r^ i _. \«-^.^^_
         Deputy


    (SEAL)




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       STATE OF SOUTH DAKOTA ) IN CIRCUIT COURT
                                           )§
       COUNTY OF ROBERTS ) FIFTH JUDICIAL CIRCUIT

       TERESA ANN THOMPSON, Individually,) Civil No.; 12-105
       And As Special Administrator for the )
       Estate of W1NFIELD THOMPSON ) JL^ A JU M^ AJ
       deceased, and DALE LAROCHE, )
       Individually, And As Special Administrator )
       for the Estate of RJCHARD CHELL, ) w^®?tNsm<
       deceased,                                       '    )     ^        —,,,f^
                                                   )          —^r.
                                    Plaintiffs, )
                                                   ) FINDINGS OF FACT AND
       v. ) CONCLUSIONS OF LAW ON
                     ) PLAINTIFF'S RENEWED MOTION
       NICHOLAS HBLOESON, ) FOR DEFAULT JUDGMENT AGAINST
                               ) DEFENDANT HELGESON, AND
                                    Defendant. ) MOTION TO QUASH


        FINDINGS OF FACT AND CONCLUSIONS OF LAW ON PLAINTIFF'S RENEWED

        MOTION FOR DAMAGES AGAINST DEFENDANT HELGESON, AND MOTION TO

                                                  QUASH

              The above-captioned action, through Plaintiffs' Renewed Motion for Default Judgement and

       for Damages, having come before the Court duly for hearing on Monday, February 29,2016; and the

       Plaintiff appearing through her attorney of record, Robin L, Zephier ofAbourezk & Zephier, P.C,

       appearing by phone, and the Defendant having appeared by counsel Greg Peterson, and Plaintiff

       LaRoche appearing by phone, after written notice of said hearing was sufficiently provided to

       Defendant and LaRoche; and the Court having received and considered the written submissions of

       the Plaintiff Thompson and the Defendant, and the argument of counsel; and the Court having

       determined the arguments and authorities provided by the Plaintiff Thompson, and the Renewed

       Motion for Default Judgment having been GRANTED; and good cause appearing for entry of




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    Findings of Fact and Conclusions of Law, and an Order on the same; therefore, the following shall

    constitute the Court's Findings and Conclusions accordingly;

                                               FINDINGS OF FACT

    I, Any Finding of Fact that should more appropriately be a Conclusion of Law, or vice versa, shall be

    treated as such for all purposes herein,


    2, The oral pronouncements by the Court that are properly considered as Findings of Fact, made during

    the hearing of February 29,20 16, shall be, and hereby are, ratified and reasserted herein by this reference

    as if set forth in their entirety, and shall be considered as the primary and controlling Findings of Fact for

    all purposes herein,


    3. These Pindmgs of Fact are intended to aid, in summary fashion, explanation of the determination

    made by the Court and announced in open court at the conclusion of the February 29,2016 hearing, and

    not in substitution thereof,

    4, Plaintiff Teresa Thompson is one of the natural surviving daughters of the decedent, Winfield

    Thompson.


    5, Plaintiff Teresa Thompson is the administrator of the estate of Winfiekt Thompson.

    6, Plaintiff is entitled to receive damages for and on behalf of the Estate, as well as in her own right, and

    that of Decedent's Winfield Thompson's heirs.


    7. Tiie acts of Defendant Nicholas Helgeson du'ectty and proximately caused Winfield Thompson's

    death on November 6,2009.


    8. Decedent suffered fatal internal injuries which caused his death.

    9. Decedent survived for 6 hours after the injury, until his ultimate death on November 6,2009,




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     10. Plaintiff Teresa Thompson is the rightful person to receive a damages award for and on behalf

     of the Estate, and in her own right personally, and in the name of the other heirs.

     11, The Court has presided over this matter, as well as the declaratory judgment matter that preceded this

     case, and also the criminal trial of Mr. Helgeson.

     12. The Court did previously mle on an initial Plaintiffs' Motion for Default Judgment filed by Plaintiff

     Teresa Thompson dated June 17,2014, where the Court denied said motion because an Answer signed

     by Mr. Harris had been filed,

     13, The formal Answer had been initially due based upon correspondence between counsel prior to the

     Plamtiffs Motion for Default Judgement being filed.

     14. The Court at a hearing held on July 3, 2014, did deny said Plaintiffs' Motion for Default Judgment

     and did allow the leeway for the Answer to stand, which was filed on or about June 18,2014.

     15, The previous formal Answer filed by defense counsel, Mr. Harrie, dated June 18,2014, listed Mr,

     Mark Hanson, amember of Mr. Hairie's Fai-go, North Dakota law firm, and Mr, Han-ie, but the Answer


     was only signed by M\; Harris, and not by Mr. Hanson.


     16, That Mr. Harrie did appear as defense counsel at a discovery deposition of his client, Mr. Helgeson,

     taken by video conference from Pargo, North Dakota, on June 30,2015.

     17. That Plaintiff Teresa Thompson did file a Plaintiff's First Motion to Compel dated December 30,

     2015, to attempt to re-depose Mr. Helgeson as a result of Mr, Harrie's conduct and advisements to his


     client during said deposition,

     18, That Plabtiffs* counsel did learn in January, 201 6, that Defense attorney Mr. Harrle, was not licensed

     to practice law in the state of South Dakota, and that Mr, Harrie had never sought admission to practice


     in South Dakota on this case by Pro Hac Vice, at all from June 2014 through January, 2016.


                                                          3




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     19, That based upon the information learned by Plaintiffs' counsel, a Renewed Motion for Default

     Judgment against Defendant Helgeson, and a Motion to Quash all prior pleadings signed by Mr. Harrie,

     were filed and served upon Mr. Harne on or about January 26,2015.


     20, Defendant's attorney Mr. William Harrie of Pargo, North Dakota, then sought Pro Hac Vice

     admission to practice in this South Dakota Court by Affidavit and Motion filed by Greg Peterson of

     Aberdeen, South Dakota, dated January 28,2016,

     21, That Plaintiff Teresa Thompson did file an objection to Harrie's Pro Mac Vice Admission request,

     dated January 28, 2016,

     22, That the Court, on Febmaiy 26,2016, did rule upon Mr. Harne's January 28, 2016 Motion for Pro

     Hac Vice, and determined tiiat the Motion for Pro Hac Vice filed by Mr, Peterson on behalf of Mr. Harrie,

     was denied,


     23. The Court found that Mr, Harrie did not comply with the requirements of SDCL § 16-18-2 before he

     commenced practicing law in South Dakota, which requirements are mandatory, and not subject to

     substantial compliance,


     24. The Court specifically found that Mr, Harrie unlawfully practiced law in South Dakota from June

     2014 to January 26,2016, appealing for at least one deposition and two formal hearings before the Court

     (one on July 31,2014, and the second on December 3, 2015),

     25, During the time from June 2014 to January 26,20 16, Mr, Harne never attempted to remedy his non-

     compliance with SDCL §16-18-2, Rather, Mr. Harrie continued to practice in South Dakota without

     notifying the Court.

     26, The Co\irt specifically found that, Mr. Harrie's conduct counsels against him satisfying subsection

     six ofSDCL 16-18-2. It provides;




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                    A statement that the applicant is familiar with the rules of the State Bar

                    of South Dakota govemmg the conduct of members of the State Bar of

                    South Dakota, and will at all times abide by and comply with tlie same

                    so long as such trial or hearing is pending, and he or she has not

                    withdrawn as counsel therem[,] SDCL 16-18-2(6).

    27, In essence, Mr, Harrie engaged in conduct involving dishonesty, fraud, deceit or

    misrepresentation when he began practicing law without a license in front of this Court

    and by failing to notify the Court for one year and seven months,

    28. This conduct by Mr, Hame does constitute a violation of Rule 8.4(c) of the South

    Dakota Rules of Professional Conduct,

    29. Consequently, the Court, upon examination of Mr. Harrie, is not satisfied that he can


    "observe the ethical standards required of attorneys in this state[.]" SDCL 16-18-2.

    30, This conclusion is further solidified by the lack of civility and professionalism

    exhibited by Mr.

    Harris at the Deposition of Nicholas Helgeson conducted on June 30, 2015,

                                  CONCLUSIONS OF LAW

                 The Court hereby enters die following Conclusions of Law;

    1. Any Conclusion of Law that should more appropriately be a Finding of Fact, or

    vice versa, shall be treated as such for all purposes herein.


    2. The oral pronouncements by the Court that are properly considered as Conclusions


    of Law, made during the hearing of February 29,2016 shali be, and hereby are,

    ratified and reasserted herein by this reference as if set forth in their entirety, and shall




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    be considered as the primary and controlling Conclusions of Law for all purposes

    herein,


    3> These Conclusions of Law are intended to aid, in summary fashion, explanation of


    the determination made by the Court and announced in open court at the conclusion of

    the February 29,2016 hearing, and not in substitution thereof.

     4, Defendant Helgeson was legally responsible and liable for Decedent

    Winfield Thompson's death and the resulting related and legally caused damages yet

    to be established at the damages hearing.

    5, Plaintiff Teresa Thompson is the rightful person to receive a damages award for

    and on behalf of the Estate ofWinfield Thompson, and in her own, and the heirs'

    right,

    6, That between June 2014 and January 26,2016, Mr. William Harrie of the Nilles

    Law Finn, in Fargo, North Dakota, did commit the unauthorized practice of law in the

    State of South Dakota m violation ofSDCL §16-18-1 and 16-18-2,

    7. That between June 2014 and January 26,2016, Mr. Harris never once reasonably,


    willbgly or fonmlty disclosed this unauthorized practice of law to Plaintiffs' counsel

    Mr, Zephier, or this Court.


    8, Mr. Harrle's conduct in this case indicates that he cannot satisfy the requirements of


    SDCL 16-18-2 (6), which provides that the "applicant is familiar with the rules of the

    State Bar of South Dakota governing the conduct of members of the State Bar of

    South Dakota, and will at all times abide by and comply with the same so long as such

    trial or hearing is pending, and he or she has not withdrawn as counsel therein[,]".




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    9, By doing what he has done in this case, Mr, Harrie engaged in conduct involving

    dishonesty, fraud, deceit or misrepresentation when he began practicing law without a

    license in front of this Court and by failing to notify the Court for one year and seven

    months.


    10. Mr. Harrie's conduct in this case does constitute a violation of Rule 8.4(c) of the

    South Dakota Rules of Professional Conduct.

    11. The Court, upon examination of Mr, Harrie's conduct and his affidavit for pro


    hac vice admission, is not satisfied tliat he can "observe the ethical standards required

    of attorneys in this state[.]"

     12. The Court's conclusion in this matter m denying Mr, Harrie's admission to

    practice law in this state under the pro hac vice statutory requu'ements, is ftirtber


    solidified by the lack of civility and professionalism exhibited by Mr, Harae at the

    Deposition of Nicholas Helgeson conducted on June 30, 2015,

     13. The Court determines that the Plaintiffs were and are prejudiced by Mr. Harris's

    conduct and his unauthorized practice of law in this State, and in this case.

    14. The Court determines that the Court's time has been wasted in that Mr, Harrie

    made several appearances before this Court and, although the Court did not directly

    ask Mr, Harrie if he was licensed to practice law in South Dakota, Mr, Harris did not

    indicate to the Court that he was not licensed to do so, and appeared on his own at that

    time, without licensed counsel.


    15, While it appears that a member of the law firm that Mr, Home is a part of, Mr.

    Hansen, is licensed to practice law in South Dakota, the name of Mr. Hansen was on




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    the formal Answer, but the signature on the June 18,2014 formal Answer of the

    Defendant Helgeson, was Mr. Hame's signahire, and Mr, Harrie was not autiiorized


    to practice law in South Dakota at that time.

    }6, The appropriate way for an attorney who is not licensed in South Dakota to

    become able to proceed in appearing in South Dakota as set forth in the pro hac vice

    statutes, SDCL 16-18-2, is to follow tl-iat procedure, but tltat procedure was not


    followed until Mr. Peterson became involved in the case recently and the request for


    pro hao vice admission was made on January 28,2016.

    17. The Court is familiar with the prior proceedings and matters that this Court has

    been involved in regarding the declaratory action and the criminal proceeding.

    18. The Court recognizes that the pro hac vice stahite would require an attorney like

    Mr. Harrie in that situation, to appear with a South Dakota resident attorney present in

    Court for all court headngs, as well as actually having the admission pro hac vice

    completed before any legal pleadings were signed or filed.

    19. While Mr, Hansen could certainly have signed pleadings and made appearances

    as a licensed member of the South Dakota bar, .he did not take those actions in this

    case to date,


    20. The Court concludes that the formal Answer prepared and filed by Mr, Harris in

    June 2014 is quashed at this time, as Mr. Harrie was not authorized to practice law in

    South Dakota at the time that he took action on behalf of the Defendant by signing

    and filmg fonnal pleadings m tlie Court, and appearing and arguing before the Court

    without a license in South Dakota or without admission pro hac vice,




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    21. While Default Judgment may be a harsh remedy, the Court must examine

    whether or not there was excusable neglect and whether there is a meritorious defense.

    22. While there has been a defense set forth in the formal Answer of June 18, 2014,

    the neglect in this case by Mr. Harrie, is in the failure to become admitted prior to

    proceeding with the formal proceedings in this South Dakota court, This is not

    excusable,


    23. To allow the formal June 18,2014 Answer to stand, in the Court's determination

    and discretion, would simply reward the conduct and allow the action to proceed,

    when, in fact, no legitimate Answer was ever filed.


    24. The pleadings signed and/or filed by Mr. Harrie acting as defense counsel for

    Defendant Helgeson, because ofHame's unauthorized practice of law in South

    Dakota, are null and void, including the formal Answer dated June 18,2014.

    25. The Court concludes that the appropriate action is to quash the Answer and all

    other pleadings signed by Mr, Harrie and to therefore, grant the Renewed Motion for

    Default Judgment in asmuch as Mr. Harrie's actions were a nullify, and no Answer or


    responsive pleading has been filed at all in this case,

    26, A Damages hearing needs to be held in order to determine the ftill extent, nature

    and amount of Plaintiff's' damages,


    27. Based upon the foregoing Findings of Fact and Conclusions of Law, an Order

    consistent therewith should be entered accordingly.


            Dated this °H ' day of U loifCh, 2016,

                                                              BY THE COURT:




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                                            ^1-
                                    HonoifaNe Jon S. Fleiriiner
                                    Circuit Court Judge




    By: r-s^-^i ^
                         *T




    (SEAL)




                                       10




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  /STATE OF SOUTH DAKOTA )                                       IN CIRCUIT COURT
                                         )§
   COUNTY OF ROBERTS                     )                  FIFTH JUDICIAL CIRCUIT

  TERESA ANN THOMPSON, Individually,,)                          Civil No.: 12-105
  And As Special Administrator for the            )
  Estate ofWINFIELD THOMPSON,                     )
   deceased,                                      )
                                                  )
                                 Plamfiffs, )
                                                  )
  V.                                              )             AMENDED JUDGMENT
                                                  )
  The Estate NICHOLAS HELGESON,                   )
  deceased, and MELISSA PROCHNOW                  )
   (mother of Nicholas Helgeson), and JAMIE       )
  HELGESON (father of Nicholas Helgeson),         )
   as Representatives of the Estate of Nicholas   )
  Helgeson,                                       )
                                                  )
                                 Defendant. )



          The above-endtled matter, having come on regularly for trial by jury on November 1 and

  V&, 20.17, before the Honorable Jon S. Flemmer, Cirouit Court Judge, and tliejiu-y; and the

  Plaintiffs, Teresa Thompson, Individually, and as Special Administrator for the Estate of

  Winfield Thompson Sr., deceased, and the Estate of Thompson, appearing personally and by

  their attorneys, Robin L. Zephier ofAbourezk, Zephier & LaFleur, and Seamus C\ilhane of

  Tui-bak Law Office, mid the Defendant, the Estate of Nicholas Helgeson and Melissa Prochnow

  as Representatives of the Estate of Nicholas Helgeson, appearing personally and by its attorneys,

  Mark Amdt of May & Johnson, P.C., evidence having been offered and received by fee Court;

  and the matter having been submitted to thejm-y on November 2nd, 2017, mid the jury having

  returned its verdict in favor of Plaintiffs, Teresa Thompson, Individually, and the heirs of            ^
                                                                                                          ^
                                                                                                          y- m



                                                                                                          gin
  Wiiifield Thompson, Sr., and the Estate ofTliompson, and the verdict being duly received and               ®.::''\1

  filed herein and made a record of this coiu-t, and a hearing being held upon. Plaintiffs' Application


                                                                                                              ,."i<m




Filed on: 03/15/2018 Roberts County, South Dakota 54CIV12-000105
 Filed: 1/3/2019 5:09 PM CST Brookings County, South Dakota 05CIV19-000006
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    for Costs re: Prevailiug Party and Plaintiffs' Motion for Award of Fees, Costs & Expenses

    Pursuant to Rule 36 and 37 and Fees on February 26,2018;

           NOW, THEREFORE, on the verdict ofthejiuy, it is hereby

           ORDERED, ADJUDGED, AND DECREED that Plaintiffs, Thompson and the Estate of

    Thompson, have judgment on their complaint against the Estate of Nicholas I-Ielgeson in the

    amount of $127,219.60; and it is

           FURTHER ORDERED, ADTUDGED, AND DECREED that Plaintiffs, Thompson and

   the Estate of Thompson have judgment against the Estate of Nicholas Helgeson, for prejudgment

    interest in the amount of $24,131.86, and it is

           FURTHER ORDERED, ADTUDGED, AND DECREED fhat Plaintiffs, Thompson and

   the Estate of Thompson have judgment against file Estate of Nicholas Helgeson, for attorney fees

   for SDCL § 15-6-36 & 37, Requests for Admissions relief in the amount of $5,857.50 ($5,500.00

   fees and $357.50 tax), and it is

           FURTHER ORDERED that Plaintiffs, Teresa Thompson, and the Estate of Thompson

   shall also have judgment against Defendant, the Estate of Nicholas Helgeson, for tiheu- costs and

   disbursements herein in the amount of $3,475.16, such costs and disbursements to be taxed by

   the Clerk of this Court iu the amoimf mserted herein in such sum as shaU by law be allowed,

   which shall leave the total amount of the post verdict Amended Judgment of $160,684.12.

           Dated this_ day of February, 2018.

                                                        BY THE <gf?T/:W2018 1:12:25 PM



 Attest:

 SS^ JonTO^-m^'
   ^jg^ Circuit Court Judge




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  ATTEST:
  CLERK OF COURTS

  By_
        Deputy
  (SEA L)




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SEP, 13,2012 4;50PM ABOUREZK LA^                                                                                     ),6826~n), 3"




    STATB OF SOUTH DAKOTA )                                                IN CIRCUIT COURT
                                           )§
    COUNTY OF ROBERTS )                                          FIFTH TUDICIAL CIRCUIT

    TORJBSA ANN THOMPSON, Individual^                                    Civil No.
    And As Special Administrator for the
    Estate of W?DBLD THOMPSON                                                                                           FILED
    deceased, and DALE LAROCHE,                                                                                        OCT 0 5 2012
    Individually, And As Special Administrator
    for the Estate of RICHARD CHELL,                                                                           ^^aafen^^^
    deceased,
                                                                                                               sy-
                                                                                                                          -^
                                 Plaintiffs,

    V.                                                                  ADMISSION OF SERVICE

    NICHOLAS HELOESON,

                                 Defendant.



           Personal s&rvice of the enclosed aad attached Summom md Complccitit, has been made

    upon the K-mtls Grwnly for service upon Nicholas Holgeson, and is hereby admitted by receipt of
                                  r^.
    true copies thereof o» Ihis -^°' day of September, 2012.




                                                                is Greenley
                                                              tomeyforNichol                                   geson



           SUBSCRIBED AND 8WORN to before me this ^4^sy of September, 2012,

                                                                                                          ^U^L^L-
                                                         Nota^ PubHo

    My commission expires;                         >.-A<^A^^<»^--j>^--^.--A.,^ft^^\-^^^,,^HSf_^)^^|t,

                                                     .,.^.!:/:., KATHR/W MQUINN'
                                                    i,^^) Notary Public
    [SEAL]                                           v;.?-;i?.y Mlnnosola
                                                    Mv Cdli;''i1l3sio(l Exuirss Jnnuurv 31. 2015
                                                      i'^^p*»"avA«»i^"l*W<-"*i*'""<w""""«""' t»>"^'<iirnniNi




                                                                                                                              PLAINU-IFF'S
                                                                                                                                EXI-HBIT



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       STATE OF S OUTH DAKOTA IN CIRCUIT COURT

       COUNTY OF ROBERTS FIFTH JUDICIAL CIRCUIT

       **!(=*'(!*S|s*****!t!****4;!!:**l(<*»**<:^** *




       NODAK MUTUAL INSURANCE * Civ.
       COMPANY,
                                                       *

        Plaintiff,
                                                       *

       vs,              COMPLAINT
                                                       *

       NICHOLAS HELGBSON; DALE
       LAROCHE, as Personal Representative of *
       the ESTATE OF RICHARD CHELL; and
       TERESA THOMPSON, as Special *
       Admiaistrator of the ESTATE OF
       WINFIELD THOMPSON, *

        Defendants.

       !|<**4:;|!*:^+**>|l*****.1;!|l*!|t***!(S* ***>!<* *




             Plaintiff, for its claim for relief against the Defendants, alleges as follows;

                1. This is an action for a declaratory judgment to determine coverage under an auto
      msurance policy.


             2, Plaintiff is a corporation authorized to do business in North Dakota with its
      principal place of business in the State of North Dakota and incorporated under the laws of the
      State of North Dakota.

             3. Defendant Nicholas Helgeson is an individual and resident of the State of North
      Dakota.


             4, At the time of the accident, Richard Chell was a resident of the State of South
      Dakota.


                5, At the time of the accident, Winfield Thompson was a resident of the State of
      South Dakota.

             6, Defendant Nicholas Helgeson is an insured driver under automobile insurance
      policy, PAND 000419882.
( 1

                                                                                               F'tJUMlTlpp'S
                                                                                                  DCMJBlt


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       7. The policy contains an exclusion for individuals using a vehicle without a
reasonable belief that said individual is entitled to do so. See Exclusion A. 8 in policy attached
as Exhibit 1,

            8. On November 6, 2009, Defendant Nicholas Helgeson was driving a 1994 Jeep
 Grand Cherokee owned by Patrick Nelson.

            9. Defendant Helgeson was headed south on 466th Avenue near its intersection with
 South Dakota Highway 127 in Roberts County, South Dakota.


       10. Winfield Thompson was a passenger in a vehicle driven by Richard Chell.
Thompson and Chell were headed east on South Dakota Highway 127 near its intersection with
466th Avenue in Roberts County, South Dakota,

        11. The vehicles being driven by Defendant Helgeson and Mr. Chell collided
resulting in the deaths of Mr. Chell and Mr. Thompson.

       12. Several weeks prior to the accident, Defendant Helgeson and Patrick Nelson had a
 conversation regardmg Helgeson's use of the vehicle at which time Mr. Nelson informed
 Defendant Helgeson that he was not allowed to use the vehicle unless he provided insurance for
 it.


            13. Defendant Helgeson never obtained a policy to msure the 1994 Jeep Grand
 Cherokee.


            14. At the tune of the accident. Defendant Helgeson did not have permission and was
 not authorized to operate the vehicle owned by Mr. Nelson,

         15. Plaintiff is not obligated to pay any claims or demands by any of the Defendants
 or to defend Nicholas Helgeson against any such claims or demands because Nicholas Helgeson
 was operating the vehicle without the permission or consent of the owner of the vehicle.

            16. All of the Defendants are interested in the outcome of this controversy.

            17, This Court has authority under SDCL 21-24 to bring the parties before it and to
 adjudicate the matters at issue and enter its judgment declaring and adjudicating the rights of all
 parties.


            WHEREFORE, Plaintiff prays;

            1. That this Court enter an Order fmding and declaring that Plaintiff is not obligated
 to pay any claims or demands arising out of the subject accident and that the Plaintiff:'has no duty
 to pay or defend any claims anyone may have against Nicholas Helgeson.

            2. That this Court award Plaintiff its costs and disbursements of this action.




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' 3. That this Court grant Plaintiff such other and further relief as this Court deems
   just and proper under the circumstances.


          Dated this ^> day of December, 2010.

                                              SIEGEL, BARjNETF & SCHUTZ, L.L.P,



                                                   LL^.A^M^-
                                                fed Rasmussen
                                              Julie Dvorak
                                              Attorneys for Plaintiff
                                              415 S. Main Street, 400 Capitol Buildup
                                              PO Box 490
                                              Aberdeen, SD 57402-0490
                                              Telephone No, (605) 225-5420
                                              Facsimile No. (605) 226-1911
                                              rrasmussentajsbslaw.net
                                              j dvorak(5),sbslaw,net




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                               PERSOIi' L AUTO DECLARATIONS                                                                INSURED COPY

 Nodak Mutual 'Insurance Company       1101 1 st Avenua North P..O. Box 2502
        www.hodakmuhial.coin              Fargo, North Dakota 5810&-25Q2
                                                 1-877-814-5011


    "Named Insured:
                                                                                        POLICY CHANGE
    /                                                                                          Change Effective: 4/06/2009
RICHARD PROCHNOW &/OR MELISSA PROCHNOW                                                         Policy Period From: 4/02/2009
9920170TH AVE SE                                                                                                      TO: 4/02/2010
HANKINSON ND 58041                                                                       12:01 A.M. Standard Ttma BlUu Address d tha Named Insured




                                                                  Payment Plan: , 4-PAY
Insured Phoned                                                    TOTAL ANNUAL POLICY PREMIUM: $3,31 8.00

VehYear/Make/Model                              Vehicle ID Number                  Sym Miles Class Use Ter Lvl Type Exp% VEHICLE
003 2000 DODQ INTREPID SEDAN                    2B3HD46ROYH276663                   13 10000 60 WL 002 S PP i.21 DELETED
Veh Year/Make/Model                             Vehicle ID Number                  Sym Miles Class Use Ter Lvl Type Exp%
004 2004 OHEV TAHOE L8/L UTL                    1QNEK13ZS4J264680                   14 10000 3F FP 002 U SU 1.02
 •PASSIVE RESTRAINT DISCOUNT 'MULTI-CAR DISCOUNT
Veh Year/Make/Model                             Vehicle ID Number                  Sym Miles Class 'Use Ter Lvl Type Exp%
005 2005 CHEV SILVERADO PKP4X44D                2GCEK13T751284637                   17 7601 1Q FA 002 U ' PK .86
^PASSIVE RESTRAINT DISCOUNT *MULTI-CAR DISCOUNT
Veh Year/Make/Model                             Vehicle ID Number                  Sym Miles Class UseTer Lv! Type ^p%
006 1696GHEVMTECARLZ34COUPE2D                   2Q1WX12X3T9260787                   11 7501 . 60 WL 002 S PP 1.21
 ^PASSIVE RESTRAINT DISCOUNT'MULTI-GAR DISCOUNT
Veh Year/Make/Model                           . Vehicle ID Number                  Sym Miles Class Use Ter Lvl Type Exp%
007 2002 FONT SUNFIRE SEDAN                     1G2JB524B27170605                   15 10000 4F FP 002 D PP .97
 *PASSIVE RESTRAINT DISCOUNT 'MULTI-CAR DISCOUNT
Veh Year/Make/Model                             Vehicle ID Number                  Sym Miles Class Usa Ter Lvt Type Exp%
008 2008 DODQ AVENQER SEDAN 4D                  1B3LC56K68N216064                   14 10000 4F FP 002 D PP .97
 *PA8SIVE RESTRAINT DISCOUNT •MULTI-CAR DISCOUNT
     Ul-LINE HO/FR DISCOUNT

                                         COVERAGES AND LIMITS OF L.IABILITf
           jDSurggfi&ls-afforded only for the coverages for which limitsof liability or premium charges are indicated..

VEHICLE 004 COVERAGES 2004 CHEV TAHOE LS/L yTL                                 Rated Driver: MELiSSA PROCHNOW
UABiLnrv:                                                                      LIMITS                                                    PREMIUM
  BODILY.INJURY LIABILITY                          $100,000 Each Person/$300,000 Each Accident                                                $84.00
 PROPERTY DAMAGE LIABILiTf                         $100,000 Each Accident                                                                     $98.00
 UNINSURED MOTORIST.                               $1.00,000 Each Person/$300,000 Each Accident                                               $13.00
 UNDERINSURED MOTORIST                             $100,000 Each Person/$300,000 Each Acxiident                                                 $6.00
 PERSONAL INJURY PROTECTION                        $30,000 Each Person                                                                        $48.00
COVERAGES FOR DAMAGE TO YOUR AUTO:
 OTHER THAN COLLISION              Actual Cash Value less $1 ,000 Deductible                                                                $231.00
 COLLISION •                                       Actual Cash Value less $1 ,000 Deductible                                                $173.00
ENDORSEMENTS: . •
  ADDED PERSONAL INJ PROTECTION                     $50,000 Each Person                                                                       $18.00

                                                                  Total Annual Premium Vehicle 004                                          $671.00

yEUKlLE--QQ5_CfflflEBASES_2005 CHEV SILVERADO PKP4X44D          Rated Driver: .RICHARD PROCHNOW
 LIABILH-Y:                                                     LIMITS                                                                   PREMIUM
    BODILY INJURY UABtLH-Y                    $100,000 Each Person/$300,000 Each Accident                                                     $52,00
'• P£OPEm[Y^A_rt/LAG_EL!ABJLjTt/              $1QQ,QQO.Each.AcSiderrt., , ..... ...........                                               .: ^62,^0
    UNINSURED MOTORIST                        $100,000 Each Person/$300,000 Each Accident                                                       $.9.00
    UNDERINSURED.MOTORIST                     $100,000 Each Person/$300,000 Each Accident                                                       $4.00
    ^CRSONAL INJURY PROTECTION                $30,000 Each Person                                                                             $30.00
 v. /ERAGES FOR DAMAGE TO YOUR AUTO:



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  Nodak Mutual Insurance! wpany                         (              INSURED COPY

  RICHARD PROCHNOW &/OR MELISSA PROCHNOW                                  POLICY NUMBER: PAND000419882
  EFF. DATE; 4/02/2009 EXP. DATE: 4/02/2010                               CLIENT NUMBER: 000000034327

                                           (Continued)


 OTHER THAN COLLISION                      Actual Cash Value iess $1,000 Deductible                 $183.00
 COLLISION                                 Actual Cash Value less $-1,000 Deductible                $133.00
ENDORSEMENTS:
 ADDED PERSONAL INJ PROTECTION             $50,000 Each Person                                       $15.00

                                                     Total Annual Premium Vehicle 005               $488.00

yEyiCLEJ}fifi_CO^EBA<3ESj986 CHEV MTECARLZ34 COUPE 20        Rated Driver: NICHOLAS HELGESON
LIABILITY:                                                    LIMITS                               PREMIUM
  BODILY INJURY LIABILIP(f                 $100,000 Each Person/$300,000 Each Accidsnl              $312.00
  PROPEm-Y DAMAGE LIABim-Y                 $100,000 Each Accident                                   $365.00
 UNINSURED MOTORIST                        $100,000 Each Person/$300,000 Each Accident               $48.0.0
 UNDERINSURED MOTORIST                     $100,000 Each Person/$300,000 Each Accident               $23.00
  PERSONAL INJURY PROTECTION               $30,000 Each Person                                      $181.00
ENDORSEMENTS:
 ADDED PERSONAL INJ PROTECTION             $50,000 Each Person                                       $22.00

                                                     Total Annual Premium Vehicle 006               $951.00

VEHICLE 007 COVERAGES 2002 PONT8UNFIRE SEDAN                   Rated Driver: MELISSA PROGHNOW
LIABH-n-Y:                                                     LIMITS                              PREMIUM
 •BODILY INJURY LIABILIT/                  $100,000 Each Person/$300,000 Each Accident               $79.00
  PROPERTf DAMAGE LIABILtTf                $100,000 Each Accident                                    $93.00
  UNINSURED MOTORIST                       $100,000 Each Person/$300,000 Each Accident               $13.00
   •NDERiNSURED MOTORIST.                  $100,006 Eqch Person/$300,000 Each Accident                $6.00
  ., &R80NAL INJURY PROTECTION             $30,000 Each Person                                       $47.00
ENDORSEMENTS:
 ADDED PERSONAL INJ PROTECTION             $50,000 Each Person • .                                   $17.00

                                                      Total Annual Premium Vehicle 007             .$255.00

VEHICLE 008 COVERAGES zoos DODQ AVENGER SEDAN 40            Rated Driver: MELISSA PROCHNOW
LIABILn-Y:                                                  LIMITS                                 PREMIUM
   BODILY INJURY LIABILITY               $100,000 Each Persbn/$800,000 Each Aficident                $79.00.
 . PROPERT/ DAMAGE LIABILITC             $100,000 Each Accident                                      $93.00
   UNINSURED MOTORIST                    $100,000 Each Person/$300,000 Each Accident                 $13,00
   UNDERINSURED MOTORIST                 $100,000 Each Person/$300,000 Each Accident                  $6.00
   PERSONAL INJURY PROTECTION            $30,000 Each Person                                       • $47.00
COVERAGES FOR DAMAGE TO YOUR AUTO:
  OTHER THAN COLLISION             Actual Cash Value less $250 Dfeductible                          $411.00
 COLLISION                         Actual Cash Value less $500 Deductible                           $287 ..00
ENDORSEMENTS:
 ADDED PERSONAL INJ PROTECTION     $50,000 Each Person                                               $17.00

                                                      Total Annual Premium Vehicle 008              $953.00

                                  LOSS PAYEE/ADDITIONAL INTEREST INFORMATION:




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  Nodak Mutual Insurance wpany                          i ' INSURED COPY

  RICHARD PROCHNOW &/OR MELISSA PROCHNOW                                              POUCY NUMBER: PAND000419882
  EFF. DATE: 4/02/2009 D<P. DATE: . 4/02/2010                                         CLIENT NUMBER: OOQ000034327

                                                      (Continued)


VEH 004 LossPayea                  DACOTAH BANK
                                   PO BOX 209
                                   SISSETON, SD 67262-0209
VEH 005 Loss Payee                 OITI FINANCIAL AUTO
                                   PO BOX 344&
                                   COPPELL.TX 75019
VEH 008 LossPayes                  LINCOLN STATE BANK
                                   302 SOUTH MAIN, PO BOX 260
                                   HANKINSON, ND 68041

                                                                 MESSAGES:
Unit 003: Deleted - 2000 DODG INTREPID
Unit 006: Changed NICHOLAS HELGESON to Rated Driver
      Changed Use to WL - WORK LESS THAN 30 MILES/WEEK
      Changed Rate Level to 3 "STANDARD
Unit 008: Added - 2008 DODG AVENGER




    is ApplicabXst
\.. .•;'A BO 01 98 PP HD 01 88 98 PP HD 0<i- 7.9 98 ,PP ND OS St OS PP HD US 84 »<i




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                                                                                                  PERSONAL AUTO
                                                                                                    PP PAOODT58

                                             PERSONALltTTO POLICY
                                                       AGREEMENT
 In return for payment of the premium and subject to all the terms of this- policy, we agree with you as follows:

                                                       DEFINITIONS
 A. Throughout this policy; "you" and "your" refer to:             4. Any auto or "trailer*' you do not own while used
     1.. The "named' insured" shown in' the Declara-                   as a temporary substitute for'any other vehicle
        tions: and
                                                                      described in this definition which is out of nor-
                                                                      mal use because'of ifs:
     2. The spouse, if a resident of the same house-
        hold. ' : .
                                                                      a. Breakdown;

     If the spouse ceases to be a resident of the same-               b. Repair;
     householch during the policy period or prior to the              c. Servicing; . .
     inception of this policy; the spouse will be consi-              d. Loss;or .
     dered "you" and "your" under this policy but only
                                                                      e. Destruction.
     until the earlier of;
     1. The end of 90 days following the spouse's                     This- Provision (J.4.) does not apply to Cover-
         change of residency;'. ; • . • ' •                           age For. Damage To Your Auto,

     2. The effective .date of another policy listing the       K. "Newly acquired auto":
         spouse as a named insured; or                           . 1. "Newly acquired auto" means any of the follow-
     3. The end of the policy period.- .                               ing types of vehicles you becortie the owner of
                                                                      during the policy period:
 B. "We", "us" and "our" refer to the Company provjd-
     ing this insurance.'.                                            a. A private passenger auto; or

 C. For purposes of this policy, a private passenger                  b. A pickup or van, for .which no other insur-
    type auto, pickup or van shail be deemed to ^e                       ance policy provides coverage, that:
    owned by a person if leased:                                       • (1) Has a Gross Vehicle Weight of less than
,; 1.. Under a written agreement to that person; and                         10,000 Ibs:; and

     2. For a continuous period of at least 6 months, .                  (2) Is. not used for the delivery or transporta-
                                                                              tion of goods and materials unless such
 D. "Bodily injury" means bodily harm, sickness or                            use is:
    disease, Including death.that results.
                                                                            (a) Incidental to your "business" of instat-
 E. "Business" includes, trade, profession or occupa-                            ling, maintaining or .repairing fumish-
    .tion.              •        .
                                                                                   ings or equipment; or • • ' • •
  F. "Family'.member" means a person related to you                         (b) For farming or ranching.
      by blood, marriage .or adoption, including a ward or
      fosfer child, who is a resident of your household. ' '.      2. .Coverage for a "newiy acquired auto" is PKP
                                                                       vjde.d. as-described below only'if you pay us any
  G. "Occupying" means in,-upon, getting in, on, out or                added premium'-due. If you ;ask us to insure a
     off.             :      ;       •   •       .   .                 "newly acquired auto" after a spetified time pe-
  H. "Property damage" means;' physical injury to, de-                 riod described below, has elapsed, any cover-
     struction of or loss of'use of tangible property.                 age we provide for a "newly acquired auto" will
                                                                       begin at the time you request the coverage.
  ]. Trailer" means a vehicle designed to be pulled by
     a:        .     •       •       .   .   •    ...                 a. For any coverage provided in this policy
                                                                           except Coverage For Damage To Your Au-
     1. Private passenger auto; or
                                                                           to, 'a "newiy acquired' auto" will have the
     2. Pickup or van. .. . •                                            ' broadest coverage ^A/e now provide for any
     It also means a farm wagon or farm implement                         vehicle shown in the Declarations. Go.ver-
     while towed by a vehicte listed in 1..or2; above. •                 •9ge begins on the date you,,become the
                                                                      ' • owner. However, for this coverage to apply
  J. "Your covered auto" means:
                                                                           to a "newly acquired auto" which is in addi-
     1. Any vehicle shown in the Declarations..                            tion to any vehicle shown. in the 'Declara-
     2. A "newly acquired auto". •' . .                                    tions, you must-ask us to insure it. within 30
                                                                           days after you become the owner.
i 3. Any "trailer" you own. . •




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          If a "newly acquired auto" replaces a vehicle           • c. Other Than Collision Coverage for a "newly
          shown in.the'Declarations, coverage is pro-
                                                                        acquired auto" .begins on the date you t}e-
          vided for this vehicle, without your having to              ' come'the.owner. However, for'th is'.coverage
        .' ask us to insure it.
                                                                        to apply,.you must ask us to insure'lt 'within-:
      b. .Collision Coverage for a "newly acquired                     (1) 30 days after-you become .ttie-'own.er if
         •auto" begins on the date you become the                          the Declarations, indicate that .Other
          owner. However, for this coverage to apply,                       Than Collision Coverage applies to at
          you must ask us to insure it within:                              least.one auto. In this case, the "newly
         (1) 30 days after you'become the owner if                          acquired auto" will have the broadest
             the De'clarations- indicate that Collision                     coverage we now provide for- any auto
             Coverage applies to at least one auto. tn                      shown in the Dedarations.
             this case, the "newly acquired auto" will                 (2) Four days after you become the owner if
             have the broadest coverage. we now                             the Declarations do not Indicate that
              provide for any auto shown in the Decla-
                                                                            Other Than Collision Coverage applies
              rations.
                                                                             to at least one auto. It you .comply with
        . (2).. Four days .after you become the .owner if                    the 4 day requirement and. a loss -oc-
              the Declarations do not indicate that Col-                   . curred before you asked us to insure the
              iision Coverage applies to at least one'                       "newly acquired auto",, an Other Than
              auto. If you comply with the 4 day re-                       , Collision deductible of $500 will apply.
             .quiremeht and a toss occurred before            L. "Diminution in.value" means the actual or per-
             •you .asked us to insure the "newly ac-
                                                                  ceived loss in market or resale value which results
              quired auto", a Collision deductible of            from a dii-ept and accjde.ntglloss. . ' .• .
              $500 will apply.

                                          PART A - LIABILITY COVERAGE
INSURING AGREEMENT                                            SUPPLEMENTARY PAYMENTS
A. We will pay damages for "bodily injury" or "property       In addition to our limit-of liability, we will pay on behalf
   damagfe" for which any "insured" becomes legally           of an "insured": . '
   responsible because of an auto accident. Damag.-              1. Up. to $250 for the cost of .bail bonds required
   es include prejudgment interest awarded against                  because of an accident, including related traffic.
   the-"insured". We will settle or defend, as we con-              law violations. The accident must result in "bo-
   sid.er appropriate, .any claim or suit asking for                dily injury" or "property damage";cdvered under
   these damages. In addition to our limit of liability,             this policy. ' • •'
   we will pay all defense costs we Incur, Our duty to
   settle or- defen'c! ends when our limit of liability for      2. Premiums on appeal bonds and bonds to re-
   this coverage has been exhausted by payment of                   lease attachments in any salt we defend.
   judgpients.or settlements. We have the right to in-           3. Interest-accruing after .a judgment is entered in
   v.estigate',' negotiate and settle any claim with or              any-suit we defend. Our duty to pay interest
   without your consent. We have no duty to defend                   ends when we offer to pay that • part' of ..the
   any suitor settle" any, claim, for "bodiiy injury" or             judgment which'does. not exceed-our limit .of
 " "property; damage'1 not covered under this policy.                'liability, for this coverage. •••'."

B. "Insured" as used in this Part meqns:                         .4. Up' to $200 a 'day for toss of earnings, but not
                                                                     other income, because of attendance at hea'r-
   •1. You or any "family member" for the ownership,
       maintenance or use of any auto or "trailer".                  ings or .trials at our request'

   2. Any person using "your covered auto";                      5. Other reasonable expenses ipcUrred at our
                                                                     request,            .   .   •   ',   '
  ..3. For'"your covered auto", ahy person ororgani-
      zation but only with respect to legal responsibiii-     EXCLUSIONS
      ty for acts or omissions of a-person for whom           A. We' do not provide Liability Coverage for any "in-
      coverage Is afforded under this Part.                      sured":                     •       .

   4. For any ,autQ or-"trailer", .other than "your coy-         1. Who intentionally causes "bodily. :injury" or
      ered auto", any'other person or organization.                  "property damage". • • ' •

       but only with respect to legal responsibility' for        2. For "property damage", to property owned or
       acts or omissions of. you-or any'"family mem-
                                                                    being transported by that "insured",
       tier" for whom coverage is- afforded under this
    '. Part. This Provision (B.4.) applies only if .the          3. For "property damage" to property:".
       person or organization does not own pr hire the               a. Rented to;
      auto or."trailer". ' •                                         b. Used by;, ftr • • ' - •



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        c. In the care of; . . . .
                                                                         A nuclear energy liability policy is a policy is-
                                                                         sued by any of the following or their sueces-
        that "insured":                                                .. sors:
        This Exclusion (A.3.) does not apply to "proper- •               a. Nuclear Energy Liability insurance AS^ocia-
] 'ty damage" to a residence or private gara'ge.                            'tion;                       •
    4. For "bo'dity injury" to an employee of that "in-                  b. Mutual Atomic Energy Liability Underwriters;
         sured" during the course of employment. This                        ti'r                            .
         Exclusion (A.4.) does not.apply to "bodily Injury"
         to a domestic employee unless workers' 'com-                    c. Nuclear Insurance Association of Canada.
       . pensation' benefits are required or available for           10. For any "bodily injury" or. "property damage":
         that domestic' employee.                                        a. For which the United States might be liable
    5. .For that "insured's" liability arising out. of the                   for the "insured's" use of any vehicle; or
      . ownership or operation, of a vehicle while it is                 b. Arising out of the ownership, maintenance,
        being used as a public or livery conveyance.                         use or operation, of farm mgchinery.
        This Exclusion (A.5.) does not apply to a share-.
        the-expense car pool,                                     B. We do not provide Liability Coverage for the own-
                                                                  : . ership, maintenance or use.of: ...
    6. While employed or otherwise engaged in the
        "business" of-:                                              '•1. Any vehicle which:

        a.        Selling;                     '      •.                 a. Has fewer than four wheels; or
                                                                         b. Is designed mainly for use off public roads.
        b. Repairing;. .: . .
        c. Servicing; ' . . • :                                          This Exclusion (B.1.) does not apply:
        d. Storing; or. - •
                                                                         a. While such vehicle is being used by an
                                                                            •"insured" in a medical emergency;
        e.      Parking;                        .     .
                                                                         b. To any "trailer"; or
        vehicles • designed for use mainly on public
                                                                       ' c. To any non-owned golf cart.
        highways. This includes road testing and deli-
        vory. This Exclusion (A.G.) does not apply to                ,2. Any vehicle, other than "your. covered auto",
        the ownership, maintenance or use of "your                       which is:
        Covered auto" by:
                                                                         a. Owned by you; or
        a. You;
                                                                         b. Furnished opavailable for your regular use.
       • b. Any "family member"; or
                                                                     -3. Any vehicle, oth^r than "your covered auto",
        c.'Any partner, agent or employee of you or                      which                  is:      .   ,   '.•   •   '   .

            any "family member".                                         •a. Owned by any "family member"; or
    7. Maintaining -or using. any vehicle while that
                                                                         b. Furnished or avgilabte. for the regular use of
       •"insured" is employed pr otherwise engaged in                       • any "family member".
       any."business"-(other than farming or ranching)
       not described in Exclusion A.6. •                                . However, this Exclusion (B.3.) does not apply
                                                                          to you -while you are maintaining or "occupying"
        This Exclusion (A.7.) does Tiot apply to the                   '. 'any vehicle which is:; . •
      • maintenance or use of a: • •• . .
                                                                         a. Owned by a "family member"; or
        a.' Private passenger auto;
                                                                         b. Furnished or available for the regular use of
        b. Pickup or van; or ' .                                            . a "family member";
        c. "Trailer" used with a vehicle described, in a.
                                                                      4. Any vehicle, located inside a facility designed
         .•     orb.'above;                    .    •     .   •
                                                                         for racingi for the purpose of: • .
    8. Using, a vehicle without a reasonable belief that                ' a. Competing in; or . . . .
        that "insured" is entitled to 'do so; This Exclu-
        sion (A.8.) does not apply to a "family member"                  b... Practicing or preparing for, .
        using '"your covered auto" which is owned by                     any prearranged or organized racing or speed
        you.-.            •   .   •                                      contest ' ' . ••

   . 9; For "bodily 'injury"'or "property damage" for.             C. We do not. provide LJabili(y Coverage for anypuni-
        which that "insured": , ...                                    tive or exemplary damages. .
        a, is an.insured under a nuclear energy.liability          D; We do not provide Liability Coverage for 'bodily
           policy,                    or        '     .               injury" arising out of the passage of a communic-
        b. Would be.an insured under'a nuclear ener-                 • able disease from any-"insured" to another per-
           gy'liability, policy but for its termination upon
                                                                     '•son.       '   '"•   •   •   ..




         . exhgustion of its limit of liability,' •


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  E. We do not provide Liability coverage for "bodily                         2. Any Underinsured Motorists Coverage provided
     injury" or "property damage" arising out. of-sexual                             by this policy.
     molestation, corporaF punishment or physical or                      OUT OF STATE COVERAGE
     mental abuse inflicted upon any person -by or at
'I the' direction of an'"insured" or an "Insured's" em-                  If an auto. accident to .which this policy applies occurs
                                                                         in any state or province'other than the one in which
   , ployee.
                                                                         "your covered auto" is principally garaged, we will
  LIMIT OF LIABILn-Y                                                      interpret your policy for that accident as follows;
  A. The limit of liability shown in the Declarations for                A. If the state or.province has:
     each person for Bodily Injury Liability (s o.ur maxi-
    .mum limit of liability for all damages, including                        1. A financial responsibility or similar law specify-
     damages for care, loss of services or death, aris-                              ing limits of liability for "bodily injury" or "proper^-
     ing. out-of "bodily injury" sustained by anyone per-                            fy damage" higher than the limit shown in the
     son in any one auto accident. Subject to this limit                             Declarations, your policy will provide the higher
     for each person, the limit of liability shown in the                            specified limit, ;
     Declarations'-for each' accident for Bodily Injury                       2. A compulsory insurance or similar law requiring
     Liability is our maximum limit of liability for all dam-                     a nonresident to maintain insurance whenever.
     ages for "bodily.injury" resulting from any one'auto                            the nonresident uses a vehicle in that state or
     accident.                '   .   .   '    •   .   •     '   •                   province, your policy will provide at least the
     The iimit of liability shown in the Declarations for                            required minimum amounts and types of cov-
                                                                                     e rage. .
     each 'accident for Property Damage Liability is our
    . maximum limit of liability-for all "property, damage"               B. No one will be- entitled to duplicate payments for
      resulting from any one auto accideht.                                  the same elements of loss.
     This is. the most we will pay regardless .of -the                    FINANCIAL RESPONSIBlLn'y
     number                 of:       .    '   .   .   •    ..
                                                                          When this policy is certified as future proof of financial
     1.. "Ingureds";                                                      responsibility, this policy shall comply with the law to
                                                                          the extent required.
     2. Claims made; . .

     3. Vehicles or premiums shown i.n the Declara-                       OTHER INSURANCE
         tions;                   or           .   •                      If there is other applicable liability insurance we will
     4. Vehicles involved in the auto accident.                           pay oniy our share of the loss. Our share is .the pro-
                                                                          portion that our limit of liability bears to the total of all
j B. No one -will. be entitled to receive duplicate pay-                  applicable limits; However, any insurance we provide
      ments for the same-elements of loss under this                      for a vehicle you do not own shall be excess over any
      coverage an d:                                                      .other collectible Ins.urance.
     1. Part B or Part C of this policy; or

                                          PART B - MEDICAL PAYMENTS COVERAGE
  INSURING AGREEMENT •                                                    EXCLUSIONS
  A. We. will pay reasonable expenses incurred for                       We.do not provide Medical Payments. Coverage for.
    , necessary medical, .and. funeral . services becguse                •any/'insured" for "bodily injury":
   '• of "bodily injury":, . • . . , .                                        1.. Sustained while "occupying" any motorized
   • 1. .Caus.ed by accident; and . • . •                                         vehicle having fewer than four wheels,
     2. Sustained by an "insured".                                            2. Sustained while "occupying" "your covered
                                                                                 • auto" when it is being used as a public or livery
     We will pay only those expenses incurrecj for ser-
                                                                                . conveyance. This Exclusion (2.) does not apply
    • vices rendered within .3 years. from the date of the
                                                                                 ' to a share-the-expense caF pool.
     •accident.                       '   '    ;   •    :   /    •
                                                                              3. Sustained while "occupying'-'fcany" vehicle lo-
  B. "Insured" as used in this Part means:
                                                                                  cated for use as a residence or premises.
      1. You or any "family member": •
                                                                              4. Occurring during the course of .employment if
       • a. While "occupying"; or '. .                                           workers' compensation benefits are required or
         b. As a pedestrian when struck by;                                      available-for'the "bodily injury".

         a motor vehicle designed "for use mainly, on                         5. Sustained while "occupying", -or when struck by,
     • • public roads or a trailer of any type.                                   any vehicle (other than "your covered auto")
                                                                                     y^hich is:
      2. ^ny other person while "occupying", "your cov--
         ered auto". • . • . . '.                                                    ,a. Owned by you; or . .

                                                                                     b. Furnished or available foi-your regular use. ,



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    6. Sustained while-"occupying"; or when struck by,            •. c. Radioactive contamination.
        any vehicle (other than "your covered auto")           11. Sustained while "occupying" any vehicle lo~
     .    '   which                 is:     •
                                                                   cated insfde a facility designed for racing, for
         a. Owned by any "family member"; or                      . the purpose of:
/ b'. Furnished or available for the regular use of                 a. Competing in; or
              any "family member". .
                                                                   'b. Practicing or preparing for;
         However, this Exclusion'(6.) does not apply to
                                                                   any .prearranged or organized racing or speed
      • you,
                                                                   contest.                     •       .   .
    7. Sustained while "occupying" a vehicle without a
                                                             LIIVIlt OF LIABILITY - .
        reasonable belief that that "insured" is entitled
        to do so. This Exclusion (7.) do6s. not apply to a   A. The limit of-liability shown in the Declarations for
        "family member" using "your covered auto"               this coverage is our maximum limit of liability for
        which .is owned by you.                                 ea6h person injured in. any one .accident. This is
                                                                the most we wili'pay regardless of the number of:.
    8. Sustained while' "occupying" a vehicle when it is
                                                                1. "Insureds";
        being used in the "business" of an "insured".-
         This Exclusion (8.) does not apply to "bodily in-      2. Claims made;
         jury" sustained while "occupying" a; '
                                                                •3. Vehicles or premiums shown in the Declara-
         a. Private passenger auto; • .                             tions;              or          '   .

         b. Pickup or van -that you own;or                      4. 'Vehicles involved in the accident.. •
         'c. "Trailer" used-with a vehicle described in a.   B. No one will be. entitled to receive duplicate p'ay-
              or b.above.                                       merits, for. the s.ame elements of loss under this
                                                                coverage .and:
    9. Caused by or as a consequen.ce of:
         a.; Discharge of a nuclear weapon (even if           ' \. Part-A or Part C of this policy; or
              accidental); • . •                                2. Any Underinsured Motorists Coverage provided
                                                                  •'by .this policy. . •
         b. War (declared or undeclared);
         c. Civil war; •                                     OTHER INSURANCE
         d. Insurrection; or                                 If there is other applicable auto medical payments
                                                             insurance we will pay only our share of the loss. Our
      . e. Rebellion or revolution.                          share is the proportion that our limit of liability bears to
   10. From or as a consequence of the following,            (he total of all applicable limits. However, any insur-
       whether controlled or uncontrolled or however         ance we provide with respect to a vehicle you do not
         caused:                        '   .'    '   .      own shall be excess over any other collectible auto
         a. Nuclear reaction; ; .. ' '
                                                             insurance providing payments for medibal.or funeral
                                                             expenses.                     .'   '   '   .   •
         •b.' Radiation; or-, . . . ' . : • •



                                    PART C - UNINSURED MOTORISTS COVERAGE
 INSURING AGREEMENT                                             3.' Any person -for damages that person is entitled
                                                                    •to recover because of "bodily injury" to which
 A.'We will pay • compensatory .damages whteh an.
                                                                    this coverage applies sustained by a person
     "insured" is legally entitled to recover from the
                                                                   'described in ,1. or 2. above.,.. . '
     owner or .operator of an "uninsured motor vehicle"
    • because of "bodily injury":                            C. "Uninsured motor vehicte" means a -land motor
                                                                .vehicle or trailer of any type: . •.' :
     1. Sustained by an "insurpd"; and . . . .
                                                                1. To which no bodily injury liability bond or policy
    2.' Caused by an accident. .• •
                                                                   . applies at the tirrie of the accident. .
    The owner's or operator's ligbility for these 'dam-
                                                               .2. To which'a-bodily injury liability bond or policy
    ages must arise out of the ownership, majnten-
    . ance or use of the "uninsured motor vehicle"...
                                                                    applies at the time of the accident. In this case
                                                                    its limit-for'bodily injury liability must be less
    Any judgment for ijamages arising out of a suit                 than the minimum limit for. bodily injury liability
    brought without, .our written 'consent is not binding           specified by .the financial responsibiiity law of'
    on         us.     •    •                                       the .state in whi'ch "your covered, auto" is princi-
                                                                    patiy garaged, • • . ••••••
 B. "Insured" as used in this Part means:
     1. You or any "family member".'                            3.. Which is a hit-and-run vehicle whose operator
                                                                    or owner cannot be identified and which hits:
     2. Any'other person "occupying" "your covered
         .auto".               .'   •   '   .•                      a. You or any "family membfec"; • •



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                                   I
      b. A-vehicle which you or any "family member"            LIMIT OF LIABILITY
          are "occupying"; or                                  A. The limit, of liability shown in .the Declarations for
      c. "Your covered auto".                                      each person for Uninsured Motorists Coverage Is
                                                                  .our maximum limit of liability for all- damages, in-
   4. To which a bodily injury liability bond or policy
                                                                   eluding damages for care; loss of sep/rces M
      applies, at the time of the accident but the bond-
                                                                 • death, arising out of "bodily injury" sustained by
      ing or insuring company:
                                                                   any one person.in any one accident, Subject to this
      a. Denies coverage; or '                                   . limit for each person, the limit of liability shown in
      b. Is or becomes .insolvent. .                               the Declarations for each accident for Uninsured
                                                                  Motorists Coverage is our maximum limit of liability
   However, "uninsured, motor vehicle" does not in-
                                                                  for all damages for "bodily injury" resulting from
   elude any vehicle or equipment: .
                                                                  any one accident.
   1. Owned by or furnished or available for. the
                                                               . -- This is the most we .will pay regardless of the
      •regular use of you or any "family member",
                                                                  number of: ' .
   2. Owned or operated by a self-insurer under any
                                                                  1. "Insureds";
       applicable motor vehicle law, except-a self-
      .insurer which is or becomes insolvent. .                   2. Claims made;

   3; Owned by any governmental unit or agency.                   3. Vehicles or premiu.ms- shown in the .Declara-
                                                                     •tions; or .''
   4. Operated oh rails or crawler treads.
                                                                  4. Vehicles involved in the accident.
  ;5. Designed mainly for use off public roads while
      not. on public roads.                                    B. No one will be entitled to receive duplicate pay-
                                                                  merits for the same elements .of loss under this
   6. While located for use as a residence or pre-
                                                                  coverage and:
      mises.         •   '••'.•.

                                                                   1. Part A. or Part B. of this policy;-or
EXCLUSIONS . .
                                                                   2. Any Underinsured Motorists Coverage provided
A. We .do not provide Uninsured Motorists Coverage
                                                                      by this policy.
   for "bodily injury" sustained: ' ••
                                                               C. We' will not make a 'duplicate payment under this
   1.'By an "insured". while "occupying", or when
                                                                  coverage for any element of loss. for which pay-
      struck by, any motor vehicle owned by that "in"
                                                                  ment has been made by or on behalf of persons-or
      sured" which is .not insured for this cover'age
                                                                  organizations who may be legally responsible.
       under this policy. This includes a trailer of any
      type used with th'at vehicl6. •                          D. We will not pay for any element of loss if a person
                                                                  is entitled to .receive payment for the same ele-
   2. By any "family member" while "occupying", or
                                                                  ment of'loss under any of the fpllowihg or similar
      when struck by; any motor vehicle you own                    law:                 .   •      •      '
      which is insure.d for this'coverage, on a primary
       basis under any other policy. ; ' ..                        1. Workers' compensation, law; or, • : .

B. We do not provide Uninsured Mototists Coverage                  2. Disability benefits law.
   for "bodily injury" sustained by any "insured":             OTHER INSURANCE . .
  ' 1. If. that "insured" or the legal representative          If there, is other applicable insurance -available under
        settles the "bodily injury" cla.im ^without our con-   one or more policies or provisions of coverage that is
       sent.               .   .       •   •                   similar to the insurance provided.under this Part of the
   2. While "occupying" "your. covered auto" when it           policy: . ' •
      is being used as a. public or livery conveyance.             1. Any recovery, for damages under at! sych'poli'
      This'Exclusion (B.2.) does ncrf apply to a share-               cies or provisions. of coverage may equal but
       the-e'xpense car pool: • ,                                     not exceed the highest applicable limit for any
   3. Using a vehjcle without a reasonable belief that                one vehicle under any insurance .providing cov-
       that "irisured" :is entitled to do so. This Exclu-           .. erage.o.n either a primary or excess basis.
       sion (B.3.) does not apply to a "famiiy member"             2. Any insurance-we provide with respect to a
       using "your covered auto" whjch is owned .by                   Vehicle, you do'not' own shall be excess over
       you.•               •     '                                    any collectible insurance providing such pover-
C. This coverage shall, not apply directly or indire'ctly             •age on a primary basis- ' • .
   to benefit, any jnsurer or self-insurer-under any of            3. If the coverage under'-thjs policy is provided:"
   the following or similar laW: ; ., . . •

   .1. Worker$'compensation law; or . . •

   2.' Disability benefits law. . .
D. We do not provide-Uninsured Motorists Coverage
   for punitive or exemplary damages. . •

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       a. On a primary basis, we will pay only our                   Both parties must agree to arbitration. If so agreed,
           share of. the toss that must be. paid under               each party will select an arbitrator. The.two arbitra-
          .insurance providing coverage on a primary                 tors will select'a. third. If they cannot agree within
           b&sis. 'Our share is the proportion that our              30 days, either may request that selection be
          limit of liability bears to the total of all appli-        made by a judge of a court having jurisdiction,
          cable limits of liability for coverage provided        B. Each party will:
          on a primary basis.
                                                                     1. Pay the expenses it incurs; and
      b; On an excess basis, we will pay only our
         .share of the loss that must be paid under                  2. Bear the expenses of the third arbitrator equal-
          insurance providing coverage on an excess                     ly. :
          basis. Our share is the proportion that our            C, Unless both.parties agree otherwise, arbitration will
          limit of liability bears to the total of all appll-       take place in. the county in which the "insured" •
          cable limits of liability for coverage provided           lives. Local'rules of law as to procedure' and evi-
          on an excess basis, .                                      dence will apply. A decision agreed, to by two of the
ARBITRATION                                                          arbitrators will be binding as to:

A. If we arid an "insured" do notagree:                             'I. Whether the "insured" Is legally entitled to re-
                                                                        cover damages'; and
   1. Whether''that "ins.ured" is legally entitled to
                                                                     2. The'amount of. damages. This-applies only if
    . recover damages; or
                                                                        the amount does not exceed the minimum limit
   2. As to the amount of damages which are reco-                       for bodily injury liability specified by the financia!
      verable by that "insured";                                        responsibility law of the. state in- which -'"your
   from the owner or operator of an "uninsured motor                    covered auto" is principatiy garaged. If the
   vehicle", then'the matter may be arbitrated. How-                    amount exceeds that limit, either party may
   ever, disputes concerning coverage under this Part                   demand the right to a trial. This demand must
   may not be arbitrated. .                                             be made within 60 days of the. arbitrators' deci-
                                                                        sion. If this demand is not made; the amount of
                                                                        damages agreed-to by the arbitrators will be
                                                                         binding. ...




                               PART D - COVERAGE FOR DAMAGE TO YOUR AUTO
INSURING AGREEMENT                                                   5. Windstorm;. . .

A. We will pay for direct and accidental loss to "your               6. Haii, water or flood;
   covered auto" or any "non-owned'-auto", including
                                                                     7. Mglicious mischief or vandalism;
   their, equipment, minus any applicabie deductible
   shown in .the Declarations. .IflosS to more than one              8. Riot or civil commotion;
   "your covered auto" or- "non-owned auto" results                  9. Contact With bird or animal; or
   from the same "collision", only the highest applica-
                                                                    10. Breakage of glass.
   ble deductible will apply. We will pay for loss to
   "your covered auto" caused;by: . • • •                            If breakage of.glass is caused by a "collision", you
                                                                     may elect- to have it considered a toss caused by
   1. Other than "collisidri" only if the'Declarations               "collision". • - ' . '
       indicate that Other Thart. Collision Coverage is
                                                                  C. "Non-dwned. auto" means:
       provided for that auto.
   2. "Collision" only if the DeciaraUons indicate that              1. Any private passenger auto, pickup, van or
       Collision Coverage is provided for that auto.                     trailer" not owned by or furnished or available
                                                                        for the regular use of you or any "family rnem-
    If there is-a loss. to a "non-owned auto", we will                  ber" while in the-custody of or being operated
   .provide'the broadest coverage applicable to any                     by you or any "family member"; or
     your covered auto" shown in the Declarations.
                                                                     2. Any auto or "trailer" you do not own while used'
B. "Collision" means the upset of "your covered auto"                 . as a temporary s.ubstitute for "y&ur covered au-
    or a "non-owned auto" or their impact with another                   to" which, is out of normal use because of its:
    vehicle or. object, •
                                                                         a. Breakdown; • . '
   Loss caused by the following is considered other.
   than "collision": • •                                                 b. Repair;
                                                                         c.     Sen/icing;'                       :   .
   1. Missiles or falling objects;. :
                                                                         cL Loss; or •
   2. Fire;
                                                                         e. Destruction. ' • • . .
   3. Theft or larceny;
   4. Explosion or earthquaKe;.


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TRANSPORTATION EXPENSES                                          $200 is the most we will pay in any one occurrence
                                                                 even though more than one person has a loss.
A. In addition, we will pay, without application of a
                                                                 This coverage is excess over any other coverage.
    deductible, up to a maximum of $600 for
   1. Temporary transportation .expenses not. ex-
                                                              EXCLUSIONS
      ceeding $20 per day incurred by you in- the.            We'will not pay for:
   • •event of a loss to "your. cpvered auto". We will
                                                                 1. Loss to "your covered auto" or any "non-owned
      pay for such expenses if the loss Js caused by:                auto"- which occurs while it is being used as a
      a. Other than "collision" only if the Declara-               . public or livery conveyance. This Exclusion (1.)
         •tions indicate that Other Than Collision                   does not apply to a share-the-expense car
         Coverage is provided for that auto.                         pool.

      b. "Collision" only if the Declarations indicate.          2. Damage due and confined to:
          'that Collision Coverage is provided for. that             a. Wear and tear;
          auto.                        .   .   •       .
                                                                    •b. Freezing; •
   2. Expenses for which you become legally re-
      sponsible in the event of loss to a "non-owned                 c. Mechanica! or electrical breakdown or fail-
      auto".. We will pay for such expense's if the loss                ure; or
      i.s caused by; • -                                             d. Road damage to tires.
      a.,Other than "collision" only if the Declara-                 This Exclusion (2.) does. not apply if the dam-
          tions indicate that Other 'Than Collision                  age results from the total theft of "your covered
          Coverage is provided for any "your covered                 auto" or any "non-owned auto".
          auto".               .   .   .
                                                                 3. Loss due to or as a consequence of: •
      b. "Collision" only if the Declarations Indicate
                                                                     a. Radioactive contamination; •
          that Collision Coverage is provided for any
          "your covered auto". . .                                   b. Discharge of .any nuclear weapon (even if
                                                                        accidental);' . . •
      However, the most we will pay for any ex-
      penses for loss of use is $20 per day.                         c. War (declared or undeclared);

B. If the loss is caused by:                                         d. Civil war; '

   1. A total theft of "your covered auto" or a "non-                e. Insurrection; or
      owned auto", we will pay only expenses in-                      f. Rebellion or revolution.
      curred during the period:                                 ' 4. Loss to any electronic equipment designed for
       a. Beginning 48 hours after the theft; and                     the-reproduction of sound and any accessories
      b. Ending, when "your covered auto" or the                     used with such equipment This includes but is
          "non-owned auto" is'returned'to use. or we'               • not-limited to; . •
           pay for its loss.. ..' ' • .;                             a., Radios and stereos;
   2. Other than theft of a "your covered auto" or a                 b. Tape decks; or
      "non-owned auto"; we will pay only expenses
                                                                     c. Compact disc players.
       beginning.when the auto is withdrawn from use
      ..for more than-24. hours. •• ,'                               This Exclusion' (4.)'does not apply to equipment.
                                                                     designed soleiy.for-.the reproduction .of sound
C. Our payment Will be limited 'to that period of tim6               and accessories used with such equipment,
    reasonably required- to repair or replace the "your              provided: ' , •
    covered auto"' or the "non-owned auto". ... ..
                                                                     a. The. equipment is permanently installed in
CLOTHES AND LUGGAGE                                                   . "your covered auto" or any "non-owned au-
In addition, we will, pay, without application of a de-                  to";         or.       •     '   .
du'ctible, up to a maximum of $200 per o&currence for.
                                                                     b. The equipment is: • •
clothes and luggage, owned by you or any "family
member". These items have to-be in or on an auto •                    • (1) Removable from .a housing unit which is
covered' by. this part- 'Your covered auto" .has to be                    : permanently installed in the auto; .. •
covered under-this policy, for:                                         (2) Designed to be solely operated by use of
   1.. Other Than Collision Coverage, and the .loss.                          the power from the auto's electrical sys-
       caused by 'fire, lightning, flood,. falling objects,                   •tem; and . • . .

       •explosion, earthquake or theft. If the loss is due              (3), In or upon "your covered auto" or any
       to'theft, the ..entire auto must have been stolen;                    . "non-ownecf auto" at the time of loss.
       or ••
                                                                  5. Loss to any electronic equipment that receives
   2. Collision Coverage and the loss caused by                      or transmits audio, visual or data signals and
       "collision".                                                  any. accessories' used with such equipment.
                                                                     This includes but is not limited to: . . •

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      a. Citizens band radios;                                          11. Loss to any custom furnishings or equipment in
     b. Telephones;                                                         or upon any pickup or van. Custom furnishings
                                                                            pr equipment include but are not limited to:
     c. Two-way mobile radios;
                                                                             a. Special carpeting or insulation;
     d. Scanning monitor receivers;
                                                                             b. Furpiture or bars;
      e. Television-monitor receivers;
                                                                             c. Height-extending roofs; or . .
      f. Video cassette recorders;
                                                                             d. Custom murals, paintings or other decals or
     g. Audio cassette recorders; or                                            graphics. ' , •
     h. Personal computers.                                                     This Exclusion (11.) does not apply to a
     This delusion (5.) does not apply to:                                       cap, cover or bedliner in or, upon any "your
                                                                                 covered auto" which is a pickup.
      a. Any electronic' equipment that is necessary
         for the normal operation of the auto or the                    12. Loss to. any "non-tiwned auto" being maintained
         monitoring of the auto's operating systems;                        or used by any person while employed or oth-
         or   .   '..   .                                                    erwise engaged in the "business" of:

     b. A pennariently installed telephone designed                          a.     Selling;                 .   .   •        •

         to be operated by use of the power from the                         b. Repairing; . .
         auto's electrical system and any accesso-
                                                                             c.     Sen/idng;                             ':,
         ries used with the .telephone,
                                                                             d.      Storing;                        or       .,
  6. Loss'to tapes, records, discs pr other media
     used with equipment described in Exclusions 4.                          e., Parking;
     and          5.        ••       '       .   .   '   •    •
                                                                             vehicles designed for use on public highways.
  7. A total loss.to "your covered auto" or any "noft-                       This includ'es road testing arid delivery.
     owned auto" due to destruction or confiscation                     13. Loss to "your covered auto" or any "non-owned
      by governmental or civil authorities.                                  auto", located inside a facility designed for rac-
     This Exclusion (7.) does not apply, to the inter-                       ing, for the purpose of:
     ests of Loss Payees in "your covered auto".
                                                                             a. Competing in; or
  8.       Loss                          to:              '   '   .
                                                                             b. Practicing or preparing for;
      a. A "trailer", camper body, or motor home,
                                                                            •.any prearranged or organized racing or speed
         lA/hich is not shown in the DeGlarations; or .                      contest.                        •       '    •       •

      b. Facilities.or equipment used with such "trai-                  14. Loss to, or loss of use of, a "non-owned auto"
          ier", camper body or motor home. Facilities                        rented-by:                      •   .       .'
         or equjpmeht.indude but are not limited to:                        •g.    You;'or         •'   '.   "   •   .   "    •••

        (1)..Cooking, dining,'plumbing or-refrigera-
                                                                             b. Any "family member"; . • .• • .
             tion facilities; . • .
        (2) Awnings or cabanas; or                                           if a rental vehicle company is precluded from
                                                                             recovering such. loss or loss of use, from you or
        (3) Any other facilities or equipment- used,                         that "family member", pursuant to the provi-
        . .' with a "trailer"; camper body,' pr motor
                                                                             sjons of any applicable rental agreement or
              home.              '       '   .   .       •'
                                                                             state               law.                •        '   ...
      This Exclusion (8.) does'not apply to a: .                        .15. Loss to "your covered auto" or any "non-owned
      a. "Trailer", and its facilities, or equipment,                        auto" due to diminution of value". . . .
         which you do not own; or . .                                 LIMIT OF LIABILlTf ..
      b. "Trailer",' camper body; or the facilities pr                A, Our limit of liability for loss will be the lesser of the:
          equipment in or attached, to the "trailer1 or
                                                                          1. Actual cash value of the stolen or damaged
          camper body, which you: '
                                                                             property; or . ' •'
        (1) Acquire during thepojicy period; and
                                                                         2. Amount necessary to repair or .replace the
     •' ' (2) Ask'us to insure vVithin 30 days after you                     pr'operty with other property of like kind and
              become the owner.                                              quality.                        '   •        .
   9. Loss to any "non-owned auto" when used by                         • However, the most we will pay for loss to: •;
      you or any "famijy member" without a reasona-
      ble belief that you or that "family member" are                     1. Any "non-owned auto" which is a trailer is $50Q.
      entitled .{o do so.
 10. Loss to equipment designed or used for the .
     detection or location of radar or laser.


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   2. Equipment designed solely for the reproduction               OTHER SOURCES OF RECOVERY
       of sound, including any.acce'ssories used with
                                                                   If other sources of recovery, also cover, the loss, we
    • such equipment, which is-installed in locations              will pay only our share of the. loss. Our share is the
       not used by- the auto manufacturer for installa-
                                                                   proportion that our limit of liability bears to the total of
       tion of such equipment or accessories, is
                                                                   all applicable limits. However, any insurance we pro-
      .$'1,000.
                                                                   vide- With respect to a "non-owned auto" shall be
B. .An adjustment for depreciation and physical condi-             excess over any other collectible source of recovery
    tion wiii be made in determining actual cash value             including, but not limited to:
    in' the event of a total loss. .                                   1. Any coverage provided by the owner of the
C. If a repair or replacement results in better than like                 "non-owned auto"; '
 . kind or quality, we will not pay for the amount of                  2. Any other applicable physical damage insur-
    the betterment.                                                       .ance;
PAYMENT OF LOSS                                                        3. Any other source of recovery applicable to the
We may pay for loss in money or repair or replace the                     loss.
damaged or stolen property. We may, at our expense,                APPRA1SAL
return any stolen property to: . .
                                                                   A. If we and ^ou'cto not agree on the amount of loss,
   1.          You;                   or       '   •
                                                                       either may demand an appraisal of the loss. In this
   2. The address shown in this pblicy. .                              event, each party will select a competent apprais-
                                                                       er. The two appraisers wil'l. select an umpire. The
if we return stolen property we will pay for any dam-
                                                                       appraisers will state separately the actual cash
age resulting from the theft. We may keep all or part
                                                                       value and the. amount of loss. If they fail to agree,
of the property at an agreed pr appraised value.
                                                                       they will submit th'eir differences to the umpire. A
If we pay for loss in money, our payment will include                  decision agreed to by any two will be binding. Each
the applicable sales tax for the damaged or. stolen                    party will: , .. • , •
property.
                                                                       1. Pay its chosen appraiser; and
NO BENEFIT TO BAILEE
                                                                     ' 2. Bear the expenses of the appraisal and umpire
This insurance shall not directly, or indircGtly benefit                  equally.                                  '    •
any carrier or other bailee for hire.
                                                                   B. We do .not waive any of our rights under this policy
                                                                      by agreeing to an appraisal. . • •


                                  ; PART E - DUTIES AFTER AN ACCIDENT OR LOSS
We have no duty to provide coverage under this policy                     .b. Other pertinent records.
unless there has Been full cqmpliancs with the follow-                 5. Submit a proof of loss when reqyired by us.
ing duties:
                                                                   C. A person- seeking Uninsured Motorists Coverage
A. We must be notified promptly of how, when and                      mustalso:
   where, the accident or loss happened. .Notice
   should also include the names and addresses of                    ' 1. Promptly notify the. police if a hit-and-run driver
                                                                           Is involved. • • .
  •; any injured'persons and of any witnesses, . •'

B. A person seeking any coverage must: .                               2. Promptly send us copies of the legal papers if'a
                                                                           suit is brought. • . . '
   -1. Cooperate with us.'in the investigation, settle-
       ment'or defense of any claim or suit.                       D. A person seeking Coverage For Damage To Your
                                                                       Auto must also: . •
   2. Promptly send us copies-ofaoy notices or legal
       papers received in connection with the accident                 1. Take reasonable steps after loss to protect
     ••'or        loss.   ....   •.   •   '                                "your covered auto"-or any "non-owned auto"
                                                                         • and their equipment from further loss..We will
  ' ..3. Submit, .as often-as we reasonably require;
                                                                          pay reasonable expenses incurred to do this,
     • a. To physical, exams by physicians we select.
                                                                       2. Promptly notify'tfie police if "your covered auto"
          We will'pay forthese'exams.
                                                                           or any "non-owned auto" is stolen.
       b. To examination under oath and subscribe
                                                                     . 3. Permit us to inspect and appraise, the damaged
              the same.'. •
                                                                           property before its repair or disposal.'
   4. Authorize us to obtain: • .'••

       a. IVtedical reports;, and •


                                              PART F - GENERAL PROVISIONS


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BANKRUPTCY                                                             1. Whatever is. necessary to enable us to exercise
                                                                          our rights; and
Bankruptcy or insolvency of the "insured" shall not
relieve us of any obligations under this policy.                       ^. Nothing after loss to prejudice them.

CHANGES . .                                                            However, .our 'rights in this Paragraph' (A.) do not
                                                                       apply under F'art D, againstany person using "your
A. This, policy contains all the agreements between                    covered auto" with a reasonable belief that- that
   you an'd us. its terms may not be changed or                        person is entitled to do so.'
   waived except by endorsement issued by us. .
                                                                    B. If we make a payment under this policy'and the
B. If there is a change to the information used to                     person to or for whom payment is made' recovers
   develop the policy premium, we may adjust your                      damages from another, that person shall:
   premium. Changes during the policy term that may
   result in a premium increase or decrease.include,                   1. Hold in trust for us the proceeds of the recov-
   but are not limited to, changes in:                                    ery; and

    1. The number, type or use classification of i'n-                  2. Reimburse us to the extent of our payment,
       sured vehicles; . • .                                        POLICY PERIOD AND TERRITORY
    2. -Operators using insured vehicles; ,                         A. This policy applies only to accidents and tosses
                                                                       which occur; • • •
    3. The place of principal garaging of insured ve-
      •    hides;              .   .-   •.    .   "   .   •            1. During, the policy period as shown in the Decla-
                                                                         '• rations; and
   .4. Coverage, deductible or limits. • ' '.

If a change, resulting from A. or B. requires a premium
                                                                       2. Within the policy territory.
adjustment, we will make. the premium adjustment in                 B. The. policy territory is: .
accordance with. our manual rules. '. • *
                                                                       1, The United States of America, its territories or
C. If-we make a change which broadens coverage                             possessions; '. >• '
    under this edition of your' policy without additional              2. Puerto Rico; or • . •
    prem.ium charge, that change, will. automatically
                                                                       3. Canada.
    apply-to your policy as of the date we implement
    the change in your state. This Paragraph (C.) does                 This policy also applies to loss to, or accidents in-
    not apply to changes implemented with a general                    volving, "your covered auto" while being trans-
    program revision that .includes both broadenings                   ported between their ports.
    and restrictions in coverage, whether that general
                                                                    TERMINATION . ,
    program revision is implemented .through introduc-
    tionof:              •         .   '.                           A. CancesUation

    1. A subsequent edition of your policy; or                         Thjs policy mgy be cancelled during the policy pe-
                                                                       riod as follows;- .,••••...
   .2; An Amendato'iy Endorsement. ,• . •
                                                                       1. The named insured shown in the Declarations
FRAUD .                                                                   may cancel by:
 We do not provide coverage for any "insured" who has
                                                                           a. Returning this policy to us; or
 made fraudulent statements or engaged in fraudulent
.conduct in connectipn with'any accident or loss. for                      b. Giving us advance written notice of the date
 which .coverage is sought.under this policy,                                 •cian.cellation is to take effect. .

LEGAL ACTION AGAINST US :                                              2. We may cancel by mailing to the named in-
                                                                          sured shown in the'. Declarations at the address
A. No legal action may' be brought- against us until
                                                                         . shown.in this policy: . :..
 ' there has been full compliance with all the terms of
    'this policy-. In'addition, under Part A, no. legal ac-               •a. At. least 10 days notice:
     tion- may be brought against us until: • ,                               (1) If cancellation, is .for nonpayment of
                                                                                 •'premium;'o.r .
    1. We-'agree in writing that the "insured" ha? an
       obligation to pay;'or                                                  (2) If-notice is mailed during the first 60
    2. The'amount of thsit obligation has been finally                           •days this policy is in effect and this is not
       'determined by Judgment softer trial.                                      a renewal or continuation policy; or

B. No-person or organization has .any right under this                     b. At least 20 days notice in ail other cases.
   policy to. bring us into any action'to determine-the'               3. After this policy is in effect for 60 days, or if this
    liability of an "insured". ... ' .' • .                                is a. renewal or continuation policy; we will can-
OUR RIGHT TO RECOVER PAYMENT                                               cel only: •

A. If we make a payment under this policy and the                         .a. For nonpayment of premium; or
    person to or for Whom payment was made has a                           b. If your driver's license or that of:
    right to recover damages from. another we shall be
                                                                              (1) Any driver who lives with you;.or
    subrogateci to that right That person shall do:.
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         (2) Any driver who customarily uses "your           D. Other Termination Provisions
             covered auto";'
                                                                1. We may deliver any notice instead of mailing it.
         has been suspended or revoked. This' must                 Proof of mailing,of any notice.shall be .sufficient
         have occurred: . . '                                      proof of notice. .
         (1) During the policy period; or                       2. If this policy is cancelled, you may be entitled to
      •. (2) Since the last anniversary of the original            a premium refund. If so, we will send you the
           .• effective date if the policy period is other         -refund. The premium refund, if any, will be
           .'t than 1 year; or • • .                               computed according to oui* manuals. However,
                                                                   making or offering to make the refund is not a
      c. If the policy was obtained through material               condition of cahcell.ation.
         •miSFepresentation..
                                                                3. The effective date of pancel.lation stated in th.e
B. Nonrenewal . .                                                  notice shall become the .end of the policy pe-
  If we decide not to renew or continue this policy,               riod.           •••••'            .   '   •


  we will'.mail notice to the named insured shown in         TRANSFER OF YOUR INTEREST .IN THIS POLICY
  the Declarations at the address,shown in this poli-
  cy. Notice will -be maiied at least 20 'days' before       A. Your rights and duties under this policy may not be
                                                                assigned without our written consent.-However, if a
  the end of the policy period. Subject to this notice
                                                                named insured shown in the Declarations dies,
  requirement, if the policy-period is:
                                                                coverage will be provided for:' • ...
   1. Less than 6 months, we will have the right not
                                                                1. The surviving spouse if resident in the same
     .to renew or continue this policy every 6 months,
                                                                   household at the time of death. Coverage ap-
    . beginning 6 months after its origina^ effective
     .    date..                    .     •      .   •
                                                                   plies to 'the spouse as if a named insured
                                                                   shown in the Declarations; and ' • . •
   2. 6 months or longer, but less than one. year, we
      wili have the right not to renew or continue this         2. The legal representative of th.e deceased per-
                                                                   son as if a named insured shown in.the Decla-
      policy at the. end of the policy period.
                                                                   rations. This applies only with respect to ttie
   3. 1 year or longer, we will have the right not to              representative's, legal responsibility to maintain
       ren6w or continue this policy at each anniver-              or use "your covered..auto".
       sa'ry of its original effective date.
                                                             B. Coverage will only be provided until the end. of the
C. Automatic Termination                                        policy period. . •
  If we offer to renew or continue qnd you..or your          TWO OR MORE AUTO POLICIES
  representative do not accept, this policy will auto-
  matically terminate at the end- of the current policy      If this pojicy and any other auto insurance policy is-
                                                             sued to .you by us apply to the same accident, the
  period. Failure to pay the required renewal or con-
  tinuation premium when due shall mean th'atyou             maximum limit of our liabiiity under all the policies
  have not accepted our offer.
                                                             shall not exceed'the highest applicable limit of Ijabijity
                                                             under any one policy. • .:• ' ...
   If you obtain other insurance on "your covered au-
   to", any similar insurance provided by this policy
  will terminate as to .that auto .on the effectiv.e. date
   of the other insurance, • • • .....'.'




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STATE OF SOUTH DAKOTA IN CIRCUIT COURT

GQUNTY OF ROBERTS FIFTH JUbtCIAL CIRCUIT

*#^*A^*>i.*********-***********'************.*****'*»*A*A******


hlODAK'IMUT.UAL INSUR^NQE vs Giv.#1W
COMPANY, *
                                                            *:

                                   Plaintiff, *
                                                            <;


        V.
                                                            :*•



NICHOLAS HELGESON; RAL.E
LAROGHE, as PERSONAL
REPRESENTATIVE OF THE £$TATE ^ MEMORANDUJVl DEClglON
OF RICHARD GHELL; TERESA *
THOMPSON, as SPECIAL ADMIN-
I.STRATOR OF THE ESTATE OF
WINFIELD THOMPSON ^nd J.AMiE
A. HELGESQN, as (^Marciign Act *
Litem for MATTHEW H6L(3ES.ON, ^
                                                            *


                                   Defendants.' *
                                                            *
•.****.***»*******iw********.******«*.***^****.***************.***********.**********^^^^


      The ahQve-etititlec) matter js currently b.efbre the G6u,rt following & .Court, Trial held jn
Roberts County on Septeifnber 19; 201.3. Thi? is an action for a declaratory judgment to
determine coverage under-an si.uto insyrahce pplicy, At the time of trial, Plajntiff was
represented by Reed Rasmyssen; Defendant, Nicholas. Helge?on was.represent.e.d by Kurtis
GreenSey; Dale LaRoche, as Personat Representative of the Estate of Ri.ehgrd Chell and
Teresa Thompsisn, as Personal Representative of the Estate of Winfietd Thompson were
represented by Robin Zephier. All sittomeys appeared pesrsonaiiy at |he time set for trial, Np
answer w.as ever filed by Jamie A. Hel^esQn s§ guarciian for Matthew Hejgeso'fi, no.r was .any
appearance made st the time of triat.


       The Court h6ard testimony from .Cgrrie Norby, Mi.ch.olas He.lgeson..anci Melissa
Prochnbw. The .Court received into evidence Plaintiff's Exhibits 1 through 4, iriclusiVe,
B^hi&i.fe? thi-ough '2.1, mclusjv^, and Exhibits.23 &nd 24. The Gourt £l!s& reoejvfed irtto
eyidenee Defendant H^lgeson's. Exhibits AA, BB, .GC and DD. Addition^Hy, th© Cpurf
received into .©yicl.ence Exhibits A arid B fro'i-p Defendants Chelt and Thompson Estates,


                                                                                             MmBp'r
                                                                                            imswii'

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       Plaihtiff's Exhibit 23 is a Deposition of Gabe Skarphol;- Pl.ainti.ffs Exhibit 24 is g
 Deposition of Patrick Nelson; ahd Defendant Ghell and Thompson Estate. Exhibit A is a
 Deposition of €?teve Thomas, By agi-ee.ment of th.e 'parties, these exhibits :wer.@ received into
 evidence. Prior to trial, each party designated the portibn oftho specific- depbgition that'
 would be offered at the time of trial. Opposing parties then hsi'ci ah Qppdrtutlity to objfetit to
 those portions of the depositions being offered. The Court reco.ivod designatiohs and.
 objeotjons from the various parties by letter and e-mail. A review of the file at this time does
 not indicate that the parties 6ver filed those communicati.ons with the Ci.@rk. Therefore, in
 connection with-the issuance of this Decision, the Court has printed and filed those
 designations and pbjectiohs that were prfeVtously received to .complete the record,

        Also pursuant to an agreement of the parties, followiftg completion of testimony before
 the Court, the parties took the deposition of Anthony Lf3van9 on September 20, 2013 aftd
 agreed to preseiitthat deposition to the Court for its consicieration in reaching 9 cjecisidn in
 this case, The Court has rfeceived the Deposition of Anthony Levang and filec}. it with the
 Clerk.

        At the conclusion of the te.stimony, the parties requested time following the Levang
 deposition to submit post-trial memorand.9, The Court has now receivfed ahd reviewed
 Plaintiff's Post Trial Brief dated November 5,2013; PostTrigi Merrtoranduitl Qf:Nioholas
 HelgesQn dated November 5, 2013; Defendants LaRoche And Thompson Estates' Trj.al Brief
 dated November 5,2013; Plaintiff's Reply Brief dated November 12, 2013; Defendant
 Hetgeson's Reply Memorandum dated November 12, 2013 and Defendants LaRoohe And.
 Thompson EsNes' Re^ly Brief dated November 12, 201.3.

          The Court has also ndv^ had an opportunity to rule upon the objections made by the
 parties to the various p.ortions of the depositioris that were offered, The Court has
 handwritten it§ rulings on the objections on the original documents filed with the Clerk, A
 copy of the objections and rulings has been attached to this Decision for the information of
 the parties.

          this apti.on arises as a result of a motor'vehide acciciBnt In Roberts County, South
 Dakota, on November 6, 2009, At that time, Nicholas Heigeson Was t.he driver of -a 1994
 Jeep Grand Cherokee, owned by Patrick Nelson of Fargo, North Dakota, wh.ic.h was invoived
 in an accident resulting in the deaths of Ric.hard Ghell and Wjnfield Thompson. It is
 undisputed that the policy of insurance obtained by Patrick Nelson .to cover his vehicle had
 lapsed at the time of tHe accident. However, Nicholas was eligible for coverage under a
 perso.ri.al auto pplicy issued fciy Nodak Mutual Insurance C.orripany 16 Riohard Prochnow and
 'Metlssa Prochnow, his sfep-father and mother, .vi/ith a .policy period from April 2, .2009 through
 April 2, 201Q.




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       This policy, which was acjmitted at trial as plaintiffs Exhibit 1, sp'eGificatly listeGl
Nich.olas as a rated driver on ^ 1Q96 Ghevrplet.lVl.onte Gar.lo, At the time of the 9cotd6nt,
Nich.olas was drivihg the 1.994 .Jeep because h.ia 19,96 ;Q;h6vrp!e:t: Monte Qarl.Q was
undergoing -repairs in a sh.op in Rpsholt, $6L|th .Dakota, The ^o.ljcy i.riclyciecl under the
"Definitions" section, Parqgraph ,<!. :4. on Rage 1 of '12 fhgit "cov.erod auto" means any yuto
.you do not own while used,as £> temporary substitute for any other v.e.hiole which is out of
norrrN use because of repair. However, Plaintiff relies upon an exclusion found at
Paragraph A,8, on Page 3 of 12 "indicating that liability coverage is not provided-'for any
insured .using ,si yg.hicle wi.thpyt a r&asGn^bje b^li6f that th.al i.nsu.re'd .is entitled to. 66 so;
Plaintiff spe.cifiGally alleges thgt hjichbl.as was operating the. 1.994 iJeep wjthput s reasonable
belief :that he was entitle^ to do sp.

       The sole [issue in this case is whefher^at the time of the.accid.enti NlQholas Helg.eson
had a reasonsible belief he W9S erttifleci :to be op6ratln.g Patrick Nelson's vehicle. "Whether an
insured has a ffrasonable beijef that he js .entitled to drive ar)i3th.6r's y^hicle is a qy.eStion of
fact. When an insyrahce compariy seeks to ayoid liability u;rid@r a ROlicy bec.ause of an
excluded risk, it has the burden of proving the facts tti'qt GOnstitu.te the ex<3lu$ion," State Auto,
& ftflft Underwriters v.lshmael,. 202 N,W,2.d 3.84, 3,86 (1972)> Under State ;FarmAut6tnobile
insurance Gornpanv v.Bottfler, 20'l 1 S.D, 2, the Trial Court myst cietermine. in this G.^se
whether Nicholas believed he was entitled to: .drive the 1994 Jeep gt the ti.me of.the:.accidenti
9nd, if so, then the GourtTriust decide whether that beli&f •was reasonable.

       Nic.ho.la? teBtifieol .nt the.'time of trial that.he taiked..&Ve!r the php.ne With Patfjck Melson
and asked permission :to Use tho 1994 Jeep .befdre drjyihg it in late October, 2009, N.icholas
had driven the vehicle on several occasiohs prior to that time while' assisting Peitrjck in
.carrying out the duties of Patnck's DJ busi.nes.s gndl had also used the vehicle for personal
reasons on two (srior occasions. NiGholas.testified that he was grgnted perm.issiQn by Patrick
over th^ ^hpne'tp use'the Jeep while his MontaCario.was being repaired and that Gabe
Ska.rpholwas'p'rlseht wheii this fconversgtioft: wgs cbrtducted with the speaker phone
function of Nicholas's pihone being acflvateci. N.ich&las had iridicated that he would be using
theJe'ep to .get back gnd.fprt.l'i'ta wort< at his parertts' fanYi. Atth6;tjnie;of,this conversgtjon,
Nicholas was. at Qabe's residehc^ jn Farc|Q. The fa.j-rn .Was lo(3,ate!j:j ne.gr Harili.in6on, hjprth
Dakotai, Nicholas also testified that no restrictions were placed upon his use of the ^Jeep.

       R^tricK NelsQft's testimony was pre'sented by way. of deposition and in that deposition,
Patrick testified that he did not g.iv'e perm.is'sip'ri to Nicholas: to use the Jeep because, there
was an issue as to irisurance. Pa.trick had allowed t^e insurghce on the vehicle to la^e
boeau'se he was, not using thf? vfehicle and jt was parHeci ih 'the .parking .lot at Cube's
residence. Therefore, he would -not allow 'Nipholss to u^ the Jeep.unless there was
insurance coVfe'r^'ge .oh it,.




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       While Gabe m9y have been present during the phone, cohvers^tibn between Patrick
and Nicholas, he did not have any specific recolle.ction of that phone conversaijon. G^be
also testified through .deposition and stated In th9t depQsjtion that afthou.gh he was th.e so-
csjlpd "keeper of the key's" for the 1994 Jeep, he was. nd: made aware that there was no
insurance in pla^ on the vehicle,

       In determining .whether or not Nicholas subjectiyely believed he had permjssjon .to
dper&te the vehicle, this Court miisl .deteriTiine the cre.clib.jfity of witnesses. Primarily this
determm.atiort occurs between the testimony of'Nicholas, who testified in the courtroom-at the
time of trial and the testimony of Patrick provideci through his Deposition. The Court h%d;ian
opportunity to iisteh to and observe Nicholas while testifylnQ. Nicholas readily admitted that
he had previously provided misleadinQ inforffiation to law erifor&emont at the time of the
accident about the ownershjp of the 1994 Jeep and had been in'&orrect in pther statements
made to the insurance adjuster and Plaintiffs attorney. However, Njcholas readily.a'dmltted
these mistakes .and expte.ined his aotlohs at the time those prior statemenis were made.

        Patrick's Deposition contains numerous responses to the effect of "not as I recall," In
fact, he seems to have very little recollection about anything concerning the case other than
that he is sure he did not giyie permission to Nibhoias to operate the vehicle b'efore it Was
involved in the gccid.ent. In reaiding the portions of the D6positi6:rt acif-hitted Into evidence, it
does not appear that Patrick even agrees that Nicholas, Gabe and others Were ever of any
assistance to him in carrying out his duties in .his DJ business. Bnged u^on all the evidence
presented through testimony '.and depositions, this Court does not f!nd the testimony of
Patrick Nelsoil to be credible.

      The Court belteves that the preponderance of the evidence in this case establishes
that Nicholas had. permission from Patrick to use the 1994 Jeep «/hile his Monte Carlo was in
.the shop for repairs. If Patrick's concern about insurance had been so important, it would
seem Patrick.would have mentioned {hat isgue to the inciiyidual who held the keys to thp
vehicle. Plaintiff has failed, to establish by the greater weight of the evidence that Nicholas
 knew he wa8 not entitled to drive the vehicle,

        Having determined that Nicholas believed he was entitled to drive the 1994 Jeep,
 thereby satisfying the first prong of the test set forth in Bott^er, the ©ourt must th6h examine
 whether that belief was a reasOhable belief @t the time grid place of the accident. Relying
 upon GfinerafAccident. Fire and Life Assurance GorDoration.LPD. V. Perrv, 541 A. 2d 1340
 (MD. App. 1988), Pl&intiff suggests there (are five-factors for the Court to. consider. The first
 of these factors is whesther Nicholas had express permission to use the vehicle. This again
 requires the Court to assess the credibility of Nicholas and Patrick, As already determined,




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the Court finds the testimony of Nicholas to be more credibie than that of Patrick and has
i'h'erefore determined that, Nicholas had express permission to use th6 vehiGle,


       The second factor i? whether Nicholas' use oft.hevGhicle Qxceccted the permis^i'on
granted. WhiSe.Plainliff-argu.es that Pqtri.c!<: j3lace.cl restriGtio.ns pn <h@ ^Q jn. whjoh the
vehicle could b'e usedl- f'eview ot'the ©vid.ence shows nQ such resltrictions, ev.en accepting th.e
testimony provided by Patrick at his deposition. While Plaintiff attempts to grgue that
Nicholas gave'the impression that he would only b^
yar.ds'iogQtbapkandforthJrQ'rn his parents' resicleticetbthe'farm, he and the Jeep were
actually In Rargo at the time tie reqfuested to u§6 theyehlple. .It also appe&rs from th$ reGQird
tha.tth6'"®ason Nicholas tgOR tlie vehicle t6 South Da.kotaw^s hot to Wb:rl< for somebrte other
•than His parents but to assist a relative in cgpturing Ethimals that haid. str^ye^.frorn the proper
enctosure. Since the vehicle had been driven from.Fargp to.Hankjnson to gejt to his pgre.nts'
farm, a distance of an additional 10 miles does not seem to b.e unreasonable. Nicholas was
using the vehicle in the coyrse of his wofk on the farm, Thatuse did not .exceed th&
permisQion granted,

       The third faGtor to review is whether NichotaS \vas legally entitled to drive yncier th6>
laws of SoUth Dakota. At the time ofthegccident N.ic.holasw9s a liGensed driver gncj there is
no evidence tha't h6 was not legally entitlecl lo ope.rate the vehicle .under the laws of either
North Dakota of SOut.h Dakota.

        Tlte .fourth factor for review is whether Nicholas had any ownership or possessory right
to.the vehicle. Nic.hol.qs told the l-iiShw'ay patrolman h6 was in the procesis of pyrph'asitig th^
Jeep, this was not true, although there rriay have bee'n dis6ussi6ns at spffiS ptfjnt in.the past
about h.im purchasing the .Jeep, At. th6 time of the accident, the only possessory interest
'Nicholas had in the vehicle was the right to u.s^ the vehiole.

       The final factor Is Whelher or not there Was some.form of relationship between
Nicholas and Patrick that woytd cause Njcholas t0 belieVe he' \was entittedto drive the Jeep.
In addition to being granted express pemiissioh to drive the Vehicle, Nichblas ana Peitrick had
been friends and acquaintances and N.icholas had driven the vehicle. in f.he p&st both to carry
out vi?.brl< in assisting Patrick as well as on at legs't two bccasions for his. own private errands.
There weis dearly a relationship between NiGholasand Patrick that would ca.use Nicholas to
believe he was'entitled to .drive the' Jeep,


        Based on a review p-fthe <above factors, It appears to the Court that Nicholas had a
 reasonable belief that he was entitled to be operating tho Jeep at the time- and place of the
9C6id.iti.nl, Therefore, Plaihtiff ha.$ failed :to prove Nictiol^ use.cj :th6'1'§94 Jeep 'withoyt 9
reasonable belief that he was entitled to do so.




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       PlaintifF having tailed to meet its burden to prove the -exclusion "set forth .under
Paragraph A.8 on Page 3 of 12 on Exhibit 1 applies in this case, a Declaratory Judgment
should therefore b^ entered determining th^t Nicholas Helggeon is Gniitled to cover^cie ynder
the policy jhtroduoed at trial as Exhibit 1 for fho acc;id.6nt occ.urrihg o'n NoVem&er 6, 2009 in
Roberts County, Spulh Dakota, P.laintjff is ordered to fully defend witlloLitresorvsition of fi.ghts
the claim against Nicholas H^lgeson arteing from said aoGJderit afid is further obligated to pay
any claims or demands to which Nicholas Helgeson may iegglly become, liahle;

      'Counsel for Defendant Hetgeson is hereby difeeted.to draft-an appropriate Judgment
and Order in.eorporating the Court's Deeision by reference. Unless waived by all other parties,
eounsel for defendant Helgeso'n is also directed to prepare Fincjmgs of Fad: and Conclusions
of Law also incorporating the pburt's Decisibn by reference.

       Dated this 12'" day of March, 2014,

                                            BY\1\HE Q'OURT




OMrhhWi^b.
^^W/^^l^fy-^- >
       ci^i-k of Q^urfs




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                                       ABOUREZK LAW FIRM
Chi' Abourezk
"Robui L. Zephier p,0,30^ 94^0 Mil<e Aboyrezk
]on ]. LaFleur RAPID CITY, SD 57709-9460 Alicia D. Garcia
                        (2020 W.Omqha Street)
*Also Ucensedjn Colorado *- ^g^; {605)3'42-0097-- ~' "Also llcen$ed in California
                                                 TEL: (605) 342-0097
                                                 FAX: (605) 342-5170




                                                 April 14,2014



       William Hanie
       NUles Law Firm
       ISOORadissonTower
       201 North Fifth Street
       PO Box 2626
       Pargo, ND 58101-2626

               RE: Estate of Thompson and Chell v. Nicholas Helgeson
                     CmlFUeNo.: 12-105

       Dear William;

               I am writing to you as the attorney hired to represent Mr. Helgeson on the direct third
       party liability action against him filed by our clients, the Estates. Was ffaere ever a formal
       Answer filed by Defendant in this action? If so, could you please fax or email me a copy?
       Thank you.

              Enclosed, please fmd the Memorandum Decision and a proposed stipulation regarding the
       declaratory action entitled Nodak vs. Helgeson, et al., After a trial was held on September 19,
       2013»the Judge agreed with the Defendants m that case that Defendant Helgeson believed he had
       permission to drive said vehicle and Helgeson is entitled to coverage under his Nodak policy. It
       has been agreed that Nodak will not appeal. See the attached Stipulation Regarding Post Trial
       Matters. Therefore, at this time we are requesting that Nodak pay the per person per accident
       policy limits of $100,000 for the Estate ofWiirfNd Thompson and $100,000 for the Estate of
       Rjichard Chell. Both of these fine and loved gentlemen lost their lives as a result of the t-agic
       motor vehicle accident. In light of the conclusion of the declaratory action, .we make this
       proposal and require that a formal response be received from you on of before Monday, April 28,
       2014 at 5:00 p.m, mountain time. If this proposal is not accepted by that time, we will not be
       making any more policy limits proposals in the future. Thank you very much, William. Take
       care.



                                                                       Sincerel




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                                               Robin L. Zephier
                                               Attorney for Plaintiffs
  RLZ/bj
  ec: Clients
        K.urt Greenley




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                                                 ABOUREZK LAW FIRM
:liai. Abourezk
Robin L, Zephier                                             P.O. BOX 9460                                          Mike Abourezk
sn J. LaFleur                                          RAPID CITY, SE> 57709-9460                                 **AliciaD.Garda
                                                         (2020 W.Omaha ^treet)'•
Also licensed in Colorado                                                                                    *Also licenced in California
                                                          TBL; (605) 342-0097
                                                          FAX; (605) 342-5170




                                                          May 12,2014



            William Harrie
            Nilles Law Finn
            1800 Radisson Tower
            201 North Fifth Street
             PO Box 2626
             Fargo, ND 58101-2626

                       RE; Estate of Thompson and Chell v. Nicholas Helgeson
                              Civil File No.; 12-105

             Dear William:

                       I am writing to you to ask you to please file your formal Answer on the above-referenced
             matter within. 3,0 days of the date of this letter. I am forced to write this letter to you ui light of
             the fact tliat I have not received any type of response from you to my earlier com-munica.tion
             dating back to early April, 2014.

                    If you should have any questions, please feel free to contact me. Thank you very much,
             William. Take care.




                                                                                        -. Zephier
                                                                                    fomeWor Plaintiffs
             RLZ/bJ
             ec: Clients
                   Kurt Greenley




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 STATE OF SOUTH DAKOTA                                            IN CIRCUIT COURT
                                        )SS
 COUNTY OF BROOKINGS                                           THIRD JUDICIAL CIRCUIT

                                                                        Civ. N0.05CIV19-000006

 TERESA ANN THOMPSON, hidividually,
 and as Special Administer/Personal
 Representative of the Estate ofWINFIELD
 THOMPSON, SR, Deceased, and the
 ESTATE ofWINFIELD THOMPSON,
 MELISSA PROCHNOW AND JAMIE
 HELGESON, as Special
 Admmistrator(s)/Personal Representative(s) of
 the Estate of Nicholas Helgeson, and the
 ESTATE OF NICHOLAS HELGESON,

                Plaintiffs,


        V.                                                             SUMMONS

 WILLIAM HARRIE and THE NILLES LAW
 FIRM, aka NILLES, SELBO & HARRIE,
 LTD., and NODAK INSURANCE
 COMPANY, (fna NODAK MUTUAL
 INSURANCE COMPANY), and NODAK
 MUTUAL GROUP, INC., a Mutual Holding
 Company andN.I. HOLDINGS, INC. (An
 Intermediate Stockholding Company),

                Defendants.




 THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

 DEFENDANT, NODAK MUTUAL GROUP, INC., BY AND THROUGH THEIR

 REGISTERED AGENT MICHAEL ALEXANDER, AT 1101 1ST AVE, N., FARGO, ND:

        You are hereby summoned and required to answer the Complaint of the above named


 Plaintiffs to the Plamtiffs' counsel, Abom-ezk, Zephier & LaFleur, P. 0. Box 9460, Rapid City,




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 South Dakota, 57709, a copy of said Complaint is hereto amiexed and herewith served upon you,

 within thirty (30) days after service of this Summons upon you, exclusive of the day of service.

        You are further notified that if you fail to do so, judgment by default will be taken

 against you for the relief demanded in the Complaint.

        DATED this 3rd day of January, 2019.

                                                       ABOUREZK, ZEPHIER & TAFLEUR




                                                 By:/s/ Robin L Zephier
                                                       Robin L. Zephier
                                                       Attorney for Plaintiffs
                                                       PO Box 9460
                                                       2020 West Omaha Street
                                                       Rapid City, South Dakota 57709
                                                       (605) 342-0097

                                                       Turbak Law Office, P.C.
                                                      Seamus Cuthane
                                                      26 W. Broadway, Suite 100
                                                      Watertown, SD 57201-3670
                                                       (877)380-8517

                                                      Attorneys for Plaintiffs




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 STATE OF SOUTH DAKOTA                                             IN CIRCUIT COURT
                                        )SS
 COUNTY OF BROOKFW3S                                           THIRD JUDICIAL CIRCUIT

                                                                         Civ. No.05CIV19-000006

 TERESA ANN THOMPSON, Individually,
 and as Special Administer/Personal
 Representative of the Estate ofWINFIELD
 THOMPSON, SR., Deceased, and the
 ESTATE ofWTNFIELD THOMPSON,
 MELISSA PROCHNOW AND JAMIE
 HELGESON, as Special
 Administrator(s)/Personal Representative(s) of
 the Estate of Nicholas Helgeson, and the
 ESTATE OF NICHOLAS HELGESON,

                Plaintiffs,


        V.                                                             SUMMONS

 WILLIAM HARRJE and THE NILLES LAW
 FIRM, aka NILLES, SELBO & HARRIE,
 LTD., and NODAK INSURANCE
 COMPANY, (fna NODAK MUTUAL
 INSURANCE COMPANY'), and NODAK
 MUTUAL GROUP, INC., a Mutual Holding
 Company and N.I. HOLDINGS, INC. (An
 Intermediate Stockliolding Company),

                Defendants.




 THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

 DEFENDANT, NJ. Holdings, Inc., BY AND THROUGH THEIR REGISTERED AGENT,

 MICHAEL ALEXANDER, AT 1101 1STAVE.,N., FARGO, ND:

        You are hereby summoned and required to answer the Complaint of the above named


 Plaintiffs to the Plamtiffs' coimsel, Abom-ezk, Zephier & LaFleiu-, P. 0. Box 9460, Rapid City,




 Filed: 1/3/2019 5:09 PM CST Brookings County, South Dakota 05CIV19-000006
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 South Dakota, 57709, a copy of said Complaint is hereto amiexed and herewith served upon you,


 within thirty (30) days after service of this Summons upon you, exclusive of the day of service.

        You are further notified that if you fail to do so, judgment by default will be taken


 against you for die relief, demanded in the Complaint.

        DATED this 3rd day of January, 2019.

                                                       ABOUREZK, ZEPI-TIER & LAFLEUR




                                                 By:/s/ Robin L Zephier
                                                      Robin L. Zephier
                                                      Attorney for Plaintiffs
                                                       PO Box 9460
                                                       2020 West Omaha Sb-eet
                                                       Rapid City, South Dakota 57709
                                                       (605) 342-0097

                                                       Turbak Law Office, P.C.
                                                      Seamus Cutoane
                                                      26 W. Broadway, Suite 100
                                                      Watertown, SD 57201-3670
                                                       (877)380-8517

                                                      Attorneys for Plaintiffs




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 STATE OF SOUTH DAKOTA                                             IN CIRCUIT COURT
                                         )SS
 COUNTY OF BROOKINGS                                            THIRD JUDICIAL CIRCUIT

                                                                         Civ. No.05CIV19-000006

 TERESA ANN THOMPSON, Individually,
 and as Special Administer/Personal
 Representative of file Estate ofWTNTFIELD
 THOMPSON, SR., Deceased, and the
 ESTATE ofWINFTELD THOMPSON,
 MELISSA PROCHNOW AND JAMIE
 HELGESON, as Special
 Admmistrator(s)/Personal Representative(s) of
 the Estate of Nicholas Helgeson, and the
 ESTATE OF NICHOLAS HELGESON,

                Plaintiffs,

        V.                                                              SUMMONS

 WILLIAM HARRIE and THE NILLES LAW
 FIRM, akaNILLES, SELBO & HARRIE,
 LTD,, and NODAK INSURANCE
 COMPANY, (fna NODAK MUTUAL
 INSURANCE COMPANY), and NODAK
 MUTUAL GROUP, INC., a Mutual Holding
 Company and N.I. HOLDINGS, INC. (An
 Intermediate Stoc.kliol.ding Company),

                Defendants.




 THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

 DEFENDANT, NODAK MUTUAL GROUP, INC., BY AND THROUGH THEIR

 REGISTERED AGENT MICHAEL ALEXANDER, AT 1101 1ST AVE., N, FARGO, ND:

        You are hereby summoned and required to answer the Complaint of the above named

 Plaintiffs to the Plaintiffs' counsel, Abom-ezk, Zephier & LaFleur, P. 0. Box 9460, Rapid City,




 Filed: 1/3/2019 5:09 PM CST Brookings County, South Dakota 05CIV19-000006
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 South Dakota, 57709, a copy of said Complaint is hereto aimexed and herewith served upon you,

 within thirty (30) days after service of this Summons upon you, exclusive of the day of service.

        You are further notified that if you fail to do so, judgment by default will be taken


 against you for the relief demanded in the Complaint.

        DATED this 3rd day of January, 2019.

                                                       ABOUREZK, ZEPHIER & IAFLEUR



                                                 By:/s/ Robin L Zephier
                                                       Robin L. Zephier
                                                       Attorney for Plaintiffs
                                                       PO Box 9460
                                                       2020 West Omaha Street
                                                       Rapid City, South Dakota 57709
                                                       (605) 342-0097

                                                       Turbak Law Office, P.C.
                                                      Seamus Culhane
                                                      26 W. Broadway, Suite 100
                                                      Watertown, SD 57201-3670
                                                       (877)380-8517

                                                       Attorneys for Plaintiffs




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 STATE OF SOUTH DAKOTA                                             IN CIRCUIT COURT
                                        )SS
 COUNTY OF BROOKINGS                                           THIRD JUDICIAL CIRCUIT

                                                                         Civ. No.05CIV19-000006

 TERESA ANN THOMPSON, Individually, )
 and as Special Admimster/Personal )
 Representative of the Estate of WINFIELD )
 THOMPSON, SR., Deceased, and the )
 ESTATE ofWINFIELD THOMPSON, )
 MELISSA PROCHNOW AND JAMIE )
 HELGESON, as Special )
 Adminislrator(s)/Personal Representative(s) of )
 the Estate of Nicholas Helgeson, and the )
 ESTATE OF NICHOLAS HELGESON, )
                                                   )
                Plaintiffs, )

        V.                                                             SUMMONS

 WILLIAM HARRIE and THE NILLES LAW )
 FIRM, aka NILLES, SELBO & HARRJE, )
 LTD., and NODAK INSURANCE )
 COMPANY, (fna NODAK MUTUAL )
 INSURANCE COMPANY), and NODAK )
 MUTUAL GROUP, INC., a Mutual Holding )
 Company and N .1. HOLDINGS, INC . (Ail }
 Intermediate Stockholding Company),

                Defendants.




 THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

 DEFENDANT, NILLES SELBO & HARRIE, BY AND THROUGH THEIR REGISTERED

 AGENT, SHANNON MCGREGAR, 1800 RADISON TOWER, 201 N. 5™ STREET,, FARGO,

 ND:

        You are hereby summoned mid required to answer the Complaint of the above named


 Plaintiffs to the Plaintiffs' coimsel, Abourezk, Zephier & LaFleur, P. 0. Box 9460, Rapid City,




  Filed: 1/3/2019 5:09 PM CST Brookings County, South Dakota 05CIV19-000006
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 South Dakota, 57709, a copy of said Complaint is hereto annexed and herewith served upon you,

 within thirty (30) days after service of this Summons upon you, exclusive of the day of service.

        You are further notified that if you fail to do so, judgment by default will be taken

 against you for the relief demanded in the Complaint.

        DATED this 3rd day of January, 2019.

                                                       ABOUREZK, ZEPHIER & IAFLEUR




                                                 By:/s/ Robin L Zephier
                                                       Robin L. Zephier
                                                       Attorney for Plaintiffs
                                                       PO Box 9460
                                                       2020 West Omaha Street
                                                       Rapid City, South Dakota 57709
                                                       (605) 342-0097

                                                       Turbak Law Office, P.C.
                                                      Seamus Cuttiane
                                                      26 W. Broadway, Suite 100
                                                      Watertown, SD 57201-3670
                                                       (877)380-8517

                                                      Attorneys for Plaintiffs




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 STATE OF SOUTH DAKOTA )                                           IN CIRCUIT COURT
                                        )SS
 COUNTY OF BROOKINGS )                                         THIRD JUDICIAL CIRCUIT

                                                                         Civ. No. Q5CIV19-000006

 TERESA ANN THOMPSON, Individually,
 and as Special Administer/Personal
 Representative of the Estate ofWINFIELD
 THOMPSON, SR., Deceased, and the
 ESTATE ofWINFIELD THOMPSON,
 MELISSA PROCHNOW AND JAMIE
 HELGESON, as Special
 Admmislrator(s)/Personal Representative(s) of
 the Estate of Nicholas Helgeson, and the
 ESTATE OF NICHOLAS HELGESON,

                Plaintiffs,


        V.                                                             SUMMONS

 WILLIAM HARRIE and THE NILLES LAW
 FIRM, aka NILLES, SELBO & HARRIE,
 LTD., and NODAK INSURANCE
 COMPANY, (fna NODAK MUTUAL
 INSURANCE COMPANY), and NODAK
 MUTUAL GROUP, INC., a Mutual Holding
 Company andN.I. HOLDINGS, INC. (All
 hitermediate Stockliolding Company),

                Defendants.




 THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

 DEFENDANT, NILLES LAW FIRM, BY AND THROUGH THEIR REGISTERED AGENT,

 SHANNON MCGREGAR, 1800 RADISON TOWER, 201 N. 5™ STREET, FARGO, ND:

        You are hereby summoned and required to answer the Complaint of the above named


 Plaintiffs to the Plaintiffs' counsel, Abom-ezk, Zephier & LaFlem-, P. 0. Box 9460, Rapid City,




  Filed: 1/3/2019 5:09 PM CST Brookings County, South Dakota 05CIV19-000006
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 South Dakota, 57709, a copy of said Complaint is hereto annexed and herewith served upon you,

 within thirty (30) days after service of this Summons upon you, exclusive of the day of service.

        You are further notified that if you fail to do so, judgment by default will be taken

 against you for the relief demanded in the Complaint.

        DATED this 3rd day of January, 2019.


                                                       ABOUREZK. ZEPHIER & IAFLEUR



                                                 By:/s/ Robin L Zephier
                                                       Robin L. Zephier
                                                       Attorney for Plaintiffs
                                                       PO Box 9460
                                                       2020 West Omaha Street
                                                       Rapid City, South Dakota 57709
                                                       (605) 342-0097

                                                       Turbak Law Office, P.C.
                                                      Seamus Culhane
                                                      26 W.Broadway, Suite 100
                                                      Watertown, SD 57201-3670
                                                      (877)380-8517

                                                      Attorneys for Plaintiffs




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  STATE OF SOUTH DAKOTA                                             IN CIRCUIT COURT
                                         )SS
 COUNTY OF BROOKINGS                                            THIRD JUDICIAL CIRCUIT

                                                                          QV No. 05C I V19-000006

 TERESA ANN THOMPSON, hidividually,
 and as Special Administer/Personal
 Representative of the Estate ofWINFIELD
 THOMPSON, SR., Deceased, and the
 ESTATE ofWINFIELD THOMPSON,
 MELISSA PROCHNOW AND JAMIE
 HELGESON, as Special
 Admmistrator(s)/Personal Representative(s) of
 the Estate of Nicholas Helgeson, and the
 ESTATE OF NICHOLAS HELGESON,

                Plaintiffs,


        V.                                                              SUMMONS

 WILLIAM HARRIE and THE NILLES LAW
 FIRM, aka NILLES, SELBO & HARRIE,
 LTD., and NODAK INSURANCE
 COMPANY, (fna NODAK MUTUAL
 INSURANCE COMPANY), and NODAK
 MUTUAL GROUP, INC., a Mutual Holding
 Company and N.I. HOLDINGS, INC. (All
 Intermediate Stockholding Company),

                Defendants.




 THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

 DEFENDANT, WILLIAM HARRIE, BY AND THROUGH HIS REGISTERED AGENT,

 SHANNON MCGREGAR, 1800 RADISON TOWER, 201 N. 5™ STREET, FARGO, ND:

        You are hereby summoned and required to answer the Complaint of the above named

 Plaintiffs to the Plaintiffs' counsel, Abom-ezk, Zephier & LaFleur, P. 0. Box 9460, Rapid City,

 South Dakota, 57709, a copy of said Complaint is hereto annexed and herewith served upon you,

 within thirty (30) days after service of this Summons upon you, exclusive of the day of service.




                                                  1


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        You are further notified that if you fail to do so, judgment by default will be taken

 against you for the relief demanded in the Complaint.

        DATED this 3rd day of January, 2019.

                                                       ABOUREZK, ZEPHIER & LAFLEUR




                                                 By:/s/ Robin L Zephier
                                                       Robm L. Zephier
                                                       Attorney for Plaintiffs
                                                       PO Box 9460
                                                       2020 West Omaha Street
                                                       Rapid City, South Dakota 57709
                                                       (605) 342-0097

                                                       Turbak Law Office, P.C.
                                                       Seamus Culliane
                                                      26 W. Broadway, Suite 100
                                                      Wafertown, SD 57201-3670
                                                       (877)380-8517

                                                      Attorneys for Plaintiffs




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  STATE OF SOUTH DAKOTA )                                          IN CIRCUIT COURT
                                        )SS
  COUNTY OF BROOKINGS )                                        THIRD JUDICIAL CIRCUIT

                                                                Civ. No. 05CIV 19-00006


  TERESA ANN THOMPSON, Individually, )
  and as Special Administer/Personal )
  Representative of the Estate of WINFIELD )
  THOMPSON, SR, Deceased, and the )
  ESTATE ofWINFIELD THOMPSON, )
  MELISSA PROCHNOW AND JAMIE )
  HELGESON, as Special )
  Administrator(s)/Personal Representafive(s) of )
  the Estate of Nicholas Helgeson, and the )
  ESTATE OF NICHOLAS HELGESON, )
                                                   )
                Plaintiffs, )

         V.                                                    AMENDED COMPLAINT

 WILLIAM HARRIE and THE NILLES LAW )
  FIRM, aka NILLES, SELBO & HARRIE, )
  LTD, and NODAK INSURANCE )
  COMPANY, (fna NODAK MUTUAL )
  INSURANCE COMPANY), and NODAK )
  MUTUAL GROUP, INC., a Mutual Holding )
  Company and N.I. HOLDINGS, INC. (Ati )
  intermediate Stockliolding Company),

                Defendants.




         COMES NOW, the Plaintiffs, Teresa Thompson, individually, and as Special


 Administrator/Personal Representative of the Estate ofWinfield Thompson, Sr., deceased, and

 the Estate ofWiufield Thompson, Sr., Melissa Prochnow and Jamie Helgeson, as special

 administrators/personal representatives of the Estate of Nicholas Helgeson and the Estate of

 Nicholas Helgeson, by and through their counsel, Robin L. Zephier and Seamus Culliane, make

 and file the Plaintiffs' causes of action against the above-named Defendants, attorney William




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 Han-ie, the Ni lies Law Firm aka Ni lies, Selbo and Harrie, Ltd., and the Defendant Nodak

 Insurance Company, (fna Nodak Mutual Insurance Company and a mutual holding company,


 Nodak Mutual Group, hic., which are wholly owned subsidiaries of an interemediate


 stockholding company hiown as N.I. Holding, Inc.), based upon the following facts and

 allegations, and Plaintiffs specifically also incorporate the Circuit Court's Order dated March 29,

 2016 and the. accompanying Findings of Fact and Conclusions of Law dated March 29, 2016 in

 Civ. No. 12-105 (Attached as Exhibit "A"), and the Amended Judgment dated March 14, 2018


 (Exhibit "B"). Therefore, this Complaint is based upon the followmg statements. Plaintiffs

 state and allege as follows:

                                             PARTIES

         1. Plaintiff Teresa Thompson is the special administrator/persoual representative of

 the Estate ofWinfield Thompson, Sr.. Plaintiff Teresa Thompson, is a resident ofSisseton,


 Roberts County, South Dakota.


        2. Winfield Thompson. Sr., deceased, the natural father of Plaintiff Teresa


 Thompson, was a resident ofSisseton, Roberts County, State of South Dakota.


        3. Plaintiffs Melissa Proclmow and Jamie Helgeson, are the personal

 representatives/special administrators of the Estate of Nicholas Helgeson, deceased, and are

 residents ofHankinson, North Dakota.

        4. The Estate of Nicholas Helgeson, was setup in the State of North Dakota.

 Decedent Nicholas Helgeson is the natm-al son ot'Melissa Prochnow mid Jamie Helgesou.


        5. On January 3, 201 9, Plaintiff Teresa Thompson, on behalf of the Estate of


 Winfield Thompson, Sr., entered into and executed an assignment ofclaim(s) with Melissa

 Prochnow and Jamie Helgeson, individually, and on behalf of the Estate of Nicholas Helgeson




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  (deceased), assigning all of their and the Estate of Nicholas Helgeson's claims, causes of action

  and rights to proceed as against all of the named Defendants herein, to Plaintiff Teresa

  Thompson, and to the Estate ofWinfield Thompson, Sr..

         6. Upon Plaintiffs' best knowledge and reasonable belief, Defendant William Harrie


  is and was at all times relevant to this action, an attorney with the Nilles Law Firm in Fargo,

  North Dakota, and that Han-ie is and was licensed to practice law in the states of North Dakota

  and Mirmesota. According to Plaintiffs' best knowledge and belief, the Niiles Law Fimi


  regularly does insurance defense and personal injury defense work for civil defendants and for

  insurance companies such as Nodak. Nilles' registered agent is Nilles, Selbo & Harrie ofFargo,

  North Dakota.

          7. The Defendant Nodak Insurance Company, (heremafter, "Nodak"), to the

  Plaintiffs' best information, knowledge, and reasonable belief, was at all times relevant to this


  action, a duly registered insurance company, registered with the Division of Insurance for the


  State of North Dakota and transacts insurance business and sells insurance policies in all


  counties in the state of South Dakota, and within the entire State of North Dakota. Nodak


  Insurance Company is now a wholly owned subsidiary of N.I. Holdings, Inc., and a part of


  Nodak Mutual Group, Inc. (a mutual holding company). All Nodak companies including N.I.

  Holdings, are located in Fargo, North Dakota.

                                          JURISDICTION

         8. The acts complained of against said Defendants occurred in the State of South

  Dakota, and involved the physical presence and the telephonic communications in and with

 parties located within the State of South Dakota. The amount in controversy herein exceeds the




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 jurisdictional amount for pmposes of subject matter and personal jurisdiction in this Court

  through South Dakota's long arm jurisdiction statute, SDCL §15-7-2.


                                     FACTUAL BACKGROUND

          9. That on or about November 6, 2009, Nicholas Helgeson, who was a Nodak


  Insurance Company named insured, operated a Jeep motor vehicle owned by Patrick Nelson,


  near New Effmgtoa, Roberts County, South Dakota, in a negligent manner. Helgeson's vehicle


  collided with a vehicle driven by Richard Chell. Winfield Thompson, Sr., ("Thompson") was a

  passenger in the Chell vehicle. Helgeson's negligence was the sole proximate cause of the

  motor vehicle accident resulting in bodily injuries and death to the Decedent Winfield


  Thompson, Sr..


          10. Helgeson, was an insured under an automobile insurance policy through the


  Defendant Nodak Insurance Company, (fiia Nodak Mutual Insurance Company), and had said

  policy in effect at the time of said subject accident in 2009.

          11. Helgeson owed Thompson a duty to exercise reasonable care in the operation of


  the motor vehicle that Helgeson was operating at the time of the subject collision. Helgeson

  breached that duty in that he failed to operate the vehicle in a safe and reasonable mamier and

  thereby proximately and directly caused physical injuries and the subsequent death of Decedent


  Winfield Thompson., Sr...


          12. As a direct and proximate result of the negligence ofHelgeson, Thompson

  suffered serious injuries to his body, and died approximately four (4) hours later while being


  medically treated for the accident related injuries.

          13. As a direct and proximate result of Helgeson's breach of his legal duty,

  Thompson suffered past medical care, the reasonable value of which was in an amomit in excess


  of ($20,000) and other compensatory and special and general damages including, but not limited




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 to, wrongful death, bodily injury, physical and emotional injuries, pain and suffering, loss of

 enjoyment of life, disfigiu-ement, funeral expense and other consequential damages. Plaintiff


 Teresa Thompson, individually, and with the heirs and beneficiaries of the wrongful death of

 Winfield Thompson, Sr., and the Estate ofWinfield Thompson, Sr., also suffered damages as a


 result of their father's death.


          14. The Decedent Winfield Thompson, Sr., was not in any way, coutributorily


 negligent in anymarmer or form, in causing said accident, or any of the Plaintiffs' damages.

          15. Plaintiffs were entitled to receive damages for and on behalf of the Estate of

 Winfield Thompson, Sr., as well as in their own right, and that of Decedent Winfield Thompson,

  Sr.'s heirs.


          16. Nodak instituted a civil declaratory action on December 3, 2010, the insurance


 coverage issue entitled Nodak.Mu.tual Insurance Company vs. Nicholas Helgeson, Dale Laroche,


 as Personal Representative of the Estate of Richard Chell; and Teresa Thompson, as Special

  Adminislralor of the Estate of Wwfield Thompson, Civil File No.: 11-55, which was filed in


 Fifth Circuit Court, Roberts County, South Dakota, with Circuit Court Judge Jon Flemmer,


 presiding. (See Exhibit D, attached).

          17. That Defendant Nodak in the Declaratory Action in C:iv. No.l 1-55, sued its own


 insured Nicholas Helgeson and the claimants Theresa Thompson and Thompson Estate, in

 Circuit Court. Nodak was represented in the declaratory action by attorney Reed Rassmussen, a


 South Dakota licensed attorney from Aberdeen, South Dakota. Despite the fact that Nicholas


 Helgeson told Nodak that he had obtained direct permission to borrow and use the Jeep vehicle

 owned by Patrick Nelson ofFargo, N.D., Nodak chose to disbelieve their own insured Nicholas

 Helgeson. Instead, Nodak chose to put its own insured Nicholas Helgeson through a statement




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 under oath which was taken on December 17, 2009. Helgeson swore he had permission to use


 the jeep.

         18. Soon after the Declaratory Action was initiated and discovery began, Nodak

  learned or should have learned that it was clear that Nicholas Helgeson reasonably believed he

 had permission to use the Jeep. In any event, in the face of unrefuted sworn facts, Nodak chose


  to continue to fight its own insured Nicholas Helgeson, to deny coverage, including indemnity,

  and refused to defend Helgeson. Nodak made a $12,000.00 settlement offer in 2013, but the

  Thompsons' claims far exceeded the $100,000.00 policy limit. Nodak forced the declaratory

  case to go to trial. The court trial was eventually held in Sisseton, South Dakota on September

  19,2013.

         19. Ill the midst of the Declaratory Action in Circuit Court Civ. No. 11-55, on or


  about August 31, 2012, Plaintiff Teresa Thompson and the Thompson Estate sued Helgeson for


 the personal injury and wrongful death of her father Winfield Thompson, Sr., in Roberts Coimty,

  South Dakota, Fifth Judicial Court, Civil No. 12-105.


         20. On the 26l day of September 2012, the tortfeasor Nicholas Helgeson was served

 the Summons and Complaint in Civ. No. 12-105 by and through an Admission of Service signed

 by his then, private civil defense counsel, Kurtis Greenley ofMimieapolis, Mimiesota. (See


 Exhibit C, attached).

         21. Nicholas Helgeson had been paying attorney Greenley out of his own private

  fi-mds, and with the. help of his parents Melissa Proclinow and Jamie Helgeson.


         22. That on September 26, 2012, Plaintiff's counsel gave Defendant Helgeson and his


 defense attorney Greenley, an indefinite amount of time to formally Answer the Summons and

 Complaint in light of the fact that the civil declaratory action on the insurance coverage issue


 was still being litigated in a separate civil action, Civ. No. 11-55.




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         23. That on October 12, 2012, Defendant attorney William P. Han-ie and his law firm,

 the Nilles Law Firm ofFargo, North Dakota, were hired by Nodak Mutual Insurance Company,

 the auto liability insurance carrier (named insured was Nicholas Helgeson, and M.elissa

 Prochnow, Helgeson's natm-al mother) to provide a civil defense for Nicholas Helgeson in the


 third party direct liability action against Helgeson for the personal injury/wrongful death action,

 Civil No. 12-105. Attorney Harrie filed and served a formal Notice of Appearance on that case

 dated October 12, 2012, thereby appearing to serve as defense counsel on the direct action.

 There was no other mention or reference to any other Defense attorney in said Notice, except for


 William Han-ie.


         24. A Court Trial for the Declaratory Action in Civ. 11-55 took place on September

  19, 2013 in Sisseton, Roberts County, South Dakota where Helgeson was represented by private

 legal counsel Greenley. Helgeson and Prochnow testified at the trial.


         25. The Circuit Court, Judge Jou Flemmer, in the Declaratory Action, Nodak Mutual

  Insurance Company vs. Nicholas Helgeson, Dale Laroche, cis Personal Representative of the


 Estate of Richard Chell; and Teresa Tlwmpson, as Special Administrator of the Estate of

 Winfield Thompson, Civil File No.: 11-55, issued its Memorandum Decision dated March 12,

 2014, which declared that Nodak must provide coverage and a defense for Nicholas Helgeson


 individually, immediately and thereafter, and to pay any judgments that should be obtained

 against him. (See Exhibit E, attached).

        26. On April 14, 2014, Plaintiffs' counsel sent a letter to Defendant's counsel,


 Defendant Han-ie, (which was the only attorney who had formally entered any sort of formal


 appearance on behalf of Defendant Helgeson in Civ. No. 12-105), requesting whether or not if

 Defendant Helgeson had filed or served his formal Answer in the above-referenced action, and


 expressly providing time limited settlement demands for both estates (Thompson and Chell).



                                                  7

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 The settlement demand offer for the Thompson Estate was for the liability policy limits of

  $ 100,000, mid the time limit demand required an acceptance of said policy limits demand no

  later than April 28, 2014 by 5:00 p.m. MST. Therefore, Helgeson and Han-ie had imtil April 28,

 2014 in which to accept the $100,000 liability per person per accident policy limits settlement

  demand to completely resolve the Thompson case claims in Civ. No. 12-105. A copy of the

  Circuit Court's March 12, 2014 Memorandum Decision was served upon Han-ie with the April


  14, 2014 letter (Exhibit F).

         27. The Defendant Helgeson, it was learned later by Plaintiffs, had not yet even been

 contacted by Han-ie or Nilles prior to the expiration date of the April 14, 2014 time limit policy


 limits settlement demand.

         28. Although Harrie and Nilles owed a fiduciary duty to inform their client


 Nicholas Helgeson of any settlement offers/demands, and especially a demand within Nicholas

  Helgeson's liability policy limits of $100,000, neither Harrie, Nilles, norNodak, contacted,

 advised or discussed said time limit/policy limit settlement demand at all, with Helgeson, prior


 to the expiration of that demand which expired on April 28, 2014.

         29. There was no formal nor informal response at all from Han-ie, Nilles, Nodak or


 from Nicholas Helgeson, to the $100,000 policy limits demand on or before the deadline of April

 28, 2014, so said policy limits demand was withdrawn by the Thompsons.

         30. Ou M.ay 12, 2014 Plaintiffs' coimsel sent a letter requesting that Helgeson's

 attorney William Han-ie formally file a formal Answer to the Complaint on behalf of Nicholas


 Helgeson. (See Exhibit G, attached). That letter specifically said:

                         I am writing to you to ask you to please file your formal Answer on the
                         above-referenced matter within 30 days of the date of this letter. I am
                         forced to write this letter to you in light of the fact that I have not received
                         any type of response from you to my earlier communica.tion dating back to
                         early April, 2014.




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         31. There was no response whatsoever from either Ham e, Nilles, Nodak or


  Nicholas Hdgeson to Thompsons' May 12, 2014 letter to Han-ie which had demanded a formal

  Answer to the Complaint within thirty (30) days. The formal Answer was due on June 11,2014

  (30 days). Therefore, once Harrie, acting on behalf of Nicholas Helgeson and having been hired

  and paid by Nodak, failed to respond to any of the letters from Plaintiffs' coimsel (policy limit


  demand and/or the request for a formal Answer), Plaintiffs Thompsons filed their first Motion

  for Default Judgment against Defendant Nicholas Helgeson on or about June 17,2014. Once

  Harrie and Nilles received the formal Motion for Default Judgment from Thompsons, Harrie


  then responded by filing and serving a formal Answer to the Complaint on behalf of Defendant

  Nicholas Helgeson on June 18, 2014, one (1) day after Thompson's First Motion for Default


  Judgment was served.


         32. On or about June 18, 2014, the Plaintiff Teresa Thompson and the Thompson

  Estate received the fonnal written Answer and Demand for Jury Trial, signed by William Harrie


  as "Attorney for Defendant" (Defendant Nicholas Helgeson).

         33. According to Plaintiffs' best knowledge and belief, the Defendants Harrie and the

  Nilles Law Firm, as the legal counseVlegal agent, did, and had previously, acted as hired legal


  comisel and as legal agents for and on behalf of Defendant Nodak Insurance Company on many

  previous occasions, and in many cases, including the action in Civ. No. 12-105.


         34. At all times pertinent herein, the Defendants, William Harrie and/or Nilles


  Law Finn, were acting by and through their agents and/or employees and legal representatives

  and persormel, including Nodak representatives, which all acted for and on behalf of Nicholas

  Helgeson and/or Nodak Insurance Company hi all relevant acts complained of in the underlying


  proceedings.




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         35. The Declaratory Action in Civ. No. 11-55, was seeking to have the Circuit

  Court declare that Nodak had no duty to defend Helgeson or any duty to cover him or the

  Thompson/Chell claims, nor to indemnify Nicholas Helgeson, its own insured. Nicholas

  Helgeson had to hire his own private legal counsel, Kurt Greeiiley, of Mimiesota, at his own


  expense, to defend him and his interests in the Declaratory Action in Circuit Court, Civ. No. 11-


  55. The expense of that defense would end up exceeding the value of $50,000.

         36. The previous formal Answer filed by defense counsel. Defendant Han-ie, dated

  June 18, 2014, listed Attorney Mark Haiison, (a member of Defendant Han-ie's Fargo, North

  Dakota law firm, Defendant Nilles Law Firm), and Defendant Han-ie, but the Answer was only

  actually signed by Defendant Harrie, and not by Mr. Hanson.


         37. On or about July 31, 2014, the Court held a hearing on Plaintiff Thompsons' First

  Motion for Default Judgment. Both Plaintiffs' coimsel, Robin L. Zephier, and Nicholas

  Helgeson's counsel, William Han-ie, appeared by telephone via the permission of the Court. At


  the hearing. Judge Flemmer indicated that the Court could grant the Default since it was clear


  neither Defendant nor Harrie responded at all. However, the Court stated that Plaintiffs, at the

  time, appeared not to have suffered any clear prejudice as a result of the Defendant's default on

  this occasion in June 2014. So the Court denied Plaintiffs' motion for default judgment and


  allowed the formal Answer of Defendant dated June 18, 2014, to stand.

         38. That Plaintiffs served a set of written discovery upon Helgeson by and through

  attorney William Han-ie, dated October 16, 2014. At first, an unsigned version of the


  inten-ogatory answers were sei-v'ed upon Plaintiff Thompson on or about November 17,2014.


  The responses to the Requests for Production of Documents and the Requests for Admissions,

  were signed by attorney William Harrie.

         39. Plaintiffs' counsel attempted to secure Han-ie's cooperation in setting up the



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  discover;' deposition ofHelgeson with no assistance nor cooperation ofHarrie or Nodak.

  Finally in June 2015, Plaintiffs' counsel had to hire a North Dakota private investigator to find

  Nicholas Helgeson to serve him with a subpoena to attend a video conference deposition to be

  held on June 30, 2015 in Fargo, N.D.. Harrie refused to make Helgeson available without this


  subpeona despite Helgeseon being his client, and despite Helgeson being a pai-ty to the action.

  Helgeson lived in the Fargo-Moorehad area at the time.


         40. At the Jime 30, 2015 video conference deposition, Harrie objected over forty times,

  and on many occasions, advised Helgeson not to answer simple relevant questions. The


  deposition lasted two (2) hours but was mostly made up ofHan-ie's objections, commentary, and

  statements made to and about opposing counsel.


         41. Plaintiff Teresa Thompson then. filed a Plaintiffs' First Motion to Compel

  dated October 30, 2015, to attempt to re-depose Helgeson as a result of Defendant Harrie's


  abusive conduct and advisements to his client during the June 30, 2015 Helgeson deposition.


  Harrie appeared at the December 3, 2015 hearing on said motion by telephone. The Circuit

  Couil granted Thompsons' motion to redepose Helgeson.


         42. Two (2) formal hearings had therefore taken place, one (1) on July 31, 2014, on


  Plaintiffs Motion for Default Judgment, and a subsequent formal hearing on December 3, 2015,

  on Plaintiffs Motion to Compel the Discovery Deposition of Defendant, both of which Defense


  attorney William Harrie attended and appeared by telephone. No other attorney made any


  appearance at those hearings, nor signed any of the formal pleadings.

         43. Plaintiffs' counsel discovered on or about January 21, 2016, or soon




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  thereafter, that Defense attorney Defendant Harrie, was not licensed to practice law in the state

  of South Dakota, and confirmed that Defendant Han'ie had never sought admission to practice in

  South Dakota on the case by Pro Hac Vice, at all, from October 12, 2012 through January, 2016.

         44. It became known by Plaintiffs coimsel that Han-ie was not licensed to practice


  law in the State of South Dakota, and did not seek to file a formal Pro Hac Vice notice or

  Affidavit on his own behalf. Harrie had signed all previous pleadings in his own name. In


  January 2016, another separate attorney from Han-ie's firm in North Dakota, Mark Western,

  physically appeared at the Roberts County Courthouse, in Sisseton, South Dakota to take the

  depositions of all of the Decedent's heirs on January 20, 2016. Mr. Western also was not


  licensed to practice in South Dakota, but he did not sign formal pleadings or appear at a trial or

  formal hearing, such as Han-ie had done. Han-ie did nothing to disclose or reveal his alleged

  unauthorized practice of law in this case under these circumstances, to Plaintiffs counsel, to the


  Circuit Court, or to his own client Nicholas Helgeson. Defendant Han'ie represented Nicholas


  Helgeson for nearly four (4) years and did nothing to disclose or reveal his alleged unauthorized

  practice of law in the State of South Dakota in this case, to anyone, including the Trial Court,


  and his own client Helgeson, nor did he file for Pro Hac Vice to be admitted to practice in South


  Dakota at any time prior to the events in early February 2016.

         45. Based upon the information learned by Plaintiffs' counsel, a Plaintiffs' Renewed


  Motion for Default Judgment against Helgeson, and a Motion to Quash all prior pleadings signed

  by Defendant Han'ie, were filed and served upon Helgesou. and Defendant Harrie on or about


  January 26,2015.


         46. Han-ie then sought Pro Hac Vice admission to practice in the South Dakota Court




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  by Affidavit and Motion filed by Attorney Greg Peterson of Aberdeen, South Dakota, dated


  January 2<S, 2016. Nodak hired Pterson to assist Harrie in seeking Pro Hac Vice.

         47. Plaintiff Teresa Thompson filed an objection to Han'ie's Pro Hac Vice

  Admission request, dated January 28, 2016.


         48. The Circuit Court, on February 26, 2016, did rule upon Defendant Harrie's

  January 28, 2016 Motion for Pro Hac Vice, and determined that the Motion for Pro Hac Vice

  filed by Mr. Peterson on. behalf of Defendant Han-ie, was denied,


         49. The Circuit Court found that Defendant Han-ie did not comply with the

  requirements ofSDCL § 16-18-2 before he commenced practicing law in South Dakota, which

  requirements are mandatory, and not subject to substantial compliance.


         50. The Circuit Court specifically found that Defendant Harrie unlawfully practiced


  law in South Dakota from June 2014 to January 26, 2016, appearing for at least one deposition


  and two formal hearings before the Trial Court (one on July 31, 2014, and the second on

  December 3, 2015).

         51. During the time from June 2014 to January 26, 2016, Defendant Han-ie never


  attempted to remedy his non-compliance with SDCL §16-18-2. Rather, Defendant Harrie


  continued to practice in South Dakota without notifying the Court, or the Plaintiffs, including his

  o\vn client Helgeson.


         52. The Circuit Court specifically found that. Defendant Harrie's conduct counseled

  against him satisfying subsection six (6) ofSDCL 16-18-2. It provides:

                 A statement that the applicant is familiar with the rules of the State Bar of South
                 Dakota governing the conduct of members of the State Bar of South Dakota, and
                 will at all times abide by and comply with the same so long as such trial or
                 hearing is pending, and he or she has not withdrawn as counsel therein[.] SDCL
                 16-18-2(6).




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          53. The Circuit Court found that between Jmie 2014 and January 26, 2016, Defendant

  Harrie of the Nilles Law Firm ofFargo, North Dakota, did commit the unauthorized practice of

  law in the State of South Dakota in violation ofSDCL §16-18-1 and 16-18-2.


          54. Between June 2014 and January 26, 2016, Defendant Harrie never once

  reasonably, willingly or formally disclosed this unauthorized practice of law to Plaintiffs'

  counsel Mr. Zephier, or to the Trial Court, nor to his own client Nicholas Helgeson.


          55. Defendant Han-ie's conduct in the case of Civ. No. 12-105 indicated that he


  could not satisfy the requirements ofSDCL 16-18-2 (6), which provides that the "applicant is

  familial" with the rules of the State Bar of South Dakota governing the conduct of members of the


  State Bar of South Dakota, and will at all times abide by and comply with the same so long as

  such trial or hearing is pending, and he or she has not withdrawn, as counsel therem[.]".


          56. The Circuit Court found that doing what he did in Civ. No. 12-105, Defendant

  Harrie engaged in conduct involving dishonesty, fraud, deceit or misrepresentation when he


  began practicing law without a license in front of the Circuit Court and by failing to notify the


  Court for one year and seven months.


          57. Defendant Harrie's conduct in the case did constitute a violation of Rule 8.4 (c)


  of the South Dakota Rules of Protessional Conduct. Rule 8.4 (c) states that it is professional

  misconduct for a lawyer to: "(c) Engage in conduct involving dishonesty, fraud, deceit or

  mi srepresentation".


          58. The Circuit Court, upon examination of Defendant Harrie's conduct aud his

  affidavit for pro hac vice admission, was not satisfied that Han-ie could "observe the ethical


  standards required of attorneys in this state[.]"

          59. The Circuit Court's conclusion in the matter in denying Defendant Han-ie s




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  admission to practice law in South Dakota under the pro hac vice statutory requirements, was


  further solidified by the lack of civility and professionalism exhibited by Defendant Han-ie at the

  Deposition of Nicholas Helgeson. conducted on Jime 30, 2015.

          60. The Circuit Court determined that the Plaintiffs Teresa Thompson and the Estate


  ofWinfield Thompson, were and are prejudiced by Defendant Harrie's conduct and his

  unauthorized practice of law in this State, and in the case.


          61. The Circuit Court determined that the Court's time had been wasted in that


  Defendant Harrie made several appearances before the Trial Court and, although the Court did

  not directly ask Defendant Harrie if he was licensed to practice law in South Dakota, Defendant

  Harrie did not indicate to the Court that he was not licensed to do so, and appeared on his own at

  that time, without licensed coimsel.


          62. While it appeared that a member of the law firm that Defendant Harrie is a part


  of, Mr. Hansen, was licensed to practice law in South Dakota, the name of Mr. Hansen was on


  the formal Answer, but the signature on the June 18, 2014 formal Answer of Helgeson, was only


  Harne's signatire, and Han-ie was not authorized to practice law in South Dakota at that time.


  Han-ie also appeared before the Court on his own on each occasion without notifying the Court


  or party opponents of his imlicensed status. Han-ie did not advise his client Nicholas Helgeson

  nor Melissa Prochnow or Jamie Helgeson that he was practicing law without a South Dakota law


  license, at any time.


          63. The appropriate way for an attorney who is not licensed in South Dakota to

  become able to proceed in appearing in South Dakota as set forth in the pro hac vice statutes,


  SDCL 16-18-2, is to follow that procedure, but that procedure was not even attempted to be




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  followed until Mr. Peterson became involved in the case, and the request for pro hac vice


  admission was made on January 28,2016.


         64. The Circuit Court, Judge Jon Flemmer, was familiar with the prior proceedings

  and matters that the Trial Court had been involved in regarding the imderlying declaratory action

  and the criminal proceeding involving Helgeson.

         65. The Circuit Court recognized that the pro hac vice statute would require an


  attorney like Defendant Han-ie in that situation, to appear with a South Dakota resident attorney

  present in the Trial Court for all court hearings, as well as actually having the admission pro hac

  vice completed before any legal pleadings were signed or filed.

         66. The Circuit Court concluded that the formal Answer prepared and filed by

  Defendant Harrie in June 2014, was quashed, as Defendant Han-ie was not authorized to practice

  law in South Dakota at the time that he took action on behalf of Helgeson by signing and filing


  formal pleadings in the Court, and appearing and arguing before the Trial Court without a

  license in South Dakota or without admission by pro hac vice.

         67. While Default Judgment may be a harsh remedy, the Circuit Court indicated that

  it must examine whether or not there was excusable neglect and whether there was a meritorious


  defense.


         68. While there had been a defense set forth in the formal Answer of June 18, 2014,


  the neglect and conduct in the case by Defendant Han-ie, was in the failure to become admitted

  prior to proceeding with the formal proceedings in this South Dakota court. The Circuit Court

  foimd that that conduct was not excusable.


         69. To allow the formal Jime 18, 2014 Answer to stand, in the Circuit Court's




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  determination and discretion, would simply reward the conduct and allow the action to proceed,

  when, in fact, no legitimate Answer was ever filed.


         70. The pleadings signed and/or filed by Defendant Han-ie acting as defense counsel

  for Helgeson, because ofHan-ie's i.inauthorized practice of law in South Dakota, were ruled to be


  null and void, including the formal Answer dated June 18, 2014.

         71. The Circuit Court concluded that the appropriate action was to quash the Answer


  and all other pleadings signed by Defendant Hai-rie and to therefore, grant the Plaintiffs'


  Renewed Motion for Default Judgment in asmuch as Defendant Hame's actions were a nullity,

  and no Answer or responsive pleading has been. filed at all in this case.

         72. On March 29, 2016, the Honorable Jon S. Flemmer signed an Order Granting

  Plaintiffs' Renewed Motion for Default Judgment, and signed the Findings of Fact and

  Conclusions of Law (Exhibit A).

         73. Han'ie s conduct in practicing law in South Dakota without a license caused


  undue delay and significant added monetary expense to all Plaintiffs because of its illegality.

         74. Defense comisel Mark Amdf of Sioux Falls took over Helgeson's civil defense on

  the third party liability direct action in Civ. No. 12-105 on March 4, 2016. Amdt moved to set


  aside the default judgment. The Court denied said motion on March 29,2016.

         75. The January 20, 2016 depositions of the Thompson heirs were deemed invalid by


  the Circuit Court as a result ofHame's unauthorized practice of law which had, up until that

  point, remained unknown, concealed, suppressed, misrepresented, and/or pm-poseflilly hiddeu


  from Plaintiffs and the Court, and also from liis client Nicholas Helgeson.

         76. Arndt moved for a jm-y trial on damages rather than a court trial, which would


  have been much less time consuming and less expensive.




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          77. A Damages trial was set to be held on November 1, 2017, in order to determine


  the full extent, nature and amount of Plaintiffs' damages.


         78. Thompson and the Thompson Estate were awarded a jmy verdict for wrongful


  death and personal injury in the amount of $127,000.00, which, after post-verdict costs and fees,

  added up to ail Amended Judgment in the amount of $160,684.12.

         79. The Judgment amount was presented to Nodak's defense counsel Arndt, who only


  offered to pay the Nodak $100,000.00 per person per accident liability policy limit, and Nodak

  did pay that amomit on April 5, 2018 to partially satisfy the $160,684.12 Amended Judgment.

          80. The remainder of the $ 160,684.12 Judgment, in the amount of $60,684.12, was

  presented to Prochnow and Jamie Helgeson as representatives ofHelgeson's Estate, and


  Prochnow, Jamie Helgeson and the Helgeson Estate, have now signed an Assignment of Claims

  and Covenant Not to Collect, in favor of the Thompsons.


         COUNT ONE: LEGAL NEGLIGENCE/LEGAL MALPRACTICE AGAINST

                               DEFENDANT HARME AND NILLES

         Plaintiffs hereby incorporate paragraphs one through one through eighty (1-80) of this


  Complaint as if specifically set forth herein.

         81. Defendant William Han-ie is a licensed attorney practicing law in North Dakota.

         82. At all times relevant to this Complaint, William Han-ie practiced law with the law


  firm hiown as Nilles Law Firm.

         83. At all times relevant to this Complaint, the law firm blown as Nilles Law Firm

  was a Professional Partnership, with an office in Fargo, North Dakota.


         84. From at least October 12, 2012 through February 1, 2016, Nicholas Helgeson

  was a client of William Han-ie and Nilles Law Finn.




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         85. On or before October 12, 2012, William Hai-rie and Nilles Law Firm undertook


  the legal representation of Nicholas Helgeson on a personal injitry/wrongful death claim Teresa

  Thompson and the Thompson Estate, had filed arising from a motor vehicle accident which

  occurred on November 6, 2009.


         86. The circumstances under which Wmfield Thompson, Sr., was iujm-ed and died


  from, gave rise to a legal claim for personal injuries and wrongful death by Teresa Thompson


  and the Thompson Estate against Nicholas Helgeson.

         87. On or about August 31, 2012, Robin L. Zephier and Abourezk & Zephier Law

  Firm issued a Complaint that asserted Teresa Thompson mid the Thompson Estate's personal

  injury /wrongful death claims against Nicholas Helgeson, the driver of an automobile involved in


  the accident on November 6, 2009.

         88. The document attached to this Complaint as Exhibit H is an accurate copy of

  the Complaint that Robin L. Zephier and Abourezk & Zephier Law Finn sen/ed on or about


  September 26, 2012 on behalf of Teresa Thompson and the Thompson Estate.

         89. At all times relevant to this Complaint, William Han-ie and Nilles Law Firm


  provided legal representation to Nicholas Helgeson with respect to the November 6, 2009 motor

  vehicle accident case.


         90. At all times relevant to this Complaint, William Harrie was acting on behalf of


  the partnership known as Nilles Law Finn and within the scope of his authority to do so. Harrie

  and the Nilles Law Firm were hired and paid by Defendant Nodak.

         91. Defendants Han-ie and Nilles Law Finn owed Nicholas Helgeson (deceased)


  the duty to possess the knowledge and skill ordinarily possessed by attorneys in good standing

  engaged in handling personal injury/wrongftil death claims in South Dakota, the duty to use the




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  care and skill ordinarily exercised under similar circumstances by attorneys in good standing

  handling personal injury/wrongful death claims in South Dakota, and the duty to be diligent in


  an effort to accomplish the purposes for which they were employed.

         92. Defendants Harrie and Nilles, and by collateral responsibility, Nodak, each


  violated their duties to Nicholas Helgeson (deceased); their failures include, but are. not

  necessarilv limited to:


         a. failing to possess the knowledge and skill ordinarily possessed by attorneys in good
              standing engaged in handling personal inj my /wrongful death claims in South
              Dakota;

         b. failing to use the care and skill ordinarily exercised under similar circumstances by
              attomeys in good standing handling personal injury/wrongful death claims in South
              Dakota;

         c. failing to obtain any proper legal authority and/or authorization to legally practice
              law in the State of South Dakota in a timely and appropriate manner;

         d. failing to advise their client Nicholas Helgeson that handling his claim may require
              knowledge, skill, and expertise beyond that possessed by the Defendants;

         e. failing to initiate a pro hac vice motion in which to legally and properly represent
              Nicholas Helgeson in the South Dakota action;

         f. subordinating Nicholas Helgson's interest to the conflicting interest of another of
              their clients, namely Nodak;

         g. failing to refer their client to an attorney possessing any special knowledge, skill,
              and expertise required to handle the Thompsons' personal injury/wrongful death
              claim against Helgeson;

         h. failing to be diligent in an effort to accomplish the purposes for which they were
              employed;

         i. failing to adequately defend then- client's interests in the case/claims made against
              him;
         j. failing to keep their client Nicholas Helgeson reasonably apprised of the status of his
              case and case settlement offers; and

         k. failing to make reasonable efforts to settle their client's claim/case;

         1. failing to communicate the Plaintiff Thompsons' April 14, 2014 $100,000 auto
              liability policy limits settlement demand to their client Nicholas Helgeson before
              said time limit policy limit demand expired on April 28, 2014;

         m. Failing to advise their client Nicholas Helgeson to accept the April 14, 2014 policy
             limits settlement demand prior to or by the time limits demand expiration date of



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                  April 28, 2014;
          93. Defendant Nodak and Defendant Nilles Law Firm knew or should have luiowii of



   the fact that in this case, Civ. No. 12-105, Harrie was practicing law in a South Dakota case

  without a proper South Dakota law license or without proper pro hac vice admission. For them

  not to know, is negligence per se.



          94. Defendants Nodak, Nilles, and Harrie, all did, or should have reasonably known,


  that such information such as Han-ie's lack of legal authorization to practice law in South Dakota


  in this case, was an obvious fact that absolutely needed to be revealed and disclosed to the Court

  and their opponents in the litigation, Plaintiffs, and to Defendant's own client/insured Nicholas

  Helgeson. Defendants therefore knew or should have known that such concealment,


  suppression, misrepresentation and nondisclosure of such a material fact would and will cause


  damage to the party opponents, the Plaintiffs and to their client/iusured Nicholas Helgeson. But


  Defendants went ahead negligently, recklessly, and/or purposefully, anyway, despite that

  knowledge or those likely consequences, and in light of what the Defendants each knew not to

  be the truth.



          95. All Plaintiffs (Nicholas Helgeson, Mellisa Prochow, Jamie Helgeson, Nicholas


  Helgeson Estate, Teresa Thompson, Thompson Estate) sustained damages as a direct and

  proximate cause of Defendant Nodak hisiu-ance Company's and Defendant Han-ie's, and Nilles'


  breach of their duty to properly represent Helgeson and as a result ofHan-ie's and Nilles' legal


  negligence, which ended up costing all of the Plaintiffs time and expense in the form of attorneys


  fees, costs of litigation, and damages associated with anxiety, mental suffering,

  negligent/intentional infliction of emotional disti-ess, frustration, humiliation, worry,




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  embarrassment, pain and suffering, loss of peace of mind, loss of trust in the court system, lost


  income, travel expenses, and other consequential losses.



          96. As a direct.and proximate result of Defendants' negligent failure to fulfill their


  duties to Nicholas Helgesou, Helgeson sustained damages that include, but are not necessarily

  limited to: Defense legal fees and costs in Civ. No. 12-105, and Civ. No. 11-55, including


  interest, increased legal fees and costs, pain and suffering, loss of enjoyment of life, anxiety,


  frustration, loss of income, loss of trust, loss of peace of mind, loss of comfort, loss of security,


  negligent infliction of emotional disti-ess, wony, intentional iiifliction of emotional distress, loss

  of sleep, loss of hope, and other consequential loss.



          97. Han-ie and Nilles, and Nodak, all intentionally and/or negligently and/or


  recklessly concealed and/or suppressed Han-ie's and Nilles' unauthorized practice of law to the


  Court and to all of the Plaintiffs (Nicholas Helgeson, Melissa Prochnow, Jamie Helgeson and the


  Helgeson Estate, Teresa Thompson and Estate of Winfield Thompson), since October 2012,

  when Harrie first signed an appearance in Fifth Circuit Court in Civ. No. 12-105, and through


  2016.


          98. Han-ie, Nilles and Nodak, mtentionally misrepresented Harrie's stalls as a



  properly authorized or licensed attorney in South Dakota, since Han-ie's first appearance in Civ.

  No. 12-105 in October 2012, and through 2016.


          99. Harrie, Nilles and Nodak, intentionally deceived the Plaintiffs (Nicholas Helgeson,

  ^4elissa Prochnow, Jamie Helgeson and the Helgeson Estate, Teresa Thompson and Estate of


  Winfield Thompson) (and the Courts) by Han-ie's unauthorized practice of law in South Dakota


  since his first appearance in Civ. No. 12-105, in October 2012 and through 2016.




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          100. The individual and combined intentional and/or negligent conduct of the

  Defendants Han-ie, Nilles and/or Nodak, on a joint and several basis, in defrauding, concealing,


  suppressing, misrepresenting, and deceiving the Plaintiffs (Nicholas Helgeson, Melissa

  Prochnow, Jamie Helgeson and the Helgeson Estate, Teresa Thompson and Estate of Winfield

  Thompson) (and the Courts and the public) by Han-ie's negligence and unauthorized practice of

  law in South Dakota in Civ. No. 12-105, from October 2012 through 2016, directly and/or


  indirectly induced the Plaintiffs (Nicholas Helgeson, Melissa Prochuow, Jamie Helgeson and the

  Helgeson Estate, Teresa Thompson and Estate of Winfield Thompson) (and the Courts) to

  continue spending time, money, expense, emotional energy, and physical and emotional effort


  on pursuing justice in Civ. No. 12-105, negligently not knowing of Harrie's concealed and

  undisclosed unauthorized practice of law, all to Plaintiffs' (Nicholas Helgeson, Melissa


  Prochnow. Jamie Helgeson, Nicliolas Helgeson Estate, Teresa Thompson, Thompson Estate)


  detriment and damage. This conduct was both negligent, reckless aiid/or intentional. Plaintiffs'

  individual and collective reliance upon said belief that Defendants were acting within the law as

  to Harrie's unlicensed staUis, induced all Plaintiffs into a position of detriment as a result of the

  Defendants' unlawful conduct.



          101. By committing fraud, deceit, dishonesty and misrepresentation in these matters,


  the Defendants Han-ie and Nilles, proximately and directly caused damage to the Plaintiffs

  (Nicholas Helgeson, IVIelissa Prochnow, Jan-de Helgeson and the Helgeson Estate, Teresa


  Thompson and Estate of Winfield Thompson, Sr.) in the form of attorneys fees, costs of

  litigation, (including interest), intentional/negligent mfliction of emotional distress, anxiety, pain

  and suffering,, won-y, frustration, humiliation, embarrassment, loss of peace of mind, loss of trust




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  in the court system, lost income, travel expenses, loss of opportunity, mental anguish, loss of


  security, loss of comfort, loss of enjoyment of life, and other consequential losses.



         102. The negligent and fraudulent/deceitful conduct ofHan'ie and/or Nilles committed in

  South Dakota by and through Harrie's appearance though telecommunications, at hearings

  and/or depositions and by signing pleadings, form the basis of the fraudulent inducement which

  occuiTed, and created a proximate cause and/or direct cause resulting in damage to all Plaintiffs


  (Nicholas Helgeson, Melissa Prochnow, Jamie Helgeson and the Helgeson Estate, Teresa


  Thompson and Estate of Winfield Thompson), the Court(s), and to the public at large. The

  damages was reasonably surmised to flow naturally from Defendants' conduct of this nature, and


  directly and indirectly caused all Plaintiffs (Nicholas Helgeson, Melissa Proclmow, Jamie


  Helgeson, Nicholas Helgeson Estate, Teresa Thompson and Thompson Estate) to reasonably rely

  to their detriment, upon Defendants' assertions and representations that Harrie was authorized to


  act for and on behalf of Nicholas Helgeson in the State of South Dakota. Plaintiffs' reliance on

  such, caused their individual and collective detriment. The direct damage to then client,


  Nicholas Helgeson, resulted in the legal negligence, et. al, claims against Winfidd Thompson

  and Nilles Law Finn and Nodak, being legally assigned to Teresa Thompson and Estate of

  Winfield Thompson, by Melissa Prochnow, Jamie Helgeson and the Estate of Nicholas


  Helgeson, who also retain some of their own separate inj my/damage in their own right.


          103. Harrie's negligent conduct in practicing law without a license in South Dakota in


  Civ. No. 12-105, and by negligently and/or intentionally not disclosing his unlicensed status to


  the Court, and to the Plaintiffs, caused damage to all of the Plaintiffs (Nicholas Helgeson,


  Mellisa Prochow, Jamie Helgeson, Nicholas Helgeson Estate, Teresa Thompson, Thompson

  Estate) in the form of undue delay, pain and suffering, anxiety, mental anguish, intentional




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  infliction of emotional distress, negligent infliction of emotional distress, worry, frustration,

  embarrassment, loss of peace of mind, humiliation, lost income, loss of trust in the Courts, pain


  and suffering, travel expenses, loss of opportunity, loss of security, loss of conform, attorneys


  fees in excess of $200,000, including interest thereon, litigant expenses in excess of $50,000,

  including interest thereon, and other consequential losses.



   COUNT TWO: NODAK'S BREACH OF CONTRACT AND BAD FAITH REFUSAL TO

                                  SETTLE^ WITHIN POLICY LIMITS

               Plaintiffs hereby incorporate paragraphs one through One through One Hundred and


  Three (1-103) of this Complamt as if fully set forth herein.


          104. Defendant Nodak is an insurance corporation, with its corporate headquarters being


  in the State of North Dakota.


          105. Hi order to pursue Theresa Thompson's and the Thompson Estate's personal



  mjmy/survival/wrongful death claims, Teresa Thompson and Thompson Estate filed a lawsuit

  against Nicholas Helgeson in the State of South Dakota, Fifth Judicial Circuit, Roberts County,

  Civil File No. 12-105.


          106. The alleged misconduct of Defendant Nodak complained of herein occurred in


  South Dakota, resulting in and arising from an underlying claim and state circuit court action

  venued in Roberts Coimty Circuit Court, CIV12-105 (the direct action) and Civ. No. 11-55 (the


  declaratory action).



          107. That this Court has both subject matter and personal jurisdiction over the parties




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  in that Defendant Nodak tnsurance Company sold, marketed, and transacted private business in

  selling its insurance policy and policies of insurance to their insured Nicholas Helgeson and/or

  Melissa Prochnow and the Estate of Helgeson (assignees to Thompson), who had purchased said

  policies to protect their aufos, finances, and peace of mind, and the Nodak insureds themselves,


  from potential losses and accidents, such as this one which occim-ed in Roberts Coimty, South

  Dakota. Plaintiffs' claims exceed thejurisdictional amount requirement and this Court has both

  subject matter and personal jurisdiction over the matter in that the subject accident occurred near


  New Effington, Roberts County, South Dakota.


          108. Said underlying civil action in Civ. No. 12-105 described in<|]105 above, resulted in


  entry of a Judgment on November 29, 2017 for the Thompson Plaintiffs against those Helegeson

  defendants in the Judgment upon Jury Verdict in the amount of $160,684.12, including post-

  verdict fees and costs.



          109. Defendant Nodak, through a local insurance agent, sold to Helgeson and Prochnow,


  a certain liability insm-ance policy or policies, and delivered to HelgesoiVProchnow a number of


  different Declaration Pages concerning such policy or policies specified as to certain

  automobiles owned and used by Helgeson/Prochnow in North Dakota and South Dakota.


          110. In the lawsuit in Civ. No. 12-105, Plaintiffs Thompsons made claim against

  Helgeson for said injuries and damages.


          111. As a result of such claims by Plaintiffs, Helgeson, directly or through an authorized

  agent, tendered the claim to Nodak hisurance in 2009 for coverage and/or defense, upon the

  belief that the claim made was within the liability coverage conditions of said Policy, or that at


  least it was Defendant's duty to provide him with a defense, even if under a reservation of rights.




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            112. Nicholas Helgeson and Melissa Prochuow, at all time material therein, were insured


  under the Nodak Policy.


            113. Nicholas Helgeson and Melissa Prochnow were insured by Nodak on or about


  November 6, 2009. On this date, Nicholas Helgeson caused a motor vehicle accident in Roberts


  County, South Dakota, which ended up causing severe bodily injury and the ultimate death of

  Winfield Thompson, Sr., and Richard Chell. •


            114. The Nodak Policy provides coverage for liability motor vehicle liability benefits in


  the event Nicholas Helgeson would mjiire/damage someone else in a covered accident.



            115. That among other things, Nodak was required to properly review, investigate, and in


  good faith, evaluate the third party liability claims made against Nicholas Helgeson.


            116. By Nodak's conduct, it breached the contract of insurance reflected in the Policy.


            117. Nodak drafted the insurance policy.


            118. Nodak knew that Nicholas Helgeson had a contractual right to be defended and


  indenmified in the Thompson claims against Helgeson, under the terms and conditions of the


  policy.


            119. Nodak knew that Nicholas Helgeson had a duty to investigate, handle and properly


  evaluate the claims made by Teresa Thompson and the Thompson Estate against the Policy.


            120. Nodak failed in fulfilling its duties and obligations which it owed to its insured


  under the terms and conditions of the Policy.



            121. Nodak acted in bad faith toward Nicholas Helgeson, Melissa Proclmow, and the




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  Helgeson Estate, in refusing to follow proper claims handling procedures and in performing the

  duties owed to Nicholas Helgeson and Melissa Prochnow, as a result of the Thompsons' claims.



          122. Nodak acted in bad faith toward Nicholas Helgeson and Melissa Proclmow in


  refusing to indemnify them for the full value of the policy limits coverage and/orjury


  verdict/judgment and as a result of forcing Helgeson to defend and go to trial as a result of the


  third party liability claim, in order to protect Helgeson's rights.


          123. As a result ofNodak's bad faith conduct toward Nicholas Helgeson, Melissa


  Prochnow,and the Helgeson Estate, all Plaintiffs were damaged.


          124. Defendant Nodak Insurance Company has acted in bad faith in its failure to


  reasonably and promptly provide payment of the $100,000 liability policy limit time limit

  settlement demand made by Teresa Thompson and the Thompson Estate which expired on April

  28, 2014 by um-easonably withholding said payment, when it was obvious and undeniable that

  Teresa Thompson and the Winfield Thompson Estate had suffered bodily injury and wrongful


  death as a result of the accident, in an amount likely in excess ofHelgeson's policy limits.


          125. Defendant Nodak Insurance Company has acted in bad faith, and not in good


  faith, in its failm'e to reasonably investigate said accident, its severity, and the serious and severe

  nature ofWinfield Tliompson, Sr.'s and the Thompson Estate's injuries and damages, as a result


  of the accident involving its own. insured, which accident was caused by Nicholas Helgeson's

  negligence, and in denying and/or delaying a reasonable payment ofHelegeson's liability bodily

  injury policy benefits to Teresa Thompson, the Thompson Estate, once adequate reasonable


  proof of the same has been provided to Defendant Nodak's claims personnel, and to Nodak's


  attorneys.




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          126. The Defendant Nodak, at the point of marketing, sale and initiation of the


  automobile insurance policy product to innocent and unsuspecting citizens such as to Nicholas


  Helgeson and Melissa Prochnow, and those other named insureds similarly situated, by and


  through its agents, does not reasonably, fully, or sufficiently disclose to its named insureds, that

  third party liability claim(s) for benefits will be subject to this form of claim handling and

  scmtiny, prior to liability claim benefits being handled, diminished, withheld, denied or paid. In

  fact, unsuspecting named insureds are most times totally unaware of these types of claims


  handling tactics, until it is too late, and they find themselves feeling the physical, emotional and

  financial stress of having their own insuror deny, withhold or diminish third party claim

  payments, defense costs and/or inderrmity, in this unreasonable fashion, and at a time when the


  policyholder/insured needs the carrier's obligation to come through the most. This is the


  position Plaintiff Decedent Nicholas Helgeson, Melissa Prochnow, and the Nicholas Helgeson

  Estate found themselves in as a result of Defendant Nodak's conduct.



          127. As a result of Nodak's refusal to honor its contract, Nicholas Helgeson and the


  Nicholas Helgeson Estate were damaged. Nicholas Helgeson, Melissa Prochnow, and tlie


  Nicholas Helgeson Estate, also suffered emotional and physical distress complicated and


  exacerbated by the additional stress of having to go to trial and the rigors of litigation due to the

  conduct ot'Nodak in refusing to indemnify and pay the claimants/Plaintiffs for their damages

  pretrial, and to accept the April 14, 2014 policy limits time limit settlement demand of the

  Thompson Estate for the amount of $100,000, which should have clearly been accepted by

  Nodak (and/or Han-ie/Nilles) before it expired on April 28, 2014.


          128. By reason of the foregoing, the Defendant is liable to the Plaintiffs by and for




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  Nicholas Helgeson, Melissa Proclmow, and the Helgeson Estate, for an amount to be determined

  by ajiuy and, in addition thereto, for the intentional, malicious and unreasonable refusal to pay

  reasonable damages to a third party claimant, for failing to defend Helgeson in Civ. No. 11-55,

  and for punitive and exemplary damages in the sum to be set by a jury herein.


             129. Defendant Nodak's failure or refusal to timely and properly provide a defense in the

  mideiiying action, in Civ. No. 11-55, and to effectively provide unauthorized legal counsel

  and/or to abandon the obligation to provide competent legal counsel in Civ. No. 12-105, and/or

  to make and/or pay a settlement sum which could have resolved the case prior to the trial dates,


  and the Judgment Upon Jury Verdict, constitutes a fortious loss of settlement oppoitiimty,

  resulting m Helgeson/Helgeson Estate/Prochnow having to make such an assignment with

  Thompsons for which Defendant is liable to pay in its entirety, plus interest.


             130. hi addition to such compensatory damages indicated above. Defendant s

  misconduct gives rise to liability for such punitive and exemplary damages in such amount as the


  jury shall determine.


  COUNT THREE: NODAK'S BREACH OF CONTRACT AND BAD FAITH IN DUTY TO

                                         DEFEND HELGESON

         Plaintiffs hereby incorporate paragraphs one through one liimdred and thirty (1-


  130) of this Complaint as if fully set forth herein.


             131. Every insm-ance contract in South Dakota includes the duty of good faith and fair


  dealing.



             132. Nodak did not honor its duty of good faith and fair dealings with respect to Nicholas


  Helgeson, Melissa Prochnow and the Helgeson Estate.



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          133. Nodak elevated its own financial interest over that of its own insureds. in


  contravention and resistance of its good faith and fair dealings, owed to its insured.



          134. Nodak failed to perform its required duties and obligations which it owed to their


  insured, Nicholas Helgeson, Melissa Proclmow and the Helgeson Estate.



          135. Nodak breached the duty of good faith and fair dealing it owed to Nicholas


  Helgeson, Melissa Prochnow and the Helgeson Estate.



          136. As a result ofNodak's breach of its duty of good faith and fair dealing, Nicholas


  Helgeson, Melissa Prochnow and the Helgeson Estate, were damaged.



          137. Nodak owed a fiduciary duty to its insureds Nicholas Helgeson and Melissa


  Prochnow.



          138. Nodak preferred its own interest over that of its insm'ed, by refusing lo properly


  follow the proper claims and procedures in handling the claim of their insured.


          139. Nodak breached its fiduciary duty to Nicholas Helgeson and Melissa Prochnow.


          140. As a result ofNodak's breach of its fiduciary duty, Nicholas Helgeson, Melissa


  Proclttiow, and the Helgesou Estate were damaged.



          141. For purposes of insurance coverage under the subject Policy, as well as the


  invocation of various respective duties and obligations owed by and between Defendant and


  Helgeson, and vice versa. Defendant Nodak received timely and sufficient notice of the subject

  event, as well as the claims of these Plaintiffs concerning or arising from it.




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          142. Defendants initially failed and/or refused to provide to Helgeson a defense, even


  under reservation of rights, aad/or any Liability coverage, and instead Defendant Nodak sued its

  own insured and the Thompson Plaintiffs in Fifth Circuit Court, Civ. No. 11-55 for declaratory

  relief, rather than believe their insured Helgeson. s reasonable belief that he had permission to

  use the Jeep vehicle involved in the November 6, 2009 accident.


          143. As a result of such failure and/or refusal, Helgeson was left without liability

  insurance coverage, and had to retain private defense counsel at his own expense in the


  declaratory action in Civ. No. 11-55.



          144. Subsequent to the subject event, and in an effort to procure pre-suit monetary


  authorization to resolve the. event-related claims, the Thompson Plaintiffs, directly or through

  their coimsel, communicated with Helgeson and his private defense counsel.



          145. As part of said commmiications as referenced in ^]144 above, these Plaintiffs and


  Helgeson did not resolve the liability claim issues.


          146. The subject Policy contained language stating in essence that Defendant Nodak

  would provide a defense for its insured, at Defendant's expense, if a claim made does fall, or


  arguably falls, within the applicable liability coverage, even if the claim is gromidless or without

  merit, or false or frivolous in nature and/or substance.



          147. The applicable law also established the duties upon Defendants as are described in


  TI 146,above.


          148. Under applicable law, a liability insurer's duty to provide a defense is broader than

  its duty to provide coverage.




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          149. To protect an insured,, if a liability insurer believes a claim may not be within

  coverage, it can at least partially fulfill its duty to provide a defense for its insured by doing so

  under a "reservation of rights," which would benefit the insured more than having no defense


  counsel al all provided.



          150. Defendant Nodak was repeatedly asked and/or invited to provide a defense for

  Helgeson, even ifimder a reservation of rights, but Defendant steadfastly refused to do so.


  Instead, Nodak sued Helgeson in Civ. No. 11-55 (Declaratory Action).


           151. Defendants' misconduct, in breach of contract and as a tort, or either of them, also


  caused, or corrtributed to causing, a failure to reasonably settle the underlying action, in both

  Civ. No. 11-55 (declaratory action) and in Civ No. 12-105 (direct liability action), or a loss of

  reasonable settlement opportunity to do so, in April 2014, which failure also was a proximate

  cause of damages to Helgeson and the Helgeson Estate, Prochnow, and ultimately to these


  Plaintiffs.


          152. Plaintiffs, through their counsel, offered to Defendant Nodak to resolve the third

  party liability claims against Helgeson prior to the Coiu-t Trial on September 19, 2013,


  concerning the declaratory action, but Nodak made only a very small offer to settle for $ 12,000

  in 2012, when the liability limits were $100,000.00.


          153. Defendants' failure or refusal to provide a defense for Helgeon, and/or failm-e to

  provide coverage for the occurrence of the subject event, and/or to effect reasonable settlement


  of the imderlying action, was persistent and ongoing, and thus constituted a continuing breach of

  contract and/or a continuing tort.




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          154. The Court Trial of the underlying action did occur on September 19, 2013, and

  Defendant Nodak fully participated, litigating the declaratory action in full against its own

  insured.



          155. Defendant Nodak had sufficient time to retain defense counsel to defend the

  imderlying court action, and up to the date of the court trial. Defendant could have cured its

  breach of duty by retaining such defense counsel, even if under a reservation of rights.



             156. As a direct and proximate result of such persistent and ongoing failure or refusal


  by Defendants, and to protect himself from a greater personal financial loss, or risk of the same


  from a j my's verdict, Helgeson entered into an appropriate cooperation with these Thompson

  Plaintiffs for a compatible defense in the declaratory action court trial, in an attempt to avoid

  personal financial loss and obtaining certain other beneficial terms and conditions.


          157. The Court Trial resulted in a Memorandum Decision dated IVIarch 12, 2014,


  indicating that Nodak must provide liability coverage to Helgeson in Civ. No. 12-105 (direct

  action v. Thompson), that Defendant Nodak must defend Helgeson in any and all matters in Civ.

  No. 12-105 from March 12, 2014 forward, and that Defendant Nodak must pay any judgment

  obtained or damages obtained against Helgeson in Civ. No. 12-105 (see Exhibit E).


          158. Defendant Nodak was given timely notice of the Memorandum Decision, dated


  March 14, 2014 and was called upon to pay the policy limits from the subject Policy.


          159. That Nodak hired Defendant Harrie and Defendant Nilles Law Firm lo "defend"


  Helgeson in Civ. No. 12-105 in (third party liability "direct" action) October 2012.


         160. That Nodak and/or Han-ie/Nilles were provided with a written $100,000 per




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  person per accident third party liability policy limit time limit settlement demand to settle any

  and all of the Thompson claims for S 100,000 by or on the date of April 28,2014. Nodak and/or

  Hame/Nilles did not accept said policy Umits/time limit demand at all prior to or on April 28,

  2014.


          161. That a jury trial was held in Circuit Court in Roberts County, South Dakota on the


  third party liability claims of Thompson for personal injury and wrongful death, and a jury

  returned a verdict in the amount of $127,000 on November 3, 2017, which verdict resulted in a


  Judgment upon Jury Verdict in the amount of $160,684.12.


          162. Defendant Nodak failed or refused to pay the entire Judgment upon Jury Verdict

  sum from the liability limits of the subject Policy, but did finally pay a partial amoimt of

  $100,000 on or about April 5, 2018. The remainder of $60,684.12 amount of said Judgment was

  then forwarded for payment to Helgesoirs Estate and Proclmow.



          163. Helgeson's Estate, Prochnow and Jamie Helgeson refused aiid/or were financially



  unable to pay the remainder of said Judgment upon Jury Verdict. Nodak offered no further

  financial assistance to its insureds in that regard.



          164. By valid Assignment, a copy of which is attached. Plaintiffs above were given all of

  Helgeson's, Estate ofHelgeson's, Proclmow's, and Janiie Helgeson's rights to bring an action


  against Defendant Nodak (and against Harrie and Nilles) for violating their contract rights and

  such other recognized rights, such as to have a defense and/or for coverage of the underlying


  claims provided for Helgeson by Defendant Nodak.


          165. Defendant Nodak's failure or refusal to provide defense comisel in a timely and


  proper fashion for Helgeson, constitutes a breach of its contractual duty of good faith and fair




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  dealing; aiid/or couti-actual duty ofindenutification; and/or constitutes a tortious vexatious and

  unreasonable failure or refusal to pay; and/or constitutes tortious "bad faith"; and/or such other

  and further grounds of misconduct as is set forth hereimder.



          166. By virtue of the assignment, Plaintiffs have validly taken all ofHelgesons, Estate

  ofHelgeson's, Prochnow's and Jan-de Helgeson's rights to assert any and all claims they may


  have, or have against Defendant Nodak.



          167. Except where the provision is clear and miambiguous to deny coverage to the

  insured, every provision within a policy of insurance including the subject Policy, is to be

  liberally construed to afford to the insm-ed coverage rather than to defeat coverage.



          168. InHawkeye-Securitylns. Co. v. Clifford, 366 N.W.2d 489 (S.D. 1985), and similar

  case law progeny, the South Dakota Supreme Court has held that in light of South Dakota's rules

  of civil procedure, if if is clear or arguably appears from the face of the pleadings in the action


  against the insured that the alleged claim, if true, falls within policy coverage, the insurer must

  provide a defense to its insured, even if the pleadings are ambiguous, or reveal other claims not


  covered in the policy, and notwithstanding that extraneous facts indicate the claim is false,


  groimdless, or even fraudulent.



          169. As regarding the duty to provide a defense, the burden of showing no duty to defend

  rests on the insurer. See also, Demaray v. DeSmet Farm Mutual Ins. Co., 2011 S.D. 39, 801


  N.W.2d 284; State Farm Fire & Cus. Co. v. PIurbert, 2007 S.D. 107, 741 N.W.2d 228; State


  Farm Mm. Auto Ins. Co. v. Wertz, 540N.W.2d636 (S.D. 1995).



          170. As regarding the duty of the liability insurer to provide its insured with a defense,

  once imposed, the same continues until a Court of appropriate jurisdiction finds that the liability




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  insurer is relieved of liability imder a proper application of a non-coverage provision of the


  policy.


            171. By failing or refusing to provide Helgeson with a defense, as alleged above,

  Defendant Nodak committed a breach of the subject liability insurance contract.


            172. Defendant's failure or refusal to timely and properly provide a defense in the

  underlying action was a violation of its duty to treat its insured with good faith and fair dealing,

  such as to constitute "bad faith" under applicable South Dakota law (see, e.g., Champion v. U.S.


  Fid. & Guar. Co., 399 N.W.2d 320 (S.D. 1987)).


            173. As a direct and proximate result of such "bad faith" misconduct. Defendant Nodak


  is liable for such breach in the amount of all of the attorney's fees, (in excess of $50,000.00).

  costs and tax incurred by Helgeson (and/or Prochnow and the Estate) with each such personal

  counsel, as well as prejudgment interest thereon.



            174. As a. direct and proximate result of said breach, Defendant Nodak is liable in the

  amount of the Judgment Upon Jury Verdict (less the partial satisfaction), as well as prejudgment


  interest thereon.


            175. hi addition to such damages indicated above. Defendant's misconduct gives rise to


  liability for such punitive and exemplary damages as the jury shall determine.


    COUNT FOUR: VEXATIOUS AND UNREASONABLE REFUSAL OR FAILURE TO

                                 PAY BENEFITS AND TO DEFEND

            Plaintiff re-asserts and incorporates herein paragraphs one through one hundred and

  seventy five (1-175) above as if set forth in their entirety.




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          176. Defendant s failure or refusal to timely and properly provide defense counsel in the

  imderlying action was vexatious and luu-easonable under SDCL § 58-12-3.



          177. As a direct and proximate result of said vexations and unreasonable misconduct,


  Defendant Nodak is liable for such breach in the amount of the attorney's fees, costs and tax

  incurred by Helgeson with each such personal counsel, as well as prejudgment interest thereon.



          178. As a direct and proximate result of said breach, Defendant Nodak is liable for such

  breach in the amoimt of the. Judgment upon Jury Verdict, (less the partial satisfaction) as well as

  prejndgment interest thereon.



                               COUNT FIVE: PUNITIVE DAMAGES


          Plaintiffs hereby incorporate paragraphs one through one hundred seventy eight (1-178)

  of this Complaint as if fully set forth herein.


          179. hi doing all the things herein alleged, each Defendant Han-ie, Nilles and/or Nodak


  acted individually, and/or jointly and severally, intentionally, recklessly, vexatiously,

  oppressively and/or maliciously and are each guilty of a wanton and reckless disregard of the

  contractual, common law and statutory rights of Nicholas Helgeson, Melissa Prochnow, Jamie


  Helgeson, the Nicholas Helgeson Estate, Teresa Thompson and the Thompson Estate.


          180. Plaintiffs are entitled to pmiitive damages as the only way of deterring Defendants


  Harrie, Ni lies and/or Nodak hisurance Company from continuing to employ these wrongful,

  willful, intentional, oppressive, unreasonable, and vexations tactics against its own clients,


  policyholders and/or its first party insureds.


                                        PRAYER FOR RELIEF




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          WHEREFORE, Plaintiffs request for judgment individually, and jointly and severally,

  against each of the Defendants as follows:


          1. For the actual expenses incurred in the full and complete compensation for all tort


  and statutory damages sustained by all of the Plaintiffs in the subject incident and as a result of


  the Defendants' legal negligence, bad faith, breach of contract, breach of fiduciary duty,


  negligence, negligent intliction of emotional distress, intentional infliction of emotional distress,

  reckless conduct, mid any and all subsequent and nondisclosure conduct, and for the actual


  expenses in.curred incidental to the said damages, past, present and future, and to the procuring


  of said expenses, reimbursements, losses and damages to the date of trial, together with interest


  thereon;



          2. For such monetary compensation as shall fully compensate for all of the losses,



  including, but not limited to, pain and suffering, loss of enjoyment of life, mental anguish,

  worry, anxiety, fmsfration, humiliation, embarrassment, loss of income, travel expenses, imdue


  delay, negligent and intentional infliction of emotional distress, loss of trust, loss of peace of

  mind, loss of security, loss of comfort, attorneys fees plus interest, litigation costs plus interest,


  and other consequential loss sustained by Plaintiffs to the date of trial with interest thereon and

  which is likely to continue into the future, in a sum to be determined by the jury in this case;


          3. For an additional sum as mid for punitive or exemplary damages in an amount to



  be set by ihe jury herein, based upon the best financial information available as to each

  Defendant accordmg to SDCL §21-3-2.


          4. For Plaintiffs' attorney fees, costs, and expenses of these proceedings, and



  because of Defendants' vexatious, unreasonable, oppressive. intentional and abusive conduct;




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        5. For prejudgment interest on any award to which Plaintiffs are held entitled by the


  jmy; and


        6. For such other and further relief as the Court deems just and equitable.


        DATED this 9U1 day of January, 2019.


                                               ABOUREZK, ZEPHIER, & LAFLEUR




                                               By: /s/ Robin L. Zephier

                                               Robin L. Zephier

                                               PO Box 9460
                                               2020 West Omaha Street

                                               Rapid City, South Dakota 57709
                                               (605) 342-0097


                                               Turbak Law Office, P.C.

                                               Seamus Cuthane

                                               26 W. Broadway, Suite 100

                                               Watertown, SD 57201-3670

                                               (877)380-8517


                                               Attorneys for Plaintiffs




                        TRIAL BY JURY IS HEREBY REQUESTED




                                                 40

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     STATE OF SOUTH DAKOTA                                                IN CIRCUIT COURT
                                             )§
     COUNTY OF ROBERTS                       )                     FIFTH JUDICIAL CIRCUIT

     TERESA ANN THOMPSON, Individually,                               Civil No,; 12-105
     And As Special Administrator for the            )
     Estate ofWINFIELD THOMPSON                      )
     deceased, and DALE LAROCHE,                     )                                            MAR 2 S 20f8
     Individually, And As Special Administrator      )
                                                                                                 -^a.ten^
                                                                                           eoy
     for the Estate of RICHARD CHBLL,                )
     deceased,                                       )                                     or-

                                                     )
                                     Plaintiffs, )
                                                      )         ORDER GRANTING PLAINTIFF'S
     V,                                                         MOTION TO QUASH DEFENDANT'S
                                                                MOTION FOR PRO HAC VICE OF
     NICHOLAS HELGESON,                                         WILLIAM HARRIE
                                                      )
                                     Defendant. )



            The above-entitled action having come before this Court on Defendant's Motion for Pro

     Hao Vice and Plaintiffs' Motion to Quash Pro Hac Vice, and the Court having read and

     considered the submittals of the parties and the arguments of counsel; and good cause appearing

     thereon, it is hereby

             ORDERED that the Defendant's attorney William Harrie did not comply

     with SDCL §16-18-2 and therefore the Defendant's Motion for Pro Hac Vice is DENmD; and it

     is hereby turther

             ORDERED that the attached Findings of Fact and Conclusions of Law will be hereby

     incorporated in full herein.^  in support of said Order,
                              3in,i in


             Dated this _0^day of j                 2016.

                                                                BY THE COURT;


                                                                                            ^JVAJL'U
                                                                Honoral       S, Flemmer



                                                                                                 pi^N'riFR's
                                                                                                   IXHIBIt


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                                          Circuit Court Judge

     ATTEST^

     By; I-ZA^^A, ^—. \—
          Deputy


     (SEAL)




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      STATE OF SOUTH DAKOTA )                                     IN CIRCUIT COURT
                                           )§
      COUNTY OF ROBERTS )                                    FIFTH JUDICIAL CIRCUIT

      TERESA ANN THOMPSON, Individually,>)                       Civil No.; 12-105
      And As Special Administrator for the        )
      Estate ofWlNPIELD THOMPSON                  )
      deceased, and DALE LAROCHE,                 )                                        MAR 2 9 2m
      Individually, And As Special Administmtor   )
      for the Estate of RJCHARD CHELL,            )                                  eo'^»%te
      deceased,                                   )
                                                  )                                  ^~—^
                                    Plaintiffs, )
                                                  )      FINDINGS OF FACT AND
      V.                                          )      CONCLUSIONS OI? LAW ON
                                                  )      PLAINTIFF'S RENEWED MOTION
      NICHOLAS HELGESON,                          )      FOR DEFAULT JUDGMENT AGAINST
                                                  )      DEFENDANT HELGESON, AND
                                    Defendant. )         MOTION TO QUASH


           FINDINGS OF FACT AND CONCLUSIONS OF LAW ON PLAINTIFF'S RENEWED

       MOTION FOR DAMAGES AGAINST DEFENDANT HELGESON, AND MOTION TO

                                                  QUASH

              The above-captioned action, through Plaintiffs Renewed Motion for Default Judgement and

      for Damages, having come before the Court duly for hearing on Monday, February 29,2016; and the

      Plaintiff appearing through her attorney of record, Robin L, Zephier ofAbourezk & Zephier, P.C,

      appearing by phone, and the Defendant having appeared by counsel Ch'eg Peterson, and Plaintiff

      LaRoche appearmg by phone, after written notice of said hearing was sufficiently provided to

      Defendant and LaRoche; and the Court having received and considered the written submissions of

      the Plaintiff Thompson and the Defendant, and the argument of counsel; and the Court having

      determined the arguments and authorities provided by the Plaintiff Thompson, and the Renewed

      Motion for Default Judgment having been GRANTED; and good cause appearing for entry of




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     Findings of Fact and Conclusions of Law, and an Order on the same; therefore, the following shall

     constitute the Court's Findings and Conclusions accordingly;

                                                FINDINGS OF FACT

      l. Any Finding of Fact that should more appropriately be a Conclusion of Law, or vice versa, shall be

     treated as such for all purposes herein,


     2, The oral pronouncements by the Court that are properly considered as Findings of Fact, made during

     the hearing of February 29,20 16,shall be,and hereby are, ratified and reasserted herein by this reference

     as if set forth in their entirety, and shall be considered as the primary and controlling Findings of Fact for

     all purposes herein,


     3. These Findmgs of Fact are intended to aid, in summary fashion, eKplanation of the determination

     made by the Court and announced in open. court at the conclusion of the February 29,2016 hearing, and


     not in substitution thereof,

     4, Plaintiff Teresa Thompson is one of the natural surviving daughters of the decedent, Winfield

     Thompson.


     5, Plaintiff Teresa Thompson is the administrator of the estate ofWinfield Thompson.

     6, Plaintiff is entitled to receive damages for and on behalf of the Estate, as well as in her own right, and

     that of Decedent's Winfield Thompson's heirs.


     7, The acts of Defendant Nicholas Helgeson ctyectly and proximately caused Winfield Thompson's

     death on November 6, 2009,

     8. Decedent suffered fatal internal injuries wliich caused his death.

     9. Decedent survived for 6 hours after the injury, until his ultimate death on November 6,2009,




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      10. Plaintiff Teresa Thompson is the rightful person to receive a damages award for and on behalf

      of the Estate, and in her own right personally, and in the name of the other heirs.

      11, The Court has presided over this matter, as well as the declaratory judgment matter that preceded this

      case, and also the criminal trial of Mr, Helgeson.


      12. The Court did previously rule on an initial Plaintiffs' Motion for Default Judgment filed by Plaintiff

      Teresa Thompson dated June 17,201 4, where the Court denied said motion because an Answer signed

      by Mr. Harrie had been filed,

      13, The formal Answer had been initially due based upon correspondence between counsel prior to the

      Plaintiffs Motion for Default Judgement being filed.

      14. The Court at a hearing held on July 3, 2014, did deny said Plaintiffs' Motion for Default judgment

      and did allow the leeway for the Answer to stand, which was filed on or about June 18,2014,

      15, The previous formal Answer filed by defense counsel, Mr. Han-ie, dated June 18» 2014, listed Mr.


      Mark Hanson, ameinber of Mr. Hairic's Pai-go, North Dakota law firm, and Mr. Han-ie, but the Answer


      was only signed by Mr, Han'ie, and not by Mr, Hanson.


      16, That Mr, Harris did appear as defense counsel at a discovery deposition of his client, Mr. Helgeson,

      taken by video conference from Fargo, North Dakota, on June 30,2015,

      17. That Plaintiff Teresa Thompson did file a Plaintiffs First Motion to Compel dated December 30,

      2015, to attempt to re-depose Mr. Helgeson as a result of Mr, Harrie's conduct and advisements to his

      client during said deposition.

      18, That Plabtiffs' counsel did learn in January, 20 16, that Defense attorney Mr. Harrie, was not licensed

      to practice law in the state of South Dakota, and that Mr. Harrie had never sought admission to practice


      m South Dakota on this case by Pro Hac Vice, at all from June 2014 through January, 2016.


                                                           3




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      19, That based upon the information learned by Plaintiffs' counsel, a Renewed Motion for Default

      Judgment against Defendant Helgeson, and a Motion to Quash all prior pleadings signed by Mr. Hame,

      were filed and served upon Mr. Harrie on or about January 26, 2015,


      20, Defendant's attorney Mr. William Harrie of Pargo, North Dakota, then sought Pro Hac Vice

      admission to practice in this South Dakota Court by Affidavit and Motion filed by Greg Peterson of

      Aberdeen, South Dakota, dated January 28,2016,

      21. That Plaintiff Teresa Thompson did file an objection to Harrie's Pro Hac Vice Admission request,

      dated January 28,2016.

      22, That the Court, on February 26,2016, did rule upon Mr, Harrie's January 28,2016 Motion for Pro

      Hac Vice, and determined that the Motion for Pro Hac Vice filed by Mr. Peterson on behalf of Mr. Harrie,

      was denied.


      13. The Court found that Mr, Harrie did not comply with the requirements ofSDCL §16-18-2 before he

      commenced practicing law in South Dakota, which requirements are mandatory, and not subject to

      substantial compliance,


      24, The Court specifically found that Mr. Harrie unlawfully practiced law in South Dakota from June

      2014 to January 26,2016, appearing for at least one deposition and two formal hearings before the Court

      (one on July 31,2014, and the second on December 3, 2015),

      25, During the time from June 2014 to January 26,20 16, Mr, Han-ie never attempted to remedy his non-

      compliance with SDCL §16-18-2, Rather, Mr. Harris continued to practice in South Dakota without

      notifying the Court.

      26, The Court specifically found that, Mr, Harrie's conduct counsels against him satisfying subsection

      six ofSDCL 16-18-2. It provides;




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                     A statement that the applicant is familiar with the rules of the State Bar

                     of South Dakota governing the conduct of members of the State Bar of

                     South Dakota, and will at all times abide by and comply with the same

                     so long as such trial or hearing is pending, and he or she has not

                     withdrawn as counsel therem[,] SDCL 16-18-2(6),

     27, tn essence, Mr. Harrie engaged m conduct mvolving dishonesty, fraud, deceit or


     misrepresentation when he began practicing law without a license in front of this Court

     and by failing to notify the Court for one year and seven months.

     28, This conduct by Mr. Hame does constitute a violation of Rule 8,4(c) of the South

     Dakota Rules of Professional Conduct,

     29. Consequently, the Court, upon examination of Mr. Harrie, is not satisfied that he can


     "observe the ethical standards required of attorneys in this state[,]" SDCL 16-18-2.

     30, This conclusion is further solidified by the lack of civility and professionalism

     exhibited by Mr.

     Harris at the Deposition of Nicholas Helgeson conducted on June 30, 2015,

                                   CONCLUSIONS OF LAW

                  The Court hereby enters die following Conclusions of Law;

      1. Any Conclusion of Law that should more appropriately be a Fmding of Fact, or

     vice versa, shall be treated as such for all purposes herein.


     2. The oral pronouncements by the Court that are properly considered as Conclusions


     of Law, made during the hearing of February 29,2016 shal! be, and hereby are,

     ratified and reasserted herein by this reference as if set forth in their entirety, and shall


                                                           5




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     be considered as the primary and controlling Conclusions of Law for all purposes

     herein,


     3, These Conclusions of Law are intended to aid, in summary fasliion, explanation of


     the determination made by the Court and announced in open court at the conclusion of

     the February 29,2016 hearing, and not in substitution thereof.

      4, Defendant Helgeson was legally responsible and liable for Decedent

     Winfield Thompson's death and the resulting related and legally caused damages yet

     to be establislied at the damages hearing,

     5. Plaintiff Teresa Thompson is the rightful person to receive a damages award for

     and on behalf of the Estate ofWinfield Thompson, and in her own, and the heirs'

     right,

     6. That between June 2014 and January 26,2016, Mr. William Harrie of the Nilles

     Law Firm, in Fargo, North Dakota, did commit the unauthorized practice of law in the

     State of South Dakota m violation ofSDCL § 16-18-1 and 1.6-18-2.

     7. That between June 2014 and January 26, 2016, Mr. Harrie never once reasonably,


     willmgly or fomially disclosed this unauthorized practice of law to Plaintiffs' counsel

     Mr, Zephier, or this Court.


     8. Mr. Hanie's conduct in this case indicates that he cannot satisfy the requirements of


     SDCL 16-18-2 (6), which provides that the "applicant is familiar with the rules of the

     State Bar of South Dakota govemmg the conduct of members of the State Bar of

     South Dakota, and will at all times abide by and comply with the same so long as such

     trial or hearing is pending, and he or she has not withdrawn as counsel therein[.]".




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      9, By doing what he has done in this case, Mr. Harrie engaged in conduct mvolving

      dishonesty, fraud, deceit or misrepresentation when he began practicing law without a

      license in fi'ont of this Court and by falling to notify the Court for one year and seven

      months.


      10. Mr. Harris s conduct in this case does constitute a violation of Rule 8,4(c) of the

      South Dakota Rules of Professional Conduct.

      11. The Court, upon examination of Mr, Harrie's conduct and his affidavit for pro


      hac vice admission, is not satisfied that he con "observe the ethical standards required

      of attorneys in this state[.]"

      12. The Court's conclusion in this matter in denying Mr. Harrie's admission to

      practice law in this state under the pro hac vice statutory requu'ements, is lurther


      solidified by the lack of civility and professionalism exhibited by Mr, Harrie at the

      Deposition of Nicholas Helgeson conducted on June 30,2015,

      13, The Court determines that the Plaintiffs were and are prejudiced by Mr. Harris's

      conduct and his umuthorized practice of law in this State, and in this case.

      14. The Court detennines that the Court's time has been wasted in that Mr, Harne

      made several appearances before this Court and, althougli the Court did not directly

      ask Mr, Harrie if he was licensed to practice law in South Dakota, Mr, Harrie did not

      indicate to the Court that he was not licensed to do so, and appeared on his own at that

      time, without licensed counsel,


      15, WTiile it appears that a member of the law firm that Mr, Harrte is a part of, Mr,

      Hansen, is licensed to practice law in South Dakota, the name of Mr, Hansen was on



                                                          7




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     the formal Answer, but the signature on the June 18,2014 formal Answer of the

     Defendant Helgeson, was Mr. Harrie's signature, and Mi, HEirrie was not authorized


     to practice law in South Dakota at that time.


      16, The appropriate way for an attorney who is not licensed in South Dakota to

     become able to proceed in appearing in South Dakota as set forth in the pro hac vice

     statutes, SDCL 16-18-2, is to follow that procedure, but that procedure was not

      followed until Mr. Peterson became involved in the case recently and the request for


     pro hac vice admission was made on January 28, 2016,


      17. The Court is familiar with the prior proceeclmgs and matters that this Court has

     been involved in regardbg the declaratory action and the criminal proceeding,

      18. The Court recognizes that the pro hac vice stahite would require an attorney like

     Mr. Harrie in that situation, to appear with a South Dakota resident attorney present in

     Court,for all court healings, as well as actually having the admission pro hac vice

     completed before any legal pleadings were signed or filed,

      19. While Mr, Hansen could certainly have signed pleaduigs and made appearances

     as a licensed member of the South Dakota bar, he did not take those actions in this

      case to date,


     20. The Court concludes that the formal Answer prepared and filed by Mr, Hame in

     June 2014 is quashed at this time, as Mr. Harrie was not authorized to practice {aw in

      South Dakota at the time that he took action on behalf of the Defendant by signing

     and filing formal pleadings in tlie Court, and appearing and arguing before the Court

     without a license in South Dakota or without admission pro hac vice,




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      21. While Default Judgment may be a harsh remedy, the Court must examine

      whether or not there was excusable neglect and whether there is a meritorious defense.

      22. While there has been a defense set forth in the formal Answer of June 18, 2014,

      the neglect in this case by Mr. Harrie, is in the failure to become admitted prior to

      proceeding with the formal proceedings in this South Dakota court, This is not

      excusable,


      23. To allow the formal June 18,2014 Answer to stand, in the Court's determination


      and discretion, would simply reward the conduct and allow the action to proceed,

      when, in fact, no legitimate Answer was ever filed,


      24. The pleadings signed and/or filed by Mr, Harrie acf.ing as defense counsel for

      Defendant Helgeson, because ofHame's unauthorized practice of law in South


      Dakota, are null and void, including the formal Answer dated June 18> 2014.

      25. Die Court concludes that the appropriate action is to quash the; Answer and all

      other pleadings signed by Mr, Harrie and to therefore, grant the Renewed Motion for

      Default Judgment in asmuch as Mr. Harrie's actions were a nullify, and no Answer or


      responsive pleading has been filed at all in this case,

      26. A Damages hearing needs to be held in order to determine the full extent, nature


      and amount of Plaintiffs' damages,

      27. Based upon the foregoing Findings of Fact and Conclusions of Law, an Order

      consistent therewith should be entered accordingly,


              Datedthis
                    this  °d "' day
                        o<.~i       of (| Wh, 2016,
                                day ofL.jgfCJ^,

                                                                BY THE COURT;




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                                             Ws^-
                                     Honoifajble Jon S. Flenfrner
                                     Circuit Court Judge




              -s<^.'

                          ^

     (SEAL)




                                        10




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    /STATE OF SOUTH DAKOTA )                                       IN CIRCUIT COURT
                                           H
    COUNTY OF ROBERTS )                                       FIFTH JUDICIAL CIRCUIT

    TERESA ANN THOMPSON, Individually,,)                          Civil No.: 12-105
    And As Special Administrator for the          )
    Estate ofWIWIELD THOMPSON,                    )
    deceased,                                     )
                                                  )
                                   Plaintiffs, )
                                                  )
                                                  )              AMENDED JUDGMENT
                                                  )
    The Estate NICHOLAS HELGESON, )
    deceased, and MELISSA PROCHNOW )
    (mofher of Nicholas Helgeson), and JAMBB )
    HELGESON (father of Nicholas Helgeson), )
    as Representatives of the Estate of Nicholas )
    Helgeson,                                   )
                                                  )
                                   Defendant. )



           The above-entitled matter, having come on regularly for trial by jury on November 1 and

    21"1, 2017, before the Honorable Ton S. Flemmer, Circuit Court Judge, and fliejm-y; and the

    Plaintiffs, Teresa Thompson, Individually, and as Special Administrator for the Estate of

    Whifieki Thompson Sr., deceased, and the Estate of Thompson, appearing personally and by

    their attorneys, Robin L. Zephier ofAbourezk, Zephier & LaFleur, and Seamus Czithane of

    Turbak Law Office, and the Defendmif, the Estate of Nicholas Helgeson and Melissa Prochnow

    as Representatives of the Estate of Nicholas Helgeson, appearing personally and by its attorneys,

    Mark Amdt of May & Johnson, P.C., evidence having been offered and received by fee Court;

    and the matter having been submitted to the jury on November 2nd, 2017, mid die jxuy having

    returned its verdict in favor of Plaintiffs, Teresa Thompson, Individually, and the heirs of
                                                                                                          ¥B
                                                                                                          ;?t-l—
    Winfield Thompson, Sr., and the Estate of Thompson, and the verdict being duly received and           IS!
                                                                                                          ?H.
    filed herein and made a record of this court, and a hearing being held upon Plaintiffs' Application


                                                                                                             •Eal9W




 Filed on: 03/15/2018 Roberts County. South Dakota 54CIV12-000105
   Filed: 1/9/2019 3:20 PM CST Brookings County, South Dakota 05CIV19-000006
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      for Costs re: Prevailmg Party and Plaintiffs' Motion for Award of Fees, Costs & Expenses

      Pursuant to Rule 36 and 37 and Fees on February 26,2018;

                NOW, THEREFORE, on the verdict of the jury, it is hereby

                ORDERED, ADJUDGED, AND DECREED that Plaintiffs, Thompson and the Estate of

      Thompson, have judgment on. their complaint against the Estate of Nicholas Helgeson in the

      amount of $127,219.60; and it is

                FURTHER ORDERED, ADTUDGED, AND DECREED that Plaintiffs, Thompson and

      the Estate of Thompson have judgment against die Estate of Nicholas PIelgeson, for prejudgment

      interest in the amoimt of $24,131.86, and it is

                FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiffs, Thompson and

      the Estate of Thompson have judgment against the Estate of Nicholas Helgeson, for attorney fees

     for SDCL § 15-6-36 & 37, Requests for Admissions relief in the amoimt of $5,857.50 ($5,500.00

     fees and $357.50 tax), and it is

                FURTHER ORDERED that Plaintiffs, Teresa Thompson, and the Estate of Thompson

     shall also have judgment against Defendant, the Estate of Nicholas Helgeson, for their costs and

     disbursements herein in the amomif of $3,475.16, such costs and disbursements to be taxed by


     the Clerk of this Court in the amoimf mserfed herein in such sum as shaU by law be allowed,

     which shall leave the total amount of the post verdict Amended Judgment of $160,684.12.

                Dated this_ day of Febmary, 2018.

                                                         BY THE <®gW;T/:14/2018 1:12:25 PM



   Attest:

                                                         Jon^kmm^'
     .,i;5®^. Circuit Court Judge


        cs^<<




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    ATTEST:
    CLERK OF COURTS

    By_
          Deputy
    (SEAL)




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 SEP, 13,2012 4:50PM ABOUREZK LAW                                                                                  ), 6826"




     STATB OP SOUTH DAKOTA                                                    m CIRCUIT COURT
                                            )§
     COUNTY OF ROBBRTS                      )                        FIFTH JUDICIAL CIRCUIT

     TERJBSA ANN THOMPSON, Individually^»)                                  Civil No.
     And As Special Administrator for the         )                                                                    FILED
     Estate of WINPD5LD THOMPSON                  )
     deceased, and DALE LAROCHE,                 )                                                                     OCT 0 5 2012
     Individually, And As Special Adounisfcrator•)
     for the Estate ofRICHAKJD CHELL,             )                                                             WU«»CF^^^
     deceased,                                    )                                                             By..
                                                                                                                              ^—._
                                                  )
                                   Plaintiffs, )
                                                  )
     V.                                           )                         ADMISSION OF SERVICE
                                                  )
     NICHOLAS HELOESON,                           )
                                                  )
                                   Defendant. )


            Personal s&rvice of the enclosed Mid attached Summons and Compl(tlnt, has been made

     upon the K.wrtls Grcenly for service vpon Nicholas Holgeson, and is hereby admitted by receipt of
                                   r_^.
     tjcue copiesi thereof on this 0<*0' day of September, 2012.




                                                                                   ^A€SS^-
                                                        /^yftls Greenfey
                                                      / Attorney for Niohol^Hefgeson



            SUBSCRIBED AND 8WORN to before me this .^^uiay of September, 2012.

                                                                                                           'L^c^t^




     My commission expires;                           v^,,^^^.^t*. ..^,, rf^-r-rWn^-ii-rtVn^Ki-iWh Jlfc, ^<hi

                                                          ^K^ KM-HRYMMQUINN'
                                                         fcWy^ Notary Public
                                                         <;:'s;sSjt Mlnnosola
     [SEAL]                                             My<::f,inrnlsslnr!j^X[)ir9^HnywY31,^M
                                                           ^"ii>y'w""»^1 *w»-d- '^»*<^r l>-i*1 •^»" w-wi




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         STATE OF SOUTH DAKOTA IN CIRCUIT COURT

         COUNTY OF ROBERTS FIFTH JUDICIAL CIRCUIT

          **it=***l|<****=f<**-+*****Sf!^******i|!* ^




         NODAK MUTUAL INSURANCE * Civ.
         COMPANY,
                                                          *

           Plaintiff,
                                                          *

         vs,              COMPLAINT
                                                           *

         NICHOLAS HELGESON; DALE
         LAROCHE, as Personal Representative of *
         the ESTATE OF RICHARD CHELL; and
         TERESA THOMPSON, as Special *
         Administrator of the ESTATE OF
         WINPIELD THOMPSON, *

           Defendants,

          »<;*4:         !!;*:**•+*******.I:***********!!!*                                         *




                Plaintiff, for its claim for relief against the Defendants, alleges as follows;


                  1. This is an action for a declaratory judgment to determine coverage under an auto
        msurance policy.


                2. Plaintiff is a corporation authorized to do business in North Dakota with its
        principal place of business in the State of North Dakota and incorporated under the laws of the
         State of North Dakota.

                3. Defendant Nicholas Helgeson is an individual and resident of the State of North
        Dakota.

                4. At the time of the accident, Richard Chell was a resident of the State of South
        Dakota.


                5, At the time of the accident, Winfield Thompson was a resident of the State of
         South Dakota.

                6. Defendant Nicholas Helgeson is an insured driver under automobile insurance
        policy, PAND 000419882.
I I,



                                                                                                  fI.AyNinFF'S
                                                                                                    iXHIBIT


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        7. The policy contains an exclusion for individuals using a vehicle without a
 reasonable belief that said individual is entitled to do so. See Exclusion A. 8 m policy attached
  as Exhibit 1,

        8. On November 6, 2009, Defendant Nicholas Helgeson was driving a 1994 Jeep
  Grand Cherokee owned by Patrick Nelson.


         9. Defendant Helgeson was headed south on 466th Avenue near its intersection with
  South Dakota Highway 127 in Roberts County, South Dakota,

        10. Winfield Thompson was a passenger in a vehicle driven by Richard Chell.
  Thompson and Chell were headed east on South Dakota Highway 127 near its intersection with
  466th Avenue m Roberts County, South Dakota.

             11. The vehicles being driven by Defendant Helgeson and Mr. Chell collided
  resulting m the deaths of Mr. Chell and Mr. Thompson.

             12. Several weeks prior to the accident, Defendant Helgeson and Patrick Nelson had a
  conversation regardmg Helgeson's use of the veliicle at which time Mr. Nelson informed
  Defendant Helgeson that he was not allowed to use the vehicle unless he provided insurance for
  it.


             13. Defendant Helgeson never obtained a policy to msure the 1994 Jeep Grand
  Cherokee.


             14. At the time of the accident, Defendant Helgeson did not have permission and was
  not authorized to operate the vehicle owned by Mr. Nelson,

             15. Plaintiff is not obligated to pay any claims or demands by any of the Defendants
  or to defend Nicholas Helgeson against any such claims or demands because Nicholas Helgeson
  was operating the vehicle without the permission or consent of the owner of the vehicle.

             16. All of the Defendants are interested in the outcome of this controversy.

             17. This Court has authority under SDCL 21-24 to brmg the parties before it and to
  adjudicate the matters at issue and enter its judgment declaring and adjudicating the rights of all
  parties.

             WHEREFORE, Plaintiff prays:

             1. That this Court enter an Order fmding and declaring that Plaintiff is not obligated
  to pay any claims or demands arising out of the subject accident and that the Plaintiff has no duty
  to pay or defend any claims anyone may have against Nicholas Helgeson.

             2. That this Court award Plaintiff its costs and disbursements of this action.




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         3. That this Court grant Plaintiff such other and further relief as this Court deems
  just and proper under the circumstances.


         Dated this ._-S_ day of December, 2010.


                                             SIEGEL, BARNETT & SCHUTZ, L.L.P,



                                               ^jLu^ 0V^6jt_.
                                               ied Rasmussen
                                             Jnlie Dvorak
                                             Attorneys for Plaintiff
                                             415 S. Main Street, 400 Capitol Building
                                             PO Box 490
                                             Aberdeen, SD 57402-0490
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                                PERSON L AUTO DECLARATIONS                                                                INSURED COPY

 NodakMutuaHnsurance Company             1101 1 st Avenua North R.O.Box2502
        www.hodakmatual.com                 Fapgo, Nodh Dakota 5810&-2502
                                                   1-877-814^011


    "Named Insured:
                                                                                       POLICY CHANGE
    i                                                                                         Change Effective: 4/06/2009
RICHARD PROCHNOW &/OR MELISSA PROCHNOW                                                        Policy Period From: 4/02/2009
9920170TH AVE SE                                                                                           TO: 4/02/2010
HANKINSON ND 58041                                                                      12:01 A-M. StandaidTima attlie Address d the Named Insurat




                                                                  Payment Plan: 4-PAY
Insured Phoned .                                                  TOTAL ANNUAL POLICY PREMIUM: $3,318.00

Veh Year/Make/Model                              Vehicle ID Number                Sym Miles Class UseTer Lvl                   Type Exp% VEHICLE
003 2000 DODQ INTREPID SEDAN                     2B3HD46ROYH276663                 13 10000 5C WL 002 S                          PP 1,21 DELETED
Veh Year/Make/Model                              Vehicle ID Number                Sym Miles Class UseTer Lvl                   Type Exp%
004. 2004 CHEV TAHOE L8/L UTL                    1QNEK13Z54J264680                 14 10000 3F FP 002 U                          SU 1.02
 •PASSIVE RESTRAINT DISCOUNT 'MULTI -CAR DISCOUNT . '
Veh Year/Make/Model                              Vehicle ID Number                Sym Miles Class 'Usa Ter Lvl                 Type Exp%
006 2005 CHEV SiLVERADO PKP4X44D                 2GCEK13T751284637                 17 7601 1Q FA 002 U                         • PK .86
 *PASS1VE RESTRAINT DISCOUNT tMULTI -CAR DISCOUNT
Veh Year/Make/Model                              Vehicle ID Number                Sym Miles Class Lisa Ter Lvl                 Type ^p%
006 1696 GHEV MTECARLZ34 COUPE 2D                2G1WX12X3T9260787                 11 7601 . 60 WL 002 S                         PP 1,21
 *PA8SIVE RESTRAINT DISCOUNT *MULTI -CAR DISCOUNT
Veh Year/Make/Model                            . Vehicle ID Number                Sym Miles Class UseTer Lvl                   Type Exp%
007 S002 FONT SUNFIRE SEDAN                      1G2JB624B27170505                 15 10000 4F FP 002 D                          PP ,97
 *PASSIVE RESTRAINT DISCOUNT 'MULTI -CAR DISCOUNT
Veh Year/Make/Model                              Vehicle ID Number •              Sym Miles Class UseTer Lvl                   Type Exp%
008 2008 DODG AVENQER SEDAN 4D                   1B3LC56K68N216064                 14 10000 4F FP 002 U                          PP .97
 *PA881VE RESTRAINT DISCOUNT *MULTI -CAR DISCOUNT
    1.TI-LIN.E HO/FR DISCOUNT


                                          COVERAGES AND LIMITS OF LIABILITY
           Josurance is affordeci only for the coverages for which limits of liability or premium charges are indlcaledi-

VE HICLE 004 COVERAGES 2004 CHEV TAHOE LS/L UTL •                             Rated Driver: MELISSA PROGHNOW
LIABILITY:                                                                    LIMITS                                                     PREMIUM
  BODILY.1NJURYLIABILIT/                            $100,000 Each Person/$300,000 Each Accident                                               $84.00
  PROPEm'Y DAMAGE LIABILrTY                         $100,000 Each Accident                                                                    $98.00
  UNINSURED MOTORIST.                               $1.00,000 Each Person/$300,000 Each Accident                                              $13.00
  UNDERtNSURED MOTORIST                             $100,000 Each Person/$300,000 Each Accident                                                 $6.00
  PERSONAL INJURY PROTECTION                        $30,000 Each Person                                                                       $48.00
COVERAGES FOR DAMAGE TO YOUR AUTO:
  OTHER THAN COLLISION                              Actual Cash Value less $1 ,000 Deductible                                               $231.00
  COLLISION                                         Actual Cash Value less $1 ,000 Deductible                                               $173.00
ENDORSEMENTS:
  ADDED PERSONAL INJ PROTECTION                     $50,000 Each Person                                                                       $18.00

                                                                 Total Annual Premium Vehicle 004                                           $671.00

VEJ4L^LH 005 COVERAGES 2005 CHEV SILVERADO PKP4X44D                           Rated Driver: RICHARD PROCHNOW
LIABILHV:                                                                     LIMITS                                                     PREMIUM
  BODILY INJURY LIABILITY                           $100,000 Each Person/$300,000 Each Accidenl                                               $52.00
'. PROPERTY DAMAG_EUABjL!TY                         $100,000. Each Accident.                                                              : &62..SQ.
  UNINSURED MOTORIST                                $-100,000 Each Person/$300,000 Each Accident                                             $9.00
  UNDERINSURED.MOTORIST                             $100,000 Each Person/$300,000 Each Accident                                              $4.00
  ^CRSONAL INJURY PROTECTION                        $30,000 Each Person                                                                       $30.00
^. ,/ERAGES FOR DAMAGE TO YOUR AUTO:




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  Nodak Mutual Insurance! mpany                         (              INSURED COPY

  RICHARD PROCHNOW &/OR MELISSA PROCHNOW                                 POLICY NUMBER: PAND000419882
  EFF. DATE: 4/02/2009 EXP. DATE: 4/02/201.0                             CLIENT NUMBER: 000000034327

                                          (Continued)


 OTHER THAN COLLISION                     Actual Cash Value less $1 ,000 Deductible                    $183.00
 COLLISION                                Actual Cash Value less $1,000 DeductibtQ                     $133.00
ENDORSEMENTS:
 ADDED PERSONAL INJ PROTECTION            $50,000 Each Person                                           $15.00

                                                    Total Annual Premium Vehicle 005                   $488.00

ygMICLE 006 COVERAGES 1S86 OHEV MTEOARLZ34 COUPE 2D           Rated Driver: NICHOLAS HELGESON
LIABILITY:                                                    LIMITS                                  PREMIUM
  BODILY INJURY LIABIL1W                  $100,000 Each Person/$300,000 Each Accident                  $312.00
  PROPERTY DAMAGE LIABILIW                $100,000 Each Accident                                       $365.00
  UNINSURED MOTORIST                      $100,000 Each Person/$300,000 Each Accident                   $48.0.0
  UNDERINSURED MOTORIST                   $100.000 Each Person/$300,000 Each Accident                   $23.00
  PERSONAL INJURY PROTECTION              $30,000 Each Person                                          $181.00
ENDORSEMENTS:
  ADDED PERSONAL INJ PROTECTION           $50,000 Each Person                                           $22.00

                                                     Total Annual Premium Vehicle OOS                  $951.00

VEHICLE 007 COVERAGES 2002 PONTSUNFIRE SEDAN                Rated Driver: MELISSA PROCHNOW
UABILH-Y:                                                   LIMITS                                    PREMIUM
 •BODILY INJURY LIAB1LIT/                $100,000 Each Person/$300,000 Each Accident                    $79.00
  PROPEm'Y DAMAGE LIABILITY              $100,000 Each Accident                                         $93.00
  UNINSURED MOTORIST                     $100,000 Each Person/$300,000 Each'Accident                    $13.00
    •NDERINSURED MOTORIST.              '$100,000 Eqch Person/$300,000 Each Accident                     $6.00
  .. &RSONAL INJURY PROTECTION           $30,000 Each Person                                            $47.00
ENDORSEMENTS:
 ADDED PERSONAL INJ PROTECTION            $50,000 Each Person                                           $17.00

                                                     Totai Annual Premium Vehicle 007                 .$255,00

VEHICLE 008 COVERAGES 2008 DODQ AVENGER ; SEDAN 4D .. [ Rated Driver: MELISSA PROGHNOW
LIABILlFf:                                                    LIMITS                                  PREMIUM
   BODILY INJURY UABILITf                 $100,000 Each Person/$800,000 Each AfiGldent                  $79.00.
 . PROPERTY DAMAGE LIABILITY              $1()0,000 Each Accident                                       $93.00
   UNINSURED MOTORIST                     $100,000 Each Person/$300,000 Each Accident                   $13.00
   UNDERINSURED MOTORIST                  $100,000 Each Person/$300,000 Each Accidenl                    $6.00
   PERSONAL INJURY PROTECTION             $30,000 Each Person                                           $47.00
COVERAGES FOR DAMAGE TO YOUR AUTO:
   OTHER THAN COLLISION                   Actual Cash Value less $250 Dfeductible                      $411.00
   COLLISION                              Actual Cash Value less $500 Deductible                       $287 ..00
ENDORSEMENTS:
   ADDED PERSONAL INJ PROTECTION          $50,000 Each Person                                           $17.00

                                                     Total Annual Premium Vehicle 008                  $953.00

                                 J.OSS PAYEE/ADDITIONAL INTEREST INFORMAIlQMl-




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  Nodak Mutual Insurance( ^mpany                        i ' INSURED COPY

  RICHARD PROCHNOW &yOR MELISSA PROCHNOW                                         POLICY NUMBER: PAND000419882
  EFF. DATE: 4/02/2009 D(P. DATE: . 4/02/2010                                    CLIENT NUMBER: QQ0000034327

                                                  (Continued)


VEH 004 Loss Payee               DACOTAH BANK
                                 PO BOX 209
                                 SISSETON, SD 57262-0209
VEH 005 Loss Payee               OITI FINANCIAL AUTO
                                 PO BOX 3449
                                 COPPELL,TX7S019
VEH 008 LossPayea                LINCOLN STATE BANK
                                 302 SOUTH MAIN, PO BOX 260
                                 HANK1NSON, ND 58041

                                                    MESSAGES:
Unit 003: Deleted - 2000 DODG INTREPID
Unit 006: Changed NICHOLAS HELGESON to Rated Driver
      Changed Use lo WL- WORK LESS THAN 30 MiLES/WEEK
      Changed Rate Level to 3 - STANDARD
Unit 008: Added - 2008 DODG AVENGER




    ?s Applicablai
\ .>'A DO 81 98 PP ND 01 88 98 PP HD O'r 7.9 90 PP ND OS Si OS PP HD US 84 B'l




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                                                                                                 PERSONAL AUTO
                                                                                                   PPPAOOt)T9B

                                          PERSONALlUTO POLICY
                                                    AGREEMENT
In return for payment of the premium and subject to all the terms of this policy, we agree with you as follows:

                                                    DEFINITIONS
A. Throughout this policy; "you" and "your" refer to:            4. Any ayto or "trailer" you do not own while used
   1.. The "named'insured" shown in'the Declara-                     as a temporary substitute for'any other vehicle
       tions; and                                                   described in this definition which is out of nor-
                                                                    mal use because'of its:
   2. The spouse, if a resident of the same house-
       hold. ' : .                                                  a. Breakdown;

   If the spouse ceases to be a resident of the same                b. Repair;
   household'during the policy period or prior to the                c. Servicing; . .
   inception of this policy; the spouse ^A/ill be consi-            d. Loss; or .
   dered "you" and "yout" under this policy but only
   until the earlier of;                                            •e. Destruction.

   1. The end of 90 days following the spouse's                     This- Provision (J.4.) does not apply to Cover-
       change of residency;'. ; • . • ' •                           age For. Damage To Your Auto,

   2. The effective date of another policy listing the       K. "Newly acquired auto":
       spouse as a named insured; or                           . 1. "Newly acquired auto" means any of the follow-
   3. The end of the policy period.-. .                              ing types of vehicles you become the owner of
                                                                    during the poh'Qy period;
B. "We"i "us" and "our" refer to the Company provjd-
   ing this insurance.'.                                             a. A private passenger auto; Or

C. For purposes of this policy, a private passenger                 b. A pickup or van, for .which no other insur-
   type auto, pickup or van shail be deemed to be                      ance policy provides coverage, that:
   owned by a person if leased:                                      • (1) Has a Gross Vehicle Weight of less than
   1. .Under a written agreement to that person; and                       10,000 Ibs;; and
   2. For a continuous period of at least 6 months. .                  (2) Is. not used for the delivery or transporta-
                                                                            tion of goods and materials unless such
D. "Bodily injury" means bodily harm, sickness or                           use is:
   disease, including death.that results.
                                                                         ' (a) Incidental to your "business" of instat-
E. "Business" includes ^t^ade^ profession or occupa-                             ling, maintaining or .repairing fumish-
   .tion:           .   •    .
                                                                               ings or equipment; or • • ' •
F. "Family .member" means a person related to you                          (b) For farming or ranching.
   by blood, marriage .or adoption, including a ward or
   fosfer child, who is a resident of your household. ' •.       2. .Coverage for a "newly acquired auto" is pro--
                                                                    vide.d. as-described below only'if you pay us any
G. "Occupying" means in, upon, getting in, on, out'or               added premium •• due. If you ;ask us to insure a
   off.             •        •      •      .   .    •
                                                                    "newly acquired auto" after a specified time pe-
H. "Property damage" means' physical injury to, de-                 riod described below, has elapsed, any cover-
   stnjction of or loss of'use of tangible property.                age we provide for a "newly acquired auto" will
                                                                    begin at the time you reqaest the 'coverage.
 I. "Trailer" means a vehicle designed to be pulled by
   a:         •         ..     .   •      .    .   .                 a. For any coverage provided in this policy
                                                                        except Coverage For Damage To Your Au-
   1. Private passenger auto; or
                                                                        to,'a "newly acquired.'auto" will have the
   2. Pickup or van. .. . •                                            • broadesj: coverage we now provide for any
   It also means a farm wagon or farm implement                         vehicle shown in the Declarations, Co.ver-
   while towed by a vehicle listed in 1,.. or 2. above,                •yige. begins on the date you,become the
                                                                        owner. However, for this coverage to apply
J. "Your covered auto" means:
                                                                        to a "newly acquired auto" which is in addl-
   1. Any vehicle shown in the Declarations..                           tion to any vehicle shown. in the Dedara-
   2. A "newly acquired auto". '' . .                                   tions, you must-ask us to insure rt.within 30
                                                                        days after you become the owner.
   3. Any "trailer" you own. •.




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          If a "newly acquired auto" replaces a vehicle          • c. Other Than Collision Coverage for a "newly
          shown in.the Declarations, coverage is pro-                  acquired auto" .begins on the date you l?e>-
          vided for- this vehicle, without your having to            • come 'the.owner. However, for this" .coverage
        .' ask us to insure it.
                                                                       to apply,.you must ask us to insure"it 'within:
      b. .Collision Coverage for a "newly acquired                     (1) 30 days after-you become .ttie.'ownisr if
       ' • auto" begins on the date you become the                         the Declarations, indicate that .Other
          owner. However, for this coverage to appiy,                      Than Collision Coverage applies to at
          you must ask us to insure it within:                             least.one auto. In this case, the "newly
         (1) 30 days after you'become the owner if                         acquired auto" will have the broddest
             the De'clarations- indicate that Collision                    coverage we now provide for any auto
             Coverage applies to at least one auto. In                     shown in the Declarations.
             this case, the "newly acquired auto" wi!l
                                                                       (2) Four days after you become the owner if
             have the broadest coverage. we now                            the Declarations do not indicate that
             provide for any auto shown in the Decla-                      Other Than Collision Coverage applies
              rations.                                                     to at least one auto. It you.comply with
        . (2),. Four days .after you become the .owner if                  the 4 day requirement and. a loss oc-
                the Declarations do not indicate that Col-                 curred before you asked us to insure the
                lision Coverage applies to at least one                    "newly acquired auto",, an Other Than
              auto. If you comply with the 4 day re-                       Collision deductible of $500 will apply.
             .quiremeht and a loss occurred before           L. "Diminution in.value" means the actual or per-
             •you .asked us to insure the "newly ac-
                                                                 ceived loss in market or resale value which results
              quired auto", a Collision deductible of           from a direct and accidental loss. . ' .• .
              $500 will apply.

                                          PART A - UABlLI.Tf COVERAGE
INSURING AGREEMENT                                           SUPPLEMENTARY PAYMENTS
A. We will pay damages for "bodily injury" or "property      In addition to our limit-of liability, vye will pay on behalf
   damage" for which any "insured" becomes legally           of an "insured":' • . '

   responsible because, of an auto accident. Damag-             1. Up. to $250 for the cost of .bail bonds required
   es include prejudgment interest awarded against                 because of an accident, Including related traffic.
   the-"insured". We wiil settle or defend, as we con-             law violations. The accident must result in "bo-
   sid.er appropriate, -any claim or suit asking for               dily injury" or "projs.erty damage";cdvered under
   these damages. In addition to our limit of liability,            this policy.- • • • ••''
   we will pay al! defense costs we incur, Our duty to
   settle or- defenc} ends when our limit of liability for      2. Premiums OR appeal bonds and bonds to re-
   this coverage has been exhausted by payment of                  lease qttafthments in any suit we defend.
   judgpients.or gettlements. We have the right to in-          3. Interest'accming after .a judgment is entered in
   vestigafe,' negotiate and settle any claim with or               any-suifc we defend. Our duty to pay interest
   without your.consent. We have no duty to defend                  ends. when we offer to pay that • part'of ..the
  'any suitor settle--any, claim, for "bodily injury" or            judgment which'does. not exceed-our limit .of
 " "property; damage" not covered under this policy.                'liability, for this coverage. •••'.'

B. "Insured" as used in this Part meqns:                        .4. Up' to $200 a 'day for loss of earnings, but not
  •1.. You or any "family member" for the ownership,                other income, because of attendance at hear-
                                                                    Ings or .trials at our request' • • •'
       maintenance or use of any auto oi- "trailer".
                                                                5. Other reasonable expenses incurred at our
   2. Any person using "your covered auto";
                                                                    request . .• \ .
  .-3. For'"your covered auto", any person or organi-
      zation but only with respect to legal- responsibili-   EXCLUSIONS
      ty for acts or omission's of a'person for whom         A. We do not provide Liability Coverage for any "in-
      coverage is afforded under this Part.                     sured":                      •      .

   4. For any autQ or-"trailer", .other than "your coy-         1. Who intentionally causes "bodily :injury" or
       ered auto", any; other person or organization                "property damage". • ' ' -
       but only with respect to legal responsibility' for       2. For "property damage" .to property owned or
       acts or omissions of. you-or any'"family mem-
                                                                   being transported by that "insured". '.
       tier" for whom coverage is- afforded under this
    '. Part. This Provision (B;4.) applies only if .the         3. For "property damage" to property:".
       person or brganizatjon does not own or hire the              a. Rented lo; . ;
       auto or."trailer", ' .
                                                                    b. Used by;. 6r


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        c. In the care of; . . . .
                                                                       A nuclear energy liability policy is a policy is-
                                                                       sued by any of the following or their sQeces-
        that "insured":                                            • .. sors:

       This Exclusion (A.3.) does not apply to "proper- •              a. Nuclear Energy Liability Insurance Ag^bcia-
j ty damage" to a residence or private gara'ge.                           'tion;              ....

    4. For "bo'dily injury" to an employee of that "in-                b. Mutual Atomic Energy Liability Underwriters;
         sured" .during the course of employment. This                     or                        .
         Exclusion (A.4.) does not.apply to "bodily Injury"
         to a domestic employee unless workers' 'com-                  c. Nuclear Insurance Association of Canada.
       . pensation'benefits-are required or available for         10. For any "bodily injury" or, "property damage":
         that domestic employee.                                       a. For which the'United States might be liable
    5. .For that "insured's" liability arising out.of the                  for the "insured's" use of any vehicle; or
      • ownership or operation, of a vehicle white it is               b. Arising out of the ownership, maintenance,
        being used as a public or livery conveyance.                       use or operation, of farm machinery.
        This Exclusion (A.5.) does not apply to a share-.
        the-expense car pool,                                  B. We do' not provide Liability Coverage for the own-
                                                               : . ership, maintenance or use.of: .-
    6. While employed or otherwise engaged in the
       "business" of;'                                             '1. Any vebicte which:

        a.        Selling;                     '      •.               a. Has fewer than fo'ur wheels; or
                                                                       b. Is designed mainly for use off public roads.
        b, Repairing, .:
        c. Servicing; ' . . :                                          This Exclusion (B.1.) does not apply:
        d. Storing; or. • :
                                                                       a. While such vehicle is- being used by an
                                                                          •"insured" in a medical emergency;
        e. Parking; •
                                                                       b. To any "trailer"; or
        vehicles • designed for use mainly on public
        highways. This includes road testing and deli-               ' c. To any non-owned golf cart.

        vory. This Exclusion (A.6.) does not apply to              .2. Any vehicle, other than "your. covered auto",
        the ownership, maintenartce or use of "your                    which is:
        Covered auto" by:
                                                                       a. Owned by you; or
        a. You;
                                                                       b. Furnished or'available for your regular use.
       • b. Any "family member"; or
                                                                   -3. Any vehicle, other than "your covered auto",
        c.-Any partner, agent or employee of you or                    which is: . . '.•
           any "family member".
                                                                       a. Owned by any "family member"; or
    7. Maintaining -or using any vehicle while that
                                                                       b. Furnished or avepable for the regular use of
     • "insured" is employed pr otherwise engaged in                      • any "family member".
       any."business"-(Qther than farming or ranching)
       not described in Exclusion A.6. •                             . However, this Exclusion (B.3.) does not apply
                                                                        to you -while you are maintaining or "occupying"
       This Exclusion (A.7.) does not apply to the                   . 'any vehicle which is:;
      • rriaintenan.ce or use of a: • • . .
                                                                       a. Owned by a "family member";'or
        a. Private passenger auto;
                                                                       b. Furnished or available for the regular use of
        b. Pickup or van; or '                                            . a "family member":
        c. "Trailer" used with a vehicle described, in a.
                                                                   4. Any vehicle, located inside a facility designed
         .'   orb/above;                      .    •   .   •
                                                                       for racing, for the purpose of: • .
    8. Using, a vehicle without a reasonable belief that
                                                                       a. Competing in; or . . . .
        that "insured" is entitled to 'do so; This Exclu-
        sion (A.8.) does not apply to a "family member"                b... Practicing or preparing for; .
        using -"your covered auto" which is owned by                   any prearranged or organized racing or speed
       you.'.         •    .   •                                       contest .
   . 9; For "bodily 'injury"'or "property damage" for.          C. We do .not.provide-Liability Coverage for any.punj-
       which that "insured": , ...                                  tive or exemplary damages. .
        a. Is an insured under a nuclear energy,liability       D. We do not provide Liability Coverage for 'bodily
            policy; or ' .                                          injury" arising out of the passage of a eommunic-
        b. Would be .an insured under a nuclear ener-              • able disease from any-"insured" to another per-
           gy liability, policy but for itstermination upon
                                                                  ••son.           '   ••••   ....   .




         . exhaustion of its limit of liability,' •


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  E. We do not provide Liability coverage for "bodily                       2. Any Underinsured Motorists Coverage provided
        injury" or "property damage" arising out. of-sexual                    by this policy.
        molestation, corporal- punishment or physical or                OUT OF STATE COVERAGE
        mental abuse inflicted upon any person by or at
'i the' direction of an'"insured" or an "insured's" em-                 If an auto, accident.to .which this policy applies occurs
' , ployee.                                                             in any state or provinc&'other than the one in whitih
                                                                        "your covered auto" is principally garaged, we will
  LIMIT OF LIABILlTf                                                    interpret your policy for that accident as follows:
  A. The limit of liability shown in the Declarations for               A. If the state or.province has:
     each person for Bodily Injury Liability Is o.ur maxi-
     .mum limit of liability for all damages, including                     1. A financial responsibility or similar law specify-
     damages for care, loss of sen/ices or death, aris-                         ing limits of liability for."bodily injury" or"proper-
     ing. out-of "bodily injury" sustained by anyone per-                      ty damage" higher than the limit shown in the
     son in any one auto accident. Subject to this limit                       Declarations, your policy will provide the higher
     for each person, the limit of liability shown in the                      specified limit. •
     Declarations'-for each' gccident for Bo.dily Injury                    2. A compulsory insurance or similar law requiring
     Liability is our maximum limit of liability for all dam-                   a nonresident to maintain insurance whenever
     ages for "bodily, injury" resulting from any one'auto                     the nonresident uses a vehicle in that state' or
     accident.                '   .   .   '   '   •   .   •   '   •            province, your policy will provide at least the
     The limit of liability shown in the Declarations for                      required minimum amounts and types of cov-
     each 'accident for Property Damage Liability is our                       erage.
    . maximum limit of liability-for all "property, damage"             B. No one will be- entitled to duplicate payments for.
      resulting from any one auto accidertt.                               the same elements of loss.
     This is. the most we will pay regardless .of -the                  FINANCIAL RESPONSIBlLn-Y
    •number                               of:         .   '..'..
                                                                        When this policy is certified as future proof of financial
     1. "tngureds";                                                     responsibility, this policy shall comply with the law to
     2. Claims made; .                                                  the extent required.

   • 3. Vehicles or premiums shown i.n the Declara-                     OTHER INSURANCE
          tions;                  or              .   •                  If there is other applicable liability insurance we will
     4. Vehicles involved in the auto accident.                         pay only our share of the loss. Our share is .the pro-
                                                                        portion that our limit of liability bears to the total of all
j B. No one -will. be entitled to receive duplicate pay-                applicable limits; However, any insurance we provide
      merits for the same-elements of loss under this                   for a vehicle you do not own shall be excess over any
      coverage and:                                                     .other collectible insurance.
     1. Part B or Part C of this policy; or

                                          PART B - ftflEDtCAL PAYMENTS COVERAGE
  INSURING AGREEMENT . -                                                 EXCLUSIONS .
  A. We. will pay reasonable expenses incurred for                        We.do nof provide Medical Payments. Coverage for.
    , necessary medical, .and. funeral . services because             ' •any/'insured" for "bodily injury": '
   ' • of "bodily injury": , . • • • . ; , •
                                                                            1.. Sustained while "occupying" any motorized
   • 1. .Caus.ed by accident; and . " •                                         vehicle having fewer than four wheels.

     2. Sustained by an "insured". :                                        2. Sustained while "occupying" "your covered
                                                                               •auto" when it is being used as a public or livery
     We will pay only those expenses incurrec) for ser-
                                                                              , conveyance. This Bcctusion (2.) does not apply
    • vices rendered within .3 years, from the date of the.
                                                                              • to a share-the-expense car pool.
    .    •ac.cident.                      .   '   "   ;   •   :   •
                                                                            3. Sustained while "occupying";i;,any' vehiGle to-
  B. "Insured" as used in this Part means:
                                                                                cated for use as a residence or premises.
      1. You or any "family'member": •
                                                                            4. Occurring during the course. of employment if
         • a. While "occupying"; or '. .                                       workers' compensation benefits are required or
           b. As a pedestrian when struck by;                                  available-fpr'the "bodily injury".

           a motor vehicle designed' for use mainly, on                     5. Sustained while "occupyjng", -or when struck by,
     . ; • public roads or a trailer of any'type.                               any'vehicle (other than "your covered auto")
                                                                                Which is: • •
      2. ^ny other person while "occupying" "your cov-
           ered auto". • . • . . '.                                            ,a. Owned by you; or ...

                                                                                b. Furnished or available for your regular use. .



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    6. Sustained while-"occupying"; or when struck by,            '. c. Radioactive contamination.
        any vehicle (other than "your covered auto")           11. Sustained while "occupying" any vehicle, to-
       '   which                    is:   •
                                                                   cated inside a facility designed for racing, for
     'a. Owned by any "family member"; or                         . the purpose of: • • • . •

/ b'. Furnished or available for the regular use of                 a. Competing in; or
            any "family member". .
                                                                   'b. Practicing or preparing for;
      ' However, this Exclusion'(6.) does not apply to             any .prearranged or organized racing or speed
      • you.
                                                                   contest.                            .    .
    7. Sustained while "occapyjng" a vehicle without a
                                                             LIMIT OF UABILITf - .
        reasonable belief that that "insured" is entitled
        to do so. This Exclusion (7.) does not apply to a    A. The limit of liability shown in the Declarations for
        "family member" using "your covered auto"               this coverage is our maximum limit of liability for
       which .is owned by you.                                  each person injured in any one ^accident. This is
                                                                the most we will'pay regardless of the number of:.
    6. Sustained ^//hile• "occupying" a vehicle when it is
      . being used in the "business" of an "insured".-          1. "Insureds";

        This Exclusion (8.) does not apply to "bodiiy in-       2. Claims made; • '
        jury" sustained while "occupying" a;
                                                                3. Vehicles or premiums shown in the Declara-
        a. Private passenger auto; .                                tions; or : • . •

        b. Pickup or Van -that you own; or                      4. 'Vehicles involved in the accident.. •
        c. "Trailer" used'with a-vehicle described in a.     B. No one will be. entitled to receive duplicate p'ay-
            or b.above.                                         ments. for. the s.arhe elements of loss under this
                                                                coverage .and:
    9. Caused by or as a consequen.ce of:
        a. .Discharge of a nuclear weapon (even if              '1. Part-A or Part C of this policy; or
            accidental); • . •                                  2. Any Underinsured Motorists Coverage provided
                                                                  •'by .this policy. . •
        b. War (declared or undedared);
        c. Civil war; .' • .                                 OTHER INSURANCE
        d. insurrection; or                                  If there is other applicable auto medical payments
                                                             insurance we will pay only our share of the loss. Our
      . e. Rebellion or revolution.                          share is the proportion that our limit of liability bears to
   10. From or as a consequence of the following,            {he total of all applicable limits. However, any insur-
       whether controlled or uncontrolled or however         ance we provide with respect to a vehicle you do not
        caused:                                .    .        own shall be excess over any other collectibje auto
        a. Nuclear reaction; .. ' '
                                                             insurance providing payments for medical, or funeral
                                                             expenses.                     .   '   '   '.   •
       •b.' Radiation; or-, . . • • : •


                                    ^ART C - UNINSURED MOTORISTS COVERAGE
 INSURING AGREEMENT                                             3.' Any person -for damages that person is entitled
                                                                . -to recover because of "bodily injury" to Which
 A.'We will pay'compensatory .damages which an.
    "insured" is legally entitled to recover from the
                                                                    this coverage applies sustained by a person
                                                                    described in .1. or 2. above.... .
    owner or .operator of. an "uninsured motor .vehicle"
    • because of "bodily injury":                            G.- "Uninsured motor vehicle" means a -land motor
                                                                .vehicle or trailer of any type: .• •
     1;. Sustained by an "insurpd"; and . . .
                                                                1. To which no bodily injury liability bond or policy
     2.'Caused by an accident. .• •
                                                                   . applies at the tirrie of the accident. .
    The owner's pr operator's liability for these •dam-
                                                               .2. To which a-bodily injury liability bond or policy
    ages must arise out of the ownership, mamten-
                                                                    applies at the time of the accident. In this case
    . ance or use of the "uninsured motor vehicle"...
                                                                    its limit-for'bodily injury liabiiity must be less
    Any judgment for damages arising out of a suit                  than the minimum limit for. bodily injury-liability
     brought without, .our written 'consent is not binding          specified by .the financial responsibility law of'
     on        us.     •    '   ,                                   the .state in whi'ch'"your covered, auto" is princi-
 B. "Insured" as used in this Part means:' •'                       paliy garaged.. • • . • • •••

     1. You or any "family member". '                           3.. Which is a hit-and-run vehicle whose operator
                                                                    or owner cannot be identified and which hits:
     2. Any-other person "occupying" "your covered
        •auto".                 •'    '   .•                        a. You or any "family membfer"; . •


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      b. A-vehicle which you or any "family member"          LIMIT OF LIABILITY
          are "occupying"; or                                A. The limit, of liability shown in .the Declarations for
      c: "Your covered auto".                                    each person for Uninsured Motorists Coverage Is
                                                                .our maximum limit of liability for all damageSi in-
   4. To which a bodily injury liability bond or policy
      applies, at the time of the accident but the bond-         eluding damages for care; loss of servfces 61'
                                                               • death, arising out of "bodily injiiry" sustained by
      jng or insuring company;.
                                                              • any one person.in any one accident, Subject to this
      a. Denies coverage; or '                                  . limit for each person, the limit of liability shown in
      b. Is or becomes .insolvent.                               the Declarations for each accident for Uninsured
                                                                 Motorists Coverage is our maximum limit of liability
   However, "uninsured, motor vehicle" does not in-
                                                                 for all damages for "bodily, injury" resulting from
   elude any vehicle or equipment: .
                                                                 any one accident,
   1. Owned by or furnished or available for. the
                                                              . -• This is the most we .will pay regardless of the
      •regular use of you or any "family member".
                                                                 number of: ' .
   2. Owned or operated by a seif-insurer under any
                                                                 1. "Insureds";
       applicable motor vehicle law, except-a self-
      . insurer which is or becomes insolvent. .                 2. Claims made;
   3; Owned by any governmental unit or agency.                  3. Vehicles or premiums shown in the .Declara-
                                                                    •tions; or
   4. Operated oh rails or crawler treads.
                                                                 4. Vehicles involved in the accident.
  .'5. Designed mainly for use off public roads while
       not. on public roads.                                  B. No one will be entitled to receive duplicate pay-
                                                                 merits for the same elements .of loss under this
   6. While, located for use. as a residence or pre-
                                                                 coverage and:
      mises.        •'••"••.

                                                                 1. Part A. or Part B. of this policy; or
EXCLUSIONS
                                                                 2. Any Underinsured Motorists Coverage provided
A. We .do not provide Uninsured Motorists Coverage
                                                                     by this policy.
   for "bodiiy injury" sustained:
                                                              C. We- will not make a 'duplicate payment under this
   1.'By an "insured". while "occupying", or when
                                                                 coverage for any elertient of loss. for which pay-
      struck by, any motor vehicle owned by that "In-
                                                                 ment has been made by or on behalf of persons-or
      sured" which is not insured for this coverage
                                                                 organizations who may be legally responsible.
      under this policy. This includes a trailer of any.
      type used with th'at vehicle. •                         D. We will not pay for any element of loss if a person
                                                                 is entitled to .receive payment for the same e!e-
   2. By any "family, member" while "occupying", or
                                                                 ment of'loss under any of the following or similar
      when struck by; any motor vehicle you own                  law:                  .   •     •       '
      which is insure.cl for this 'coverage, on a primary
       basis under any other .policy. : ' ,                      1. Workers' compensation, law; or. '• ; .

B. We do not provide Uninsured Motorists Coverage                2. Disability benefits law.
   for "bodily injury" sustained by any "insured":            OTHER INSURANCE
  • 1. If. that. "injured" or the legal representative        If there, is other applicable insurance available under
       settles the "bodily injury" claim, without our con-    one or more policies or provisions of coverage that is
       sent.               .   .    •     •
                                                              similar to the insurance provided.under this Part of the
   2. While "occupying" "your-covered auto" when it           policy: . ' •
      is being used as a public or livery conveyance.            1. Any recovery, for damages under all s.uch'poli^
      This Exclusion (B.2.) does not apply to a share-              cies or provisions, of coverage may equal but
       the-e'xpense car pop!.: •                                     not exceed the highest applicable limit far any
   3. Using a vehicle without a reasonable belief that              •one vehicie under any insurance .pro\/i9ing cov-
       that "insured" :is entitled to do so. This Exclu-          .. erage.o.n either a primary or excess basis.
       sion (B.3.) does not apply to a "family member"           2. Any insurance'we provide with respect to a
       using "your covered auto" which is owned .by                 Vehicle, you do-not own shall be excess over
       you.•           '   •   "
                                                                    any collectible insurance providing such cover-
C. This coverage shall, not apply directly or indire'ctly            •age on a primary basis. • .
   to benefit, any insurer or self-insurer-under any of           3. If the coverage undenthjs policy is provided: "•
   the following or similar !aw: : ., . • . •

   .1. Workers'compensation law; or ., •

   2.' Disability benefits law. .
D> We do not provide .Uninsured Motorists Coverage
  for punitive or exemplary damages.

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       a. On a primary basis, we will pay only our                 Both parties must agree to arbitration. If so agreed,
           share of the loss that must be. paid under              each party will select an arbitrator The.two arbitra-
          .insurance providing coverage on a primary               tors will select a, third. If they cannot agree within
         • b'asis. Our share is the proportion that our            30 days, either may request that selection be
          limit of liability bears to the total of all appli-      made by a judge of a court having jurisdiction.
          cable limits of liability for coverage provided       B. Each party will:
          on a primary basis.
                                                                   1. Pay the expenses it incurs; and
       b; On an excess basis, we will pay only our
          .share of the toss that must be paid under               2. Bear the expenses of the third arbitrator equal-
           insurance providing coverage on an excess                  ly. : ; .
           basis. Our share is the proportion that our          C. Unless both.parties agree otherwise, arbitration will
          limit of liability bears to the total of all appli-      take place in. the county in which the "insured" •
          cable iimits of liability for coverage provided          lives. Local'rules of law as to procedure' and evj-
          on an excess basis. .                                    dence will apply. A decision agreed, to by two of the
ARBITRATION                                                        arbitrators will be binding as' to:
A. If we arid an "insured" do not agree:                           1. Whether the "insured" is legally entitled to re-
                                                                      cover damages'; and
   1. Whether that "insured" is legally entitled to
       recover damages; or                                         2. The' amount of. damages. This- applies only if
                                                                      the amount dpes not exceed the minimum limit
   2. As to the amount of damages which are reco-
                                                                      for bodily injury ijability specified by the financial
      verable by that "insured";                                      responsibility law of the. state in- which -'"your
   from the owner or operator of an "uninsured motor                  covered auto" is principally garaged. If the
   vehicle", then'the matter may be arbitrated. How-                  amount exceeds that limit, either party may
   ever, disputes concerning coverage under this Part                 demand the right to a trial. This demand must
   may not be arbitrated. .                                            be made within 60 days of the. arbitrators' deci-
                                                                       sion. if this demand is not made; the amount of
                                                                       damages agreed'to by the arbitrators will be
                                                                       binding. , . •




                               PART D - COVERAGE FOR DAMAGE T.O YOUR AUTO
INSURING AGREEMENT                                                 5. Windstorrn;. . .

A. We wilt pay for direct and accidental loss to "your             6. Hail, water or flood;
   covered auto" or any "non-owned- -auto", including
                                                                   7. Mglicious mischief or vandalism;
   their, equipment, minus any applicable deductible
   shown in .the Declarations. .If loss to more than one           8. Riot or civil commotion;
   "your covered auto" or- "non-owned auto" results                9. Contact With bird oranimatj or
   from the same "collision", only the highest applica-
                                                                  10. Breakage of glass.
   ble deductible will apply. We will pay for loss to
   "your covered auto" caused by; , ' •                            If breakage of.glass is caused by a "collision", you
                                                                   may elect- to have it considered a toss caused by
   1. Other than "collisidri" only if the'Declarations             "collision".. .-•'.'
       indicate that Other Than. Collision Coverage is
                                                                C. "Non-dwned. aUto" means;
       provided for that auto.
   2. "Collision" only if the Declarations indicate that           1. Any private passenger auto, pickup, van or
       •Collision Coverage is provided for that auto.                 "trailer" not owned by or furnished or available
                                                                      for the .regular use of you or any "family rnem-
    If there is-a loss. to a "nonowned auto", we wil!                 ber" whfle in the-custody of or being operated
   .provide-the broadest coverage applicable to any                   by you or any "family member"; or
    "your covered auto" shown in the Declarations. •
                                                                   2. Any auto or "trailer" you do not own while used'
B. "Collision" means the upset of "your covered auto"
                                                                      as a temporary substitute for "your covered au-
    or a "rion-owned auto" or their impact with another               to" which, is out of normal use because of its:
    vehicle or. object, •
                                                                       a. Breakdown; • . •
   Loss caused by the following is considered other.
   than "collision":                                                   b. Repair;

    1. Missiles or falling objects;. •'                                c.- Servicing;

                                                                       cL Loss; or • .
   2. Fire;
   3. Theft or larceny;                                                e.   Destruction.

   4. Explosiort or earthquake;.


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TRANSPORTATION EXPENSES                                          $200 is the most we Will pay in any one occurrence
                                                                 even though more than one person has a loss.
A. In addition, we will pay, without application of a
   deductible, up to a maximum of. $600 for                      This coverage is excess over any Qther coverage.

   1. Temporary transportation .expenses not. ex-
                                                              EXCLUSIONS
      ceeding $20 per day incurred by you in-the.             We will not pay for
   • •event of a toss to "your. covered auto". We will
                                                                 1. Loss to "your covered auto" or any "non-owned
      pay for such expenses if the loss Js caused by:                auto" which occurs while it is being used as a
      a. Other than "collision" only if the Declara-               . public or livery conveyance. This Exclusion (1.)
         •tions indicate that Other Than Collision                   does not apply to a share-the-expense car
          Coverage is provided for that auto.                       pool.

      b. "Collision" only if the Declarations indicate.          2. Damage due and confined to:
          'that Collision Coverage is provided for. that             a. Wear and tear;
          auto.                          .      .     .
                                                                    •b. Freezing;
   2. Expenses for ^A/hich you become legally re-
      sponsible in the event of- loss to a "non-owned                c. Mechanical or electrical breakdown or fail-
      auto".. We will pay for such expense's If the loss                ure; or
      is caused by: • •                                             d. Road damage to tires.
      a.,Other than "collision" only if the Declara-                This Exclusion (2.) does. not apply if the dam-
          lions indicate that Other 'Than Collision                 age results from the total theft of "your covered
          Coverage is provided for any "your covered                aiito" or any "non-owned auto".
          auto".           .'   .   .
                                                                 3. Loss due to or as a conseque'nce; of: •
      b. "Collision" only if the Declarations indicate
                                                                     a. Radioactive contamination;
          that Collision Coverage is provided for any
          "your covered auto". . ' .                                 b. Discharge of .any nuclear weapon (even if
                                                                        accidental);' . •
      However, the most we will pay for any ex-
      penses for loss of use is $20 per day.                         c. War (declared or undedared);

B. If the loss is caused by:                                         d. Civil war; '

   1. A total theft of "your covered auto" or a "non-                e. Insurrection; or
      owned auto", we will pay only expenses in-                     f. Rebellion or revolution.
      curred during the period:
                                                                • 4. Loss to any electronic equipment designed for
       a. Beginning 48 hours after the theft; and                    the. reproduction of sound and any accessories
       b. Ending when "your covered auto" or the                     used with such equipment This includes but is
          "non-owneiJ auto" is' returned to use or we              • not limited to; . •

         'pay for its loss.. .. ' • .;                               a., Radios and stereos;
   2. Other than theft of a "your covered auto" or a                 b. Tape decks; or
      "non-owned auto"; we will pay only expenses
                                                                     c. Corn pact'd iso players.
       beginning when the auto is withdrawn from use
      ..for more thari-24. hours. •• ,                               This Exclusion (4.) does not apply to equipment
                                                                     designed solely, for ..the reproduction .of sound
C. Our payment Will be limited 'to that period of tim6               and accessories used with such equipment,
    reasonably required- to repair or replace the "your
                                                                     provided: ' . •
  . covered auto"'or the "non-owned auto". ,. ' .
                                                                     a. The. equipment is permanently installed in
CLOTHES AND LUGGAGE                                                   . "your covered auto" or any "non-owned au-
In addition, we will pay, without appiication of a de-                  to";         or.     .   •   '   .

ductibie, up to a maximum of $200 per ofccu.rrence for.
                                                                     b. The equipment is: • •
clothes and luggage, owned by you or any "family
member". These items have to-be in or on an auto                      • (I) Remoyable from,a housing unit which is
covered by. this part. 'Your covered au.to" .has to be                      : permanently installed in the auto;
covered under-this policy, for:                                        (2) Designed to be solely operated by use of
   1. Other Than Coliisi.on Coverage, and the .loss.                         the power from the auto's electrical sys-
      caused by fire, lightning,-flood,, falling objects,                    •tem; ana . ...

      •explosion, earthquake or theft. If the toss is due •            <3},ln or upon "your covered auto" or any
      to'theft, the .entire auto must have been stolen;                     . "non-owned auto" at the time of loss.
       or ••
                                                                 5. Loss to any electronic equipment that receives
   2. Collision Coverage and the loss caused by                     or transmits audio, visual or data signals and
      "collision".                  .   •   .   .                   any- accessories' used with such equipment.
                                                                     This includes but is not limited to: .

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                                                                                  f
     a. Citizens band radios;                                   11. Loss to any custom furnishings or equipment in
     b. Telephones;                                                 or upon any pickup or van. Custom furnishings
                                                                    pr equipment include but are not limited to:
     c. Two-way mobile radios;
                                                                     a. Special carpeting or insulation;
     d. Scanning monitor receivers;
                                                                     b. Furpiture or bars;
     e. Television-monitor receivers;
                                                                     c. Height-extending roofs; or . .
     f. Video cassette recorders;
                                                                     d. Custom murals, paintings or other decals or
     g. Audio cassette recorders; or                                     graphics. ' , •
     h.. Personal computers.                                            This Exclusion (11.) does not apply to a
     This Exclusion (5.) does not apply to:                              cap, cover or bediiner in or. upon any'"your
                                                                         covered auto" which is a pickup.
     a. Any electronic' equipment that is necessary
        for the normal operation of the auto or the             12. Loss to. any"non-tiwned auto" being maintained
        monitoring of the auto's operating systems;                 or used by any person while employed or oth-
        or   .'   ••.   .                                           erwise engaged in the "business" of: ,

     b. A pepmariently installed telephone designed                  a.     Selling;              .    .       •   •       .
        to be operated by use of the power from the                  b. Repairing; .
        auto's electrical system and any accesso-
                                                                     c.     Servicing;                             :.
        ries used with the .telephone.
                                                                     d.      Storing;                      or          ..
  6. Loss'to tapes, records, discs pr other media
     used with equipment described in Exclusions 4.                  e.      Parking;                              .   .
     and           5.       ••   '   .   .   '   •   •
                                                                     vehicles designed for use on public highways.
  7. A total loss. to "your covered auto" or any "noh-               This includes road testing arid delivery.
      owned auto" due to destruction or confiscation            13. Loss to "your covered auto" or any "non-owned
      by governmental or civil authorities.                          auto", located inside a facility designed for rac-
     This Exclusion (7.) does not apply, to'the inter-               ing, for the purpose of: • . ••
     ests of Loss Payees in "your covered auto".                     a. Competing in; or
  8.         Loss                    to;             '   .
                                                                     b. Practicing or preparing for;
     a. A "trailer", camper body, or -motor home,
                                                                    •.any prearranged or organized racing or speed
        \ivhich is not shown in the Declarations; pr .               contest.                     •        '   •       •       •

     b. Facilities.or equipment used-with such "trai"           14. Loss to,, or loss of use of, a "non-owned auto"
         ler", camper body or motor home. Facilities                 rented'by:
        or equjpmeht.include but are not limited to:                •g.     You;'or          •'   '.   "   ••.".;•

        (1)..Cooking, dining, .'plumbing or-refrigera-
                                                                     b. Any "family member"; . • .' • .
             tion facilities;
                                                                     if a rental vehicle company is precluded from
        (2) Awnings or cabanas; or
                                                                    .recovering such. loss or loss of use, from you or
       (3) Any other, facilities or equipment- used,                 that "family member", pursuant to the provi-
       . : with a "trailer", camper body, pr motor                   sjons of any applicable rental agreement or
             .home.              '   •   '   ..•''•
                                                                     state                law.                 •           .   .
     This Exclusion (8.) does'not apply to a: .                 15. Loss to "your covered auto" or any "non-cAAmed
     a. "Trailer"; and its facilities, or equipment,                 auto" due to diminution of value". , . .
        which you do not own; or ...                          LIMIT OF LIABILITY
     b. "Trailer", camper body, or the facilities or          A. Our limit of liability for loss will be the lesser of the:
      . equipment in or attached. to the "trailer1 or
                                                                  1. Actual cash value of the stolen or damaged
         camper body, which you:
                                                                     property; or . ' •'
        (1) Acquire during the'policy peinod; and
                                                                  2. Amount necessary to repair or .replace the
     " ' (2) Ask us to insure Within 30 days after you               property with other property of like kind and
             become the owner.                                       quality.                   •      •       .
  9. .Loss to any "non-owned auto" when used by                  However, the most we will pay for. loss to:!;
     you or any "famijy member" without a reasona-
                                                                  1. Any "non-owoed auto" which is a trailer is $50Q.
     ble belief that you or that "family member" are
     entitled to do so.
 10. Loss to equipment designed or used for the .
     detection or location of radar or laser.


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                                                     with its permiss.ion. . ••


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   2. Equipment designed solely for the reproduction        OTHER SOURCES OF RECOVERY
       of sound, including any.accgssories used with
                                                            If other sources of recovery, also cover,the loss, we
    • such equipment, which is -installed in locations      will pay only our share of the loss. Our share is the
       not used by the auto manufacturer for installa-      proportion that our limit of liability bears to the total of
       tion of such equipment or accessories, is            all applicabie limits. However, any insurance we pro-
      .$1,000.                                              vide With respect to a "non-owned auto" shall be
B. .An adjustment for depreciation and physical condi-      excess over any other collectible source of recovery
    tion will be made in determining actual cash value      including, but not limited to:
    in' the event of a total loss. .                           1. Any coverage provided by the owner of the
C. If a repair or replacement results in better than like         , "non-owned auto";
 .kind or quality", we will not pay for the amount of          2. Any other applicable physical damage insur-
   the betterment.                                                 .ance;
PAYMENT OF LOSS .                                              3. Any other source of recovery applicable to the
We may pay for loss in money or repair or replace the              loss.
damaged or stolen property. We may, gt our expense,         APPRAISAL
return any stolen property to: . .
                                                            A. if we and you'do not agree on the amount of loss,
   1.          You;              or        '   •
                                                               either may demand an appraisal of the loss. In this
   2. The address shown in this policy.                        event, each party will select a competent apprais-
                                                               er. The two appraisers wil'l. select an umpire. The
if we return stolen property we will pay for any dam-
                                                               appraisers wilt state separately the actual cash
age resulting from the theft. We may keep all or part
                                                               value and the. amount of loss. If they fail to agree,
of the property at an agreed pr appraised value.
                                                               they wili submit th'eir differences to the umpire. A
!f -we pay for loss in money, our payment will include         decision agreed to by any two will be binding. Each
the applicable sales tax for the damaged or. stolen             party           will:        .   ..   •   ,   '
property.
                                                                1. Pay its chosen appraiser; and
NO BENEFIT TO BAILEE
                                                              ' 2. Bear the expenses of the appraisal and umpire
This insurance shall not directly, or indireetiy benefit           equally.'                                  '     •
any carrier or other bailee for hire.
                                                            B. We do .not waive any of our rights under this policy
                                                               by agreeing to an appraisal. .


                              ; PART E - DUTIES AFTER AN ACCIDENT OR LOSS
We have no duty to provide coverage under this policy              .b. Other pertinent records.
unless there has been full compliance- with the.follow-         5. Submit a proof of loss when reqmred by us.
ing duties;
                                                            C. A person- seeking Uninsured Motorists Coverage
A. We must be notified promptly of how, when and              ', must also:
   where- the accident or loss happened. .Notice
   should also include the names and addresses of               1. Promptly nptiiy the police if a hit-and-run driver
                                                              .   '.   is   involved.            •    •   .   ."   ..'
  -: any jnjured'person.s and of any witnesses, . •'

B. A person seeking any coverage must: .                        2. Promptly send us copies of the legal papers if'a
                                                                   suit is brought. • • . .'
   1. Cooperate with us.'in the investigation, settle-
       ment'or defense of any claim or suit. •              D. A person seeking Coverage For Damage To Your
                                                                Auto must also: . .
   2. Promptly send us copies-of.aoy notices or legal
       papers received in'connection with the accident          1. Take reasonable steps after loss to. protect
     ••'or toss. .. . • '•. ' '                                    "your covered auto"-or. any "npn-ownecj auto"
                                                                  • and their equipment from further loss.. We will
  ' ..3. Submit, .as often-as we reasonably require;
                                                                    pay reasonable expenses incurred to do this.
     • a. To physical, exams by-physicians we select.
                                                                2. Promptly notify'tfie police if "your covered auto"
          We will'pay for these exams.
                                                                  • or any "non-owned auto" is stolen.
       b. To examination und^r oath and subscribe
                                                              . 3; Permit us to inspect and appraise, the damaged
              the same.'.
                                                                    property before its repair or disposal.'
   4. Authorize us to obtain: • .'••

       a. Medical reports', and ,' .


                                         PART F - GENERAL PROVISIONS


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BANKRUPTCY                                                            1. Whatever is. necessary to enable us to exercise
                                                                          our rights; and
Bankmptay or insolvency of the "insured" shall not
relieve ug of any obligations under this policy.                      ^.. Nothing after loss to prejudice them.

CHANGES . .                                                           However, .our rights, in this Paragraph (A.) do not
                                                                      apply under Part D, against.any person using "your
A. This^ policy contains alt the agreements between                   covered auto" -with a reasonable belief that that
   you an'd u&. its terms may not be changed or                       person is entitled to do so.'
   waived except by endofsemeint issued by us. • '.
                                                                   B. If we make a payment under this policy and the
B. If there is a change to the information used to                    person to or for whom payment is made' recovers
    develop the policy premium, we may adjust your                    damages from another, that person shall:
 ' premium. Changes during the policy term that may
    result in a premium increase or decrease, include,                1. Hold in trust for us the proceeds of the recov-
    but are not limited to, changes in:                                  ery; and .

    1. The number, type or use classification of i'n-                 2. Reimburse us to the extent of our payment,
       sured vehicles; .                                           POLICY PERIOD AND TERRITORY
    2.. Operators using insured vehicles; .                        A. This policy applies only to accidents and losses
                                                                      which occur;
    3. The place of principal garaging of insured ve-
      •    hides;              .   .-   .   .   "'   '.   •           1. During, the policy period as shown in the Decla-
                                                                        '• rations; and
   .4. Coverage, deductible or limits. •
If a change, resulting from A. or B. requires a premium               2. Within the policy territory.
adjustment, we wil! make. the premium adjustment in                B. The. policy territory is: .
accordance with. our manual rules. '. • *
                                                                      1. The United States of America, its territories or
C. If-we make a change which broadens coverage                            possessions; '. >• '
   under this edition of your' policy without additional              2. Puerto Rico; or • .
   p.rem.ium charge, that change, will. automatically
    apply-to your policy as of the date we implement                  3. Canada.
    the change in your state. This Paragraph (C.) does                This policy also applies to loss to, or accidents in-
    not apply to changes implemented with a general                   volving, "your covered auto" while being trans-
    program revision that .includes both broadenings                  ported between their ports.
    and restrictions in coverage, whether that general
                                                                   TERMINATION . .
    program revision is implemented .through introduc-
    tionof:           •    .   .   •,                              A. Cancesliation

    1. A subsequent edition of your policy; or .                      Thjs policy mgy be cancelled during the policy pe-
                                                                      rioct as follows:' ..-••..'•
    .2. An Amendatory Endorsement. ,
                                                                      1. The named insured shown in the Declarations
FRAUD .                                                                  may cancel by:
 We do not provide coverage for any "insured" who has
                                                                          a. Returnjng this policy to us; or
 made fraudulent statements or engaged in fraudulent
.conduct in- connecti.pn with' any accident or loss. for;                 b. Giving us advance written notice of the date
 which .coverage is sought.under this policy. • . •                           Cancellation .is to.take-effect. .

LEGAL ACTION AGAINST US :                                             2. We may cancel by mailing, to the named in-
                                                                          sured shown in the; Declarations at the address
A. No legal -action may' be brought- against us until
                                                                        . shown.in this policy: . :..
 ' there has been full compliance with all the terms of
    •this policy. In 'addition, under Part A, no. legal ac-              .3. At. least 10 days notice:
    tion-may be brought against us until: •                                  (1) If cancellation is .for honpayment of
    1. We-agree in writing that the "insured" ha? an                             premium;'or .

       obligation to pay; or                                                 (?) If-notice is mailed during the first 60
    2. The'amount of thsit obligation has been finally                           .days this policy is in effect and this is not
       'determined by judgment qfter trial.                                      a renewal or continuation policy; or

B. No'person or organization has-any right under this                     b. At least 20 days notice in a!) other cases.
   policy lo. bring us into any action" to determine-the'             3. After this policy, is in effect for 60 days, or if this
    liability of an "insured". ... ' ; '.                                 is a renewal or continuation policy; we will can-
                                                                          cel only: • .
OUR RIGHT TO RECOVER PAYMENT
A. If we make a payment under this policy and the                        •a. For nonpayment of premium; or •
    person to or for Whom payment: was made .has a .                      b. if your driver's license or that of:
    right to recover damages from. another we shall be
                                                                             (1) Any driver who lives with you;.or
    subrogated to'that right That person shall do:.
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           .(2) Any driver who customarily uses "your          D, Other Termination Provisions
               covered auto";
                                                                  1. We ma</ deliver any notice instead of mailing it.
            has been suspended or revoked. This'must                 Proof of mailing.of any notice.shall be .sufficient
            have occurred:                                           proof of notice. .

           '(1) During the policy period; or                      2. If this policy is cancelled, you may be entitled to
       •. (2) Since the last anniversary of the original             a premium refund, if so, we will send you the
             .• effective date if the policy period is other         refund. The premium refund, if any, will be
              ••than 1 year; or • .                                  computed according to our manuals. However,
                                                                     making or offering to make the refund is not a
       c. If the policy was obtained through material                condition of cancellation.
            •misrepresentation..
                                                                  3. The effective date of .cancellation stated in the
B. Nonrenewal . .                                                     notice shall become the .end of the policy pe-
  If we decide not to renew or continue this policy,                 riod.         ••       •     •   '   .   '   -


  we will'.mai! notice to the named insured shown in           TRANSFER OF YOUR INTEREST .IN THIS POLICY
  the Declarations at the address, shown in this poli-
  cy. Notice will be mailed at least-20 'days' before          A. Your rights and duties under this policy may not be
  the end of the policy period. Subject to this notice            assigned without our written consent.'However, if a
  requiremeni:, if the policy-period is:                          named insured shown in the Declarations dies,
                                                                  coverage will be provided for:" . ...
   1. Less than 6 months; we will have the right not
                                                                  1. The surviving spouse if resident in the same
       •to renew or continue this policy every 6 months,
    . beginning 6 months after its original effective                household at the time of death. -Coverage ap-
   .   .   date....        •
                                                                     plies to 'the spouse as if a named insured
                                                                     shown in the Declarations; and ' • . •
   2. 6 months or longer, but less than one. year, we
       will have the right not to renew or continue this          2. The legal representative of the deceased per-
       policy at the. end of the policy period.                      son as if a named insured shown in.the Decla-
                                                                      rations. This applies only with respect to the
  3. "I year or longer, we will have the right not to                 representative's, legal responsibility to maintain
      ren6w or continue this policy at each anniver-                 or use "your coyered.auto".
      sary of its original effective date.
                                                               B. Coverage will only be provided until the end. of the
C. Automatic Termination                                          policy period. . •
  If we offer to renew or continue and you..or your            TWO OR MORE AUTO POLICIES
  representative do not accept, this policy will auto-
  maticaily temiinate at the end- of the current policy        If this policy and any other auto insurance policy is-
  period. Failure to pay -the required renewal or con-         sued to .you by us apply .to the same accident, the
  tinuation premium when due shall mean. th'at.you             maximum limit of our liability under all the policies
  have not accepted our offer.
                                                               shall not exceed'the highest applicable limit of liability
                                                               under any one policy. • .:• • . . '. .
   If you obtain other insurance on "your covered au-
  to", any similar insurance provided by this policy
  will terminate as to .that auto .on the effective, date
  of the other insurance, • • • ....•.'




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 STATE OF SOUTH DAKOTA I N CIRGUIT COURT

 G.QUNTY OF ROBERTS - FIFTH JUblCIAL CIRGUIT

 *#^*^.*****»'.*.****'********'***'**********#*.***1^'*****A*******************


 iMODAK-'MUTUAL INSU.R^NQE v2 Civ. #11-5^
 COMPANY, *
                                                             *.

                                   Plaintiff, *
                                                             fr

         V.



 NICHOLAS HELQESON; RAL.E
 V\R6GHE,-as'P?ONAL
 REPRESENTATIVE OF THE. ESTATE '* MEMORANDUM DECtglON
 OF RICHARD GHELL; TERESA ^
 THOMPSON, as SPECIAL ADMIN- *
 ISTRATOR ©F THE ESTATE OF
 WINFIELD THOIVlPSON^d JAMIE
 A. HELGESQN, as ^Mardi.gn Ad *
 Litem for MATTHEW HEL0ES.ON, *
                                                             *


                                   Defendants.' *
                                                             *

 •*******-********iH(****»**»*****A**.***^****.*************^*******.*****.***^******'*'*:****^»**^^


       The aboye-e.rititled m^r js cyri'entiy b.efor^ the GoUrt follpwjng a .Court. Tried held jn
 Roberts CQU.nty oh September 19; 201.3. Thi§ js an g&ltion for a decla.r^toryjydgment'fo
 determine coverage under :an auto insy.rance policy, Atthe'tjmeoftrt.91, Plamtiff was
 represented by Reed Bas.muss^n; Defen^ant^jchplas. Helge?on was.representeid by Kurtis
 Greentey; Date LaRoche, as Personal Representative of the lEstate of Ri.chgrd Chell and
 Teresa ThonnpsOn, as Personal Representative of the. Estate of VVinfield thompson were
 represented by Robin Zephler. AH a'ttomeys appeared personally at the.time set for trial. No
 answer was ever filed l)y Jamie A, Hel.^eson &.& guardian for Mafttiew Helgespn, po.r was ahy
 appearance made gt the time i6f triat.

       The GoUrt heard'testimony from .Cgrrie Norby, Mi.ch.olas He.lges:on..and Melissa
 Prochnow. The .Court fec6ived into 6viden!;e Ptaintiff's Bxhibits 1 throuQh 4, iriftlusiVe,
 ExhiNs.7 thfoygh '2.1, '(n61usivi9j and Exhibits-23 &nd 24; The Gtiurt also received Ihto
 evidence Defendant Heil^gon's. Exhibits AA, BB, GC and DD. AMo^lly, the Court
 received into eyjdence Exh.ibi.ts A arid B fro'l-n Defendants Chelt and Thompson Estaltes,


                                                                                                       piiiiiF§
                                                                                                       ii)cNi|ji
                                                                                                       w®ffi-'
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        Plaihtiff's Exhibit 23 is a DepQSition of Gabo S^arphol; Pl.ain'Hffs Exhibit 24 is 9
  Deposition of Patrick Nelson; arid Defendant Ghell and Thompson Estate.Exhibit A is a
  Deposition di SteV'e Thomas. By agree)n@nt of tl16 'parties, these exhibits were received into
  evidence. Prior to trial, each party designated the pprtion of the specific depbsltioh that
  would be offered at the time of trigl, Opposing parties then t't^^ ah Qppdrtutlity \6 objfeist to
  those portions of the dopositions being offered. The Court received designations and.
  objections frotin the various pgrfies by letter and e-mail. A review of the file at this time cioes
  not indicate that the parties ever filed Ihos.e communicati.ons with the Cterk. Therefore, in
  connectioh with-the issueihce of this Decision, the Court has printe.d and •filed tliose
  designations and pbjectiorts that were p?svtou8ly f-eceived to .oonlplete the record,


           Also pyrsuant to an agreement of th<? parties, following completion of testimony before
  the Court, the parties took the deposition of Anthony Levang on September 20, 2013 aftd
  agreed to present that deposition to the Court for its consideration in reaching 9 cjecisidn in
  this case. The Court has received the Deposition of Anthony Levang and fiiecj.it with the
  Clerk.

        At the oonclusi.ori of the te.stimOny, the parties requested time following the LeVang
  deposition to submit post-trial memorand.g, The Court has now received and reviewed
  Plain.tifTs Post Trial Brief dated November 5,2013; Post TrN Mehfiorandurh QfNioliolas
  Helg6sQn dated Novembers, 2013; Defendants LaRoche And Thbmpson Estates' Trj.al Brief
  dated November 5, 2013; Plaintiffs Reply Brief dated November 12, 201.3; Defendant
  Helge^on's Reply Memorandum dated November 12i 2013 and Defendants LaRoche And.
  Thompson EsNes' Re(3ly Brief dated November 12, 201.3.

           The Court has also noW had an opportunity to ru'le upon the objections made by the
  parties to the various portions of the depositions that were offered, The Court has
  handwritten its rulings on the objections on the original documents flted with the Clerk, A
  copy of the objections and rulings has been attached to this Decistoh for the i.nformatipn Qf
  the parties.

           This action aHses a^ a. result of a motor vehicle aecictent in Roberts County, South
  Dakota, on November 6, .2009, At thgt titne, Nicholas Hel^eson was the dnver of & 1994
  Jeep Grand Cherokee, owne.d by Patrick Nelson of Fargo, North Dakota, which was involved
  in an accident resulting in the deaths of Rio.hard G.hell and Wjnfiekj Thpmpson. It is
  undisputed that the policy of insurance obtained by Patrick Nelson to qover his vehicle had
  lapsed at tho time of tHe accident, However, Nicholas was eligible for coverage under a
  psrsQnal auto policy issued l?y Nodak Mutual Insurance C.ompany tti Richard Prochnow and
  IVielissa Proohnow, his sfep-father and mother, .Vi/ith a .policy period from April 2, 2009 through
  April 2, 201Q.




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        This policy, which was aclffiltted at trial as plairitiffs Exhibit 1, sp'eGifteally IjsteGl
 Nich.olas as a rate4 driyer on .a, 1Q96 Gheyrplet Mp.nte Oarjp, Atthe ti'me of the 9cold6ht,
 Nioh.olas was driving the 1.994 .J.e&p becayse his. 19^6 Q.h6vroje:t; Monte CQ.rlo was
 undergoing 'repairs in a shop in Rosholt, Sot|{h .Dakoia. The policy i.riC;'ly,cle(j under the
 "Definitions" section, Paragr.aph ,>.?..4, o.n Pag@ 1 of 12 fhgt "coy.erod auto1' means, any yuto
 you do not own while ussd.as £> temporary substitute for any other v.ehiole which is out of,
 normal use b.eca.use of repair. However,. Plaintiff reiies upon an exGlusion found at
 Paragraph A,8, on Page 3 of 12'i.ridlcatlng that liability coverage is not providedfcr any
 insured .using ,si vg.hlcle wi.thpyt •a reasonj&blQ belief theit ttt.al insujeti. .is entitled to, do so;
 Platntiffspe.eiflc9.11y al.ieQes tH^t h(|Gho1.as Was opef-atjnQ the 1.994 deep withput .9 reasonabte
 belief :fhat he was entitle^ to do sp.

        The sole issue in this.cas6iswhefher,'atthetime Qfthe.aooident, NiQholas Helg.eson
 ha.d a r6.a.s6n9:ble.t?^liefheWas erttitied ;to be operating Patrick Nelson's vehicle. "Whether an
 insured has a f6aS.bnable beljejthat he.isientjtled to dri,v^ah£>th6r>s.vehicle is a qyeStio'n 6f
 fact. Wh.en an insurance, gbrnpei.riy seeks to avoid Ijabiljty u;Dd@r a js&licy bec,au?e of an
 excluded risk, it has the burden of proving the fgcts: th^t Gdnstitute the exclusion." State Auto,
 & Gas, Underwriters v. tshmael,.202 N,W.2d 384, 386 (1972). Under State;Farm.Aut6mobile
 Insurance GonWanv v. Bottaer, 20-11 S.D. 2, the Trial Court myst determine, in this c.nse
 whether N.JcholaS b.elieved he was entitled to: drive the 1994 Jeep gt the ti.me of.the.accidenti
 and, if so/fhen the GourtTnust decide whether that belief-was. reasonable.

        Nic.ho.las testifieol .gt the.'time o.f trigl that.h^ taiked,.over the pho.no with :Patricil<- Nelson
 and asked p.ermi.ssion :to Use tho 1994 Je:e?) bef&re cjrjy.ijTcj' i.t in .Igte October, 2009, N.icholas
 had driven the vehicle on several occasions-pinpr to that time vyhile: assisting Pcitrick in
 caiFyirig but the duties of Patrick's DJ b.usines.s gnd had also used the vehicle for persongj
 reasons oh two prior ocGasions, NiGholas.testifi.ed that he was grgnted perm.i.ssion by P9tricf<;
 over th6 ^hphe'to use'the Jeep while his Monte.Carlo.was being repaired and that Gab'e
 Skarphpl wgs'ptisehtwheti this :cohVers9tipn.w^s eortducted with the speaker phone
 function Qf Nicholas's (Shone being actlvateci, N.ich&las .had j.rtdicated that he woujd be u.slng
 the Jeep to.get back gnci. fort.tTtQ yvork at his parents' far.fn. At the: time ;of .this conversgtjon,
 Nicholas was at Q.abe's residence m Farg'q. The fatrh Wa^ lOnate^ ne^'r M^nl^.ih§6n:, Islq.rth
 Dakota. Nicholas also testified that no restriotlo.ris were placed upon his USQ of the Jeep.

         P^trici< ^elson's testimony was presented by way. of deposition and in that deposition,
 Patrick tegtitiecj that he did.noiglv'e perm:is§ip*fi to Nicho'Ia&to use the Jeep because. th6:r6
 was an Issue as to Irisurgmce. Pa.trick. had allowed ttie insurance on the yehic.le to lapse
 beeause he was. not uging th^ vehicle and jt was pa.r.Rod jh'the.lparkin^.lot at Gabe's
 resi'd^'nce. Therefore, he would not al.low'Nieholas to use the <jeep.unless there was
 insurance! coV^r&ge .oh it.




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        While Gabe mgy have been present during the phone.cohversa'tibn between Patrick
 and Nicholas, he did not have 'any specific recotle.ction of that phone conversation. G.abe
 also testified through.deposition and stated !n th^t depo.sition that although he was the so-
 csijlpd "keeper of tho kgys" for the 1994 Jeep, he was, not made aware that there was no
 insurance in |3laN oiVthevehicle.

        In determining whether or hot Nicholas subjectivety believed tie had permjssion to
 operate the vehi.ele, this Court musl .deteriTiine lh@ cre.dibjlity of witnesses. Primarily this
 determin.ation occurs between the testimony of Nichola&i who testified in the courtroom •at the
 time of trial and the testimony of Patrick p.rov.idec! through his Depo.sition. The Court had'.an
 opportunity to listen to and observe Nicholas while testifying. Nicholas readily admitted that
 he had previously provided misleading information to law erifor&ement at the time of the
 accident about the ownership of the 1994 Jeep and had been incorrect in other statements
 made to the insurance adjuster and Plaintiffs attorney. However, Njchola.s re'adily.a'dmittect
 these mistakes .and exptg.ined his aotiohs at the time those prior statements were made.

         Patrick's Deposition contains numerous responses to the effect of "not as I recall." In
 fact, he seiems to have very little recollection about anything concerning the case .other than
 that he is sure he did not give permission to Nitiholas to operate the vehicle b'efore itWafe
 involved in the accident. In regi'djng the portions of the Deposition acimitted into ev.idence, it
 does not appear that Patrick even agrees that Nicholas, Gabe and others Were ever of any
 assistance to him in carrying oyt his duties in his DJ business. B^Sed upon all the evidence
 presented through testimony 'and d.epositjons, this Court does not find the testimony of
 Patrick Nelson to be credible.

         The Court believes that the preponderance of the evidence in this case establishes
 th.at Nicholas had permission from Patrick to use the 1994 Jeep While his Monte Carlo was in
 .the shop for repairs. If Patrick's cohcerri 'ctbout insurance had been so im'portant, It would
 seem Patrick would have mentiohed that issue to the inctiyi.dual who held the keys to th?
 vehicle. Plaintiff has failed, to establish by the greater weight of the evidence that Nicholas
  knew he was not entitled to drive the vehicle,

         Having determined that Nicholas believed he was entitled to drive the 1994 Jeep,
  thereby satisfying the first prong of the test get forth in Bottfl'er, the ©ourt must theft exsimine
  whether that belief was a reasOhable belief 9t the time ghd place of the accident. Relying
  upon Geheraf Accident. Fire and Life Assurance Gorporation.l.PD. V. Perrv, 541 A. 2d 1340
  (MD. App, 1988), Pl&lntiff suggests there gre five factors for the Court to, consider. The first
  of these factors is whether Nicholas had express permission to use the vehicle. This again
  requires the Court to assess the credibility of Nicholas and Patrick, As already deterrtiined,




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 the Court finds the testi,t'nony of Nicholas to be more credible than that of Patrick and has
 therefore cieterm.ifted that.NiGholas had express permission to use th6 vehtele,


        The second •faGto.r is whether NichoJss' us^ oft,hevGhicl<? Q.xcepcled the p@rrr)issi;Qn
 granted. While. Plaintiff argues that Patri.cjc jMac.e.cl i-esirNio.hs on <h@^a in, whjoh the
 vehicle could b'e used, review :;of the ©vici.enco shows np such resitrictiQns, ev.en accepting th.e
 testimony provided by Paiirick at his deposition. While Plaintiff attempts to grgue that
 Nieholas gave 'the impresSicin thart he .would only be goihga ciistance :of app.roximately .200
 yards •lp gQt bap.k and fQrth frffm his parents' resiclenGe tb the far'm, he and the Jeep wQfe
 actualiy In P'argo at the time tie rec(uested. to us6 the vehiple. lit also app6&rs from the reGQfd
 that the reason Nicholas tgok tii.e vehicle to South Da.kpta w^'s npt to Wb:rK for someohe other
•than His parehts but to assist a retgtive in cgp.turihg ghi.hia.l.s that hsid. strayed frohl the proper
 enclosure. Since the vehicle hnd been driven -from .Fargo to. Hank.inson to gejttp his psire.nts'
 farm, a distance of an additional 10 miles does not seem to be unreasonable. Nichola.s. was
 using the vehicle ih the cou'fse of his work on the farm, That'use did not .exceed the
 permission granted,

        The third factor to review is wh@ther Nicho.las was legally entitled to drive ynder th6>
 law's of South .Dakota. Atthe time ofthegccident Njc.hQlas.w9s a licens:@d driver gncj there is
 no evidence that h6 was not legally entitlecl to operate the. vehicle .under the laws of either
 North Dakota 6r§0pth Dakota.

         TJte fourth faptor for rovii&w is whether Nicholas had any ownership or possessory right
 to.the vehicle. Nic.holqs told the high\wtay patrolitian h6 was in the proeesis of piyrph'asifjg th^
 Jeep, This was not true, .although there nrfay have b.eisft djs6ussions at sprftS po'.int in-the past
 about him purchasing the .Jeep, .Ajt?th6 time of the ac6idehti the only po:@sessory interest
 'Nicholas had i« the vehicte w$.s fhe right to use the vehiQle.

        The final factor Is .Whether or not there was some.form of reiafionship between
 Nicholas and PatricK that would cause Nicholas td believe he was entitled to drive the Jeep.
 In addition to being granted express permission to cirive the Vehicle, Nteholas and Pgtti-ick had
 been friends and acquaintances and N.icholas had drjye.n the vehicle. in the' past both to carry
 out v^orl< in assisting Patrick as well as on at .le^'t two occasions for his. own private errands.
 There vf^s clearly a relationship between Nicholas and Patrick that would .oa.use Nicholgs to
 believe he was entitled to drive the Jeep,

        Based on a review gf the above factors, It appears to the Court that Nicholas had a
 reasonable belief that he wa.s entitled to be operating th& Jeep at the time' and place of the
 9C;oid.6,nt, Therefore, Plaintiff ha.$ failed :to prove Nictiol^^ U.secl tlie'1'994 Jeeji \<v!thoyt .a
 reasonable belief that he was entitled to do so.




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       Plaintiff having failed to meet its burden to prove the •exclusion'set forth .under
Paragraph A.8 on Page 3 of 12 on Exhibit 1 applies in this case, a Declaratory Judgmbnt
should therefore b& ehtefeci determining that Nicholas He!ge6on is enlitled to cbver^ge y.nder
the policy ihtrodLiced at trial as Exhibit 1 for fh^ acOid.ent obc.urrihg oi't Novem6er 6, 2.009 it'i
Roberts County, Spu.lh Dakota. P.iaiTi(jff is ordered to fully dpfend witllotit'reservatibn of riglits
the claim against Nicholas Helgeson arising from said aoGiderit ahd is further obligated to pay
any claims or demands to which Nicholas Helgeson may leggily become, liahle;

       'Counsel for Defendant Helgeson is hereby d if-ecled 10draft an appropriate Judgment
 and Ordei- incbrporating the Court's Deelsibn by reference. Unless waived by all other parties,
 counsel for defendant Helgesoh is also directed to prepare Finclings of Fact and Conclusions
 of Law also incorporating the Court's Decision by reference.

       Dated this 12th day of March, 20U,




       ATTEST;
 s;^w^
 ^wyw?
 ~^^Wj-4MP^
          ^rk of Courts




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                                        ABOUREZK LAW FIRM
Chi' Abourezk
"Robui L Zephier p,0, gox 9460 ..Mike Abourezl<
Jon J. LaFleur RAPID CITY, SD 57709-9460 Alicia D. Garda
                       (2020 W. Om^ha Street)
•Also licensed in Colorado * .j.g^ TEL:
                                    ^^(605)
                                        342-0097     ' "Also licensed In California
                                            342-0097
                                                 FAX; (605) 342-5170




                                                 April 14> 2014



       William Harris
       Nilles Law Finn
        1800 Radisson Tower
       201 North Fifth Street
       PO Box 2626
       Fargo, ND 58101-2626

               RE: Estate of Thompson and Chell v. Nicholas Helgeson
                       Civil Pile No.: 12-105

       Dear William;

               I am writing to you as the attorney hired to represent Mr. Helgeson on the direct third
       party liability action against him filed by our clients, the Estates. Was there ever a formal
       Answer filed by Defendant in this action? If so, could you please fax or email me a copy?
       Thank you.

               Enclosed, please find the Memorandum. Decision and a proposed stipulation regarding the
        declaratory action entitled Nodak vs. Helgeson, et al.. After a trial was held on September 19,
       2013, the Judge agreed with the Defendants in that case that Defendant Helgeson believed he had
       permission to drive said vehicle and Helgeson is entitled to coverage under his Nodak policy. It
       has been agreed that Nodak will not appeal. See the attached Stipulation Regarding Post Trial
       Matters. Therefore, at this time we are requesting that Nodak pay the per person per accident
       policy limits of $ 1 00,000 for the Estate of Winfield Thompson and $ 1 00,000 for the Estate of
       Richard Chell. Both of these fine and loved gentlemen lost their lives as a result of the tragic
       motor vehicle accident. In light of the conclusion of the declaratory action, we make this
       proposal and require that a formal response be received from you on or before Monday, April 28,
       2014 at 5:00 p.m, mountain time. If this proposal is not accepted by that time, we will not be
       making any more policy limits proposals in the future. Thank you very muchi William. Take
       care.



                                                                       Sincerel




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                                                                                                  SExiiirr1^1

                                                                                                          m
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                                               Robin L. Zephier
                                               Attorney for Plaintiffs
   RLZ/bj
   ec: Clients
         Kurt Greenley




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                                                 ABOUREZK LAW FIRM
:liar. Abourezk
Robin L. Zephlex-                                            P.O. BOX 9460                                           Mike Abourezk
3n J. LaPleur                                          KAPID CITY, SD 57709-9460                                 * Alicia D. Garcia
                                                         (2020W.Omaha^h-eet)'-
Also licensed In Colorado                                                                                  "Also licensed in California
                                                          TEL: (605) 342-0097
                                                          FAX; (605) 342.5170




                                                          May 12,2014



            William Harrie
            Nilles Law Finn
            1800 Radisson Tower
            201 North Fifth Street
            FO Box 2626
             Fargo,W) 58101-2626

                       RB: Estate of Thompson, and Chell v. Nicholas Helgeson
                              Civil Pile No.: 12-105

             Dear William:

                       I am writing to you to ask you to please file your fonnal Answer on the abo-ve-referenced
             matter within 30 days of the date of this letter. I am forced to write this letter to you in light of
             the fact that I have not received any type of response from you to my earlier cojRimunicafion
             dating back to early April, 2014.

                       If you should have any questions, please feel free to contact me. Thank you very much,
             William, Take care.




                                                                                       ,. Zephier
                                                                                   fomeNbr Plaintiffs
             RLZ/bj
             ec: Clients
                   Kurt Greenley




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                                                                                                              000006
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   STATE OF SOUTH DAKOTA )                                       IN CIRCUIT COURT
                                          )§
   COUNTY OF ROBERTS )                                      FIFTH JUDICIAL CIRCUIT

   TERESA A1W THOMPSON, Individually,                           Civil No.
   And As Special Administrator for the
   Estate of WINPIELD THOMPSON
   deceased, and DALE LAROCHE,
   Individually, And As. Special Admmistrator
   for the Estate of RICHARD CHELL,
   deceased,


                                  Plaintiffs,

   V.                                                           COMPLAINT

   NICHOLAS HELGBSON,

                                  Defendant.



           COMES NOW, tibe Plaintiff, Teresa Thompson, individually, and on behalf of the Estate

   ofWinfield Thompson, deceased, and the Bstate, and Dale LaS.oche, individually, and on. behalf

   of the Estate of Richard Chell, deceased, and the Estate, by and through Plaintiffs' Counsel of

   Record, Robin L, Zephier» and for Plaintiffs' causes of action against the above-named

   Defendant, state and allege as follows;

           1. Plaintiff, Teresa Thompson, was, at the tune of this accident, a resident of the City

   of Agency Village, Roberts County, State of South Dakota.

          2. Winfield Thompson, deceased, the natural father of Plaintiff Teresa Thompson,

   •was, at the time of this accident a resident of Sisseton, Roberts County, State of South Dakota,

          3. Plsdntjff, Dale LaRoche, was, at the time of this accident;, a resident of Stacy,

   Chisago County, Minnesota.

          4. Richard Chell, deceased, the relative of Plaintiff Dale LaR.ochfe, was at the

  time of this accident, a resident ofSisseton;, Roberts County, South Dakota.
                                                                                               RiaimFF's
                                                                                               SEWStT^


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            5. Defendant, Nicholas Heigeson, is, upon information and belief, at all times

    relevant, a resident of the City ofFargo, Cass County, State of North Dakota.

            6, The amount in controversy exceeds th&jurisdiotional requirements of this Court

    and venue is proper in this Court in tliat this action arose near New Effiagton, Roberts County,

    South Dakota.

            7, The circuit court's jurisdiction is appropriate in that the jurisdictional amount of

    •the cladras exceed said monetary requirement.


                                    COUNT ONE - NEGLIGENCE

            8. Plaintiffs specifically incorporate Paragraphs one (I) through seven. (7), mclusive,

    as if set forth fully herein.

            9. On. or about November 6,2009, Decedent Winfield Thompson was a front

    seat passenger in a vehicle driven by Decedent Richard Chell and both were headed east on

    South Dakota Highway 127 near the intersection of 466 Avenue, near New Effington, Roberts

    County, South Dakota,

            10, Defendant, Nicholas Helgeson, was the operator of a 1994 Jeep Cherokee, license

    plate number HOC507, which was/is registered and licensed in the State of North Dakota under

    the name ofPatdck"Nelson, the own.er of the jeep. Helgeson was comtemplatmg purcHasing the

    Jeep from Nelson, according to Helgeson.

            11. Defendant, Nicholas Helgeson was given the 1994 Jeep Cherokee to operate and

    possess and therefore,, had the constructive and implied permission of the vehicle owafer (Nelson)

    to drive said vehicle. . .


            12. On November 9,2009, Defendmt Hegleson wag driving the 1994 Jeep Cherokee




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   south on 466th Avenue near the mtersection of South Dakota Highway 127, near New Effmgton,

   Roberts County, South Dakota.

           13. D&fendant Helgeson, failed to stop at a stop sign and collided with Richard

   ChelFs vehicle, directly and proximately causing severe and mortal bodily mjury, leading to the

   death of Richard Chell and Plaintiff Winficld Thompson, bo'Qi decedents,

           14, Defendant, Nicholas Helge&'on, owed Decedent Chell, the Plaintiff and the.

   Decedent Thompson, a duty to exercise reasonable care in the operation of the vehicle he was

   drivmg, Defendant Helgeson breached liis duty owed to Decedent Chell, the Plaintiffs md the

   Decedent Thompson in that Defendant failed to operate the vehicle in a safe and reasonable. •

   msumer, failed to stop at a stop sign, failed to yield the right of way and failed to utilize a last

   clear chance to avoid the collision.

           15. As a direct and proximate result of the Defendants breach of duty. Decedent

   WinJBeld Thompson suifered inmunent and fatal bodily injuries, medical expenses in excess of

   $70,000,00 and funeral expenses in excess of $10,000,00. Decedent had to be cut out of the

   vehicle and transported by air ambulance to Paxgo» North Dakota with life threatening injuries.

   Decedent Thompson survived with these mortal injuries for several hours before dying. Plaintiff

   Teresa Thompson suffered bodily injuries due to the stress of losing her father, indudmg, but not

   limited to past physical and emotional injuries, loss of support, loss of companionship, pecuniary

   loss, costs of medical treatment for such injuries, past medical expenses in excess of $70,000.00,

   present and future physical and emotional pain and suffering, grief» loss of enjoyment of life, and

   other consequential damages. The Estate suffered damages in that the Estate's claims for

   survival, fear, anxiety, horror, mortal pain and anguish from imminent death, and the same,




                                                      3




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   medical and funeral expenses, as referenced above.


            16. As a direct and proximate result of the Def&ndaafs breach of duty. Decedent

   Richard Chell suffsred iroiTunent and fatal bodily mjuries, medical expenses in excess of

   $5,000,00 and funeral expenses in excess of $10,000,00, Plaintiff Dale LaRoche suffered bodily

   injuries due to the. stress of losing his relative, including, but not Imilted to past physical and

   emotional injuries, logs ofcompamonship, pecuniary loss;, costs of medical treatment for such

   injuries, past medical expenses in excess of$10>000,00, present and future physical and

   emotional pun and suffering, loss of enjoyment of life, and other consequential damages. The

   Estate suffered damages in that the Estate's claims for sur/ival, fear> anxiety, horror, mortal pain

   and anguish &om hrminent death, and fhe same medical and funeral expenses, as referenced

   above.


            17. Defendant Nicholas Helgeson was ultimately given a citation by law enforcement

   for a violation of S.D.C.L, § 32-29-2.1, failure to stop at stop sign. Defendant was fried and

   convicted by a Roberts County jury on or about March- 9, 2011 for the stop sign violation.

            WHEREFOKB, Plaintiffs pray for judgment, jointly and severally, aiid md.ivld'uaUy,

   against the Defendant as follows:

            1. For the actual expenses incurred in the treatment of the mjuries sustained by the

   Plaintiff, the Estate ofWinfield Thompson, deceased, in excess of $70,000.00 and at least

   $10,000.00 in funeral expenses, and for Plaintiff Teresa Thompson, her damages for loss of

   companionship^ pecuniary loss, and grief in excess of $50,000.00, from the subject accident and

   for the actual expenses, attorney fees and costs, and prejudgaient interest on. medical bills and

   other special damages.




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           2. For the actual expenses iiicun-ed in the treatment of the injuries sustained by the

   Plaintiff, the Bstate ofRjchard Cliell, deceased, in. excess of $5,000.00 and at least $10>000.00 in

   funeral expenses, and for Plaintiff Dale LaRoche, his damages for loss of companionship,

   pecuniary loss> and grief in. excess of $50,000,00, from the subject accident and for the actual

   expenses, attorney fees and costs, and prejudgment interest on medical bills and other special

   damages.


           2. For such monetary compensation as shall fully compensate each of the Plaintiffs

   for the past, present and future pain, anguish,, fear, anxiety, hon'or> loss of enjoyment of life, loss

   ofcompaoionslup, loss of support, grief, pecumary loss, mortal pain and anguish, -wrongful death

   and survivorship damages sustained by Winfield Thompson and Teresa Thompson, and Dale

   LaR-oche and. Richard Ch&ll, individually, and on behalf of the Estate to the date of trial and

   which is likely to continue into the future, m a sum to be determined by a jury ia this case,

           3. For any and all otiher relief that the Court deems just and equitable under the




                          21 ^
   circumstances.


          DATBD this              .day of August, 2012.

                                                           ABOUREZK&.
                                                                                        y   .a




                                                                          laha Street
                                                          -Ka^M-ert^South Dakota 57709
                                                           (605) 342-0097




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                     T3RIAL BY JURY IS HEREBY REQUESTED




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  STATE OF SOUTH DAKOTA )                                          IN CIRCUIT COURT
                                         )SS
  COUNTY OF BROOKINGS )                                        THIRD JUDICIAL CIRCUIT

                                                                Civ. No. 05CIV 19-00006


  TERESA ANN THOMPSON, hidividually,
  and as Special Administer/Personal
  Representative oftfae Estate ofWINFIELD
  THOMPSON, SR., Deceased, and the
  ESTATE ofWINFIELD THOMPSON,
  MELISSA PROCHNOW AND JAMIE
  HELGESON, as Special
  Administrator(s)/Personal Representative(s) of
  the Estate of Nicholas Helgeson, and the
  ESTATE OF NICHOLAS HELGESON,

                Plaintiffs,


         V.                                                     AMENDED SUMMONS

  WILLIAM HARRIE and THE NILLES LAW
  FIRM, aka NILLES, SELBO & HARRIE,
  LTD., and NODAK INSURANCE
  COMPANY, (fna NODAK MUTUAL
  INSURANCE COMPANY), and NODAK
  MUTUAL GROUP, INC., a Mutual Holding
  Company and N.I. HOLDINGS, INC. (All
  Intermediate Stockliolding Company),

                Defendants.




  THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

  DEFENDANT, NODAK MUTUAL GROUP, INC., BY AND THROUGH THEIR

  REGISTERED AGENT MICHAEL ALEXANDER, AT 1101 1ST AVE., N., FARGO, ND:

         You are hereby summoned and required to answer the Amended Complaint of the above


  named Plaintiffs to the Plaintiffs' counsel, Abom-ezk, Zephier & LaFleur, P. 0. Box 9460, Rapid

  City, South Dakota, 57709, a copy of said Amended Complaint is hereto annexed and herewith




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  served upon you, within thirty (30) days after service of this Summons upon you, exclusive of

  the day of service.


         You are further notified that if you fail to do so, judgment by default will be taken


  against you for the relief demanded in the Amended Complaint.

         DATED this 9^ day of January, 2019.

                                                        ABOUREZK, ZEPHIER & LAFLEUR



                                                  By:/s/ Robin L Zephier
                                                        Robin L. Zephier
                                                        Attorney for Plaintiffs
                                                        PO Box 9460
                                                        2020 West Omaha Street
                                                        Rapid City, South Dakota 57709
                                                        (605) 342-0097

                                                        Tm-bak Law Office, P.C.
                                                        Seamus CuUbiane
                                                        26 W. Broadway, Suite 100
                                                        Watertown, SD 57201-3670
                                                        (877)380-8517

                                                       Attorneys for Plaintiffs




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  STATE OF SOUTH DAKOTA                                            IN CIRCUIT COURT
                                         )SS
  COUNTY OF BROOKINGS                                          THIRD JUDICIAL CIRCUIT

                                                                Civ. No. 05CIV 19-00006


  TERESA ANN THOMPSON, Individually,
  and as Special Administer/Personal
  Representative of the Estate ofWINFIELD
  THOMPSON, SR., Deceased, and the
  ESTATE ofWINFIELD THOMPSON,
  MELISSA PROCHNOW AND JAMIE
  HELGESON, as Special
  Admimslrator(s)/Personal Representative(s) of
  the Estate of Nicholas Helgeson, and the
  ESTATE OF NICHOLAS HELGESON,

                Plaintiffs,

         V.                                                     AMENDED SUMMONS

  WILLIAM HARJRIE and THE NILLES LAW
  FIRM, aka NILLES, SELBO & HARRIE,
  LTD, and NODAK INSURANCE
  COMPANY, (fna NODAK MUTUAL
  INSURANCE COMPANY), and NODAK
  MUTUAL GROUP, INC., a Mutual Holding
  Company and N.I. HOLDINGS, INC. (Ail
  hitermediafe Stockliolding Company),

                Defendants.




  THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

  DEFENDANT, NODAK INSURANCE COMPLY, BY AND THROUGH THEIR

  REGISTERED AGENT, MICHAEL ALEXANDER, AT 1101 1ST AVE., N., FARGO, ND:

         You are hereby summoned mid required to answer the Amended Complaint of the above


  named Plaintiffs to the Plaintiffs' counsel, Abourezk, Zephier & LaFleur, P. 0. Box 9460, Rapid

  City, South Dakota, 57709, a copy of said Amended Complaint is hereto annexed and herewith




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  served upon you, within thirty (30) days after service of this Summons upon you, exclusive of

  the day of service.


         You are further notified that if you fail to do so, judgment by default will be taken

  against you for die relief demanded in the Amended Complaint.

         DATED this 9th day of January, 2019.

                                                        ABOUREZK, ZEPHIER & LAFLEUR



                                                  By:/s/ Robin L Zephier
                                                       Robin L. Zephier
                                                       Attorney for Plaintiffs
                                                        PO Box 9460
                                                        2020 West Omaha Street
                                                        Rapid City, South Dakota 57709
                                                        (605) 342-0097

                                                        Turbak Law Office, P.C.
                                                        Seamus Culliane
                                                       26 W. Broadway, Suite 100
                                                       Watertown, SD 57201-3670
                                                       (877)380-8517

                                                       Attorneys for Plaintiffs




  Filed: 1/9/2019 3:20 PM CST Brookings County, South Dakota 05CIV19-000006
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 185 of 215 PageID #: 200




  STATE OF SOUTH DAKOTA                                            IN CIRCUIT COURT
                                         )SS
  COUNTY OF BROOKINGS                                          THIRD JUDICIAL CIRCUIT

                                                                 Civ. No. 05CIV 19-00006


  TERESA ANN THOMPSON, Individually,
  and as Special Administer/Personal
  Representative of the Estate ofWINFIELD
  THOMPSON, SR., Deceased, and the
  ESTATE ofWINFIELD THOMPSON,
  MELISSA PROCHNOW AND JAMIE
  HELGESON, as Special
  Administrator(s)/Personal Representafive(s) of )
  the Estate of Nicholas Helgeson, and the         )
  ESTATE OF NICHOLAS HELGESON,

                 Plaintiffs,


         V.                                                      AMENDED SUMMONS

  WILLIAM HARRIE and THE NILLES LAW
  FIRM, aka NILLES, SELBO & HARRIE,
  LTD., and NODAK INSURANCE
  COMPANY, (fna NODAK MUTUAL
  INSURANCE COMPANY), and NODAK
  MUTUAL GROUP, INC., a Mutual Holding
  Company andN.I. HOLDINGS, INC. (All
  hitermediafe Stockliolding Company),

                 Defendants.




  THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

  DEFENDANT, N.I. Holdings, Inc., BY AND THROUGH THEIR REGISTERED AGENT.

  MICHAEL ALEXANDER, AT 1101 1ST AVE., N,, FARGO, ND:

         You are hereby summoned and required to answer the Amended Complaint of the above


  named Plaintiffs to the Plaintiffs' counsel, Abom-ezk, Zephier & LaFleiu-, P. 0. Box 9460, Rapid


  City, South Dakota, 57709, a copy of said Amended Complaint is hereto annexed and herewith




  Filed: 1/9/2019 3:20 PM CST Brookings County, South Dakota 05CIV19-000006
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 186 of 215 PageID #: 201




  served upon you, within thirty (30) days after service of this Summons upon you, exclusive, of

  the day of service.


         You are further notified that if you fail to do so, judgment by default will be taken


  against you for the relief demanded in the Amended Complaint.

         DATED this 9th day of January, 2019.


                                                        ABOUREZK, ZEPHIER & TAFLEUR



                                                  By:/s/ Robin L Zephier
                                                       Robin L. Zephier
                                                       Attorney for Plaintiffs
                                                        PO Box 9460
                                                        2020 West Omaha Street
                                                        Rapid City, South Dakota 57709
                                                        (605) 342-0097

                                                        Turbak Law Office, P.C.
                                                       Seamus Cuthane
                                                       26 W. Broadway, Suite 100
                                                       Watertown, SD 57201-3670
                                                        (877)380-8517

                                                       Attorneys for Plaintiffs




  Filed: 1/9/2019 3:20 PM CST Brookings County, South Dakota 05CIV19-000006
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 187 of 215 PageID #: 202




   STATE OF SOUTH DAKOTA )                                               IN CIRCUIT COURT
                                            )SS
   COUNTY OF BROOKJNGS )                                            THIRD JUDICIAL CIRCUFT

                                                                        Civ.No.05dV 19-00006

   TERESA ANN THOMPSON, Individually,
   and as Special Admmister/Personal
   Representative of the Estate ofWINFIELD
   THOMPSON, SR., Deceased, and the
    ESTATE ofWINFIELD THOMPSON,
   MELISSA PROCHNOW AND JAMffi
   HELGESON, as Special
   Administrator(s)/Personal Representative(s) of
   the Estate of Nicholas Helgeson, and the
    ESTATE OF NICHOLAS HELGESON,

                    Plaintiffs,

             V.                                                     AFFIDAVIT OF SERVICE

    WILLIAM HARRJE and THE NILLES LAW
    FIRM,akaNTLLES,SELBO& HARRJE,
    LTD., and NODAK INSURANCE
    COMPANY, (fha NODAK MUTUAL
    INSURANCE COMPANY), and NODAK
    MUTUAL GROUP, INC., a Mutual Holding
    Company and N.I. HOLDINGS, INC. (An
    Intermediate Stockholding Company),

                    Defendants,




    TIu'ee (3) Summons' and Amended Complaints to Nodak Insurance Company, Nodak Mutual

    Group, Inc., and N.I. Holdings, ID c, came into my hands on die ^ day of January, 2019, and

    that I served the same upon _ yYUC^1^^ l^/^J^/Q^rergonally by delivering \,o aad leaving

    copies thereof with ^Vjl^W (M^A_, ui^
                                  (Name)'                   ^(City) T           (State)

                  County,                         on this                          .20I9,.C-^%^
    O'Clo.           .m/p.n^- (CST).




   TT1ecrnn072tn<rSrrrm-CST Brookings County, Seuth Dakota 05CIV19-000006
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 188 of 215 PageID #: 203




                                                        Chn^A^e'rs
                                                       S^ffiant

    Subscribed and sworn to before me this _/' L-/' day o^J^/]^!^rii—> 2019.
                                                                 ~^7



    STATE OF /^ffi^h 0^:6,^)
                    //„-...              )§
    COUNTY OF J-^SS_ )

           BEFORE ME, the undersigned authority, personally appeared Chuck Anderson, known

    to me to be the person whose name is subscribed to the within instrument, and he acknowledged

    that he executed the same for the purposes described herein.

           IN WFTNESS WHEREOF I have hereunto set my hand and official seal.


                                                       c3^^L^S^
                                                         fotary Public, State of /.W^ A^^-

    My commission expires './.JiLC' //^

    (SEAL) ^AA
                         JESSICCABYE'
                         Notary Public
                     State of North Dakota
                              Expires Dec, 11, 2022


                                                        Notary Public

    My commission expires;

    [SEAL]




   ^te3n/W2(n9-5rM-P1V^eST-Brookwgs County, Soyte-Dakota—a&CUU9-000006
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 189 of 215 PageID #: 204




  STATE OF SOUTH DAKOTA )                                         IN CIRCUIT COURT
                                         )SS
  COUNTY OF BROOKINGS )                                        THIRD JUDICIAL CIRCUIT

                                                               Civ. No.05CIV-19-000006

  TERESA ANN THOMPSON, Individually,
  and as Special Admimster/Personal
  Representative of the Estate ofWINFIELD
  THOMPSON, SR., Deceased, and the
  ESTATE ofWINFIELD THOMPSON,
  MELISSA PROCHNOW AND JAMIE
  HELGESON, as Special
  Admimstrator(s)/Personal Representative(s) of
  the Estate of Nicholas Helgeson, and the
  ESTATE OF NICHOLAS HELGESON,

                Plaintiffs,


         V.                                              PLAINTIFFS' EX PARTE IVIOTION
                                                          TO SERVE BY PUBLICATION
  WILLIAM HARRIE and THE NILLES LAW
  FIRM, aka NILLES, SELBO & HARRIE,
  LTD., and NODAK INSURANCE
  COMPANY, (fna NODAK MUTUAL
  INSURANCE COMPANY), and NODAK
  MUTUAL GROUP, INC., a Mutual Holding
  Company and N.I. HOLDINGS, INC. (All
  hitermediate Stockliolding Company),

                Defendants.




         COMES NOW, the Plaintiffs Teresa Thompson, Individually, and as Special

  Adminislrator/Personal Representative of the Estate ofWinfield Thompson, Sr., (deceased),

  Melissa Prochuow and Jamie Helgeson, as Special Admmistrator(s)/Personal Representatives of

  the Estate of Nicholas Helgeson, by and through the undersigned counsel, Robin L. Zephier, and

  hereby move this Court for an order permitting service of the Amended Summons on the named


  Defendant William Han-ie, by publication.
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 190 of 215 PageID #: 205




          This motion is made in good faith and for and upon the grounds that Plaintiffs have made

  diligent good faith efforts to personally serve William Hai-rie, individually, through personal

  ser/ice in Fargo, North Dakota, but William Harrie, when confironted with a private process

  server showing up at his Law Office at 201 5th St N, in Fargo, North Dakota, has refused to

  come out of his office to accept the Amended Summons and Amended Complaint by the Private

  Process Server, Chuck Anderson ofMoorehead, Minnesota. This has now occurred twice since


  Mlonday January 14, 2019, once on Monday January 14, 2019 and again on Tuesday January 15,

  2019.

          Therefore, Plaintiff prays that this Court will grant an Order authorizing Plaintiffs to


  serve the Amended Summons for Defendant William Han-ie by publication in the West Fargo


  Pioneer, a newspaper for the City ofFargo, North Dakota, and which serves the Fargo-Morehead

  area, including mostly all ofHan-ie's past and present suspected residence and place of work


  within Fargo and the greater Fargo-Moorehead area. Plaintiffs are also providing the Cass

  County Sheriff and the Becker County Sheriff (Minnesota), the Amended Summons and

  Amended Complaint pursuant to South Dakota Rules of Civil Procedure, SDCL § 15-2-31 , for


  personal service in accordance with said statute. Plaintiffs filed the Amended Summons and the

  Amended Complaint, with the Clerk of Courts of the Brookings County, Third Circuit Court, on

  or about January 9, 2019. Defendant William Harrie is being extremely elusive and piu-poseMly


  evasive. As outlined in the attached Affidavit of Robin L. Zephier, even personal service by

  Admission of Service through Harrie's and his law firm's attorney, Ron McLean, was attempted


  since December 2018 and on up through today, January 15. 2019. (See Ex. B, email exchanges

  between coimsel). The claims and damages of Plaintiffs are severe and significant and it would


  not be in the best interest of justice to deny Plaintiffs this opportunity to preserve their claims
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 191 of 215 PageID #: 206




  against the Defendant Harrie individually. The co-defendants the Nilles Law Firm and Nilles,

  Selbo & Harrie, as coiporations, were personally served by the civil process server personally


  sei-ving those corporate defendants' registered agent on January 14, 2019.


         WHEREFORE, the Plaintiffs request that this Com-t order that service by publication

  may be made upon the Defendant William Harrie, by publication of said Amended Summons, in

  the West Fargo Pioneer, for four consecutive weeks in compliance with South Dakota Codified


  Laws, Rules of Civil Procedure, SDCL 15-9-7, 15-9-19 and SDCL § 15-2-31.


         Dated this 15A day of January, 2018.

                                                       ABOUREZK, ZEPHIER & LAFLEUR

                                                       /s/ Robin L. Zephier
                                                       Robin L. Zephier
                                                       Attorneys for Plaintiffs
                                                       Post Office Box 9460
                                                       2020 West Omaha
                                                       Rapid City, South Dakota 57709
                                                       (605) 342-0097
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 192 of 215 PageID #: 207




  STATE OF SOUTH DAKOTA ) IN CIRCUIT COURT
                   )SS
   COUNTY OP BROOKD^GS ) THIRD JUDICIAL CIRCUIT

                                                 ) Civ, No.05CIV-19-000006
                                                 )
  TERESA ANN THOMPSON, Individually, )
  and as Special Administer/Personal )
  Representative of the Estate of WINFIELD )
  THOMPSON, SR,, Deceased, and the )
  ESTATE of WINFIELD THOMPSON, )
  MELISSA PROCHNOW AND JAMIE )
  HELGESON, as Special )
  Administrator(s)/Personal Representative(s) of )
  the Estate of Nicholas Helgeson, and the )
  ESTATE OF NICHOLAS HELGESON, )
                                                 )
                 Plaintiffs, )
                                                 )
       v. ) AFFIDAVIT OF ROBIN L.
                                  ) ZEPHIER IN SUPPORT OF
  WILLIAM HARRJE and THE NILLES LAW ) PLAINTIFFS' EX PARTE MOTION
  FIRM, aka NILLES, SELBO & HARRIE, ) TO SERVE BY PUBLICATION
  LTD., and NODAK INSURANCE )
  COMPANY, (fna NODAK MUTUAL )
  FN8URANCE COMPANY), and NODAK )
  MUTUAL GROUP, INC., a Mutual Holding )
  Company and N.I, HOLDINGS, INC. (An )
  Intermediate Stockholding Company),

                 Defendants,



  STATE OF SOUTH DAKOTA )
                                     )
  COUNTY OF PENNINGTON )


         COMES NOW your Affiant, Robin L, Zephier, who states, deposes, alleges, and says

  under oath, the following;
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 193 of 215 PageID #: 208




         1, That I am the attorney representing the Plaintiffs Teresa Thompson, The Estate of

               Winfield Thompson, Sr. (Deceased), Melissa Prochiiow, Jamie Helgeson, and the

               Estate of Nicholas Helgeson, Deceased, in this matter.

        2. To my reasonable knowledge, the Defendant William Han'ie's most recent

               residential address is 718 Wyndemere Drive, West Fargo, ND 58078-4038 and

               the address to his employment is 201 5th St, N, Fargo, ND, at the Nilles Law


               Firm, Mr, Harrie is a practicing attorney in Pargo, Cass County, North Dakota.

               The Amended Complaint is for causes of action for legal negligence and fraud.

        3, That our law firm sent a Amended Summons and Amended Complaint to a

               Process Server, Mr, Chuck Anderson ofMoorehead, Minnesota on January 9,

               2019. (See Ex. A, Amended Summons). The process server notified our firm

               that William Harrie refused to come out of his office to accept service of the

               Amended Summons and Amended Complaint. This happened once on Monday,

               January 14,2019, and again on Tuesday January 15, 2019. Mr. Harrie's law firm,

               the Nilles Law Firm is located in Fargo, North Dakota, and Mr. Harrie's actual

               personal office is outside of the reach of the common areas of the Firm's

               reception area and Mr, Anderson was not allowed to proceed to Mr. Harrie's

               personal office in the building for said reason, It was inappropriate for Mr,

               Anderson to leave said pleadings with anyone but Mr. Harrie,

        4, Plaintiffs have made a diligent effort to personally serve William Harrie, also, by

               asking the attorney for William Harrie and The Nilles Law Firm, Mr. Ron

               McLean in North Dakota, to admit service. The attempt to have Harrie and his

               Firm admit service through McLean started in December 2018 and ran up to and
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 194 of 215 PageID #: 209




                including today, Tuesday January 15, 2019, Plaintiffs were advised by Mr,

                Mclean that his clients, the Nilles Law Firm and Harrie, would not admit service.

                See Ex. B, email exchanges between counsel. This started prior to the Plaintiffs'

                attempted service by having a process server serve William Harrie and William

               Harrie refused, as indicated above.

        5. That in January 2018, Plaintiff attempted to personally serve William Han'ie in a

               different previous action through the Cass County, (N.D.) Sheriff, and William

               Harrie refused to accept personally service at that time as well, However, service

               was eventually made through his attorney Ron McLean, wlio admitted service

               upon Hame and the Nilles Law Firm in that circumstance m early 2018 (a year

               ago). The present case involved many of the same parties as the earlier case,

               Civil Pile No. 4:05CIV 19-000038, but the previous case was removed to federal

               court.


        6, Another attempt was done on Tuesday January 15,2019, and the Process Server

               was advised by one of the assistants that Mr. Harrie was in the cities and would

               not return until Friday January 18,2019,

        7. According to Affiant, it would be a horrible miscarriage of justice for this Court

               to not allow Plaintiffs to personally serve the elusive Defendant William Han'ie

               by publication as herein stated, because to deny said request would serve to

               reward the elusive, evasive and uncoopemtive behavior of this particular party

               litigant. Mr, Harrie is a necessary pai1y to said litigation.

                    /c^
        Dated this / ,"') day of January, 2019,
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 195 of 215 PageID #: 210


                                                                       ^^"

                                                      ./"

                                                             "r
                                                      VRebni/L, 2^fihier
                                                      Affiant //



          BEFORE ME, the undersigned authority, personally appeared Robin L. Zephier, known

  to me to be the person whose name is subscribed to the within instrument, and he acknowledged

  that he executed same for the purposes described herein.




                                   /L-/
                                          t^'/
  My coifttftjigsion expires:
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 196 of 215 PageID #: 211




   STATE OF SOUTH DAKOTA )                                          IN CIRCUIT COURT
                                          )SS
   COUNTY OP BROOKINGS )                                        THIRD JUDICIAL CIRCUIT

                                                                 Civ. No. 05CF/ 19-00006

   TERESA ANN THOMPSON, Individually,
   and as Special Administer/Personal
   Representative of the Estate ofWmPIELD
   THOMPSON, SR,, Deceased, and the
   ESTATE ofWINPIELD THOMPSON,
   MELTSSA PROCHNOW AW) JAMffi
   HELGESON, as Special
   Adminlstrator(s)/Personal Representative(s) of
   the Estate of Nicholas Helgeson, and the
   ESTATE OF NICHOLAS HELOESON,

                 Plaintiffs,

          V,                                                     AMENDED SUMMONS

   WILLIAM HAKRIE aud THE NILLES LAW
   FIRM, akaNILLBS, SELBO & I-IAKRJE,
   LTD,, and NODAK INSURANCE
   COMPANY, (fha NODAK MUTUAL
   mSURANCE COMPANY), and NODAK
   MUTUAL GROUP, INC., a Mutual Holding
   Company and N.I. HOLDINGS, WC. (All
   Intermediate Stockholding Company),

                 Defendants.



   THE STATE OF SOUTH DAKOTA SENDS OREETINOS TO THE ABOVE NAMED

   DEPENDANT, WILLIAM HARRIE, AT 1800 RADTSON TOWER, 201 N. 5TH STREET,

   PAROO, ND;

          You are hereby summoned and required to answer the Amended Complaint of the above

   named Plaintiffs to the Plaintiffs' counsel, Abourezk, Zephier & LaFleur, P, 0. Box 9460, Rapid

   City, South Dakota, 57709, a copy of said Amended Complaint is hereto annexed and herewith




                                                                                        pl.AlMfHP^
                                                                                     t |)(M!il-T
Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 197 of 215 PageID #: 212




   served upon you, within, thirty (30) days after service of tills Summons upon you, exclusive of

   the day of service.

          You are further notified that if you fail to do so, judgment by default will be taken

   against you for the relief demanded in the Amended Complaint.

          DATED this 9™ day ofJanuaiy, 2019.

                                                        ABOUREZK, ZEPHIBR & LAFLEUR



                                                   By;/s/ Robin L Zephier
                                                        Robin L. Zephier
                                                        Attorney for Plaintiffs
                                                        PO Box 9460
                                                        2020 West Omaha Street
                                                        Rapid City, South Dakota 57709
                                                        (605) 342-0097

                                                        Turbak Law Office, P.C.
                                                        Seamus Culhane
                                                        26 W. Broadway, Suite 100
                                                        Wateriown,SD57201-3670
                                                        (877)380-8517

                                                        Attorneys for Plaintiffs
          Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 198 of 215 PageID #: 213



Puetz, BJ

From: Zephier, Robin
Sent; Tuesday, January 15, 2019 11:59 AM
To: Ron McLean; Wendy Brekke
Cc: Zephier, Robin; Puetz, BJ
Subject: re William Harrie



Ron
Just so you know, Mr, Harrie has refused personal service twice now, since Monday.


Robin Zephier
Attorney for Plaintiffs




' •'' it



A i? i". C.
                                                                                     iF*mijF^
.1 ^''.                                                                              :»«@llN1
      Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 199 of 215 PageID #: 214



Puetz, BJ

From: Ron McLean <rmclean@serklandlaw.com>
Sent: Friday, January 11, 2019 3:10 PM
To: Zephier, Robin; Wendy Brekke
Cc:         Puetz,                  BJ
Subject: RE: Thompson v. Harrie et al



Robin;

We forwarded the executed assignment agreement to our clients but I have not heard back as to whether or not this
changes my ability to accept service.


I will let you know if/when I hear back from the clients.

Thanks.
Ron

-—Original Message-—
From: Zephier, Robin [mailto:rzephier@azlaw.pro]
Sent: Friday, January 11, 2019 2:52 PM
To; Ron McLean <rmclean@serklandlaw.com>; Wendy Brekke <wbrekke@serklandlaw.com>
Cc; Zephier, Robin <rzephier@azlaw,pro>; Puetz, BJ <bjpuetz@azlaw,pro>
Subject: FW; Thompson v. Harrie et al


Ron


Here is the executed assignment agreement. Will that change your clients' minds on admission of service? Again, I must
hear back by 4 pm mountain time today, 1-11-19.


RZ




From: Puetz, BJ <bjpuetz@azlaw.pro>
Sent; Friday, January 11, 2019 1:50 PM
To: Zephier, Robin <rzephier@azlaw.pro>
Subject: Thompson v. Harrie et al




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    Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 200 of 215 PageID #: 215


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      Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 201 of 215 PageID #: 216



Puetz, BJ

From: Ron McLean <rmclean@serklandlaw.com>
Sent: Friday, January 11, 2019 12:07 PM
To; Zephier, Robin; Wendy Brekke
Cc;          Pueta,               BJ
Subject: RE: re Thompson v, Harrle, et al



Robin:

I do not have authority from the clients to admit service,


My clients are concerned, among others, that we have not received a copy of the Notice of Assignment,


Thanks.
Ron


—"Original Message-—
From; Zephier, Robin [mailto:rzephier@azlaw.pro]
Sent: Friday, January 11, 2019 12:33 PM
To: Ron McLean <rmclean@serklandlaw.com>; Wendy Brekke <wbrekke@serklandlaw.com>
Cc; Zephier, Robin <rzephier@azlaw.pro>; Puetz, BJ <bjpuetz@azlaw.pro>
Subject; FW: re Thompson v. Harrie, et al
Importance; High

Jan, 11, 2019,.,.,sorry.




From; Zephier, Robin
Sent: Friday, January 11, 2019 11:31 AM
To; Ron McLean <rmctean@serklandlaw.com>; 'Wendy Brekke' <wbrekke@serklandlaw.com>
Cc: Zephier, Robin <rzephier@azlaw.pro>; Puetz, BJ <bjpuetz@azlaw.pro>
Subject: FW; re Thompson v. Harrle, et al
Importance: High




Hello Ron andWendy

I must hear from you one way or another today, Friday January 11, 2108 before 4 pm mountain time,


Thank you,




Robin Zephier

Attorney for Plaintiffs
    Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 202 of 215 PageID #: 217




From: Zephier, Robin
Sent; Thursday, January 10, 2019 2:30 PM
To; Ron McLean <rmclean@serklandlaw.com <mailto:rmclean@serklandlaw.com> >; Wendy Brekke
<wbrekke@serklandlaw.com <mailto:wbrekke@serklandlaw.com> >
Cc: Zephier, Robin <rzephier@azlaw.pro <mailto:rzephler@azlaw.pro> >; Puetz, BJ <bjpuetz@azlaw.pro
<mailto:bjpuetz@azlaw.pro> >
Subject; re Thompson v. Harrie, et at




Hello Ron and Wendy

Has there been a decision made on the admission of service of the three lawyer/law firm defendants?

Thanks

Robin Zephier




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e-mail from your system.
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Zephier, Robin

From: Zephier, Robin
Sent: Friday, December 21, 2018 2:18 PM
To:         'Ron        McLean'
Cc: Zephier, Robin
Subject: re William Harrie and Nilles Law Firm



Hello Ron

I am writing to you to let you know that we are expecting to receive the signed assignment of claims from the Nicholas
Helgeson estate in the next day or so, I wanted to touch base with you about the prospect of admitting service on
behalf of the Nilles Firm and Mr. Harrieforthe next suit which will allow us on behalf of the Thompson Estate and
Teresa Thompson to pursue any and all claims that Nicholas Helgeson and his Estate has or may have against Mr. Harrie,
the Nilles Law Firm, and Nodak in a new action, We have the complaint ready to go. I know that you had admitted
service of the summons and complaint for us back in January 2017 on the other case. This case will deal with the first
party direct claims of legal negligence/malpractice, etc. and the bad faith claims and punitive damages resulting from
the conduct, of which our client has been assigned to pursue. We did not have the assignment from Helgeson/Helgeson
Estate in the previous litigation. The previous suit ended up being handled by a firm out of Sioux Falls in the end, But
we will be starting this new one within the next week or so, and will need to personally serve Harrie and the Firm. Do
you believe that you could once again admit service of process for Mr. Harrie and for Nilles? If not/ or if you suggest
some other means, please let me know as soon as you can.


Thanks Ron.


Sincerely

Robin Zephier
     Case 4:19-cv-04023-LLP Document 1-2 Filed 02/01/19 Page 204 of 215 PageID #: 219




       STATE OF SOUTH DAKOTA )                                           IN CIRCUIT COURT
                                               )SS
       COUNTY OF BROOKINGS )                                         THIRD JUDICIAL CIRCUIT

                                                                      Civ. No.05CIV-19-000006

       TERESA ANN THOMPSON, Individually,
       and as Special Admimster/Personal
       Representative of the Estate ofWINFIELD
       THOMPSON, SR, Deceased, and the
       ESTATE ofWINFIELD THOMPSON,
       MELISSA PROCHNOW AND JAMIE
       HELGESON, as Special
       Administrators)/? ersonal Representative(s) of
       the Estate of Nicholas Helgeson, and the
       ESTATE OF NICHOLAS HELGESON,

                      Plaintiffs,

              V.                                                  ORDER ON PLAINTIFFS' EX
                                                                 PARTE MOTION TO SERVE BY
       WILLIAM HARJUE and THE NILLES LAW                               PUBLICATION
       FIRM, aka NILLES, SELBO & HARRIE,
       LTD., and NODAK INSURANCE
       COMPANY, (fna NODAK MUTUAL
       INSURANCE COMPANY), and NODAK
       MUTUAL GROUP, INC., a Mutial Holding
       Company and N.I. HOLDINGS, INC. (An
       Intermediate Stockliolding Company),

                      Defendants.




              THIS MATTER having come before this Court on the Plaintiffs' Ex Parte Motion To


       Serve by Publication, the Court having reviewed its file and being fully advised herem, hereby

              ORDERS, ADJUDGES AND DECREES that the Plaintiffs' Ex Parte Motion To Serve

       by Publication is granted, and that the said Amended Summons shall be published in the West

       Fargo Pioneer once a week, in each publication, and for four consecutive weeks. After the




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       Order is signed, the Plaintiffs shall mail a copy of the Amended Summons and Amended

       Complaint to the Defendant William Harrie at his last known address(es), if reasonably known.

              Dated this day of , 2019.


                                Attest:                   BY THE COURT:,
                                                                      Signed; 1/16/2019 9-24:28 AM

                                Dvoracek, Ashley
                                Clerk/Deputy
                                  .^tSK^.                                       ^                    1U^_

                                 tfM
                                  ^%cr'%                  H^nor^lejDawn M. Aman-Elshere
                                                          CircTut Court Judge

                                   '^Gs'v^i''^''

              ATTEST:


              Clerk of Court




Filed on: 01/16/2019 BROOKINGS County, South Dakota 05CIV19-000006
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   STATE OP SOUTH DAKOTA                                            IN CIRCUIT COURT
                                          )SS
   COUNTY OF BROOKINGS                    )•                    THIRD JUDICIAL CIRCUIT

                                                         )       Civ.No.05dV 19-00006
                                                         )
   TERESA ANN THOMPSON, Individually,                    )
   and as Special Administer/Personal                    )
   Representative of the Estate ofWINPIBLD               )
   THOMPSON, 8R., Deceased, and the                      )
   ESTATE ofWINFIELD THOMPSON,                           )
   MEUSSA PROCHNOW AND JAMIE                             )
   HELGBSON, as Special                                  )
   Adnunisti'ator(s)/Personal Representative(s) of       )
   the Estate of Nicholas Helgeson, and the              )
   ESTATE OP NICHOLAS HELOESON,                          )
                                                         )
                 Plaintiffs,                             )
                                                         )
          V.                                             )       AMENDED SUMMONS
                                                         )
   WILLIAM HARRIE and THE NILLES LAW                     )
   FIRM, akaNILLES, SELBO & HARRIE,                      )
   LTD,, and NODAK mSURANCE                              )
   COMPANY, (fna NODAK MUTUAL                            )
   INSURANCE COMPANY), and NODAK                         )
   MUTUAL GROUP. INC., a Mutual Holding                  )
   Company and N,I, HOLDINGS, INC. (An                   )
   Intermediate Stockholding Company),

                 Defendants,



   THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

   DEFENDANT, NILLES SELBO & HARRIE, BY AND THROUGH THEH?. REGISTERED

   AOENT, SHANNON M, OREGAR, 1 800 RADISON TOWER, 201 N. 5TH STREET, FARGO,

   ND:

          You are hereby summoned and required to answer the Atneuded Complaint of the above

   named Plamtiffs to the Plaintiffs' counsel, Abourezk, Zephier & LaFleui', P. 0. Box 9460, Rapid

   City, South Dakota, 57709, a copy of said Amended Complaint is hereto annexed and herewith



                                                     1


  Filed: 1/16/2019 1:23 PM CST Brookings County, South Dakota 05CIV19-000006
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    served upon you, within thirty (30) days after service of this Summons upon you, exclusive of

    the day of service.

           You are further notified that if you fail to do so, judgment by default will be taken

    against you for the relief demanded in the Amended Complaint.

           DATED this 9TH day of January, 2019.

                                                         ABOUREZK, ZBPHffiR & LAFLBUR



                                                    By:/s/ Robin L Zephiea'
                                                         Robin L. Zephier
                                                         Attorney for Plaintiffs
                                                         PO Box 9460
                                                         2020 West Omaha Street
                                                         Rapid City, South Dakota 57709
                                                         (605) 342-0097

                                                         Turbak Law Office, P,C,
                                                         Seamus Culhane
                                                         26 W, Broadway, Suite 100
                                                         Watertown. SD 57201-3670
                                                         (877)380-8517

                                                         Attorneys for Plaintiffs




  Filed: 1/16/2019 1:23 PM CST Brookings County, South Dakota 05CIV19-000006
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   STATE OP SOUTH DAKOTA )                                         IN CIRCUIT COURT
                                           )SS
   COUNTY OF BROOKJNGS )                                       TfflRD JUDICIAL CIRCUIT

                                                                 Civ. No, 05CIV 19-00006

   TERESA ANN THOMPSON, Individually,
   and as Special Administer/Personal
   Representative of the Estate ofWINFIBLD
   THOMPSON, SR., Deceased, and the
   ESTATB ofWINFIELD THOMPSON,
   MBLISSA PROCHNOW AND JAMIE
   HELGESON, as Special
   Administrator(s)/Pe!,'sonal Representative(s) of
   the Estate of Nicholas Helgeson, and the
   ESTATE OF NICHOLAS HELGESON,

                  Plaintiffs,

          V.                                                    AMENDED SUMMONS

   WILLIAM HARMB and THE NFLLES LAW
   FIRM. akaNILLES, SBLBO & HARRIE,
   LTD,, and NODAK INSURANCE
   COMPANY, (fha NODAK MUTUAL
   INSURANCE COMPANY), andNODAK
   MUTUAL GROUP, INC., a Mutual Holding
   Company andN.I. HOLDINGS, INC, (An
   Intermediate Stockhoiding Company),

                  Defendants.




   THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

   DEPENDANT, NILLES LAW FIRM, BY AND THROUGH THEIR REGISTERED AGBNT,

   SHANNON M, GREGAR, 1800 RADISON TOWER, 201 N. 5TH STREET, FAROO, ND:

          You are hereby summoned and required to answer the Amended Compiamt of the above

  named Plaintiffs to the Plaintiffs' counsel, Abonrezk, Zephier & LaPleur, P. 0, Box 9460, Rapid

   City, South Dakota, 57709, a copy of said Amended Complaint is hereto annexed and herewith




  Filed: 1/16/2019 1:23 PM CST Brookings County, South Dakota 05CIV19-000006
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   served upon you, within thirty (30) days after service of this Summons upon you, exclusive of

   the day of service.

          You are further notified that if you fail to do so, judgment by default will be taken

   against you for the relief demanded in the Amended Complaint.

          DATED this 9TH day of January, 2019.

                                                        ABOUREZK, ZBPHIER & LAPLEUR



                                                   By;/s/ Robin L Zephier
                                                        Robin L. Zephier
                                                        Attorney for Plaintiffs
                                                        PO Box 9460
                                                        2020 West Omaha Street
                                                        Rapid City, South Dakota 57709
                                                        (605) 342-0097

                                                        Turbak Law Office, P,C,
                                                        Seamus Culhane
                                                        26 W. Broadway, Suite 100
                                                        Watertown, SD 57201-3670
                                                        (877)380-8517

                                                        Attorneys for Plaintiffs




  Filed: 1/16/2019 1:23 PM CST Brookings County, South Dakota 05CIV19-000006
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   STATE OP SOUTH DAKOTA )                                         IN CIRCUIT COURT
                                           )SS
   COUNTY OF BROOKINGS )                                       THIRD JUDICIAL CIRCUIT

                                                                Civ, No. 05CIV 19-00006

   TERESA ANN THOMPSON, Individually,
   and as Special Administer/Personal
   Representative of the Estate ofWINFIELD
   THOMPSON, SR., Deceased, and the
   ESTATE ofWINFIELD THOMPSON,
   MELISSA PROCHNOW AND JAM1B
   HELGESON, as Special
   Adttiinlstrator(s)/Personal Representative(s) of
   the Estate of Nicholas Helgeson, and the
   ESTATE OP NICHOLAS HELGESON,

                  Plaintiffs,

          V.                                                    AMENDED SUMMONS

   WILLIAM HAKRIE and THE NILLES LAW
  FIRM, aka NILLES, SBLBO & HARRIE,
  LTD., and NODAK INSURANCE
  COMPANY, (fha NODAK MUTUAL
  INSURANCE COMPANY), and NODAK
  MUTUAL GROUP, INC., a Mutual Holding
  Company and N.I, HOLDINGS, INC. (All
  Intermediate Stockholding Company),

                  Defendants,



  THE STATE OF SOUTH DAKOTA SENDS GREETINGS TO THE ABOVE NAMED

  DEFENDANT, WILLIAM HARIUE, AT 1800 RADISON TOWER, 201 N. 5™ STREET,

  FARQO, ND;

          You are hereby summoned andrequu'ed to answer the Amended Complaint of the above

  named Plaintiffs to the Plaintiffs' counsel, Abomrezk, Zephier & LaFleur, P. 0. Box 9460, Rapid

  City, South Dakota, 57709, a copy of said Amended Complaint is hereto annexed and herewith




  Filed: 1/16/2019 1:23 PM CST Brookings County, South Dakota 05CIV19-000006
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    sei-ved upon you, within thirty (30) days after service of this Summons upon you, exclusive of

    the day of service,

           You are further notified that if you fail to do so, judgment by default will be taken

    against you for the relief demanded in the Amended Complaint.

           DATED this 9TO day of January, 2019,

                                                         ABOUREZK, ZEPHIER & LAFLEUR



                                                    By:/s/ Xobin L Zephier
                                                         Robin L. Zephier
                                                         Attorney for Plaintiffs
                                                         PO Box 9460
                                                         2020 West Omaha Street
                                                         Rapid City, South Dakota 57709
                                                         (605) 342-0097

                                                         Turbak Law Office, P.C.
                                                         Seamus Culhane
                                                         26 W. Broadway, Suite 100
                                                         Watertown, SD 57201-3670
                                                         (877)380-8517

                                                         Attorneys for Plaiatiffs




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  STATE OF SOUTH DAKOTA )                                         m CIRCUIT COURT
                                         )SS
  COUNTY OF BROOKINGS )                                        THIRD JUDICIAL CIRCUIT

                                                                Civ. No. 05CIV 19-00006

  TERESA ANN THOMPSON, Individually,
  and as Special Administer/Personal
  Representative of the Estate ofWINTffiLD
  THOMPSON, SR, Deceased, and the
  ESTATE ofWINFffiLD THOMPSON,
  MELISSA PROCHNOW AND JAMffi
  HELGESON, as Special
  Administrator(s)/Personal Represenfa.tive(s) of
  the Estate of Nicholas Helgeson, and the
  ESTATE OF NICHOLAS HELGESON,

                 Plaintiffs,

           V.                                                  AFFIDAVIT OF SERVICE

  WILLIAM HARRffi and THE NILLES LAW
  FIRM, aka NILLES, SELBO & HARRIE,
  LTD., and NODAK INSURANCE
  COMPANY, (fna NODAK MUTUAL
  INSURANCE COMPANY), and NODAK
  MUTUAL GROUP, INC., a Mutual Holding
  Company andN.I. HOLDINGS, INC. (An
  Intermediate Stockholdmg Company),

                Defendants.




  Two (2) Amended Summons' and Amended Complaints to NiMes Law Firm aka Nilles, and

                                                      /^
  Selbo & Harrie, came into my hands on the                       day of January, 2019, and that

  I served the same upon <5 k^^Mu-on, ^i'(Q/^7_, personally by delivering to and leaving

  copies


  thereof with MLA^A^ (^W- ' m
                .(Name)                               (City)
                                                               , ^       County,



                                                    on this ^/ day of              ,2019




   Filed: 1/16/2019 1:23 PM-eST-Brookingo County, South Dakota —OfiCBUfl-ODOOOe
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                           (State)


  1^
  (State),
                 O'clock o^.a.m./p.n-QCCST),




                                                            Affiant

  Subscribed and sworn to before me this
                                                        ^                         2019.
                                                            day of _        _r;




  STATE OF /V^^ /A^W^i )
                                              )§
  COUNTY OF L^5' )


             BEFORE ME, the undersigned authority, personally appeared Chuck Anderson, known

  to me to be the person whose name is subscribed to the within instrument, and he acknowledged

  that he executed the same for the purposes described herein.

             W WITNESS WHEREOF I have hereunto set.my hand and official seal.

                                                            L_j^A^^^~y^^
                                                             -y------ —^
                                                                         ^
                                                            Notary Public, State of/U^/7 A^/^

  My commission expires;/^//', //, ^^

  (SEAL)
                             jEssiccAByf
                             Notary Public
                        ^ State of North Dakota
                                     wesDec, ) 1,2022


                                                            Notary Public

  My commission expires:

  [SEAL]




   TTIed: 1/16/2U19-r:23-P1VTCST^ Brookings County, South Dakota —05CIV 19-000006
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     STATE OF SOUTH DAKOTA )                                         IN CIRCUIT COURT
                                           )SS
     COUNTY OF BROOKINGS )                                       THIRD JUDICIAL CIRCUIT


     TERESA ANN THOMPSON, Individually, )                        Civ, No,05CIV 19-000006
     and as Special Administer/Personal )
     Representative of the Estate of WINFIELD )
     THOMPSON, SR., Deceased, and the )
     ESTATE of WINFIELD THOMPSON, )
     MELISSA PROCHNOW AND JAMIE )
     HELGESON, as Special )
     Admmistrator(s)/Personal Representative(s) of )
     the Estate of Nicholas Helgeson, and the )
     ESTATE OP NICHOLAS HELGESON, )
                                                     )
                   Plaintiffs, )

           V,                                                   ADMISSION OF SERVICE

     WILLIAM HARRIS and THE NILLES LAW )
     FIRM, aka NILLES, SELBO & HARRIE, )
     LTD,, and NODAK INSURANCE )
     COMPANY, (fna NODAK MUTUAL )
     INSURANCE COMPANY), and NODAK )
     MUTUAL GROUP, INC., a Mutual Holding )
    Company and N,I, HOLDINGS, INC. (An )
    Intermediate Stockhotding Company), )

                   Defendants,




           Personal service of a copy of the enclosed and attached Amended Summons and

    Amended Complaint, has been made upon the Defendant William Harrie for effective personal

    service upon himself, and is hereby admitted by receipt of true copies thereof on this (0 Aiay

    of January, 2019,




  Filed: 1/23/2019 5:41 PM CST Brookings County, South Dakota 05CIV19-000006
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                                                                        ^
              SUBSCRIBED AND SWORN to before meUiis _^ day ofJanuaiy^2019,




                                                                 Notary Public

      My commission expires:
                        ri2tfc»^<»*d3k^rth*u<I^J3Bb->t^3^tri??

      [S     L] BRENDA JO BRUNELLE ^
                     Notary Public ^
                 State of North Dakota . _ ^
           My Comml5sion_ExplresJyn^l8_
           'vy-w^ww^iws^W     tt^




 Filed: 1/23/2019 5:41 PM CST Brookings County, South Dakota 05CIV19.
                                                                                 000006
